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 1
                          UNITED STATES DISTRICT COURT
 2
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
                                  SAN JOSE DIVISION
 4

 5       NEO4J, INC., A DELAWARE
         CORPORATION, AND NEO4J SWEDEN
 6       AB, A SWEDISH CORPORATION,          CASE CV-18-07182 EJD

 7                  PLAINTIFFS,              SAN JOSE, CALIFORNIA

 8           V.                              NOVEMBER 28, 2023

 9       PURETHINK LLC, A DELAWARE           VOLUME 2
         LIMITED LIABILITY COMPANY, IGOV
10       INC., A VIRGINIA CORPORATION,       PAGES 187 - 389
         AND JOHN MARK SUHY, AN
11       INDIVIDUAL,

12                 DEFENDANTS.
         _______________________________
13
         AND RELATED COUNTERCLAIMS.
14
                               TRANSCRIPT OF TRIAL
15                    BEFORE THE HONORABLE EDWARD J. DAVILA
                          UNITED STATES DISTRICT JUDGE
16
       A-P-P-E-A-R-A-N-C-E-S
17
         FOR THE PLAINTIFFS:      HOPKINS & CARLEY
18                                BY: JOHN V. PICONE III
                                       JEFFREY M. RATINOFF
19                                     ARTHUR E. ROTHROCK
                                  A LAW CORPORATION
20                                THE LETITIA BUILDING
                                  70 SOUTH FIRST STREET
21                                SAN JOSE, CA 95113

22                (APPEARANCES CONTINUED ON THE NEXT PAGE.)

23
         OFFICIAL COURT REPORTER:      IRENE L. RODRIGUEZ, CSR, RMR, CRR
24                                     CERTIFICATE NUMBER 8074

25          PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY,
       TRANSCRIPT PRODUCED WITH COMPUTER.


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 2
       FOR THE DEFENDANTS:             LAW OFFICES OF ADRON W. BEENE
 3                                     BY: ADRON W. BEENE
                                            ADRON GUSTAV BEENE
 4                                     7960 SOQUEL DRIVE, SUITE B #296
                                       APTOS, CALIFORNIA 95003
 5

 6     ALSO PRESENT:                   HOPKINS & CARLEY
                                       BY: DANNY ZEPEDA, I.T.
 7
                                       NEO4J
 8                                     MERTON THOMPSON, AGC

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           1     SAN JOSE, CALIFORNIA                            NOVEMBER 28, 2023

           2                             P R O C E E D I N G S

09:11AM    3           (COURT CONVENED AT 9:11 A.M.)

09:11AM    4                THE COURT:    WE'RE BACK ON THE RECORD IN OUR TRIAL.

09:11AM    5          LET'S JUST HAVE COUNSEL MAKE THEIR APPEARANCE JUST FOR THE

09:11AM    6     RECORD, PLEASE.

09:11AM    7          WHO APPEARS FOR THE PLAINTIFF?

09:11AM    8                MR. PICONE:    JOHN PICONE, HOPKINS & CARLEY, AND

09:11AM    9     JEFF RATINOFF.

09:11AM   10                THE COURT:    THANK YOU.   GOOD MORNING.

09:11AM   11                MR. BEENE:    GOOD MORNING, YOUR HONOR.

09:11AM   12          ANDRON BEENE HERE ON BEHALF OF THE DEFENDANTS PURETHINK,

09:12AM   13     INC., IGOV, INC., AND MR. SUHY.

09:12AM   14                THE COURT:    THANK YOU, GOOD MORNING.

09:12AM   15                MR. BEENE JR.:    ANDRON BEENE, JUNIOR, FOR

09:12AM   16     DEFENDANTS.

09:12AM   17                THE COURT:    THANK YOU.   GOOD MORNING.

09:12AM   18                MR. BEENE:    EXCUSE ME.   ONE OF THE AUDIENCE MEMBERS

09:12AM   19     WOULD LIKE THE HEARING DEVICE IF THAT COULD BE ARRANGED.

09:12AM   20                THE CLERK:    CERTAINLY.

09:12AM   21                THE COURT:    ALL RIGHT.   WE'RE PROCEEDING THIS

09:12AM   22     MORNING CONTINUING WITH THE TRIAL IN THIS MATTER, AND I JUST

09:12AM   23     WANTED TO REMIND FOLKS THAT WE DO HAVE A HARD STOP ABOUT 9:55,

09:12AM   24     SOMETHING LIKE THAT.     I HAVE TO ENGAGE A CONFERENCE FOR ABOUT

09:12AM   25     45 MINUTES, MAYBE AN HOUR, AND THEN WE CAN RESUME.



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09:12AM    1                MR. BEENE:   THAT'S FINE, YOUR HONOR.

09:12AM    2          WE HAVE TWO NEW EXHIBITS THAT THEY'RE OBJECTING TO THAT WE

09:12AM    3     WANT -- THEY'RE LATE EXHIBITS -- CAN I APPROACH THE LECTERN?

09:12AM    4                THE COURT:   YES.    SURE, WHY DON'T YOU COME TO THE

09:12AM    5     LECTERN.

09:13AM    6                MR. BEENE:   LATE EXHIBITS.    AND THE REASON IS THAT

09:13AM    7     THEY ARE RECENT.

09:13AM    8          ONE EXHIBIT IS -- WE'VE NUMBERED IT 1108, AND IT'S AN

09:13AM    9     EXHIBIT THAT WAS DATED NOVEMBER 13TH, 2023, THE DAY BEFORE

09:13AM   10     TRIAL STARTED.   AND THIS IS A CEASE AND DESIST FROM THE

09:13AM   11     FREE SOFTWARE FOUNDATION REGARDING NEO4J'S VIOLATION OF

09:13AM   12     FREE SOFTWARE FOUNDATION'S COPYRIGHTS AND TRADEMARK.

09:13AM   13                THE COURT:   I'M SORRY, WHAT IS IT?     IT'S A LETTER?

09:13AM   14                MR. BEENE:   IT'S A LETTER FROM THE FREE SOFTWARE

09:13AM   15     FOUNDATION WHICH IS A CEASE AND DESIST TO NEO4J, INC., BECAUSE

09:14AM   16     FREE SOFTWARE FOUNDATION STATES THAT THEY'RE VIOLATING THE

09:14AM   17     FREE SOFTWARE FOUNDATION'S COPYRIGHT TRADEMARK WITH RESPECT TO

09:14AM   18     ADDING THE COMMONS CLAUSE TO THE FREE SOFTWARE FOUNDATION'S

09:14AM   19     COPYRIGHTED LICENSE.

09:14AM   20                THE COURT:   SO THIS IS A LETTER FROM THEM TO NEO4J?

09:14AM   21                MR. BEENE:   THAT'S CORRECT.

09:14AM   22                THE COURT:   AND THE DATE OF THE LETTER IS?

09:14AM   23                MR. BEENE:   NOVEMBER 13TH, 2023.

09:14AM   24                THE COURT:   OKAY.

09:14AM   25                MR. RATINOFF:   WELL, YOUR HONOR, THE ONLY WAY THEY



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09:14AM    1     GOT A HOLD OF THIS LETTER IS THAT THE FREE SOFTWARE FOUNDATION

09:14AM    2     FROM THE EMAIL THAT WAS SENT TO THEM, WHICH IS KIND OF THE

09:14AM    3     COINCIDENCE BEING THE DAY BEFORE TRIAL AND SENDING THE LETTER,

09:14AM    4     AND IT SEEMS LIKE THERE'S SOME COLLUSION GOING ON AND THIS IS

09:14AM    5     JUST MANUFACTURED EVIDENCE.

09:14AM    6          IT'S ALSO IRRELEVANT.    THEY TRIED TO ARGUE, AND AT LEAST

09:14AM    7     IN EMAILS WITH ME, THAT IT WOULD BE GOING TO MR. SUHY'S STATE

09:14AM    8     OF MIND, BUT THIS IS DATED THIS YEAR.

09:14AM    9          MR. SUHY'S STATE OF MIND IN 2018 IS WHAT IS RELEVANT.

09:14AM   10          IT'S ALSO INADMISSIBLE HEARSAY.     FRANKLY, THE

09:15AM   11     FREE SOFTWARE FOUNDATION IS SIMPLY REITERATING DEFENDANTS'

09:15AM   12     PRIOR ARGUMENTS ABOUT WHAT THE LICENSE, WHICH YOUR HONOR HAS

09:15AM   13     ALREADY RULED, MEANS.    SO IT'S NO DIFFERENT.     IT'S THE SAME

09:15AM   14     ARGUMENTS ABOUT SECTION 10, SAME ARGUMENTS ABOUT SECTION 7.

09:15AM   15           THE NINTH CIRCUIT HAS AFFIRMED THAT DECISION.      SO WHETHER

09:15AM   16     THE FREE SOFTWARE FOUNDATION IS REITERATING THE SAME INCORRECT

09:15AM   17     VIEW OF THE LICENSE IS JUST SIMPLY IRRELEVANT.

09:15AM   18          I DON'T KNOW HOW THEY GET THIS IN EITHER BECAUSE THEY

09:15AM   19     DON'T HAVE A WITNESS WHO CAN ACTUALLY TESTIFY TO THE TRUTH OF

09:15AM   20     THIS, AND IF THEY DID IT WOULD BE MR. SUHY REITERATING THE

09:15AM   21     EXACT SAME ARGUMENTS THAT THEY LOST ON.

09:15AM   22          THE OTHER ISSUE WITH THIS IS THAT THEY NEVER DISCLOSED THE

09:15AM   23     FREE SOFTWARE FOUNDATION AS A WITNESS ON THEIR INITIAL

09:15AM   24     DISCLOSURES.   THEY HAD FOUR YEARS TO DEPOSE THE FREE SOFTWARE

09:15AM   25     FOUNDATION TO FIND OUT WHAT THEIR VIEW WAS, AND THEY CHOSE NOT



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09:15AM    1     DO THAT.   SO THE DOORS ALREADY SHUT ON THAT.

09:15AM    2          SO THIS EXHIBIT, AS WELL AS THE BLOG POST, WHICH IS

09:15AM    3     ESSENTIALLY THE SAME THING, WHICH AGAIN, IT'S NO COINCIDENCE

09:16AM    4     THAT THIS WAS DATED ON NOVEMBER 14TH.

09:16AM    5          NOW, OBVIOUSLY IF DISCOVERY WERE STILL OPEN, WE WOULD WANT

09:16AM    6     TO ASK FOR ALL OF THE COMMUNICATIONS THAT MR. SUHY AND HIS

09:16AM    7     COUNSEL HAD WITH THE FREE SOFTWARE FOUNDATION TO FIND OUT HOW

09:16AM    8     MUCH OF THIS WAS MANUFACTURED.

09:16AM    9          SO I THINK IT'S IMPROPER TO BRING THIS UP NOW.     I THINK

09:16AM   10     IT'S IRRELEVANT.   AND IT WOULD JUST BE INADMISSIBLE BASED ON

09:16AM   11     THE HEARSAY.

09:16AM   12                THE COURT:   OKAY.   THANK YOU.

09:16AM   13                MR. BEENE:   YOUR HONOR, THE -- WE CANNOT TELL THEM

09:16AM   14     THAT WE WERE PUTTING IN EVIDENCE TO SUPPORT OUR STATE OF MIND.

09:16AM   15     THAT'S A MANTRA THAT THEY HAVE.

09:16AM   16          AND UNDER THE DMCA, THERE'S AN INNOCENCE SECTION WHICH

09:16AM   17     MR. SUHY CAN PROVE THAT HE WAS NOT AWARE OF AND HE HAD NO

09:16AM   18     INFORMATION THAT WHAT HE DID, REMOVING THE COMMONS CLAUSE, WAS

09:16AM   19     A VIOLATION.

09:16AM   20          THAT STATUTE IS A DAMAGES STATUTE THAT ALLOWS THE COURT TO

09:16AM   21     REDUCE OR REMIT DAMAGES BECAUSE OF INNOCENT INFRINGEMENT.

09:17AM   22          MR. SUHY TALKED TO THE FREE SOFTWARE FOUNDATION, AND THEY

09:17AM   23     TOLD HIM THESE THINGS, AND THERE'S EVIDENCE THAT WE WILL HAVE

09:17AM   24     THAT -- OTHER EFFORTS THAT HE MADE.

09:17AM   25          BUT FREE SOFTWARE FOUNDATION HAS NOW PUT IT IN WRITING



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09:17AM    1     WHAT THEY TOLD HIM HE COULD DO.    AND MR. -- I CAN'T PRONOUNCE

09:17AM    2     HIS NAME, BUT IT'S EXHIBIT 1107.    I'LL JUST SPELL IT OUT FOR

09:17AM    3     YOU.    K-R-Z-Y-S-Z-T-O-F SPACE S-I-E-W-L-C-Z.     HE'S THE AUTHOR

09:17AM    4     OF THE BLOG WHICH IS PUBLICLY AVAILABLE ON THE INTERNET.         THIS

09:17AM    5     IS A STATEMENT BY THE FREE SOFTWARE FOUNDATION OF THEIR

09:17AM    6     POSITION ON THE SUBJECT OF THE COMMONS CLAUSE AND SECTION 7 OF

09:18AM    7     THE FREE SOFTWARE FOUNDATION'S LICENSE.

09:18AM    8            SO THIS GOES TO THE FACT THAT JOHN WAS -- HAD NO AWARENESS

09:18AM    9     THAT HIS REMOVAL WAS A VIOLATION.    AND I SAY IT OFTEN, THIS WAS

09:18AM   10     DONE BEFORE YOUR RULING.    I THINK THAT'S IMPORTANT THAT HE

09:18AM   11     WASN'T DOING IT IN SPITE OF YOUR RULING, YOUR HONOR.

09:18AM   12            YOUR RULING WAS DOCKET 88 IN THE GRAPH FOUNDATION CASE.

09:18AM   13     THAT'S WHERE YOU FIRST SAID THAT THE -- IT WAS A MOTION TO

09:18AM   14     STRIKE, A PLEADING MOTION.    I THINK IT WAS 12(B)(6) BUT THE

09:18AM   15     SAME STANDARD.

09:18AM   16            AND IN THAT RULING YOU FOUND THAT THE ALLEGATION WHERE THE

09:18AM   17     CONTRACT WAS NEO4J SWEDEN'S CONTRACT, BECAUSE THAT'S WHAT WAS

09:19AM   18     ALLEGED IN THE COMPLAINT.    BUT THE DEFENSE SAID, WELL, IT'S A

09:19AM   19     COPYRIGHT BY THE FREE SOFTWARE FOUNDATION.     AND YOU HELD THERE

09:19AM   20     THAT THE DEFENSE DID NOT HAVE STANDING TO ASSERT THE

09:19AM   21     FREE SOFTWARE FOUNDATION'S COPYRIGHT.     SO THAT'S THE GENESIS OF

09:19AM   22     THE WHOLE STORY.   THAT MORPHED INTO SUMMARY JUDGMENT MOTION OR

09:19AM   23     MOVED INTO SUMMARY JUDGMENT IN THIS CASE.

09:19AM   24            WHAT -- YOU KNOW, THE THING HERE IS, IS THAT THAT WAS AN

09:19AM   25     ALLEGATION THAT IS THEIR LICENSE AND YOU INTERPRETED IT AS



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09:19AM    1      THEIR LICENSE BECAUSE THAT WAS THE ALLEGATION UNDER THE

09:19AM    2      PLEADING MOTION.

09:19AM    3           THE FREE SOFTWARE FOUNDATION IS ASSERTING ITS COPYRIGHT TO

09:19AM    4      THE AGPL STATING ITS POSITION ON SECTION 7.

09:19AM    5           AND THE FREE SOFTWARE FOUNDATION HAS SENT A CEASE AND

09:20AM    6      DESIST TO NEO4J SO THAT THEY STOP VIOLATING THE COPYRIGHT.

09:20AM    7           THEY ALSO ENCOURAGE THEM TO TELL EVERYBODY THAT THEY CAN

09:20AM    8      REMOVE THE COMMONS CLAUSE FROM THE LICENSE AGREEMENT, WHICH

09:20AM    9      WOULD -- IN EFFECT WHAT THE FREE SOFTWARE FOUNDATION IS ASKING

09:20AM   10      FOR ELIMINATES THEIR DAMAGE CLAIM IN THIS CASE.

09:20AM   11                   THE COURT:   OKAY.   I THINK I --

09:20AM   12                   MR. BEENE:   SO WE THINK IT'S RELEVANT.

09:20AM   13                   THE COURT:   ARE YOU OFFERING -- FIRST OF ALL,

09:20AM   14      EXHIBIT 1108 I THINK IS THE LETTER, THE CEASE AND DESIST

09:20AM   15      LETTER?

09:20AM   16                   MR. BEENE:   CORRECT.

09:20AM   17                   THE COURT:   AND THEN 1107 IS A BLOG POST BY A THIRD

09:20AM   18      INDIVIDUAL?

09:20AM   19                   MR. BEENE:   YES, BY A GENTLEMAN'S NAME I CAN'T

09:20AM   20      PRONOUNCE.

09:20AM   21                   THE COURT:   YES.    SO ARE YOU OFFERING 1108 FOR THE

09:20AM   22      TRUTH OF THE MATTER ASSERTED IN THE DOCUMENT?

09:20AM   23                   MR. BEENE:   THE -- IT'S FOR -- NO.

09:20AM   24                   THE COURT:   THEN WHAT IS THE RELEVANCE, THEN?

09:20AM   25                   MR. BEENE:   IT'S OFFERED TO SUPPORT MR. SUHY'S



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09:21AM    1      POSITION.

09:21AM    2                   THE COURT:   OKAY.    SO --

09:21AM    3                   MR. BEENE:   IN THE INNOCENCE DEFENSE.   IT'S WHAT

09:21AM    4      THEY ARE PUBLISHING TO THE PUBLIC.

09:21AM    5                   THE COURT:   SO IF YOU'RE SUGGESTING THAT THIS GOES

09:21AM    6      TO YOUR CLIENT'S STATE OF MIND, IS THAT WHAT YOU'RE SAYING?

09:21AM    7                   MR. BEENE:   NO.

09:21AM    8                   THE COURT:   THEN I DON'T SEE THE RELEVANCE.   HELP ME

09:21AM    9      WITH THAT.

09:21AM   10                   MR. BEENE:   THE ISSUE IS UNDER INNOCENCE -- ON THE

09:21AM   11      SUMMARY JUDGMENT MOTION --

09:21AM   12                   THE COURT:   I'M LOOKING AT THE OBJECTION, THE

09:21AM   13      HEARSAY OBJECTION.

09:21AM   14                   MR. BEENE:   RIGHT.

09:21AM   15                   THE COURT:   AND IF THERE'S ANY EXCEPTION TO THE

09:21AM   16      HEARSAY OF THIS PARTICULAR DOCUMENT.       IF YOU'RE NOT OFFERING IT

09:21AM   17      FOR THE TRUTH OF THE MATTER ASSERTED, THEN WHY DOES IT COME IN

09:21AM   18      AND FOR WHAT PURPOSE?

09:21AM   19                   MR. BEENE:   IT -- THE BLOG POSTING COMES IN BECAUSE

09:21AM   20      IT'S A STATEMENT BY THE FREE SOFTWARE FOUNDATION OF THEIR

09:21AM   21      POSITION ON THEIR LICENSE AGREEMENT WHICH IS CONSISTENT WITH

09:21AM   22      WHAT THEY TOLD MR. SUHY AND WHAT HE DID.

09:22AM   23                   THE COURT:   OKAY.    SO LET'S MOVE TO THAT THEN.

09:22AM   24      1107, IT SOUNDS LIKE YOU ARE OFFERING THAT FOR THE TRUTH OF THE

09:22AM   25      MATTER ASSERTED IN THE DOCUMENT, IN THE BLOG?



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09:22AM    1                 MR. BEENE:   WELL, IT'S A STATEMENT THEY MAKE.    AND I

09:22AM    2      TAKE IT THAT THEY PUBLISH IT ON THE INTERNET THAT IT'S TRUE.

09:22AM    3                 THE COURT:   SO YOU'RE OFFERING IT FOR THE TRUTH OF

09:22AM    4      THE MATTER ASSERTED?

09:22AM    5                 MR. BEENE:   WELL, IT'S JUST NOTICE.   IT'S A NOTICE

09:22AM    6      ISSUE.

09:22AM    7                 THE COURT:   SO YOU'RE NOT OFFERING IT FOR THE TRUTH

09:22AM    8      OF THE MATTER ASSERTED?

09:22AM    9                 MR. BEENE:   RIGHT.   I'M NOT PUTTING THIS GENTLEMAN

09:22AM   10      ON TO HAVE HIM TESTIFY AND AUTHENTICATE THAT HE WROTE THIS, BUT

09:22AM   11      HE DID.

09:22AM   12                 THE COURT:   THEN WHAT IS THE RELEVANCE OF THIS

09:22AM   13      DOCUMENT, THEN?

09:22AM   14                 MR. BEENE:   IT SUPPORTS JOHN SUHY'S INNOCENCE

09:22AM   15      DEFENSE AND THE DMCA THAT HE DID WHAT THE FREE SOFTWARE

09:22AM   16      FOUNDATION --

09:22AM   17                 THE COURT:   SO IN THAT SENSE -- PARDON ME FOR

09:22AM   18      INTERRUPTING YOU, BUT IN THAT SENSE I THINK THERE HAS TO BE A

09:22AM   19      FOUNDATION LAID THAT THERE IS RELIANCE OR AT LEAST NOTICE OF

09:22AM   20      THE DOCUMENT, AND THAT PROBABLY WOULD COME FROM YOUR CLIENT

09:23AM   21      SHOULD HE DECIDE TO TESTIFY IN THE CASE.

09:23AM   22                 MR. BEENE:   WELL, OBVIOUSLY THIS WAS PUBLISHED IN

09:23AM   23      2014 AND HE TOOK IT OFF IN 2018 I THINK.    SO HE'S NOT GOING TO

09:23AM   24      TESTIFY THAT HE RELIED ON THIS DOCUMENT.

09:23AM   25                 THE COURT:   OKAY.



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09:23AM    1                   MR. BEENE:   HE WILL TESTIFY WHAT HE WAS TOLD, WHICH

09:23AM    2      IS CONSISTENT WITH THIS DOCUMENT.

09:23AM    3                   THE COURT:   OKAY.   IT SOUNDS LIKE THEN THAT YOU ARE

09:23AM    4      ASKING THE COURT TO RECEIVE THIS FOR THE TRUTH OF THE MATTER

09:23AM    5      ASSERTED BECAUSE IT WILL, AND IT SOUNDS LIKE IN YOUR OPINION IT

09:23AM    6      WILL CORROBORATE YOUR CLIENT'S TESTIMONY THAT IS IN LINE WITH

09:23AM    7      THESE TWO DOCUMENTS?

09:23AM    8                   MR. BEENE:   WELL, IT WILL CORROBORATE MY CLIENT'S

09:23AM    9      TESTIMONY.    HE'S CERTAINLY GOING TO RELY ON IT.

09:23AM   10                   THE COURT:   WELL, IF THERE'S CORROBORATION THEN I

09:23AM   11      THINK YOU'RE ASKING TO SAY -- AREN'T YOU SAYING THAT THIS IS

09:23AM   12      WHAT MY CLIENT SAID AND YOU SHOULD BELIEVE THEM BECAUSE THERE

09:23AM   13      ARE OTHER DOCUMENTS THAT ASSERT THE SAME THING AND YOU SHOULD

09:24AM   14      BELIEVE THOSE FOR THE TRUTH OF THE MATTER ASSERTED BECAUSE THAT

09:24AM   15      THEN CORROBORATES MY CLIENT'S POSITION?

09:24AM   16                   MR. BEENE:   WELL, I THINK THE THING IS THAT WHAT I'M

09:24AM   17      ARGUING IS A BLOG IS A PUBLIC POSTING OF THEIR POSITION.        I'M

09:24AM   18      NOT SO CERTAIN THAT IT'S REQUIRING A TRUTH -- A TOMA, A TRUTH

09:24AM   19      OF THE MATTER ASSERTED, POSITION.      THIS IS WHAT THEY SAY.

09:24AM   20                   THE COURT:   OKAY.

09:24AM   21                   MR. BEENE:   SO ANYONE READING THIS CAN RELY ON IT.

09:24AM   22                   THE COURT:   I THINK YOU NEED TO LAY A FOUNDATION FOR

09:24AM   23      IT AND ABSENT A FOUNDATION, THIS IS BESIDES THE HEARSAY, THERE

09:24AM   24      HAS TO BE SOME FOUNDATION OF WHERE THIS CAME FROM AND WHO

09:24AM   25      POSTED IT AND, YOU KNOW, THOSE TYPES OF THINGS.



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09:24AM    1                 MR. BEENE:    WE HAVE.   WE STIPULATED THAT WEB PAGES

09:24AM    2      THAT COME FROM THE INTERNET ARCHIVE, THE FOUNDATION IS

09:24AM    3      ESTABLISHED.

09:24AM    4                 THE COURT:    WELL, I'M HEARING THERE'S AN OBJECTION

09:24AM    5      TO THIS DOCUMENT.

09:24AM    6                 MR. RATINOFF:    YOUR HONOR, THE STIPULATION WAS THAT

09:24AM    7      IT WOULDN'T REQUIRE AUTHENTICATION FROM THE INTERNET ARCHIVE

09:25AM    8      THAT THIS IS ACTUALLY FROM THEIR WEBSITE.      IT DIDN'T COVER THE

09:25AM    9      ADMISSIBILITY OF SOMETHING LIKE THIS.

09:25AM   10           SO -- AND I DID WANT TO ADDRESS A FEW POINTS THAT COUNSEL

09:25AM   11      MADE WHICH ARE ACTUALLY INCORRECT.     AND JUST TO BE CLEAR, WHAT

09:25AM   12      THEY'RE REALLY TRYING TO DO HERE, LAST NIGHT AT 1 -- I'M SORRY,

09:25AM   13      YESTERDAY AFTERNOON AT 1:46 P.M. AFTER I RAISED THE SAME

09:25AM   14      OBJECTIONS TO COUNSEL HE WROTE, "THE RECENT FSF BLOG AND CEASE

09:25AM   15      AND DESIST LETTER ESTABLISH MR. SUHY HAD NO REASON TO BELIEVE

09:25AM   16      HIS ACTS CONSTITUTED A VIOLATION OF THE DMCA."

09:25AM   17           I DON'T KNOW HOW THAT DOESN'T GO TO HIS STATE OF MIND AND

09:25AM   18      THE ONLY WAY IT WOULD BE RELEVANT WOULD BE IF THIS BLOG WERE

09:25AM   19      SOMETHING THAT HE CONSIDERED AT THE TIME THAT HE REMOVED THE

09:25AM   20      DMCA CLAIM.

09:25AM   21           WHAT THEY'RE REALLY TRYING TO DO HERE IS TO TRY TO GET IN

09:25AM   22      EVIDENCE SO THEY CAN GO TO THE NINTH CIRCUIT OR ASK YOUR HONOR

09:25AM   23      TO HAVE A NEW TRIAL.    THIS IS ANOTHER INSTANCE OF THEM

09:25AM   24      RE-ARGUING THE SAME POINT, AND THEY'RE JUST TRYING TO, YOU

09:26AM   25      KNOW -- I THINK THIS IS, WHAT, THE FOURTH TIME THAT WE HAVE



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09:26AM    1      GONE THROUGH WHAT SECTION 7 MEANS, AND IT'S KIND OF GETTING

09:26AM    2      OLD.

09:26AM    3             THE OTHER ISSUE, TOO, IS IN YOUR HONOR'S ORDER, WHICH

09:26AM    4      MR. SUHY DID SEE IN I BELIEVE IT WAS NOVEMBER OF 2020, ALSO

09:26AM    5      SAID THAT NEO4J HAD THE RIGHT TO LICENSE ITS SOFTWARE AS IT

09:26AM    6      SEES FIT.

09:26AM    7             YOUR HONOR ALSO ADDRESSED THIS COPYRIGHT INFRINGEMENT

09:26AM    8      ISSUE IN ITS MOST RECENT MSJ ORDER AND SAID WHETHER OR NOT

09:26AM    9      NEO4J VIOLATED THE FREE SOFTWARE FOUNDATION'S COPYRIGHT IS

09:26AM   10      IRRELEVANT.    THE ISSUE IS WHETHER MR. SUHY INFRINGED OR ALTERED

09:26AM   11      NEO4J SWEDEN'S CMI.

09:26AM   12             FINALLY, THEIR FOCUS ON THIS INNOCENT INFRINGER DEFENSE,

09:26AM   13      THERE IS NO SUCH DEFENSE WITH THE LANHAM ACT.      YOUR HONOR HAS

09:26AM   14      ALREADY FOUND THAT HE MADE INTENTIONAL FALSE STATEMENTS IN

09:26AM   15      REPRESENTING NOT JUST THAT THE SOFTWARE WAS FREE AND OPEN, AND

09:26AM   16      WHICH WAS BASED ON THE AGPL'S PROVISIONS, BUT YOUR HONOR ALSO

09:27AM   17      FOUND THAT HE VIOLATED THE LANHAM ACT AND FALSELY ADVERTISED

09:27AM   18      THAT IT WAS A DROP-IN REPLACEMENT, WHICH HAD NOTHING TO DO WITH

09:27AM   19      THE LICENSE.

09:27AM   20                  THE COURT:   WELL, LET ME -- THANK YOU.   THESE TWO

09:27AM   21      DOCUMENTS ARE BEFORE THE COURT AND YOU'RE SEEKING TO ADMIT

09:27AM   22      THESE, AND WE'VE HAD SOME COLLOQUY ABOUT THE HEARSAY NATURE.        I

09:27AM   23      THINK THERE WAS A HEARSAY OBJECTION.

09:27AM   24                  MR. RATINOFF:   THAT IS CORRECT, YOUR HONOR.

09:27AM   25                  THE COURT:   AND WE'VE HAD SOME COLLOQUY ABOUT THAT.



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09:27AM    1      I'M GOING TO SUSTAIN THE OBJECTION WITHOUT MORE AT THIS POINT,

09:27AM    2      AND I THINK I'VE INDICATED THE REASONS FOR THAT.

09:27AM    3           MY SENSE IS THAT THERE HAS TO BE ADDITIONAL FOUNDATION

09:27AM    4      MADE.   I DON'T SEE THE RELEVANCE IF THEY'RE NOT OFFERED FOR THE

09:27AM    5      TRUTH OF THE MATTER ASSERTED.

09:27AM    6           I UNDERSTAND YOUR POSITION ON THAT, BUT AT THIS POINT I'LL

09:27AM    7      SUSTAIN THE OBJECTIONS ABSENT -- YOU'RE FREE TO INTRODUCE THOSE

09:27AM    8      IF YOU THINK YOU CAN LAY A PROPER FOUNDATION AND/OR OVERCOME

09:27AM    9      ANY HEARSAY AS TO THESE DOCUMENTS.

09:27AM   10                 MR. BEENE:   I UNDERSTAND, YOUR HONOR.

09:27AM   11                 THE COURT:   OKAY.    THANK YOU.

09:27AM   12                 MR. RATINOFF:   THANK YOU, YOUR HONOR.

09:28AM   13                 THE COURT:   OKAY.    SO WE HAVE ABOUT 25 MINUTES LEFT.

09:28AM   14           DO YOU HAVE A WITNESS TO CALL?

09:28AM   15                 MR. RATINOFF:   YES, YOUR HONOR.     PLAINTIFFS WOULD

09:28AM   16      CALL STEVEN BOYLES AS OUR DAMAGES EXPERT.

09:28AM   17                 THE COURT:   OKAY.    IF YOU WOULD COME FORWARD, SIR,

09:28AM   18      AND FACE OUR COURTROOM DEPUTY WHILE YOU RAISE YOUR RIGHT HAND,

09:28AM   19      SHE HAS A QUESTION FOR YOU.

09:28AM   20           (PLAINTIFFS' WITNESS, STEVEN BOYLES, WAS SWORN.)

09:28AM   21                 THE WITNESS:    I DO.   THANK YOU.

09:28AM   22                 THE COURT:   PLEASE HAVE A SEAT UP HERE, SIR, AND

09:28AM   23      MAKE YOURSELF COMFORTABLE.      PLEASE FEEL FREE TO ADJUST THE

09:28AM   24      CHAIR AND MICROPHONE AS YOU NEED.

09:28AM   25           WHEN YOU ARE COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME



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09:29AM    1      AND THEN SPELL IT, PLEASE.

09:29AM    2                 THE WITNESS:    EXCUSE ME.   MY NAME IS STEVEN BOYLES.

09:29AM    3      IT IS S-T-E-V-E-N.   BOYLES IS B-O-Y-L-E-S.

09:29AM    4                 THE COURT:   THANK YOU.   COUNSEL.

09:29AM    5                 MR. RATINOFF:   THANK YOU, YOUR HONOR.   I JUST WANTED

09:29AM    6      TO MENTION THAT I'VE CONFERRED WITH COUNSEL, AND WE'VE AGREED

09:29AM    7      BASED ON THE PRIOR STIPULATION THAT WE FILED LAST TUESDAY, AS

09:29AM    8      WELL AS WHAT HAS ALREADY BEEN ADMITTED, THAT THE EXHIBITS THAT

09:29AM    9      MR. BOYLES WILL BE USING ARE ADMITTED AT LEAST BY STIPULATION,

09:29AM   10      AND WE WOULD ASK YOUR HONOR TO AFFIRM THAT.

09:29AM   11                 THE COURT:   ALL RIGHT.

09:29AM   12                 MR. BEENE:   THAT'S SO STIPULATED.

09:29AM   13                 THE COURT:   OKAY.   SO YOU'VE GIVEN THE EXHIBIT.

09:29AM   14            NOW, DO YOU HAVE THOSE EXHIBIT NUMBERS IN ADVANCE NOW?

09:29AM   15                 MR. RATINOFF:   I HAVE A BINDER FOR YOUR HONOR.

09:29AM   16                 THE COURT:   OH, I HAVE THE BINDER.

09:29AM   17                 MR. RATINOFF:   YEP.    BUT THERE'S A LIST OF EXHIBITS

09:30AM   18      IN THE FRONT OF THE BINDER WHICH WE CAN ALSO MAKE AN ADDITIONAL

09:30AM   19      COPY.

09:30AM   20                 THE COURT:   DO YOU HAVE THAT, CHERE?

09:30AM   21                 THE CLERK:   I DON'T.   READ THEM JUST QUICKLY.

09:30AM   22                 MR. RATINOFF:   I HAVE GIVE YOU MINE.

09:30AM   23                 THE CLERK:   OKAY.

09:30AM   24                 MR. RATINOFF:   HOW ABOUT THAT?    (HANDING.)

09:30AM   25      ///



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09:30AM    1                              DIRECT EXAMINATION

09:30AM    2      BY MR. RATINOFF:

09:30AM    3      Q.   MR. BOYLES, HAVE YOU PREPARED A DEMONSTRATIVE TODAY?

09:30AM    4      A.   I HAVE.

09:30AM    5                 MR. RATINOFF:   YOUR HONOR, MAY I APPROACH THE

09:30AM    6      WITNESS?

09:30AM    7                 THE COURT:   YES.

09:30AM    8                 MR. RATINOFF:   (HANDING.)

09:30AM    9                 MR. BEENE:   YOUR HONOR, WE DO HAVE AN OBJECTION TO

09:30AM   10      THIS DEMONSTRATIVE EXHIBIT.     IT'S, I BELIEVE, 39 PAGES LONG.

09:30AM   11      AND IN OUR VIEW IT'S AN ATTEMPT TO AMEND THEIR ORIGINAL EXPERT

09:30AM   12      REPORT AND SUBSTITUTE IT WITH ANOTHER LENGTHY REPORT, AND

09:30AM   13      THAT'S INAPPROPRIATE TO TENDER THAT TO US LAST NIGHT.

09:31AM   14                 THE COURT:   YOU GAVE THIS LAST NIGHT?

09:31AM   15                 MR. RATINOFF:   YEAH, I PROVIDED THE DEMONSTRATIVE

09:31AM   16      LAST NIGHT, YOUR HONOR.

09:31AM   17                 THE COURT:   SO YOUR OBJECTION IS THAT YOU'RE NOT

09:31AM   18      SEEKING TO INTRODUCE THIS INTO EVIDENCE?

09:31AM   19                 MR. RATINOFF:   NO, YOUR HONOR.   THIS IS SIMPLY TO

09:31AM   20      ASSIST THE COURT AND THE WITNESS TO GO THROUGH HIS OPINIONS.

09:31AM   21                 THE COURT:   OKAY.

09:31AM   22                 MR. BEENE:   WELL, WE'VE AGREED THAT THEY HAVE 209,

09:31AM   23      WHICH IS THE ORIGINAL EXPERT REPORT.

09:31AM   24           WHAT THEY'RE TRYING TO DO IS TO USE THIS AS A NEW EXPERT

09:31AM   25      REPORT UNDER THE GUISE OF DEMONSTRATIVE EVIDENCE.     THEY'VE



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09:31AM    1      CHANGED THE NUMBERS IN HERE.

09:31AM    2           I THINK IT'S INAPPROPRIATE TO SUBMIT A -- AS A

09:31AM    3      DEMONSTRATIVE EVIDENCE SOMETHING THAT IS REALLY JUST AN AMENDED

09:31AM    4      EXPERT REPORT SERVED THE NIGHT BEFORE THE WITNESS TESTIFIES.

09:31AM    5                 THE COURT:    WELL, IF THIS WITNESS PREPARED AN EXPERT

09:31AM    6      REPORT, WHICH EVERYBODY HAS AND IT'S BEEN SUBMITTED TO THE

09:31AM    7      COURT, AND NOW HE TESTIFIES DIFFERENTLY, THAT'S CERTAINLY FAIR

09:32AM    8      GAME FOR CROSS-EXAMINATION, AND I EXPECT THAT YOU COULD RAISE

09:32AM    9      THAT IF YOU WOULD LIKE TO, WHICH WOULD SEVERELY AND PERHAPS

09:32AM   10      IMPACT THE CREDIBILITY OF A WITNESS.

09:32AM   11           AS YOU INDICATE, HE SUBMITTED A REPORT MONTHS AGO, AND

09:32AM   12      THEN ON THE EVE OF EXAMINATION HE SUBMITS TO YOU YET A

09:32AM   13      DIFFERENT REPORT THAT HAS DIFFERENT CALCULATIONS, THAT'S

09:32AM   14      CERTAINLY FODDER FOR CROSS-EXAMINATION AND WOULD GO TO THE

09:32AM   15      CREDIBILITY OF WHY A WITNESS DECIDED ON THE EVE OF HIS

09:32AM   16      TESTIMONY TO CHANGE HIS TESTIMONY PERHAPS IN A MORE FAVORABLE

09:32AM   17      WAY FOR THE CLIENT.

09:32AM   18           MY SENSE IS THAT THAT WOULD BE YOUR ARGUMENT AND CRITICISM

09:32AM   19      OF THE TESTIMONY.

09:32AM   20                 MR. BEENE:    WELL, I UNDERSTAND THAT, YOUR HONOR.

09:32AM   21      BUT THE LATENESS OF PROVIDING AN EXPERT REPORT AND EXPECTING US

09:32AM   22      TO REVIEW 39 PAGES TO 69 PAGES WHILE WE'RE TRYING THE CASE IS

09:33AM   23      SOMETHING THAT SHOULD LEAD TO STRIKING AN AMENDED REPORT, WHICH

09:33AM   24      IS WHAT THIS --

09:33AM   25                 THE COURT:    NO, I UNDERSTAND YOUR POSITION HERE.



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09:33AM    1           YOU GOT IT LAST NIGHT AT WHAT TIME?

09:33AM    2                  MR. BEENE:   I DON'T RECALL.   THERE'S A TON OF

09:33AM    3      EMAILS.   THERE WERE A FEW THINGS GOING ON.

09:33AM    4                  THE COURT:   SURE.   SURE.

09:33AM    5           ARE YOU ASKING FOR A CONTINUANCE SO YOU CAN REVIEW THIS

09:33AM    6      DOCUMENT?

09:33AM    7                  MR. BEENE:   NO.    THANK YOU, YOUR HONOR.

09:33AM    8                  THE COURT:   OKAY.

09:33AM    9                  MR. BEENE:   WE WOULD LIKE TO TRY THE CASE.

09:33AM   10                  THE COURT:   SURE.

09:33AM   11                  MR. BEENE:   PURSUANT TO FEDERAL RULES OF CIVIL

09:33AM   12      PROCEDURE 1, ECONOMICALLY AND JUSTIFIABLY GET IT RESOLVED.

09:33AM   13                  THE COURT:   WELL, LET ME OFFER YOU AN OPPORTUNITY --

09:33AM   14      I DON'T WANT YOU TO FEEL LIKE THIS HAS BEEN THRUST UPON YOU AT

09:33AM   15      THE LAST MINUTE, AND I UNDERSTAND THAT.      IT'S DIFFERENT THAN

09:33AM   16      THE EXPERT REPORT.

09:33AM   17           WE HAVE 20 MINUTES BEFORE I HAVE TO STEP DOWN.       MAYBE WE

09:34AM   18      SHOULD DEFER THIS WITNESS'S TESTIMONY TO GIVE YOU AN

09:34AM   19      OPPORTUNITY TO REVIEW THIS DOCUMENT DURING THE BREAK THAT WE'RE

09:34AM   20      GOING TO HAVE BEFORE THE WITNESS BEGINS HIS TESTIMONY.

09:34AM   21                  MR. BEENE:   MAY I -- THAT'S A GOOD IDEA, BUT MAYBE

09:34AM   22      USING YOUR TIME WISELY, I THINK LET'S START WITH THE CV.      WHY

09:34AM   23      DON'T WE DO THE NON-DEMONSTRATIVE, AND THEN YOU CAN DO YOUR

09:34AM   24      OTHER SO WE HAVE THE TIME ON THE TRIAL.

09:34AM   25                  THE COURT:   SURE.



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09:34AM    1                 MR. RATINOFF:    YOUR HONOR, I JUST WANT TO ADDRESS A

09:34AM    2      COUPLE OF POINTS WITH COUNSEL.     AS THE TESTIMONY WILL SHOW, AND

09:34AM    3      I'M NOT GOING TO TESTIFY ON MR. BOYLES'S BEHALF, BUT IT'S

09:34AM    4      IRONIC BECAUSE MR. BOYLES'S NUMBERS ARE ACTUALLY LOWER IN HIS

09:34AM    5      REPORT IN ONE RESPECT SO.

09:34AM    6           ALSO, THE NUMBERS THAT HE DID PROVIDE IN HIS REPORT ARE

09:34AM    7      WITHIN THE RANGE.    SO WE'LL GET TO THAT IN DETAIL, BUT WE DON'T

09:34AM    8      BELIEVE THAT THIS CONSTITUTES ANY CHANGE IN HIS OPINIONS OR HIS

09:34AM    9      CALCULATION SO.

09:34AM   10                 THE COURT:    YES.

09:34AM   11      BY MR. RATINOFF:

09:34AM   12      Q.   GOOD MORNING, MR. BOYLES.

09:34AM   13      A.   GOOD MORNING.

09:34AM   14      Q.   I THINK WE HAD FIRST TALKED ABOUT YOUR DEMONSTRATIVE.       YOU

09:35AM   15      PREPARED YOUR DEMONSTRATIVE FOR YOUR TESTIMONY HERE TODAY?

09:35AM   16      A.   I DID.

09:35AM   17      Q.   AND LET ME GO AHEAD AND BRING THAT UP, PLEASE.

09:35AM   18                 MR. ZEPEDA:    IT'S AEO.

09:35AM   19                 MR. RATINOFF:    OH, OKAY.   IT'S AEO.   THIS PART

09:35AM   20      ISN'T.

09:35AM   21                 THE COURT:    IS THIS ATTORNEYS' EYES ONLY?

09:35AM   22                 MR. RATINOFF:    PART OF IT IS, YOUR HONOR.

09:35AM   23      UNFORTUNATELY, THERE WASN'T A WAY TO ACTUALLY INDIVIDUALLY

09:35AM   24      DESIGNATE PAGES, SO WE'LL JUST CALL OUT THE FEW PAGES WHERE

09:35AM   25      THERE ARE AEO MATERIALS.



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09:35AM    1                   THE CLERK:    I'VE CLEARED THE ANNOTATION, BUT I DON'T

09:36AM    2      KNOW.

09:36AM    3                   MR. ZEPEDA:   MAYBE IT'S AFFECTING MY SCREEN.      DO YOU

09:36AM    4      SEE IT ON YOUR SCREEN?

09:36AM    5                   THE CLERK:    NO.   IT'S AFFECTING ALL OF THE SCREENS.

09:36AM    6                   MR. PICONE:   IS IT WHEN YOU MOVE THE CURSOR?

09:36AM    7                   THE CLERK:    HOW ARE YOU DISPLAYING?    ARE YOU DOING

09:36AM    8      WHAT YOU DID BEFORE?

09:36AM    9                   THE COURT:    WE ARE OFF THE RECORD ON THIS.

09:36AM   10           (PAUSE IN PROCEEDINGS.)

09:36AM   11                   THE COURT:    WE'RE BACK ON THE RECORD.

09:36AM   12      BY MR. RATINOFF:

09:36AM   13      Q.   MR. BOYLES, COULD YOU PLEASE INTRODUCE YOURSELF TO THE

09:36AM   14      COURT AND WHAT YOU'RE HERE TO DO TODAY?

09:36AM   15      A.   SURE.    I DON'T SEE IT ON MY SCREEN, BUT THAT'S OKAY.

09:37AM   16           AS I STATED, MY NAME IS STEVEN BOYLES.         I'VE BEEN

09:37AM   17      PRACTICING IN THE PUBLIC ACCOUNTING AND FINANCIAL ANALYSES

09:37AM   18      PROFESSION FOR APPROXIMATELY 25 YEARS NOW.

09:37AM   19           I'VE BEEN QUALIFIED AS AN EXPERT IN BUSINESS VALUATION AND

09:37AM   20      DAMAGE ANALYSIS, AMONG OTHER THINGS WITHIN THE FORENSIC ARENA,

09:37AM   21      SINCE 2008.

09:37AM   22           I AM A CERTIFIED PUBLIC ACCOUNTANT.       I'M CERTIFIED IN

09:37AM   23      FINANCIAL FORENSICS, I'M ACCREDITED IN BUSINESS VALUATION, I'M

09:37AM   24      AN ACCREDITED SENIOR APPRAISER.

09:37AM   25           I HAVE HISTORICALLY TAUGHT CLASSES WITHIN THE GRADUATE



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09:37AM    1      LEVEL PROGRAM AT GOLDEN GATE UNIVERSITY WITHIN THE MASTER'S

09:37AM    2      FORENSICS ACCOUNTING PROGRAM, SPECIFICALLY RELATED TO

09:37AM    3      CALCULATIONS OF ECONOMIC DAMAGES, FORENSIC ACCOUNTING AS AN

09:37AM    4      OVERVIEW, INTELLECTUAL PROPERTY DISPUTES, AND BUSINESS

09:37AM    5      VALUATION.

09:37AM    6           I'VE ALSO FURTHER AUTHORED CHAPTERS WITHIN A LOST PROFITS

09:38AM    7      TEXTBOOK SPECIFICALLY ON LOSS CAUSATION.

09:38AM    8           AND I'M CURRENTLY THE CO-CHAIR OF THE LITIGATION AND ADR

09:38AM    9      SPECIALTY GROUP OF AN INTERNATIONAL LEGAL AND ACCOUNTING

09:38AM   10      ORGANIZATION CALLED TAG ALLIANCES.

09:38AM   11      Q.   AND YOU'RE CURRENTLY EMPLOYED BY FIVE CORNERS GROUP;

09:38AM   12      CORRECT?

09:38AM   13      A.   CORRECT, I AM A MEMBER OF FIVE CORNERS CONSULTING.

09:38AM   14      Q.   AND WHAT HAS BEEN YOUR ROLE AT FIVE CORNERS CONSULTING?

09:38AM   15      A.   AS A MEMBER I HAVE GENERAL ADMINISTRATIVE DUTIES SUCH AS

09:38AM   16      SERVICING CLIENTS, BRINGING IN CLIENTS, COLLECTING REVENUES.

09:38AM   17           THE WORK THAT I DO PRIMARILY AND THE WORK THAT MY FIRM

09:38AM   18      PRIMARILY CONDUCTS IS WITHIN ACCOUNTING INVESTIGATIONS AND

09:38AM   19      DAMAGE ANALYSES PRIMARILY FOCUSSED ON INTELLECTUAL PROPERTY

09:38AM   20      DISPUTES.

09:38AM   21      Q.   AND HOW LONG HAVE YOU BEEN AT FIVE CORNERS?

09:38AM   22      A.   I JUST PASSED MY FIFTH YEAR ANNIVERSARY WITH THE FIRM.

09:39AM   23      Q.   AND WHERE WERE YOU PREVIOUSLY EMPLOYED BEFORE AT FIVE

09:39AM   24      CORNERS?

09:39AM   25      A.   PRIOR TO FIVE CORNERS I WAS WITH ANOTHER FORENSIC



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09:39AM    1      ACCOUNTING AND CONSULTING FIRM IN THE BAY AREA CALLED HEMMING

09:39AM    2      MORSE, WHICH IS M-O-R-S-E.

09:39AM    3      Q.   AND WHAT WAS YOUR ROLE AS HEMMING MORSE?

09:39AM    4      A.   IT WAS GENERALLY THE SAME AS MY ROLE IS NOW, I WAS A

09:39AM    5      PARTNER IN THAT FIRM AND SO I HAD THE SAME TYPE OF DUTIES.

09:39AM    6      PROFESSIONALLY MY PRACTICE STILL INVOLVED ASSESSMENT OF

09:39AM    7      ECONOMIC DAMAGES PRIMARILY WITH AN EMPHASIS ON INTELLECTUAL

09:39AM    8      PROPERTY MATTERS.

09:39AM    9      Q.   AND HOW LONG WERE YOU AT HEMMING MORSE?

09:39AM   10      A.   I BELIEVE IT WAS ABOUT SEVEN AND A HALF YEARS.

09:39AM   11      Q.   AND THEN PRIOR TO HEMMING MORSE, WHERE DID YOU WORK?

09:39AM   12      A.   PRIOR TO THAT I WAS WITH ANOTHER FORENSIC ACCOUNTING FIRM

09:39AM   13      IN THE BAY CALLED STONETURN, ONE WORD, GROUP.

09:39AM   14      Q.   AND WHAT DID YOUR ROLE ENTAIL AT STONETURN?

09:40AM   15      A.   AGAIN, GENERALLY THE SAME.     I WAS A MANAGING DIRECTOR IN

09:40AM   16      THAT FIRM.    I STARTED PROVIDING EXPERT WITNESS WORK BUT

09:40AM   17      STARTING IN THAT FIRM I WAS STILL A CONSULTING EXPERT

09:40AM   18      PRIMARILY, BUT IT WAS THE SAME TYPE OF DAMAGES ANALYSES AND

09:40AM   19      INTELLECTUAL PROPERTY MATTERS.

09:40AM   20      Q.   AND DID YOU PROVIDE A REPORT IN THIS CASE?

09:40AM   21      A.   I DID.

09:40AM   22      Q.   AND WOULD YOU PLEASE TURN TO TAB OR EXHIBIT 209.

09:40AM   23           I'LL NOTE FOR THE RECORD THIS REPORT HAS BEEN MARKED AEO.

09:40AM   24                   THE COURT:   I'M SORRY, SAY AGAIN.

09:40AM   25                   MR. RATINOFF:   THIS REPORT HAS BEEN MARKED



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09:40AM    1      ATTORNEYS' EYES ONLY.

09:40AM    2                  THE COURT:    OKAY.

09:40AM    3                  MR. RATINOFF:   SO WE WOULD NOT WANT TO DISPLAY IT.

09:40AM    4                  THE COURT:    OKAY.   THIS IS EXHIBIT 209?

09:40AM    5                  MR. RATINOFF:   CORRECT.   WE STIPULATED EARLIER THAT

09:40AM    6      THE EXHIBITS THAT MR. BOYLES WOULD TESTIFY TO WOULD BE

09:40AM    7      ADMITTED, SO -- BUT WE WOULD REQUEST THAT THIS ISN'T PUBLISHED

09:40AM    8      DUE TO ITS AEO NATURE.

09:41AM    9                  MR. BEENE:    EXCUSE ME.   WHAT WAS THE QUESTION?

09:41AM   10             THE EXHIBIT 209, THE WHOLE THING IS MARKED AEO, AND I

09:41AM   11      DON'T BELIEVE THE WHOLE THING IS AEO.

09:41AM   12             WE HAVE PEOPLE IN OUR STANDS I DON'T WANT MARCHING IN AND

09:41AM   13      OUT.

09:41AM   14             IS THERE SOME WAY -- I'VE TURNED OFF MR. SUHY'S MONITOR

09:41AM   15      JUST SO WE DON'T HAVE ANY ISSUES.

09:41AM   16             IS THERE SOME WAY THAT WHEN YOU DO IT, IF THERE IS

09:41AM   17      ACTUALLY SOMETHING THAT IS SENSITIVE, WE CAN STOP AND ASK

09:41AM   18      MR. KUHN TO LEAVE.

09:41AM   19                  THE COURT:    WHO IS THE WITNESS?   CAN YOU SPELL HIS

09:41AM   20      NAME.

09:41AM   21                  MR. BEENE:    K-U-H-N.

09:41AM   22                  THE COURT:    THANK YOU.   209 WAS NOT IN THE BINDER

09:41AM   23      THAT WAS PROVIDED TO ME.     I DO HAVE A COPY FROM THE CLERK.

09:41AM   24             DO YOU HAVE 209?

09:41AM   25                  MR. BEENE:    YES, YOUR HONOR.



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09:41AM    1                   THE COURT:   OKAY.   DO YOU HAVE THAT?   OKAY.

09:41AM    2      BY MR. RATINOFF:

09:41AM    3      Q.   MR. BOYLES, DID YOU INCLUDE A CV IN THIS REPORT?

09:42AM    4      A.   I DID, YES.

09:42AM    5      Q.   AND WHEN WAS THE DATE OF THIS REPORT?

09:42AM    6      A.   THIS WAS ISSUED ON DECEMBER 22ND OF 2022.

09:42AM    7      Q.   AND HAS YOUR CV CHANGED SINCE THAT TIME?

09:42AM    8      A.   IT HAS.

09:42AM    9      Q.   AND JUST GENERALLY, HOW HAS IT CHANGED?

09:42AM   10      A.   MY CV INCORPORATES TESTIMONY THAT I HAVE PROVIDED, AND

09:42AM   11      SINCE THAT DATE OF ISSUING THE REPORT I HAVE TESTIFIED IN

09:42AM   12      DEPOSITIONS AND TRIALS.

09:42AM   13      Q.   AND WOULD YOU PLEASE TURN TO EXHIBIT 208.

09:42AM   14           THIS IS NOT MARKED AEO SO IT CAN BE PUBLISHED.

09:42AM   15      A.   OKAY.

09:42AM   16      Q.   AND DO YOU RECOGNIZE WHAT HAS BEEN ADMITTED AS

09:42AM   17      EXHIBIT 208?

09:42AM   18      A.   I DO.

09:42AM   19      Q.   AND WHAT IS IT?

09:42AM   20      A.   THIS APPEARS TO BE MY MOST CURRENT CV.

09:42AM   21      Q.   AND THIS HAS YOUR FULL EMPLOYMENT AND EDUCATIONAL

09:43AM   22      BACKGROUND?

09:43AM   23      A.   IT DOES, YES.

09:43AM   24      Q.   AND BRIEFLY ON YOUR EDUCATIONAL BACKGROUND, DID YOU ATTEND

09:43AM   25      A FOUR YEAR UNIVERSITY?



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09:43AM    1      A.   I DID.   I ATTENDED AND GRADUATED FROM THE UNIVERSITY OF

09:43AM    2      SOUTH FLORIDA.   I GRADUATED IN 1998 WITH A BACHELOR'S OF

09:43AM    3      SCIENCE DEGREE WITH AN EMPHASIS IN ACCOUNTING.

09:43AM    4           I ALSO ATTENDED A FIFTH YEAR ACCOUNTING MASTER'S PROGRAM

09:43AM    5      WITHIN THE UNIVERSITY SO THAT I COULD OBTAIN THE EDUCATION

09:43AM    6      REQUIREMENTS TO SIT FOR THE CPA EXAM.

09:43AM    7      Q.   AND YOU OBTAINED A CPA?

09:43AM    8      A.   I DID.   AFTER SATISFYING MY EDUCATION AND EMPLOYMENT

09:43AM    9      REQUIREMENTS, I RECEIVED MY CPA I BELIEVE IN 2001, MAYBE THE

09:43AM   10      BEGINNING OF 2002.

09:43AM   11      Q.   AND YOU DESCRIBED YOUR WORK AS INVOLVING AND TESTIFYING AS

09:43AM   12      AN EXPERT; CORRECT?

09:43AM   13      A.   THAT IS AN ASPECT OF MY WORK, YES.

09:44AM   14      Q.   AND APPROXIMATELY HOW MANY TIMES HAVE YOU TESTIFIED AT A

09:44AM   15      TRIAL OR ARBITRATION?

09:44AM   16      A.   I BELIEVE IT'S APPROACHING OR RIGHT AROUND 30 TIMES.

09:44AM   17      Q.   AND DOES THAT INCLUDE TRADEMARK AND COPYRIGHT CASES?

09:44AM   18      A.   IT DOES.

09:44AM   19      Q.   AND YOU'VE TESTIFIED AT TRIAL IN TRADEMARK AND COPYRIGHT

09:44AM   20      CASES?

09:44AM   21      A.   YES, CORRECT.

09:44AM   22      Q.   AND AT ANY TIME WHEN YOU TESTIFIED AT TRIAL, WERE YOU

09:44AM   23      QUALIFIED AS AN EXPERT?

09:44AM   24      A.   YES.

09:44AM   25      Q.   AND AT ANY TIME WHEN YOU WERE QUALIFIED AS AN EXPERT, WAS



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09:44AM    1      YOUR TESTIMONY EXCLUDED?

09:44AM    2      A.   I DON'T BELIEVE SO, NO.

09:44AM    3      Q.   COULD YOU PLEASE BRIEFLY DESCRIBE WHAT YOU WERE TASKED TO

09:44AM    4      DO IN THIS PARTICULAR MATTER?

09:44AM    5      A.   BROADLY SPEAKING, I WAS ASKED TO QUANTIFY THE DAMAGES THAT

09:44AM    6      WERE EXPERIENCED BY NEO4J AS A RESULT OF THE ACTIONS OF

09:44AM    7      DEFENDANTS IN THIS CASE.

09:44AM    8           ULTIMATELY, THAT RESULTED IN ASSESSMENT OF LOST PROFITS

09:45AM    9      DAMAGES OR ACTUAL DAMAGES, AS WELL AS ASSESSMENTS OF UNJUST

09:45AM   10      ENRICHMENT FOR DEFENDANTS' PROFITS.

09:45AM   11      Q.   AND THEN APPROXIMATELY HOW MUCH TIME DID YOU SPEND ON THIS

09:45AM   12      MATTER?

09:45AM   13      A.   I BELIEVE IT WAS APPROXIMATELY 95 TO 105 HOURS THROUGH

09:45AM   14      ISSUANCE OF THE REPORT.

09:45AM   15      Q.   AND WERE YOU COMPENSATED FOR THIS TIME?

09:45AM   16      A.   I WAS, YES.

09:45AM   17      Q.   AND WHAT IS YOUR NORMAL HOURLY -- I'M SORRY, WHAT IS YOUR

09:45AM   18      NORMAL HOURLY RATE THAT YOU CHARGE?

09:45AM   19      A.   THE RATE THAT MY FIRM RECEIVED WAS 525 AN HOUR FOR MY TIME

09:45AM   20      AND LESSER RATES FOR OTHER PEOPLE'S TIME.

09:45AM   21      Q.   SO OTHER PEOPLE ASSISTED YOU IN PROVIDING AN OPINION IN

09:45AM   22      THIS CASE?

09:45AM   23      A.   YES.    I UTILIZED ONE OF MY PARTNERS, SCOTT SPERTZEL, TO

09:45AM   24      ASSIST ME IN THIS MATTER.       SPERTZEL IS S-P-E-R-T-Z-E-L.

09:46AM   25           AND MORE RECENTLY I UTILIZED A STAFF INDIVIDUAL TO ASSIST



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09:46AM    1      WITH SOME ADDITIONAL PREJUDGMENT INTEREST CALCULATIONS.

09:46AM    2      Q.   DID ANY OF THOSE INDIVIDUALS PROVIDE SUBSTANTIVE INPUT IN

09:46AM    3      YOUR OPINIONS?

09:46AM    4      A.   I WOULD SAY THAT MR. SPERTZEL ASSISTED ME DURING THE

09:46AM    5      GENERATION OF THE REPORT, BUT THE OPINIONS AND ANALYSES ARE ALL

09:46AM    6      MY OWN.

09:46AM    7                 MR. RATINOFF:   YOUR HONOR, I WOULD LIKE TO REQUEST

09:46AM    8      TO HAVE MR. BOYLES QUALIFIED AS A DAMAGES EXPERT IN THIS CASE.

09:46AM    9                 THE COURT:   AS A DAMAGES EXPERT?

09:46AM   10                 MR. RATINOFF:   YES.

09:46AM   11                 THE COURT:   AND IN WHAT AREA?   WHAT?

09:46AM   12                 MR. RATINOFF:   TRADEMARK AND DMCA COPYRIGHT DAMAGES

09:46AM   13      IN THE FORM OF LOST PROFITS.

09:46AM   14                 THE COURT:   OKAY.

09:46AM   15                 MR. RATINOFF:   AND DEFENDANTS' PROFITS AS A

09:46AM   16      SUBSTITUTE FOR ACTUAL DAMAGES OR AS A DISGORGEMENT REMEDY.

09:47AM   17                 THE COURT:   COUNSEL, ANY OBJECTION?

09:47AM   18                 MR. BEENE:   NO OBJECTION, YOUR HONOR.

09:47AM   19                 THE COURT:   ALL RIGHT.   THIS WITNESS WILL BE SO

09:47AM   20      QUALIFIED, AND THE COURT WILL ACCEPT THE TESTIMONY AS SUCH.

09:47AM   21      BY MR. RATINOFF:

09:47AM   22      Q.   AND WHAT GENERAL TYPE OF MATERIALS DID YOU CONSIDER IN

09:47AM   23      FORMING YOUR OPINIONS IN THIS CASE?

09:47AM   24      A.   THERE WERE A LOT OF MATERIALS THAT WERE PROVIDED TO ME.

09:47AM   25      CERTAINLY I TEND TO START WITH REVIEWING THE PLEADINGS, ANY



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09:47AM    1      INTERROGATORY RESPONSES OR RELATED TYPE OF DOCUMENTS;

09:47AM    2           I BELIEVE EARLY ON I RECEIVED THE SUMMARY JUDGMENT ORDER

09:47AM    3      THAT WAS ISSUED IN MAY OF 2021;

09:47AM    4           THERE WERE A NUMBER OF FINANCIAL DOCUMENTS FROM BOTH

09:47AM    5      PARTIES, OR ALL PARTIES;

09:47AM    6           CERTAINLY PRICE LISTS PROVIDED BY NEO4J;

09:47AM    7           THERE WERE BANK STATEMENTS, PROFIT AND LOSS STATEMENTS,

09:47AM    8      INVOICES, CANCELLED CHECKS AND OTHER THINGS PROVIDED BY

09:47AM    9      DEFENDANTS;

09:47AM   10           THERE WERE A NUMBER OF DEPOSITION TESTIMONIES THAT I

09:47AM   11      REVIEWED;

09:48AM   12           THERE WAS ALSO VARIOUS EMAIL COMMUNICATIONS AMONG THE

09:48AM   13      PARTIES THAT WERE REVIEWED INITIALLY.

09:48AM   14      Q.   AND DO YOU RECALL -- DO YOU HAVE YOUR DEMONSTRATIVE UP

09:48AM   15      HERE?

09:48AM   16      A.   I HAVE A COPY OF IT.

09:48AM   17      Q.   IS IT ON THE SCREEN?

09:48AM   18      A.   I DO NOT ON THE SCREEN.

09:48AM   19      Q.   I DON'T EITHER.

09:48AM   20           WELL, I THINK AT THIS POINT -- YOUR HONOR, DO YOU HAVE A

09:48AM   21      HARD COPY?

09:48AM   22                   THE COURT:   I DO.

09:48AM   23                   MR. RATINOFF:   OKAY.   MAYBE WE SHOULD JUST STICK

09:48AM   24      WITH THE HARD COPY AND YOU JUST TELL US WHEN TO TURN THE PAGES.

09:48AM   25           WE'RE HAVING SOME TECHNICAL DIFFICULTY?



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09:48AM    1           ALL RIGHT.    IT'S BACK.

09:48AM    2      Q.   AND THEN YOU MENTIONED DEPOSITION TESTIMONY THAT YOU

09:48AM    3      REVIEWED?

09:48AM    4      A.   YES.

09:48AM    5      Q.   AND WHICH DEPOSITION TESTIMONY DID YOU REVIEW?

09:48AM    6      A.   I BELIEVE I REVIEWED DEPOSITION TESTIMONY FROM MR. SUHY;

09:48AM    7      MR. DUNN OF THE IRS; MR. STAVRIANOS OF ASR; MR. WEYANT OF I

09:48AM    8      BELIEVE IT'S CACI.   IT WAS NEXT CENTURY'S SUCCESSOR ENTITY.

09:49AM    9           I DON'T RECALL IF I -- THERE MAY HAVE BEEN OTHERS.     THOSE

09:49AM   10      ARE THE ONES COMING TO MIND.

09:49AM   11      Q.   AND THIS IS WHAT YOU CONSIDERED IN PREPARING YOUR REPORT?

09:49AM   12      A.   CORRECT.

09:49AM   13      Q.   SINCE YOU PREPARED YOUR REPORT, DID YOU CONSIDER ANY

09:49AM   14      ADDITIONAL MATERIALS?

09:49AM   15      A.   I DID, YES.

09:49AM   16      Q.   OKAY.

09:49AM   17      A.   I RECEIVED MORE RECENTLY THE SUMMARY JUDGMENT ORDER THAT

09:49AM   18      WAS ISSUED I BELIEVE IN OCTOBER OF THIS YEAR RELATED TO THIS

09:49AM   19      CASE;

09:49AM   20           I RECEIVED THE STIPULATION OF UNDISPUTED FACTS THAT WERE

09:49AM   21      ISSUED IN THIS CASE; AND,

09:49AM   22           THEN I'VE REVIEWED THE TRIAL TESTIMONY OF MR. ZAGALASKY

09:49AM   23      AND MS. ZAWALSKI, WHICH WAS CONSISTENT I BELIEVE IN MOST

09:49AM   24      RESPECTS TO THE INTERVIEWS THAT I CONDUCTED OF THEM IN DECEMBER

09:49AM   25      OF 2022.



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09:49AM    1      Q.   WAS THERE ANYTHING IN THESE NEW MATERIALS THAT CAUSED YOU

09:50AM    2      TO CHANGE YOUR CALCULATIONS?

09:50AM    3      A.   THE TESTIMONY THAT I REVIEWED OF MR. ZAGALASKY AND

09:50AM    4      MS. ZAWALSKI QUALIFIED, I BELIEVE -- CERTAINLY MR. ZAGALASKY'S

09:50AM    5      TESTIMONY CLARIFIED THE RESELLER MARGIN PERCENTAGE AND HOW THAT

09:50AM    6      WOULD BE APPLIED.

09:50AM    7           AND SO THE CALCULATIONS -- ALTHOUGH THE METHODOLOGY WAS

09:50AM    8      IDENTICAL THAT I DEPLOYED IN THESE UPDATED CALCULATIONS, THE

09:50AM    9      FIGURES WERE DIFFERENT.    SO THE RATE WAS A DIFFERENT RATE THAT

09:50AM   10      HE TESTIFIED TO THAN WHAT I UNDERSTOOD IN GENERATING MY REPORT

09:50AM   11      AND HOW IT WAS TO BE APPLIED.

09:50AM   12      Q.   AND DO YOU RECALL WHAT THE DIFFERENCE IN RESELLER MARGIN

09:50AM   13      OR WHAT THE DIFFERENCE IN RESELLER MARGINS WERE?

09:50AM   14      A.   YES.   THE -- INITIALLY MY UNDERSTANDING WAS THAT THE

09:50AM   15      RESELLER MARGIN GENERALLY RANGED BETWEEN 5 AND 10 PERCENT.

09:51AM   16           I BELIEVE FOR PURPOSES OF MY REPORT WE UTILIZED A

09:51AM   17      6 PERCENT RATE BASED ON A PARTICULAR COMPANY THAT WE REVIEWED.

09:51AM   18           THE APPLICATION OF THAT MARGIN WITHIN MY REPORT APPLIED

09:51AM   19      THAT EXPENSE ONLY TO THE FIRST YEAR OF THE LICENSING AGREEMENT,

09:51AM   20      WHEREAS WHAT I UNDERSTAND FROM THE TESTIMONY OF MR. ZAGALASKY

09:51AM   21      IS THAT THEY WOULD USE INTELLIPEAK AS THEIR PREFERRED PROVIDER

09:51AM   22      WHO HAS A HIGHER RATE AT 7 PERCENT, AND THAT COST IS APPLICABLE

09:51AM   23      TO THE ENTIRE LICENSING STRUCTURE.

09:51AM   24           SO IT ACTUALLY INCREASES COSTS AND DRIVES THE PROFITS

09:51AM   25      DOWN.



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09:51AM    1      Q.   SO THE NET EFFECT WAS WHAT, IMPLYING THAT INTELLIPEAK

09:51AM    2      7 PERCENT ACROSS THE BOARD?

09:51AM    3      A.   THE APPLICATION TO MY CALCULATIONS WAS TO REDUCE THE LOST

09:51AM    4      PROFIT FIGURES.

09:52AM    5      Q.   IT DIDN'T INCREASE?

09:52AM    6      A.   THAT ASPECT DID NOT INCREASE THE CALCULATIONS, NO.

09:52AM    7      Q.   AND DID YOU -- STRIKE THAT.

09:52AM    8           AND CAN YOU GIVE THE COURT -- I'M SORRY.       CAN YOU GIVE THE

09:52AM    9      COURT AN OVERVIEW OF WHAT YOUR OPINIONS WERE AFTER REVIEWING

09:52AM   10      ALL OF THESE MATERIALS?

09:52AM   11      A.   SURE.   SO THE NEXT SLIDE I SUMMARIZED THE OPINIONS THAT

09:52AM   12      ARE PREPARED IN THIS DEMONSTRATIVE, WHICH AS COUNSEL REFERENCED

09:52AM   13      EARLIER, IT'S SORT OF FRAME WORKING AROUND THE CALCULATIONS

09:52AM   14      WITHIN THE INITIAL REPORT.

09:52AM   15           SO AS WE CAN SEE ON THIS SLIDE, I'VE PROVIDED THE COURT

09:52AM   16      WITH A LOW AND A HIGH END RANGE IN PART BASED ON THE

09:52AM   17      CALCULATION THAT I JUST DESCRIBED.

09:52AM   18           BUT AT THE TOP OF THIS SCHEDULE IT TALKS ABOUT THE LOST

09:52AM   19      PROFIT CALCULATIONS OR THE ACTUAL DAMAGES TO NEO4J, THE LOW END

09:53AM   20      BEING -- SHOULD I SPEAK THE NUMBERS?      I'M SORRY, I DON'T KNOW

09:53AM   21      WHERE WE ARE WITH AEO INFORMATION.

09:53AM   22      Q.   THAT'S FINE.    I THINK THE ONLY THING THAT WE'RE CONCERNED

09:53AM   23      ABOUT FOR AEO WOULD BE PRICE LISTS AND THEN PARTICULAR ISSUES

09:53AM   24      DEALING WITH FINANCIAL STATEMENTS FROM NEO4J?

09:53AM   25      A.   UNDERSTOOD.    THANK YOU.



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09:53AM    1           SO FROM A LOST PROFITS PERSPECTIVE, BASED ON THE TWO

09:53AM    2      CUSTOMERS OR CLIENTS THAT WE'VE ASSESSED POTENTIAL LOST PROFITS

09:53AM    3      FOR, THE RANGE IS APPROXIMATELY $4.4 MILLION TO $5.46 MILLION

09:53AM    4      OF LOST PROFITS.

09:53AM    5           THAT'S SOMEWHAT IN THE RANGE.       I BELIEVE THE ORIGINAL

09:53AM    6      RANGE OF DAMAGES WAS SLIGHTLY HIGHER THAN THE LOW END AND LOWER

09:53AM    7      THAN THE HIGH END.    SO IT'S IN THE REALM.

09:53AM    8           AS FAR AS THE DEFENDANTS' PROFITS THAT WE HAVE CALCULATED,

09:53AM    9      BASED ON THE ANALYSIS CONDUCTED, I'VE ASSESSED THOSE AT

09:53AM   10      APPROXIMATELY $1.56 MILLION.

09:53AM   11      Q.   AND WAS THERE ANY CHANGE IN YOUR ANALYSIS WITH THE

09:54AM   12      DEFENDANTS' PROFITS SINCE YOU PREPARED YOUR REPORT?

09:54AM   13      A.   NO, I WOULDN'T SAY THAT THERE WAS ANY CHANGE IN EITHER

09:54AM   14      FROM A METHODOLOGY PERSPECTIVE, BUT THE NUMBERS DID NOT CHANGE

09:54AM   15      IN RELATION TO MY REPORT IN REGARDS TO DEFENDANTS' PROFITS.

09:54AM   16                   MR. RATINOFF:   YOUR HONOR, I WANT TO BE MINDFUL OF

09:54AM   17      YOUR TIME.    I THINK THIS WOULD BE A PERFECT TIME TO STOP.

09:54AM   18                   THE COURT:    OKAY.   LET'S DO THAT.   LET'S TAKE A

09:54AM   19      BREAK NOW.    THANK YOU.

09:54AM   20           WE'LL CONTINUE WITH THE TESTIMONY AFTER THE BREAK AND IN

09:54AM   21      HOPEFULLY ABOUT 45 MINUTES.

09:54AM   22           DURING THIS TIME, COUNSEL CAN REVIEW BOTH THE REPORT AS

09:54AM   23      WELL AS THE DEMONSTRATIVE, AND WE CAN TAKE THAT UP IF YOU WOULD

09:54AM   24      LIKE BEFORE THE WITNESS TESTIFIES.

09:54AM   25           WE'LL BE IN RECESS.      THANK YOU.



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09:54AM    1                 MR. RATINOFF:   THANK YOU, YOUR HONOR.

09:54AM    2           (RECESS FROM 9:54 A.M. UNTIL 11:15 A.M.)

11:15AM    3                 THE COURT:   WE'RE BACK ON THE RECORD.    ALL PARTIES

11:15AM    4      PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

11:15AM    5           WE'LL ASK MR. BOYLES TO RETURN TO THE STAND.

11:16AM    6           BEFORE WE GO FURTHER, I WANTED TO ASK COUNSEL, DID YOU

11:16AM    7      HAVE AN OPPORTUNITY TO REVIEW THE DEMONSTRATIVE?

11:16AM    8                 MR. BEENE:   YES, YOUR HONOR, AND WE HAVE REACHED A

11:16AM    9      STIPULATION --

11:16AM   10                 THE COURT:   OH.

11:16AM   11                 MR. BEENE:   -- ON THE SUMMARY OF OPINION TO DISPENSE

11:16AM   12      WITH THE TESTIMONY MOVING FORWARD.      HE HAS A FEW QUESTIONS HE

11:16AM   13      WANTS TO TALK ABOUT, BUT WE'RE GOING TO -- HE'S GOING TO

11:16AM   14      IDENTIFY SOME OF THE PAGES ON THE DEMONSTRATIVE EVIDENCE, AND

11:16AM   15      THEN I THINK THOSE PAGES CAN BE CONSIDERED EVIDENCE OR

11:16AM   16      STIPULATION, HOWEVER YOU WANT TO HANDLE IT.

11:16AM   17                 THE COURT:   OKAY.   SO LET ME JUST ASK A QUESTION.

11:16AM   18      SO 209, IS THAT THE REPORT?

11:16AM   19                 MR. RATINOFF:   YES, YOUR HONOR.    AND I BELIEVE IT

11:16AM   20      ACTUALLY WASN'T ADMITTED BECAUSE IT WASN'T ON THE INDEX LIST.

11:17AM   21      IT WAS POINTED OUT TO ME DURING THE BREAK.

11:17AM   22           SO I WOULD ASK THAT 209 BE ADMITTED.

11:17AM   23                 THE COURT:   ANY OBJECTION?

11:17AM   24                 MR. BEENE:   NO OBJECTION.

11:17AM   25                 THE COURT:   ALL RIGHT.   THAT WILL BE ADMITTED.



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11:17AM    1           (PLAINTIFFS' EXHIBIT 209 WAS RECEIVED IN EVIDENCE.)

11:17AM    2                 THE COURT:    FOR THE PUBLIC RECORD, HOWEVER, THERE

11:17AM    3      ARE SOME PAGES THAT ARE AEO, AND BEFORE IT'S ADMITTED, I'LL ASK

11:17AM    4      YOU TO REVIEW THOSE AND REDACT THOSE BEFORE IT GOES ON THE

11:17AM    5      PUBLIC FILE.

11:17AM    6                 MR. RATINOFF:    ABSOLUTELY, YOUR HONOR.   WE DO HAVE A

11:17AM    7      REDACTED VERSION.    I CAN GET THAT ON FILE OR SEND IT.

11:17AM    8                 THE COURT:    SURE.   YOU CAN COORDINATE WITH OUR

11:17AM    9      COURTROOM DEPUTY.

11:17AM   10                 MR. RATINOFF:    RIGHT.   AND I'LL GET THAT TO YOU.

11:17AM   11           BUT I GUESS IT'S SOMEWHAT MOOTED.      AS COUNSEL MENTIONED,

11:17AM   12      WE STIPULATED.   IF YOU WOULD LOOK AT PAGE 4 OF THE

11:17AM   13      DEMONSTRATIVE OR SLIDE 4.

11:17AM   14                 THE COURT:    YES.

11:17AM   15                 MR. RATINOFF:    WE STIPULATED TO THESE AMOUNTS, THE

11:17AM   16      RANGE FOR BOTH NEXT CENTURY, MPO, AND THE INTERNAL REVENUE

11:17AM   17      SERVICE IS LOST NET PROFITS FOR NEO4J.

11:18AM   18           BUT BECAUSE THERE IS A RANGE, I DO WANT TO HAVE

11:18AM   19      MR. BOYLES, FOR THE COURT'S BENEFIT, EXPLAIN HOW OR WHY THOSE

11:18AM   20      RANGES EXIST AND HOW WE GOT TO THEM.      SO THAT WOULD BE VERY

11:18AM   21      BRIEF, MUCH MORE BRIEF THAN ORIGINALLY ANTICIPATED.

11:18AM   22           WITH RESPECT TO THE SECOND PIECE OF DEFENDANTS' PROFIT

11:18AM   23      SUBJECT TO DISGORGEMENT OR AS A SUBSTITUTE FOR PLAINTIFFS'

11:18AM   24      PROFITS, WE'VE STIPULATED TO THESE AMOUNTS BEING PAID IN TOTAL

11:18AM   25      TO MR. SUHY AND/OR IGOV.



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11:18AM    1           IN THE CASE OF ASR ANALYTICS, THE CONTRACT IS WITH IGOV,

11:18AM    2      BUT WITH THE INTERNAL REVENUE SERVICE, I BELIEVE THE FIRST

11:18AM    3      $300,000 WAS PAID TO MR. SUHY PERSONALLY AND THEN THE REMAINDER

11:18AM    4      WAS EITHER -- THERE WAS SOME SWITCH OVER TO IGOV BEING THE

11:18AM    5      RECIPIENT.

11:18AM    6           IS THAT FAIR?

11:18AM    7                   MR. BEENE:   YES.    ON THE SLIDE DECK, PAGE 29

11:18AM    8      SHOWS -- IT'S CALLED DEFENDANTS' PROFITS TOTAL OF 1,562,083.

11:19AM    9      THAT IS A CALCULATION OF THE PROFITS THAT EITHER IGOV AND/OR

11:19AM   10      JOHN SUHY RECEIVED, SO THAT THAT NUMBER IS CALCULATED

11:19AM   11      ACCURATELY AND IT'S THE AMOUNT OF.

11:19AM   12                   THE COURT:   OKAY.

11:19AM   13                   MR. BEENE:   WE'RE JUST -- WE'RE AGREEING TO THE

11:19AM   14      AMOUNTS, NOT TO CAUSATION.

11:19AM   15                   THE COURT:   UNDERSTOOD.

11:19AM   16           WHAT I WOULD LIKE YOU TO DO THEN IS TO FILE A STIPULATION.

11:19AM   17                   MR. RATINOFF:   SURE.

11:19AM   18                   THE COURT:   JUST PUT THIS IN A STIPULATION SO THE

11:19AM   19      RECORD IS CLEAR AS TO WHAT THESE FIGURES ARE.

11:19AM   20                   MR. BEENE:   SURE.

11:19AM   21                   THE COURT:   WHAT THE STIPULATION CAPTURES.

11:19AM   22           DOES THAT MAKE SENSE?

11:19AM   23                   MR. RATINOFF:   YES, YOUR HONOR.   AND MR. BOYLES WILL

11:19AM   24      PROVIDE TESTIMONY IN THE RECORD, AND WE'LL CITE TO HIS

11:19AM   25      TESTIMONY IN THE STIPULATION TO EXPLAIN THE RANGES I GUESS



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11:19AM    1      WOULD BE THE BEST WAY TO DO IT.

11:19AM    2                 THE COURT:   OKAY.

11:19AM    3                 MR. BEENE:   SO I THINK THAT'S A LONGER ANSWER TO

11:19AM    4      YOUR QUESTION, BUT MAYBE A BETTER ANSWER TO YOUR QUESTION.

11:20AM    5                 THE COURT:   WELL, THANK YOU.

11:20AM    6           THE QUESTION I WAS GOING TO ASK INITIALLY IS DO YOU NEED

11:20AM    7      MORE TIME TO REVIEW ANY OF THIS?     IT SOUNDS LIKE --

11:20AM    8                 MR. BEENE:   WE'VE TAKEN CARE OF IT.

11:20AM    9                 THE COURT:   OKAY.   THANK YOU.

11:20AM   10                 MR. BEENE:   THANK YOU.

11:20AM   11                 THE COURT:   ANYTHING FURTHER BEFORE WE CONTINUE WITH

11:20AM   12      THE WITNESS'S TESTIMONY?

11:20AM   13                 MR. RATINOFF:   NO, YOUR HONOR.

11:20AM   14                 THE COURT:   ANYTHING FROM THE DEFENSE BEFORE WE

11:20AM   15      CONTINUE WITH THE TESTIMONY OF THIS WITNESS?

11:20AM   16                 MR. BEENE:   NO, YOUR HONOR.

11:20AM   17                 THE COURT:   OKAY.   THANK YOU.

11:20AM   18      BY MR. RATINOFF:

11:20AM   19      Q.   ALL RIGHT.    MR. BOYLES, AS YOU'VE HEARD, THERE'S BEEN A

11:20AM   20      DISCUSSION AMONGST THE PARTIES AND SORT OF NARROWING THE SCOPE

11:20AM   21      OF YOUR TESTIMONY HERE TODAY.

11:20AM   22           BUT AS YOU MENTIONED EARLIER, YOU DETERMINED THERE WAS A

11:20AM   23      RANGE OF DAMAGES POTENTIALLY FOR BOTH THE NEXT CENTURY, MPO

11:20AM   24      LOST SALE OPPORTUNITY, AND THE IRS USE OF ONGDB; CORRECT?

11:20AM   25      A.   CORRECT.



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11:20AM    1      Q.   AND FOR THE COURT'S BENEFIT, I THINK WE CAN START WITH --

11:21AM    2      LET'S SEE, I THINK IT'S SLIDE 13.

11:21AM    3           ACTUALLY, LET'S BACK UP THERE FOR A SECOND JUST SO WE'RE

11:21AM    4      CLEAR.   THIS PARTICULAR PAGE IS AEO, SO I WOULD JUST HAVE IT

11:21AM    5      NOT PUBLISHED AT THIS TIME.

11:21AM    6                  THE COURT:   WHAT PAGE?

11:21AM    7                  MR. RATINOFF:   IT'S PAGE 11.

11:21AM    8                  THE COURT:   OKAY.   BEFORE WE PUBLISH THAT, WE'LL

11:21AM    9      TAKE IT DOWN ON OUR SCREENS.

11:21AM   10                  THE CLERK:   IT'S NOT SHOWN TO THE PUBLIC,

11:21AM   11      YOUR HONOR.

11:21AM   12                  THE COURT:   OKAY.   WAS IT SHOWN ON YOUR SCREEN?

11:21AM   13                  THE WITNESS:    IT WAS.

11:21AM   14                  THE COURT:   NOT NOW?

11:21AM   15                  THE WITNESS:    NOT NOW.

11:21AM   16                  THE COURT:   SO YOU HAVE A HARD COPY THOUGH?

11:21AM   17                  THE WITNESS:    NOW IT'S BACK UP.

11:21AM   18                  THE COURT:   OKAY.

11:21AM   19      BY MR. RATINOFF:

11:21AM   20      Q.   AND THIS CHART IS IN REFERENCE TO A PARTICULAR EXHIBIT;

11:21AM   21      CORRECT?

11:21AM   22      A.   ARE YOU TALKING ABOUT PAGE 11?

11:21AM   23      Q.   YES.

11:21AM   24      A.   YES, IT IS.

11:22AM   25      Q.   AND CAN YOU BRIEFLY EXPLAIN WHAT YOU UNDERSTAND THE CHART



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11:22AM    1      ON PAGE 11 TO BE?

11:22AM    2      A.   YES.   THIS IS AN EXTRACTION FROM A PROPOSAL THAT WAS

11:22AM    3      PROVIDED BY NEO4J TO NEXT CENTURY OR MPO RELATED TO A PROPOSED

11:22AM    4      LICENSE AGREEMENT WITH BOTH GROSS AND WITH POTENTIAL DISCOUNTS

11:22AM    5      FOR PREPAYMENT.

11:22AM    6      Q.   AND THIS IS A LOST SALE THAT YOU IDENTIFIED?

11:22AM    7      A.   YES, IT IS.

11:22AM    8      Q.   AND HOW DID YOU IDENTIFY THIS LOST SALE?

11:22AM    9      A.   WELL, INITIALLY I UNDERSTOOD THAT THE COURT HAD ALREADY

11:22AM   10      PROVIDED AN ORDER THAT THIS WAS IDENTIFIED AS A LOST SALE.

11:22AM   11           IN FURTHERANCE TO THAT, I, THROUGH MY ANALYSIS, I DID

11:22AM   12      IDENTIFY THAT THE PROPOSAL MET THE PARAMETERS THAT THE

11:22AM   13      NEXT CENTURY AND MPO WERE LOOKING FOR AS FAR AS THE NUMBER OF

11:22AM   14      MACHINES AND THE NUMBER OF CORES THAT WERE DESIRED AND THE TYPE

11:23AM   15      OF FEATURES THAT WERE PRESENTED OR PROVIDED FOR WITHIN NEO4J

11:23AM   16      WAS APPROPRIATE FOR WHAT THEIR NEEDS WERE AND THE ONLY

11:23AM   17      ALTERNATIVE SEEMED TO BE THE ONGDB.

11:23AM   18      Q.   AND THEN I NOTE THAT THERE ARE TWO NUMBERS THAT ARE

11:23AM   19      HIGHLIGHTED HERE IN PAGE 11 ON THIS TABLE.

11:23AM   20      A.   YES.

11:23AM   21      Q.   AND WHY ARE THOSE NUMBERS HIGHLIGHTED?

11:23AM   22      A.   WELL, THE FIRST NUMBER ON THE FAR RIGHT IS IDENTIFIED AS

11:23AM   23      TOTAL SUBSCRIPTION FEE.    THAT IS THE GROSS FEE OF A LICENSE

11:23AM   24      OVER A THREE YEAR PERIOD, ASSUMING THERE'S NO DISCOUNT.

11:23AM   25           SO THE ASSUMPTION OF THAT FIGURE IS THAT THERE WOULD NOT



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11:23AM    1      BE A PREPAYMENT AS WAS REFLECTED WITHIN THE LICENSE PROPOSAL.

11:23AM    2             THE SECOND FIGURE IDENTIFIED OR HIGHLIGHTED IS THE

11:23AM    3      $2.26 MILLION FIGURE.    THAT IS UNDER THE ASSUMPTION THAT A

11:23AM    4      MULTI YEAR SUBSCRIPTION WITH UP-FRONT PAYMENT IS AGREED TO BY

11:24AM    5      THE PARTIES AND SO THERE WOULD BE A 15 PERCENT DISCOUNT,

11:24AM    6      ASSUMING THAT THAT PAYMENT IS PROVIDED UP-FRONT.

11:24AM    7                  THE COURT:   ARE THESE FIGURES, ARE THESE FIGURES

11:24AM    8      AEO?

11:24AM    9                  MR. RATINOFF:   NO, THE FIGURES THEMSELVES ARE NOT.

11:24AM   10      IT'S THE COSTS AND THINGS LIKE THAT THAT ARE.

11:24AM   11                  THE COURT:   OKAY.    SO I DON'T NEED TO STRIKE THE

11:24AM   12      22 -- THE NUMBER THAT WAS STATED?

11:24AM   13                  MR. RATINOFF:   NO.

11:24AM   14                  THE COURT:   OKAY.

11:24AM   15                  MR. RATINOFF:   THANK YOU, YOUR HONOR, THOUGH, FOR

11:24AM   16      THAT.

11:24AM   17      Q.     AND THEN TURNING TO SLIDE 13, CAN YOU PLEASE WALK THE

11:24AM   18      COURT THROUGH WHAT THESE NUMBERS REPRESENT AND WHY THERE'S TWO

11:24AM   19      COLUMNS FOR DISCOUNTED FEE AND UNDISCOUNTED FEE CALCULATIONS?

11:24AM   20      A.     CERTAINLY.   SO THIS IS THE SUMMARY CALCULATION OF LOST

11:24AM   21      PROFITS.

11:24AM   22             STARTING WITH THE DISCOUNTED FEE ON THE LEFT, WHICH IS

11:24AM   23      SORT OF THE MIDDLE COLUMN, WE START WITH THE 2,266,000 THAT WE

11:25AM   24      JUST SAW FROM SLIDE 11.     THAT IS THE DISCOUNTED FEE.

11:25AM   25             SO THE ASSUMPTION HERE IS THAT THE PARTIES WOULD HAVE



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11:25AM    1      ENTERED INTO A LICENSING AGREEMENT, THREE YEAR LICENSING

11:25AM    2      UP-FRONT PAYMENT, INCLUDING A 15 PERCENT DISCOUNT AGAINST THE

11:25AM    3      FEE.

11:25AM    4             WE THEN HAVE PROVIDED THE RESELLER FEE OF 7 PERCENT, WHICH

11:25AM    5      IS APPLICABLE TO THE ENTIRETY OF THE LICENSING REVENUE.       SO

11:25AM    6      2,266,000 TIMES 7 PERCENT IS 158,687.

11:25AM    7             THAT IS THEN SUBTRACTED FROM THE FEE TO THEN APPLY THE

11:25AM    8      NEXT LEVEL OF COSTS.   SO WE'RE LEFT WITH 2,108,000 ROUGHLY.

11:25AM    9             WE THEN APPLY EMPLOYEE COMMISSIONS.   THE RATE WE INITIALLY

11:25AM   10      SET IN MY REPORT WAS 15.26 PERCENT.     THAT 15.26 PERCENT IS

11:26AM   11      APPLIED TO THE ENTIRE $2.1 MILLION SUBTOTAL.

11:26AM   12             AND THE REASON IT'S APPLIED TO THE ENTIRE FIGURE IS THAT

11:26AM   13      IT'S AN UP-FRONT PAYMENT AND SO THE COMMISSIONS ARE PROVIDED

11:26AM   14      FOR IN THE YEAR THAT THE CONTRACT IS PAID, THE FIRST YEAR

11:26AM   15      EFFECTIVELY.

11:26AM   16             SO SINCE IT'S ALL PAID IN THE FIRST YEAR, THAT EMPLOYEE

11:26AM   17      COMMISSION IS MUCH HIGHER THAN WE'LL SEE IN THE NEXT COLUMN.

11:26AM   18             SUBTRACTING THE 321 OF EMPLOYEE COMMISSIONS FROM THE

11:26AM   19      $2.1 MILLION FIGURE LEAVES US WITH LOST PROFITS OF 1,786,542.

11:26AM   20             I'VE ALSO DONE JUST BELOW THAT, STAYING IN THE DISCOUNTED

11:26AM   21      FEE COLUMN, A CALCULATION UTILIZING A 13.27 PERCENT COMMISSION

11:26AM   22      RATE INSTEAD OF THE 15.26.      THE REASON BEING, BASED ON THE

11:26AM   23      TESTIMONY THAT WAS PROVIDED AT TRIAL, THAT THERE WERE THE TWO

11:26AM   24      RATES THAT WOULD BE POTENTIALLY APPLICABLE.        I WANTED TO SIMPLY

11:27AM   25      PROVIDE THE COURT WITH AN OPTION TO MAKE A FACT DETERMINATION



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11:27AM    1      AND HAVE A CALCULATION IN FRONT OF HIM.

11:27AM    2           SO INSTEAD OF THE $321,000 OF EMPLOYEE COMMISSIONS ABOVE,

11:27AM    3      IT WOULD BE A SMALLER NUMBER WITH THE RESULT BEING 1,828,497

11:27AM    4      INSTEAD OF THE 1,786,000 RESULT.

11:27AM    5           THE COLUMN TO THE RIGHT IS THE UNDISCOUNTED FEE.

11:27AM    6                 THE COURT:    PARDON ME.   SO THE DELTA BETWEEN THOSE

11:27AM    7      TWO, THE 1.7 AND THE 1.8 IS THE 13 PERCENT COMMISSION?

11:27AM    8                 THE WITNESS:   IT'S THE DIFFERENCE BETWEEN THE

11:27AM    9      13 PERCENT AND THE 15 PERCENT.

11:27AM   10                 THE COURT:    OKAY.

11:27AM   11                 THE WITNESS:   THE NEXT COLUMN IS THE UNDISCOUNTED

11:27AM   12      FEE THAT AGAIN WE JUST SAW ON SLIDE 11, IT'S THE GROSS

11:27AM   13      LICENSING REVENUE.

11:27AM   14           SO THE ASSUMPTION THERE IS THAT NEXT CENTURY DID NOT

11:27AM   15      PROVIDE AN UP-FRONT PAYMENT.     THEY WOULD LICENSE IT YEAR OVER

11:27AM   16      YEAR AT THE GROSS AMOUNT OF 889,000, SO THE RESULT BEING

11:28AM   17      2,667,000 OF LOST LICENSING REVENUE.

11:28AM   18           THE RESELLER FEE IS NOW HIGHER BECAUSE IT'S APPLIED TO A

11:28AM   19      HIGHER REVENUE FIGURE.    SO SIMPLY 2.667 TIMES 7 PERCENT RESULTS

11:28AM   20      IN A SUBTOTAL OF 2,480,000.

11:28AM   21           WE THEN APPLY THE EMPLOYEE COMMISSIONS JUST LIKE WE DID

11:28AM   22      BEFORE.   THE DIFFERENCE IS THAT WE'RE ONLY APPLYING IT TO THAT

11:28AM   23      FIRST YEAR OF LOST REVENUE.

11:28AM   24           SO EFFECTIVELY THE 15.26 PERCENT IS MULTIPLIED BY THE

11:28AM   25      889,000 OF THE FIRST YEAR REVENUE MINUS THE RESELLER FEE.        SO



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11:28AM    1      IT'S CLEARLY MUCH LOWER BECAUSE THE COMMISSIONS DO NOT APPLY TO

11:28AM    2      SUBSEQUENT RENEWAL PERIODS.

11:28AM    3           SO THIS LOST PROFIT FIGURE IS GOING TO BE HIGHER AT

11:28AM    4      $2.35 MILLION, AND THEN AGAIN RUNNING THE SAME CALCULATION

11:28AM    5      UTILIZING THE 13 PERCENT EMPLOYEE COMMISSION AS A SLIGHTLY

11:29AM    6      HIGHER, YOU CAN SEE ABOUT $16,000 OR SO AT 2,370,000.

11:29AM    7      BY MR. RATINOFF:

11:29AM    8      Q.   AND WHAT WAS THE DIFFERENCE BETWEEN APPLYING OR WHAT LED

11:29AM    9      YOU TO APPLY THE 13.27 PERCENT AS AN ALTERNATE TO

11:29AM   10      15.26 PERCENT?

11:29AM   11      A.   WELL, AGAIN, THE IDEA WAS -- THERE'S A COUPLE OF REASONS,

11:29AM   12      IN FACT, ONE BEING THE FACT THAT THE HYPOTHETICAL NEGOTIATION

11:29AM   13      WOULD HAVE TAKEN PLACE IN 2019.

11:29AM   14           IN 2019 THE COMMISSION RATE AVERAGE 13.27 PERCENT.

11:29AM   15           THE YEAR PRIOR, IN 2018, IT WAS 15.26 PERCENT.

11:29AM   16           AND SINCE WE DIDN'T RECEIVE ANY COST INFORMATION ON THE

11:29AM   17      COMMISSIONS SUBSEQUENT TO 2019, WE ENDED UP INITIALLY GOING

11:29AM   18      WITH THE 15.26 PERCENT.

11:30AM   19           HOWEVER, AGAIN, BASED ON THE TESTIMONY THAT I UNDERSTOOD

11:30AM   20      WAS PROFFERED AT TRIAL BY MS. ZAWALSKI, I WANTED TO AT LEAST

11:30AM   21      OFFER THE ALTERNATIVES.

11:30AM   22      Q.   AND THEN JUST TURNING YOUR BINDER TO EXHIBIT 118.     THIS

11:30AM   23      HAS BEEN MARKED AS AEO.

11:30AM   24      A.   I'M THERE.

11:30AM   25      Q.   OKAY.   AND DO YOU RECOGNIZE EXHIBIT 118?



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11:30AM    1      A.   I DO.

11:30AM    2      Q.   AND WHAT DO YOU UNDERSTAND 118 TO BE?

11:30AM    3      A.   I UNDERSTAND THAT THIS IS THE PROPOSAL THAT WAS SENT BY

11:30AM    4      NEO4J TO THE MARYLAND PROCUREMENT OFFICE FOR THE NEXT CENTURY,

11:30AM    5      EXCUSE ME, PROPOSAL, WHICH IS WHAT WE ARE LOOKING AT ON

11:30AM    6      SLIDE 11 OR AN EXCERPT FROM THAT ON SLIDE 11.

11:30AM    7      Q.   AND WITH RESPECT TO APPLYING THE 15 PERCENT DISCOUNT

11:31AM    8      VERSUS NOT APPLYING, WHAT WAS THE BASIS FOR PROVIDING THOSE

11:31AM    9      ALTERNATIVES?

11:31AM   10      A.   EXCUSE ME.   WELL, AS I UNDERSTOOD IT, THERE WERE OTHER

11:31AM   11      TRANSACTIONS CONDUCTED BETWEEN THE MPO AND NEO4J.     SOME OF

11:31AM   12      THOSE TRANSACTIONS WERE FOR SINGLE YEAR LICENSING AND AT LEAST

11:31AM   13      ONE WAS FOR A MULTI YEAR TRANSACTION.

11:31AM   14           SO, AGAIN, BASED ON THE TESTIMONY AND THAT UNDERSTANDING,

11:31AM   15      I WANTED TO PROVIDE THE COURT WITH THE OPPORTUNITY TO MAKE THE

11:31AM   16      FACTUAL DETERMINATION AS TO WHETHER OR NOT IT WOULD HAVE BEEN A

11:31AM   17      SINGLE YEAR WITH RENEWALS OR AN UP-FRONT PAYMENT THREE YEAR

11:31AM   18      LICENSE.

11:31AM   19      Q.   AND YOU REFERRED TO ADDITIONAL SALES.     WHERE DID YOU SEE

11:31AM   20      THOSE ADDITIONAL SALES?

11:31AM   21      A.   IT WAS ON A DOCUMENT.      I BELIEVE IT'S A MONTHLY CLOSING

11:32AM   22      WIN TYPE OF DOCUMENT THAT IS PREPARED BY NEO4J THAT IDENTIFIES

11:32AM   23      EACH TRANSACTION OR EACH LICENSE AND WHETHER OR NOT IT'S A NEW

11:32AM   24      LICENSE, A RENEWAL, OR AN UP SALE TYPE OF TRANSACTION.

11:32AM   25      Q.   EXCUSE ME ONE SECOND.



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11:32AM    1             (DISCUSSION OFF THE RECORD.)

11:32AM    2                     MR. RATINOFF:   YOUR HONOR, I'M GOING TO HAVE

11:32AM    3      EXHIBIT 15 PUT UP.      IT'S ALSO AN AEO DESIGNATED DOCUMENT.

11:32AM    4             MR. BEENE, IN A SECOND I'LL HAVE YOU REFER TO YOUR

11:32AM    5      MONITOR.    IT'S NOT A HARD COPY EXHIBIT.

11:32AM    6      Q.     YOU SHOULD SEE AN EXCEL SPREADSHEET IN FRONT OF YOU RIGHT

11:33AM    7      NOW.

11:33AM    8      A.     I DO.

11:33AM    9      Q.     OKAY.    DO YOU RECOGNIZE -- TAKE YOUR TIME SCROLLING

11:33AM   10      THROUGH IT.

11:33AM   11             DO YOU RECOGNIZE WHAT HAS BEEN MARKED AND ADMITTED AS

11:33AM   12      EXHIBIT 15?

11:33AM   13      A.     YES, I DO.

11:33AM   14      Q.     OKAY.    AND WHAT IS IT?

11:33AM   15      A.     THIS IS THE DOCUMENT THAT I WAS DESCRIBING THAT I REVIEWED

11:33AM   16      THAT REFERENCES THE MONTHLY CLOSINGS OR PROJECTS WON.

11:33AM   17      Q.     AND IN REFERENCE TO THE MPO?

11:33AM   18      A.     THE -- YES, THIS ACTUALLY REFERS TO BOTH THE LICENSING AS

11:33AM   19      WELL AS THE MPO TOWARDS THE BOTTOM.

11:33AM   20      Q.     AND THEN YOU ALSO HAD THE INTERNAL REVENUE SERVICE'S, A

11:33AM   21      RANGE OF LOST REVENUE; CORRECT?

11:33AM   22      A.     I DID, YES.

11:33AM   23      Q.     OKAY.    LET'S GO AHEAD AND TURN TO SLIDE 28.   IT LOOKS LIKE

11:34AM   24      WE'RE MISSING THE -- IT LOOKS LIKE THERE'S A TABLE MISSING FROM

11:34AM   25      THE ELECTRONIC VERSION.



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11:34AM    1      A.   IT SHOULD BE THERE NOW.

11:34AM    2      Q.   OH, THERE IT IS.    OKAY.   ANIMATION.

11:34AM    3           ALL RIGHT.   COULD YOU PLEASE WALK THE COURT THROUGH THESE

11:34AM    4      FOUR FIGURES THAT ARE IN THIS SLIDE 28?

11:34AM    5      A.   CERTAINLY.   SO THIS PROCESS IS EFFECTIVELY IDENTICAL TO

11:34AM    6      WHAT I JUST DESCRIBED FOR MPO.     IT'S A LITTLE MORE SUMMARIZED

11:34AM    7      BECAUSE THERE'S MORE PROJECTS FOR THE IRS AS YOU CAN SEE

11:34AM    8      STARTING WITH THE CKGE AND DOWN TO THE GHOST PREP.

11:34AM    9           ADDITIONALLY, THESE PROJECTS WERE -- EFFECTIVELY WOULD

11:34AM   10      HAVE BEEN LICENSED OVER A PERIOD OF TIME, SO THE STARTING POINT

11:35AM   11      IS NOT ALWAYS THE SAME YEAR.

11:35AM   12           WITH CKGE, WE STARTED IN 2018 BASED ON AN INITIAL

11:35AM   13      PROPOSAL.

11:35AM   14           SO, AGAIN, STARTING WITH THE FAR LEFT-HAND SIDE, THE

11:35AM   15      DIFFERENCE BETWEEN THE TWO LARGE TABLES I GUESS WE CAN SEE ON

11:35AM   16      THE LEFT-HAND SIDE THE CALCULATION IS BASED ON A 15.26 PERCENT

11:35AM   17      EMPLOYEE COMMISSION AS REFERENCED ON THE BOTTOM, WHEREAS THE

11:35AM   18      TABLE ON THE RIGHT, THE ONLY DIFFERENCE IS THE 13.27 PERCENT IS

11:35AM   19      APPLIED TO CALCULATE THOSE LOST PROFITS.

11:35AM   20           WITHIN THE TABLES THERE'S, AGAIN, A DISCOUNTED AND

11:35AM   21      UNDISCOUNTED FEE.

11:35AM   22           THE DISCOUNTED FEE GOES THROUGH A COUPLE OF HYPOTHETICAL

11:35AM   23      NEGOTIATION ELEMENTS.    ONE IS THAT THE IRS WOULD HAVE

11:35AM   24      NEGOTIATED FOR ONLY ONE TEST MACHINE EVEN THOUGH THE PROPOSALS

11:36AM   25      WITH THE IRS AND THE PRICE LISTS INDICATED THAT THERE WOULD BE



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11:36AM    1      ONE TEST MACHINE PER PRODUCT OR PER PRODUCTIVITY MACHINE.

11:36AM    2           SO WE PULLED OUT THAT COST.

11:36AM    3           ADDITIONALLY, THE ORIGINAL PRICE LIST FOR YK1 CORPORATION

11:36AM    4      ALSO ESCALATED AFTER THE FIRST YEAR LICENSE ARRANGEMENT, SO WE

11:36AM    5      ESTIMATED THAT THE IRS WOULD HAVE NEGOTIATED FOR THE ORIGINAL

11:36AM    6      PRICE LIST, WHICH IS A SMALL $10,000 PER YEAR ADJUSTMENT.

11:36AM    7           ULTIMATELY, THOUGH, BASED ON OTHER WORK REVIEWED, IT

11:36AM    8      APPEARED AS THOUGH THERE WOULD BE POTENTIALLY A 15 PERCENT

11:36AM    9      DISCOUNT APPLIED TO THE IRS LICENSING FEE ARRANGEMENT.

11:36AM   10           AND SO THE DISCOUNTED SUBSCRIPTION FEE ALSO ADDS THAT 15

11:36AM   11      PERCENT REDUCTION TO THE LIST PRICES ON TOP OF THE OTHER THINGS

11:36AM   12      THAT I JUST MENTIONED.

11:36AM   13           SO APPLYING THAT, JUST AS WE DID BEFORE WE STARTED WITH A

11:37AM   14      DISCOUNTED REVENUE BASED ON A NEGOTIATION;

11:37AM   15           WE THEN APPLY THAT SAME 7 PERCENT RESELLER MARGIN, THAT'S

11:37AM   16      SUBTRACTED OUT;

11:37AM   17           WE THEN APPLY THE 15.26 EMPLOYEE COMMISSION RATE AGAINST

11:37AM   18      THAT NET RESELLER MARGIN REVENUE, AND THAT ENDS UP WITH THE

11:37AM   19      FIGURES THAT WE SEE IN THAT FIRST COLUMN OF NUMBERS STARTING

11:37AM   20      WITH THE 1.299 MILLION.

11:37AM   21           AGAIN, THE DIFFERENCE BETWEEN THAT AND THE COLUMN NEXT TO

11:37AM   22      IT WHERE CKGE IS 1.5, WE SIMPLY HAVE NOT DISCOUNTED FOR THE

11:37AM   23      15 PERCENT BETWEEN THE IRS AND NEO4J BASED ON THE ASSUMPTION OR

11:37AM   24      BASED ON THE UNDERSTANDING THAT SOME OF THOSE DEALS THAT NEO4J

11:37AM   25      AND THE IRS ENTERED INTO PREVIOUSLY WERE ALSO ONE YEAR DEALS,



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11:37AM    1      NOT MULTI YEAR, AND WOULD NOT TRIGGER A DISCOUNT PER THE PRICE

11:37AM    2      LIST.

11:37AM    3      Q.   AND IN RELATION TO THOSE OTHER DEALS WITH THE IRS, CAN YOU

11:38AM    4      PLEASE TURN BACK TO EXHIBIT 15, AGAIN AEO.

11:38AM    5           YOU SHOULD HAVE THE SPREADSHEET BEFORE YOU AGAIN.

11:38AM    6      A.   I DO.

11:38AM    7      Q.   AND DID YOU UTILIZE THE SPREADSHEET IN DETERMINING YOUR

11:38AM    8      CALCULATIONS?

11:38AM    9      A.   I DID.    AND IF YOU SCROLL TO THE RIGHT SLIGHTLY, YOU

11:38AM   10      SHOULD BE ABLE TO SEE THAT THE TERM OF EACH OF THESE DEALS --

11:38AM   11      RIGHT THERE IS FINE.    SO THE TERM START DATE IN COLUMN L AND

11:38AM   12      END DATE IN COLUMN M AS IN MARY, YOU CAN SEE FOR THE IRS, THESE

11:38AM   13      ARE ALL EFFECTIVELY ONE YEAR DEALS.

11:38AM   14           SO PER PRICE LIST WOULD NOT BE APPLICABLE FOR A DISCOUNT.

11:38AM   15      Q.   AND THEN YOU MENTION WITH THE CKGE THERE WERE TWO

11:38AM   16      HYPOTHETICAL NEGOTIATIONS; CORRECT?

11:38AM   17      A.   I DON'T KNOW IF I MENTIONED IT.      I CAN'T RECALL, BUT THERE

11:38AM   18      WERE TWO HYPOTHETICAL NEGOTIATIONS WITHIN THAT PARTICULAR

11:39AM   19      TRANSACTION.    THE FIRST, BASED ON A LIMITED NUMBER OF MACHINERY

11:39AM   20      BEING LICENSED, AND THEN THAT WAS ESCALATED IN THE SUBSEQUENT

11:39AM   21      YEAR BEING APRIL OF 2019.       I'M SORRY, AUGUST OF 2019.

11:39AM   22                   MR. RATINOFF:   YOUR HONOR, MR. BOYLES HAS SLIDES

11:39AM   23      THAT PROVIDE A MORE NUANCED OR EACH INSTANCE IN A HYPOTHETICAL

11:39AM   24      NEGOTIATION.    WE'RE HAPPY TO GO THROUGH THAT IF THE COURT WOULD

11:39AM   25      LIKE US TO.



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11:39AM    1                 THE COURT:   WELL, EXCUSE ME.    IT'S YOUR CASE.

11:39AM    2                 MR. RATINOFF:   OKAY.

11:39AM    3                 THE COURT:   IF YOU WANT ME TO LOOK AND UNDERSTAND

11:39AM    4      THIS, THAT'S FINE.

11:39AM    5      BY MR. RATINOFF:

11:39AM    6      Q.   I KNOW THIS IS A LITTLE MORE COMPLICATED THAN THE MPO, SO

11:39AM    7      PERHAPS WE CAN JUST BRIEFLY GO THROUGH SLIDES 19 AND 20.

11:39AM    8                 THE COURT:   I'M SORRY.

11:39AM    9                 MR. BEENE:   EXCUSE ME.    I OBJECT.    YOU KNOW, WE

11:39AM   10      STIPULATED TO THE FACTS.    WE DON'T NEED TO CONTINUE.     THESE

11:40AM   11      ISSUES ARE TO BE FINISHED.      WE'RE TRYING TO ACCELERATE THE

11:40AM   12      TRIAL, NOT --

11:40AM   13                 THE COURT:   I UNDERSTAND.

11:40AM   14                 MR. BEENE:   SO WE AGREED THAT THEY COULD DISCERN THE

11:40AM   15      DIFFERENCE BETWEEN THE HIGH AND THE LOW, AND THEY'VE DONE THAT.

11:40AM   16                 THE COURT:   WELL, IT WOULD BE HELPFUL FOR ME TO GO

11:40AM   17      THROUGH JUST THIS ONE EXERCISE AND LET'S SEE HOW THIS WORKS.

11:40AM   18           SO WHY DON'T YOU PROCEED WITH THIS.

11:40AM   19                 MR. RATINOFF:   THANK YOU, YOUR HONOR.

11:40AM   20           I MEAN, IF COUNSEL WANTS TO STIPULATE TO THE HIGHS, WE CAN

11:40AM   21      STOP.

11:40AM   22                 THE COURT:   WHY DON'T YOU GO FORWARD WITH THIS.

11:40AM   23      BY MR. RATINOFF:

11:40AM   24      Q.   ALL RIGHT.    MR. BOYLES, WOULD IT BE BENEFICIAL, DO YOU

11:40AM   25      THINK, OR LET'S GO AHEAD AND START WITH -- I BELIEVE IT WAS



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11:40AM    1      SLIDE -- LET'S GO AHEAD AND START WITH SLIDE 17.

11:40AM    2                   THE COURT:   16?

11:41AM    3                   MR. RATINOFF:   I'M SORRY, 17.

11:41AM    4      Q.   AND YOU HAD MENTIONED YOU DETERMINED DIFFERENT

11:41AM    5      YEAR-TO-YEAR CONTRACTS; IS THAT CORRECT?

11:41AM    6      A.   I REVIEWED THE PRICE LISTS UNDER THE ASSUMPTION FOR EACH

11:41AM    7      YEAR, UNDER THE ASSUMPTION THAT THERE WOULD BE ANNUAL RENEWALS

11:41AM    8      AND DIFFERENT PRICE LISTS MAY BE APPLICABLE.

11:41AM    9      Q.   OKAY.    AND WHAT IS SLIDE 17 SHOWING WITH RESPECT TO THE

11:41AM   10      CKGE?

11:41AM   11      A.   SO THIS IS A SUMMARY EXCERPT SPECIFIC TO CKGE AND THE

11:41AM   12      STARTING OF THE PROCESS THAT I DEPLOYED IN CALCULATING LOST

11:41AM   13      REVENUE FOR THE LOST PROFIT CALCULATION.

11:41AM   14           THE FIRST ROW YOU CAN SEE STARTING IN AUGUST OF 2018 IT

11:41AM   15      HAS A TOTAL LIST PRICE OF $156,000 FOR A TOTAL OF ONE MACHINE.

11:41AM   16      THIS IS BASED ON A PROPOSAL THAT WAS PROVIDED BY NEO4J TO THE

11:42AM   17      IRS THAT APPEARED TO BE BASED ON A DISCOUNTED APPLICATION.

11:42AM   18           THE SUBSEQUENT YEARS ARE BASED ON REVIEW OF THE PRICE

11:42AM   19      LISTS AND THE SPECS THAT WERE REQUIRED BY THE IRS FOR EACH OF

11:42AM   20      THOSE YEARS.

11:42AM   21      Q.   AND THEN MOVING ON TO SLIDE 20.      COULD YOU PLEASE WALK THE

11:42AM   22      COURT THROUGH WHAT THESE FIGURES REPRESENT?

11:42AM   23      A.   SURE.    IF WE CAN MAYBE AT LEAST REFER BACK TO SLIDE 17 FOR

11:42AM   24      CKGE, THE TOTAL OF THAT PRICE IS 1,768,000.         SO THAT'S THE

11:42AM   25      ENTIRETY OF THE LOST REVENUE BEFORE DISCOUNTS.



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11:42AM    1           SO AS WE MOVE OVER TO SLIDE 20, WE SIMPLY -- WHAT I'M

11:42AM    2      DOING HERE IS I'M SIMPLY PROVIDING A SNAPSHOT OF THAT SAME

11:42AM    3      CALCULATION IN SUMMARY FORM FOR EACH OF THE PROJECTS.

11:43AM    4           SO WE CAN SEE CKGE HAS ALL OF THOSE FIGURES THAT WERE JUST

11:43AM    5      REFERENCED WITH THE TOTAL ON THE RIGHT BEING THAT SAME

11:43AM    6      1,768,000.

11:43AM    7           AND I PROVIDE THE SAME ANALYSIS FOR EACH OF THE OTHER

11:43AM    8      PROJECTS.    YK1 IS 660,000.    AND THESE ARE ALL UNDISCOUNTED

11:43AM    9      FIGURES WITH THE EXCEPTION OF THAT FIRST YEAR FOR CKGE WHICH

11:43AM   10      WAS A DISCOUNTED PRICE.

11:43AM   11           SO WE CAN SEE THE TOTAL OF THIS LOST REVENUE FOR THE IRS

11:43AM   12      IS ON A GROSS BASIS 3,602,000.

11:43AM   13      Q.   AND THEN WHY DO SOME OF THE PROJECT PRICES START AT

11:43AM   14      DIFFERENT POINTS IN TIME?

11:43AM   15      A.   THAT'S BASED ON THE NEEDS OF THE IRS AND WHEN THEY WERE

11:43AM   16      IMPLEMENTING ONGDB FOR THOSE PARTICULAR PROJECTS.

11:43AM   17           AND I'LL ADD THAT YOU CAN SEE THAT THE PRICES ARE

11:44AM   18      DIFFERENT BETWEEN CKGE, YK1 AND THE OTHERS, AGAIN, BASED ON THE

11:44AM   19      SPECS, BEING THE NUMBER OF MACHINES THAT ARE BEING LICENSED AND

11:44AM   20      THE NUMBER OF CORES WITHIN THOSE MACHINES AS REFLECTED IN THE

11:44AM   21      PRICE LIST.

11:44AM   22           AND PRIMARILY WHAT WE'RE DOING HERE IS FOR AT LEAST

11:44AM   23      CORPORATE.    ACTUALLY FOR YK1 ALL OF THE WAY DOWN THEY USED A

11:44AM   24      DISCOVERY BUNDLE PRICING OR THEY WOULD HAVE USED A DISCOVERY

11:44AM   25      BUNDLE, WHICH IS A MORE COST EFFECTIVE PRICING MECHANISM



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11:44AM    1      WHEREAS CKGE WAS A MUCH MORE ROBUST LICENSING ARRANGEMENT, SO

11:44AM    2      IT WOULD HAVE REQUIRED AN ENTERPRISE EDITION.

11:44AM    3      Q.   AND TURNING TO SLIDE 22, WALK THE COURT THROUGH THESE

11:44AM    4      NUMBERS.

11:44AM    5      A.   SURE.   SO THE TOTAL LIST PRICE ON THE LEFT-HAND SIDE,

11:44AM    6      AGAIN, THESE SCHEDULES KIND OF FLOW FROM LEFT TO RIGHT PAGE TO

11:44AM    7      PAGE.   SO THE TOTAL LIST IS WHAT WE JUST LOOKED AT.    THE

11:45AM    8      3,602,000.

11:45AM    9           AND THEN THE COLUMNS TO THE RIGHT OF THAT FIGURE ARE THE

11:45AM   10      VARIOUS REDUCTIONS THAT I DEPLOYED WITHIN A POTENTIAL

11:45AM   11      HYPOTHETICAL NEGOTIATION.

11:45AM   12           SO AS I MENTIONED EARLIER, THE NEXT ONE, REDUCTION FOR

11:45AM   13      APPLICABLE PRICE LIST.   FOR YK1 CORPORATE THE BUNDLE PRICE

11:45AM   14      INCREASED FROM THE FIRST YEAR TO THE SECOND YEAR.     I ASSUMED

11:45AM   15      THAT THE IRS WOULD HAVE NEGOTIATED FOR THAT LOWER PRICE EACH

11:45AM   16      YEAR.

11:45AM   17           SAME THING FOR THE DISCOUNT WITH THE TEST MACHINES.      THE

11:45AM   18      PRICE LISTS AND THE CALCULATIONS THAT WE PREVIOUSLY SAW ASSUME

11:45AM   19      THAT FOR EVERY MACHINE THERE WOULD BE A TEST MACHINE REQUIRED

11:45AM   20      PER THAT PRICE LIST OF $8,000 PER.    I ASSUMED, AGAIN, THAT THE

11:45AM   21      IRS WOULD ONLY HAVE A NEED FOR ONE TEST MACHINE AND WOULD HAVE

11:45AM   22      NEGOTIATED ACCORDINGLY, SO THAT WOULD AGAIN REDUCE THE

11:45AM   23      REVENUES.

11:45AM   24           AND THEN ULTIMATELY, WE CAN SEE THE ADJUSTED LIST AT

11:46AM   25      3,480,000, WHICH IS THEN FURTHER DISCOUNTED AT 15 PERCENT BASED



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11:46AM    1      ON THE OTHER ANALYSES THAT I CONDUCTED.

11:46AM    2      Q.   AND YOU MENTIONED AN ASSUMPTION ON TEST MACHINES.     WHAT IS

11:46AM    3      THAT ASSUMPTION BASED ON?

11:46AM    4      A.   WELL, I BELIEVE THERE WERE SOME OTHER CONTRACTS THAT WE

11:46AM    5      REVIEWED THAT ONLY HAD ONE TEST MACHINE THAT WAS APPLIED

11:46AM    6      ULTIMATELY.

11:46AM    7      Q.   AND THEN MOVING ON TO SLIDE 24.     IF YOU COULD BRIEFLY WALK

11:46AM    8      THE COURT THROUGH WHAT THIS TABLE REPRESENTS?

11:46AM    9      A.   SURE.    SO THIS GOES BACK TO, AGAIN, THAT LAST SLIDE THAT

11:46AM   10      WE LOOKED AT WE ENDED ON A -- AFTER THE 15 PERCENT APPLICATION

11:46AM   11      OF THE DISCOUNT WITH A TOTAL OF 2,981,400 AT THE BOTTOM.

11:46AM   12           WE THEN APPLY THE RESELLER MARGIN THAT I MENTIONED OF

11:47AM   13      7 PERCENT TO THAT REVENUE, AND THAT AMOUNTS TO 208,698.

11:47AM   14           SUBTRACTING THAT FROM THE NET REVENUE LEAVES US WITH A NET

11:47AM   15      OF RESELLER MARGIN OF 2,772,702, AND THIS IS THE FIGURE THAT WE

11:47AM   16      THEN APPLY THE EMPLOYEE COMMISSION TO AT LEAST FOR THE FIRST

11:47AM   17      YEAR THAT IS.

11:47AM   18      Q.   OKAY.    AND THEN TURNING TO SLIDE 25.   WHAT DOES THE TABLE

11:47AM   19      ON SLIDE 25 REPRESENT?

11:47AM   20      A.   SO THIS IS THE APPLICATION OF THE EMPLOYEE COMMISSION

11:47AM   21      EXPENSE IN MORE DETAIL THAN WE SAW A LITTLE WHILE AGO.

11:47AM   22           SO AGAIN, WE'RE STARTING WITH WHAT WE JUST ENDED WITH ON

11:47AM   23      THE LAST SLIDE, SO A NET OF RESELLER MARGIN WE CAN SEE

11:47AM   24      2,772,702.

11:47AM   25           WE THEN APPLY THE EMPLOYEE COMMISSION NOT TO THAT FIGURE



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11:48AM    1      BUT TO THE FIRST YEAR REVENUE OF EACH OF THOSE PROJECTS.     SO

11:48AM    2      IT'S THE 15.26 PERCENT AGAINST THE FIRST YEAR REVENUE OF CKGE,

11:48AM    3      AND THAT FIRST YEAR REVENUE WOULD HAVE BEEN BOTH THE

11:48AM    4      AUGUST 2018 YEAR AS WELL AS THE AUGUST 2019 YEAR.

11:48AM    5      Q.   AND THAT'S BECAUSE THERE WAS TWO DIFFERENT HYPOTHETICAL

11:48AM    6      NEGOTIATIONS FOR THAT PROJECT?

11:48AM    7      A.   CORRECT.

11:48AM    8      Q.   AND THEN TURNING TO SLIDE 26.     THERE'S ANOTHER TABLE HERE.

11:48AM    9           COULD YOU PLEASE WALK THE COURT THROUGH WHAT THESE FIGURES

11:48AM   10      MEAN?

11:48AM   11      A.   YES.   SO THIS IS BASICALLY REPLICATING WHAT WE JUST TALKED

11:48AM   12      ABOUT.   THIS IS WITHOUT DISCOUNTS.

11:48AM   13           SO WHEN I SAY, "THIS IS WITHOUT DISCOUNTS," THIS IS

11:48AM   14      WITHOUT THE 15 PERCENT DISCOUNT.     IT STILL HAS A NEGOTIATED

11:48AM   15      DISCOUNT FOR THE FIRST YEAR CKGE.     IT ALSO INCLUDES THE

11:49AM   16      REDUCTION IN PRICE LIST AND THE NEGOTIATED REDUCTION FOR TEST

11:49AM   17      MACHINES.   SO WE CAN SEE HERE AGAIN THIS REFERS BACK TO AN

11:49AM   18      EARLIER SLIDE.   THE TOTAL IS 3,480,000 BEFORE 15 PERCENT

11:49AM   19      DISCOUNT APPLIED.

11:49AM   20           AND WE THEN WALK THROUGH THE SAME APPLICATION APPLYING THE

11:49AM   21      RESELLER MARGIN OF 7 PERCENT TO THE ENTIRETY OF THAT REVENUE

11:49AM   22      RESULTS IN A LOSS OR A RESELLER MARGIN OF 3,236,400.

11:49AM   23           AND THEN TO THIS NUMBER WE APPLY THE PERCENTAGE FOR

11:49AM   24      EMPLOYEE COMMISSIONS.

11:49AM   25      Q.   AND THEN TURNING TO SLIDE 27.     WHAT DOES THE TABLE ON



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11:49AM    1      SLIDE 27 REPRESENT?

11:49AM    2      A.   SO THIS HERE IS THE APPLICATION OF THE EMPLOYEE

11:49AM    3      COMMISSIONS ELEMENT.     SO AGAIN, REFERRING BACK TO THE LAST

11:49AM    4      SLIDE THE TOTAL ENDING NUMBER WAS 3,236,400.

11:50AM    5           WE APPLY THE EMPLOYEE COMMISSIONS TO THAT LEVEL OF REVENUE

11:50AM    6      OR NET REVENUE, BUT AGAIN, THE COMMISSIONS ARE ONLY APPLICABLE

11:50AM    7      TO THE FIRST YEAR BECAUSE THIS IS A MULTI YEAR NOT PAID

11:50AM    8      UP-FRONT.

11:50AM    9           SO THAT COMMISSION OF 15.26 PERCENT IS ONLY APPLICABLE TO

11:50AM   10      THE FIRST YEAR OF REVENUE OF THESE LICENSED PROJECTS, SO THAT

11:50AM   11      LEAVES US WITH A LOST PROFIT HERE OF 3,069,646.

11:50AM   12           AND THESE NUMBERS WE JUST TALKED THROUGH ARE WHAT ROLLED

11:50AM   13      INTO THOSE SUMMARY TABLES WE LOOKED AT A SHORT WHILE AGO.

11:50AM   14      Q.   AND SPECIFICALLY WITH RESPECT TO THE IRS, THAT WOULD BE

11:50AM   15      SLIDE 28?

11:50AM   16      A.   CORRECT.   AND SO WE CAN SEE THE BOTTOM IS THE SAME TOTALS

11:50AM   17      WE JUST WALKED THROUGH.

11:50AM   18                  MR. RATINOFF:   NO FURTHER QUESTIONS, YOUR HONOR.

11:50AM   19                  THE COURT:   ALL RIGHT.   THANK YOU.

11:50AM   20           CROSS-EXAMINATION?

11:50AM   21                  MR. BEENE:   NO QUESTIONS, YOUR HONOR.   NO QUESTIONS,

11:50AM   22      YOUR HONOR.

11:50AM   23                  THE COURT:   ALL RIGHT.   MAY THIS WITNESS BE EXCUSED?

11:51AM   24                  MR. BEENE:   YES.

11:51AM   25                  MR. RATINOFF:   YES, YOUR HONOR.



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11:51AM    1                 THE COURT:   OKAY.   THANK YOU.   YOU'RE EXCUSED.

11:51AM    2                 THE WITNESS:    THANK YOU.

11:51AM    3                 MR. RATINOFF:    AND WE'LL PREPARE A WRITTEN

11:51AM    4      STIPULATION THAT CAPTURES WHAT WE DISCUSSED TODAY.

11:51AM    5                 THE COURT:   YES.    YOU HAVE ANOTHER WITNESS TO CALL?

11:51AM    6                 MR. RATINOFF:    YOUR HONOR, AT THIS TIME SUBJECT TO

11:51AM    7      RECALLING MS. ZAWALSKI, WE HAVE NO FURTHER WITNESSES.

11:51AM    8                 THE COURT:   OKAY.   SO DO YOU INTEND TO CALL --

11:51AM    9      RECALL THIS WITNESS THEN?

11:51AM   10                 MR. RATINOFF:    YES, WE DO, ALTHOUGH WE UNDERSTAND

11:51AM   11      THERE'S AN OBJECTION TO THAT SO --

11:51AM   12                 THE COURT:   WELL, MAYBE WE SHOULD TALK ABOUT THAT.

11:51AM   13           ARE YOU RESTING NOW SUBJECT TO?

11:52AM   14           (DISCUSSION AMONGST PLAINTIFFS' COUNSEL OFF THE RECORD.)

11:52AM   15                 MR. RATINOFF:    WE CAN DO AN OFFER OF PROOF,

11:52AM   16      YOUR HONOR.

11:52AM   17                 THE COURT:   WHY DON'T YOU COME TO THE LECTERN, BOTH

11:52AM   18      OF YOU COME TO THE LECTERN.

11:52AM   19                 MR. RATINOFF:    SO COUNSEL ASKED QUESTIONS WHETHER

11:52AM   20      GRAPH FOUNDATION HAD PAID FOR THE SETTLEMENT EFFECTIVELY.

11:52AM   21           THERE'S NOTHING IN THE JUDGMENT IN THAT CASE.     AND SHE WAS

11:52AM   22      ASKED -- SHE DID NOT KNOW THE ANSWER TO THAT QUESTION.     WE

11:52AM   23      DIDN'T KNOW IT WAS AN ISSUE.

11:52AM   24           SHE'S PREPARED TO COME AND TESTIFY AND INDICATE THAT THERE

11:52AM   25      WAS NO PAYMENT MADE BY GRAPH FOUNDATION AS PART OF THAT



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11:52AM    1      SETTLEMENT.

11:52AM    2            SO I WOULD JUST MAKE AN OFFER OF PROOF, AND WE CAN MOVE

11:52AM    3      ON.

11:52AM    4                 MR. BEENE:   SURE.   I DON'T NEED TO HAUL A WITNESS

11:52AM    5      IN.

11:52AM    6                 MR. RATINOFF:   I'M SURE SHE WOULD BE HAPPY TO HEAR

11:52AM    7      THAT.

11:52AM    8                 MR. BEENE:   YES.

11:52AM    9                 THE COURT:   OKAY.   SO YOU'RE AGREEING TO SOME FACT

11:52AM   10      HERE?

11:52AM   11                 MR. RATINOFF:   YES, YOUR HONOR.

11:52AM   12                 THE COURT:   AND THAT FACT IS?

11:52AM   13                 MR. RATINOFF:   THAT GRAPH FOUNDATION DID NOT PAY ANY

11:52AM   14      MONEY IN CONJUNCTION WITH THE SETTLEMENT AND THE STIPULATED

11:53AM   15      INJUNCTION.

11:53AM   16                 MR. BEENE:   THAT'S ACCEPTABLE.

11:53AM   17                 THE COURT:   THAT'S ACCEPTABLE.    OKAY.   YOU CAN PUT

11:53AM   18      THIS IN WRITING THEN ALSO?

11:53AM   19                 MR. RATINOFF:   ABSOLUTELY, YOUR HONOR.    AND THEN

11:53AM   20      WITH THAT, THE PLAINTIFFS REST.

11:53AM   21                 THE COURT:   OKAY.

11:53AM   22                 MR. BEENE:   YOUR HONOR, ON THAT ISSUE, I HAVE ON MY

11:53AM   23      CHEAT SHEET, I SAID MAKE SURE YOU INTRODUCE THIS.      IT'S THAT

11:53AM   24      INJUNCTION RULING.

11:53AM   25            WAS THAT 150 IN DEFENDANTS' EXHIBITS?    AND I WOULD AS A



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11:53AM    1      MATTER OF COURSE OFFER TO ADMIT THIS INTO EVIDENCE.        THIS IS A

11:53AM    2      STIPULATED JUDGMENT AND PERMANENT INJUNCTION IN CASE

11:53AM    3      5:19-CV-06226 EJD.   THAT IS EXHIBIT 150 IN PLAINTIFFS'

11:53AM    4      EXHIBITS.

11:54AM    5                  MR. RATINOFF:    NO OBJECTION, YOUR HONOR.

11:54AM    6                  THE COURT:   OKAY.    THAT WILL BE ADMITTED.

11:54AM    7           (PLAINTIFFS' EXHIBIT 150 WAS RECEIVED IN EVIDENCE.)

11:54AM    8                  MR. BEENE:   THANK YOU.

11:54AM    9                  THE COURT:   YOU'RE WELCOME.

11:54AM   10           (PAUSE IN PROCEEDINGS.)

11:54AM   11                  MR. BEENE:   YOUR HONOR, WE'RE PREPARED TO PUT

11:54AM   12      MR. SUHY ON THE STAND.      GIVEN THE TIME, DO YOU WANT TO START

11:54AM   13      HIM OFF AND GO?

11:54AM   14                  THE COURT:   SURE.

11:54AM   15                  MR. BEENE:   OR HAVE LUNCH, OR WHATEVER YOUR

11:54AM   16      DRUTHERS.

11:54AM   17                  THE COURT:   MAYBE WE SHOULD GO FORWARD.     WE TOOK

11:54AM   18      ABOUT AN HOUR BREAK.     WHY DON'T WE GO FOR ABOUT AN HOUR, AND

11:55AM   19      THEN WE'LL TAKE A LUNCH BREAK.

11:55AM   20           WOULD THAT WORK?

11:55AM   21                  MR. BEENE:   PERFECT.

11:55AM   22                  THE COURT:   GREAT.

11:55AM   23           (DISCUSSION AMONGST DEFENSE COUNSEL OFF THE RECORD.)

11:55AM   24                  MR. BEENE:   COULD WE TAKE A SHORT RESTROOM BREAK?

11:55AM   25                  THE COURT:   LET ME JUST ASK, WOULD YOU PREFER TO



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11:55AM    1      COME BACK AT 1:00 O'CLOCK TO START THE TESTIMONY?

11:55AM    2                 MR. RATINOFF:    I THINK THAT MAKES MORE SENSE.

11:55AM    3                 MR. BEENE:   YES, THAT'S PROBABLY A BETTER IDEA.

11:55AM    4                 THE COURT:   LET'S TAKE OUR LUNCH BREAK, AND WE'LL

11:55AM    5      SEE YOU AT 1:00 O'CLOCK.

11:55AM    6                 MR. BEENE:   PERFECT.   THANK YOU, YOUR HONOR.

11:55AM    7                 MR. RATINOFF:    THANK YOU, YOUR HONOR.

11:55AM    8                 MR. BEENE:   AND I DON'T KNOW IF WE'RE ON THE RECORD.

11:55AM    9      MR. SUHY IS THE LAST WITNESS.

11:55AM   10                 THE COURT:   OKAY.   TERRIFIC.

11:55AM   11                 MR. BEENE:   SO WE'RE TRYING TO WRAP THIS UP TODAY,

11:55AM   12      BUT JUST TO LET YOU KNOW.

11:55AM   13                 THE COURT:   OKAY.   GREAT.   THANK YOU.

01:04PM   14           (LUNCH RECESS TAKEN AT 11:55 A.M.)

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01:04PM    1                              AFTERNOON SESSION

01:04PM    2           (COURT CONVENED AT 1:04 P.M.)

01:04PM    3                 THE COURT:   PLEASE BE SEATED.   ALL PARTIES

01:04PM    4      PREVIOUSLY PRESENT ARE PRESENT ONCE AGAIN.

01:04PM    5           MR. BEENE, YOU HAVE A WITNESS?

01:04PM    6                 MR. BEENE:   MR. RATINOFF HAD A QUESTION FOR ME.

01:04PM    7                 MR. RATINOFF:   YES.   THERE'S A HOUSEKEEPING --

01:04PM    8                 THE COURT:   WHY DON'T YOU COME FORWARD.

01:04PM    9                 MR. RATINOFF:   SO THE FIRST THING I WANTED TO DO

01:04PM   10      SINCE WE STIPULATED TO DAMAGES, THE PLAINTIFFS ARE GOING TO

01:05PM   11      ELECT ACTUAL DAMAGES AS THE RECOVERY FOR ITS DMCA CLAIM VERSUS

01:05PM   12      STATUTORY DAMAGES.

01:05PM   13           THE SECOND IS MR. BOYLES HAD PREPARED CALCULATIONS AT THE

01:05PM   14      END OF HIS PRESENTATION FOR PREJUDGMENT INTEREST THROUGH

01:05PM   15      DECEMBER 1ST.   YOU KNOW, WE WOULD STIPULATE TO THE NUMBER, AND

01:05PM   16      SO I JUST WANTED TO GET ON THE RECORD WHETHER COUNSEL WOULD

01:05PM   17      ALSO STIPULATE TO THOSE NUMBERS SUBJECT TO YOUR HONOR'S

01:05PM   18      DETERMINATION OF WHAT THE DAMAGES ARE, IF ANY, AND THE AMOUNT.

01:05PM   19                 MR. BEENE:   YES, YES, THAT'S FINE.

01:05PM   20                 THE COURT:   OKAY.

01:05PM   21                 MR. RATINOFF:   AND WE'LL INCLUDE THAT IN THE WRITTEN

01:05PM   22      STIPULATION AS WELL.

01:05PM   23                 THE COURT:   OKAY.

01:05PM   24                 MR. RATINOFF:   AND THE LAST ISSUE IS THAT WE HAD NOT

01:05PM   25      RECEIVED A CERTIFICATION PURSUANT TO YOUR HONOR'S PRELIMINARY



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01:05PM    1      INJUNCTION FROM THE IRS THAT THEY STOP USING THE ONGDB SOFTWARE

01:05PM    2      CONTAINING THE DMCA VIOLATIONS.      IT'S BEEN WELL OVER 14 DAYS

01:05PM    3      SINCE YOUR HONOR ISSUED THAT INJUNCTION, SO WE WOULD JUST LIKE

01:05PM    4      TO GET AN UPDATE FROM COUNSEL ON WHAT IS GOING ON WITH THAT.

01:06PM    5                  MR. BEENE:   YES.    I KNOW WE SENT THEM A REQUEST TO

01:06PM    6      COMPLY WITH IT.   I ACTUALLY HAD THE SAME QUESTION BUT ON A

01:06PM    7      BREAK I'LL ASK MY CLIENT.       I HAVEN'T RECEIVED ONE, EITHER.    BUT

01:06PM    8      WE REQUEST THAT THEY COMPLY WITH YOUR ORDER.

01:06PM    9                  THE COURT:   OKAY.    THANK YOU.

01:06PM   10             AND YOU'D LIKE YOUR WITNESS TO COME FORWARD?

01:06PM   11                  MR. BEENE:   YES, YOUR HONOR.      I'D LIKE TO CALL

01:06PM   12      MR. JOHN SUHY.

01:06PM   13                  THE COURT:   COME FORWARD, PLEASE.     WHY DON'T YOU

01:06PM   14      FACE OUR COURTROOM DEPUTY WHILE YOU RAISE YOUR RIGHT HAND.         SHE

01:07PM   15      HAS A QUESTION FOR YOU.

01:07PM   16             (DEFENDANTS' WITNESS, JOHN MARK SUHY, WAS SWORN.)

01:07PM   17                  THE WITNESS:   YES.

01:07PM   18                  THE COURT:   LET ME INVITE YOU TO HAVE A SEAT HERE,

01:07PM   19      SIR.    FEEL FREE TO ADJUST THE CHAIR AND MICROPHONE AS YOU MAKE

01:07PM   20      YOURSELF COMFORTABLE.

01:07PM   21             THERE'S REFRESHMENT OF WATER THERE TO HELP YOURSELF.

01:07PM   22                  THE WITNESS:   THANK YOU.

01:07PM   23                  THE COURT:   YOU'RE WELCOME.    WHEN YOU ARE

01:07PM   24      COMFORTABLE, WOULD YOU PLEASE STATE YOUR NAME AND SPELL YOUR

01:07PM   25      LAST NAME, PLEASE.



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01:07PM    1                   THE WITNESS:    OKAY.   MY NAME IS JOHN MARK SUHY.

01:07PM    2      J-O-H-N, M-A-R-K, S-U-H-Y.

01:07PM    3                   THE COURT:    THANK YOU.   COUNSEL.

01:07PM    4                                DIRECT EXAMINATION

01:07PM    5      BY MR. BEENE:

01:07PM    6      Q.   MR. SUHY, I'D LIKE TO TAKE THE FIRST PART OF THIS JUST

01:07PM    7      SORT OF YOUR BACKGROUND AND WHO YOU ARE.        OKAY?

01:07PM    8      A.   OKAY.

01:07PM    9      Q.   AND WHERE DO YOU LIVE, SIR?

01:07PM   10      A.   I LIVE IN ALEXANDRIA, VIRGINIA.

01:07PM   11      Q.   AND HOW LONG HAVE YOU LIVED THERE?

01:07PM   12      A.   AT LEAST EIGHT YEARS OR NINE YEARS.

01:07PM   13      Q.   AND DO YOU HAVE FAMILY?

01:07PM   14      A.   YES.

01:07PM   15      Q.   AND WHO IS YOUR FAMILY IN ALEXANDRIA?

01:08PM   16      A.   MY MOM, MY DAD, MY SISTER, I HAVE AUNTS AND UNCLES ALL IN

01:08PM   17      THAT AREA.

01:08PM   18      Q.   OKAY.    OKAY.    AND YOU WERE MARRIED?

01:08PM   19      A.   YES.

01:08PM   20      Q.   AND DO YOU HAVE ANY CHILDREN?

01:08PM   21      A.   YES.

01:08PM   22      Q.   AND HOW MANY?

01:08PM   23      A.   THREE.

01:08PM   24      Q.   LET'S TALK ABOUT YOUR COLLEGE EDUCATION.         YOU WENT TO

01:08PM   25      COLLEGE?



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01:08PM    1      A.   YES.

01:08PM    2      Q.   WHERE DID YOU GO TO SCHOOL?

01:08PM    3      A.   I WENT TO OLD DOMINION AND TRANSFERRED AND FINISHED AT

01:08PM    4      GEORGE MASON UNIVERSITY, BOTH IN VIRGINIA.

01:08PM    5                   THE COURT:    SIR, I'M GOING TO ASK YOU TO JUST PULL

01:08PM    6      THAT MICROPHONE A LITTLE CLOSER TO WHERE YOU ARE.      IT MOVES.

01:08PM    7                   THE WITNESS:   OKAY.

01:08PM    8                   THE COURT:    THANK YOU.

01:08PM    9      BY MR. BEENE:

01:08PM   10      Q.   OKAY.    AND DID YOU GET A DEGREE FROM COLLEGE?

01:08PM   11      A.   YES, I GOT A DEGREE IN COMPUTER SCIENCE.

01:08PM   12      Q.   WITH THAT DEGREE, DID YOU SPECIALIZE IN ANY AREA OF

01:09PM   13      COMPUTER SCIENCES?

01:09PM   14      A.   NO.    GENERALIZED ACROSS THE BOARD, EVERYTHING FROM WEB APP

01:09PM   15      DEVELOPMENT, PLATFORM DEVELOPMENT, ARTIFICIAL INTELLIGENCE.         I

01:09PM   16      ENJOY ALL OF THE TECHNOLOGIES.

01:09PM   17      Q.   BUT THIS IS ALL SOFTWARE RELATED?

01:09PM   18      A.   YES.

01:09PM   19      Q.   OKAY.    WHAT WAS YOUR FIRST, LIKE I SAY, REAL JOB AFTER

01:09PM   20      COLLEGE, SOMETHING RELATED TO YOUR EDUCATION?

01:09PM   21      A.   IT WAS WITH A COMPANY CALLED CORE EXPRESS.      THEIR SALES

01:09PM   22      TEAM WERE HAVING A PROBLEM SELLING THEIR TECHNOLOGY.      IT WAS

01:09PM   23      SOMETHING CALLED DARK FIBER, AND I HELPED BUILD A TOOL THAT LET

01:09PM   24      THEM GO AND CALCULATE THEIR -- WHEN THE SALESPEOPLE GET THE --

01:09PM   25      YOU GET A PERCENTAGE WHEN YOU SELL SOMETHING.       IT HELPED



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01:10PM    1      CALCULATE THAT FOR THEM, THE -- NOT THE PROFIT, THE COMMISSION.

01:10PM    2      SORRY.

01:10PM    3      Q.   AND YOU SAID THAT YOU BUILT A TOOL.     WHAT SORT OF TOOL DID

01:10PM    4      YOU BUILD?

01:10PM    5      A.   IT WAS A WEB APPLICATION THAT HAD A DATABASE ON THE BACK

01:10PM    6      END AND THE FRONT END THAT WAS AVAILABLE THROUGH THE WEB

01:10PM    7      BROWSER WHICH BACK THEN WAS A NEW THING.

01:10PM    8      Q.   AND WHAT TYPE OF SOFTWARE WERE YOU USING ON THAT?        WAS IT

01:10PM    9      OPEN SOURCE OR PROPRIETARY?

01:10PM   10      A.   ALL THREE IN OPEN SOURCE.

01:10PM   11      Q.   AND IS IT YOUR PRACTICE TO USE OPEN SOURCE SOFTWARE?

01:10PM   12      A.   YES, WHENEVER POSSIBLE.

01:10PM   13      Q.   AND WHY IS THAT?

01:10PM   14      A.   WELL, OPEN SOURCE, I BELIEVE, GIVES YOU THE FREEDOM OF --

01:10PM   15      YOU KNOW, IF YOU FOLLOW THE FREE SOFTWARE FOUNDATION, IT'S NOT

01:10PM   16      ABOUT BEING FREE, IT'S ABOUT THE LIBERTIES, AND I THINK IT'S

01:11PM   17      JUST IMPORTANT THAT THAT'S HOW WE CAN SHARE OUR KNOWLEDGE.       YOU

01:11PM   18      KNOW, TEAMS GO AND SPEND HUNDREDS OF THOUSANDS OF HOURS

01:11PM   19      BUILDING SOFTWARE, AND THAT SOFTWARE CAN BE USED IN THE MARS

01:11PM   20      ROVER, LIKE ON THE MARS ROVER, AND WITHOUT ANY COSTS TO

01:11PM   21      TAXPAYERS OR ANYBODY.      I'VE ALWAYS LOVED FREE SOFTWARE.

01:11PM   22      Q.   NOW LET'S -- WELL, YOU'VE BEEN WORKING WITH SOFTWARE,

01:11PM   23      FREE SOFTWARE FOR MANY YEARS; RIGHT?

01:11PM   24      A.   YES.

01:11PM   25      Q.   HOW MANY YEARS?



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01:11PM    1      A.   AT LEAST 15 TO 20.    I CAN'T EVEN COUNT.     SINCE I STARTED

01:11PM    2      WORKING ON EVEN STARTING OFF WITH -- I THINK LIKE WHEN LENUX

01:12PM    3      FIRST, LENUX I HAVE BEEN WORKING WITH IS FREE SOFTWARE, IT'S

01:12PM    4      BEEN AT LEAST 15 OR 20 YEARS.

01:12PM    5      Q.   AND WHAT IS LENUX?

01:12PM    6      A.   LENUX IS THE OPERATING SYSTEM.

01:12PM    7      Q.   AND IS IT A FREE OPERATING SYSTEM FOR COMPUTERS?

01:12PM    8      A.   YES, IT IS.

01:12PM    9      Q.   AT SOME POINT YOU BECAME A CONTRACTOR FOR THE U.S.

01:12PM   10      GOVERNMENT?

01:12PM   11      A.   YES.

01:12PM   12      Q.   WHAT -- HOW DID THAT COME ABOUT?

01:12PM   13      A.   I WAS KNOWN FOR BUILDING TOOLS, UNIQUE TOOLS, AND I

01:12PM   14      BELIEVE THAT IT STARTED WITH THE NAVY WHERE THEY HAD A PROBLEM,

01:12PM   15      AND THIS IS BEFORE IT WENT TO NSA OR MPO, THEY HAD A PROBLEM

01:12PM   16      THAT NEEDED TO BE SOLVED AND A STARTUP IN THE PRIVATE SECTOR

01:13PM   17      COULD EASILY COME AND DO, BUT THE RULES FOR GOVERNMENT

01:13PM   18      CONTRACTING MADE IT HARD TO DO THAT.

01:13PM   19           SO I GOT IN FRONT OF THESE ORGANIZATIONS AND SAID, HEY,

01:13PM   20      LOOK, LET'S TRY THIS, LET'S USE FREE SOFTWARE, WE'LL BUILD THIS

01:13PM   21      OUT AND YOU'LL HAVE A SOLUTION THAT YOU CAN USE MOVING FORWARD.

01:13PM   22      AND SO I GOT LUCKY I THINK, AND THEY LIKED WHAT I BUILT AND IT

01:13PM   23      KEPT GOING FROM THERE, WORD OF MOUTH, I KEPT ON BUILDING

01:13PM   24      THINGS.   AND AS LONG AS THEY APPROVED AND LIKED IT AND GAVE

01:13PM   25      GOOD FEEDBACK CIRCUIT, THEN I COULD CONTINUE ON DOING IT.



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01:13PM    1      Q.   AND HOW WERE YOU PAID FOR YOUR SERVICES?

01:13PM    2      A.   AS A CONTRACTOR.      SO IT WOULD PAY EITHER MY COMPANY.

01:13PM    3      USUALLY IT WOULD BE MY COMPANY AND THEN MY COMPANY WOULD PAY

01:13PM    4      MYSELF.

01:13PM    5      Q.   AND DID YOU CHARGE A SOFTWARE LICENSE FEE?

01:13PM    6      A.   NO.

01:13PM    7      Q.   SO YOUR BUSINESS MODEL WAS TO PROVIDE PROFESSIONAL

01:13PM    8      SERVICES WITH FREE AND OPEN SOFTWARE TO THE GOVERNMENT?

01:13PM    9      A.   YES.

01:13PM   10      Q.   TO ENGAGE IN THAT MODEL, DID YOU HAVE TO BE QUALIFIED

01:14PM   11      SOMEHOW WITH THE GOVERNMENT?

01:14PM   12      A.   NO.    YOU HAD TO HAVE CLEARANCES FOR ACCESS TO CERTAIN

01:14PM   13      INFORMATION THAT RANGED FROM SECRET TO TOP SECRET, BUT NO

01:14PM   14      QUALIFICATIONS FOR -- I'M TRYING TO THINK.     I DON'T THINK

01:14PM   15      THERE'S ANY QUALIFICATIONS THAT REQUIRED YOU TO DO THAT.        JUST

01:14PM   16      WORD OF MOUTH USUALLY IS HOW YOU GET THESE CONTRACTS.

01:14PM   17      Q.   IS IT MORE FAVORABLE TO GET CONTRACTS IF YOU'RE A SMALL

01:14PM   18      BUSINESS OR A SINGLE PERSON ENTITY?

01:14PM   19      A.   YES, BECAUSE THE GOVERNMENT GETS CREDIT FOR MEETING

01:14PM   20      CERTAIN RATIOS OF LIKE HUB ZONE, H-U-B, OR WOMEN OWNED.     THERE

01:14PM   21      IS SOMETHING CALLED ADAY.

01:15PM   22           SO THE GOVERNMENT TRIES TO HELP SMALL BUSINESSES, AND THEY

01:15PM   23      HAVE IT SET ASIDE SPECIFICALLY FOR SMALL BUSINESSES AND SO THEY

01:15PM   24      DON'T HAVE TO COMPETE WITH THE BIG BILLION DOLLAR COMPANIES.

01:15PM   25      Q.   AND WAS PURETHINK, LET'S GO THERE, WERE THEY OPERATING AS



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01:15PM    1      A HUB ZONE?

01:15PM    2      A.   NOT PURETHINK.      IGOV WAS.

01:15PM    3      Q.   HOW DID YOU FIRST GET INVOLVED WITH NEO4J?

01:15PM    4      A.   MPO HAD REACHED OUT TO ME, NSA, AND WE -- OR I HAD A LIST

01:15PM    5      OF TECHNOLOGIES THAT I WAS WORKING ON, AND THEY WERE ALL OPEN

01:15PM    6      SOURCE TECHNOLOGIES, AND NEO4J HAPPENED TO BE ON THAT LIST, AND

01:15PM    7      SO THEY REACHED OUT AND SAID WE WANT TO PROCURE THIS.       AND I

01:15PM    8      SAID -- I THINK I SAID, WELL, IT'S FREE.       THEY SAID, NO, THEY

01:15PM    9      NEED A LICENSE FOR THE ENTERPRISE.

01:15PM   10           AND THEN THEY BASICALLY REACHED OUT TO ME, AND THEN I

01:15PM   11      REACHED OUT TO NEO4J, AND I SAID I THINK WE NEED TO WORK

01:16PM   12      TOGETHER BECAUSE THEY NEED THIS, AND YOU'RE THE ONLY ONES THAT

01:16PM   13      SELL THIS COMMERCIAL LICENSE.

01:16PM   14                  THE COURT:     EXCUSE ME.   WHEN YOU SAY "THEY," ARE YOU

01:16PM   15      REFERRING TO THE GOVERNMENT?

01:16PM   16                  THE WITNESS:    YES, I'M SORRY.

01:16PM   17                  THE COURT:     OKAY.

01:16PM   18      BY MR. BEENE:

01:16PM   19      Q.   WHEN DID THAT OCCUR?

01:16PM   20      A.   AROUND 2015, 2014, END OF IT, OR EARLY 2015.

01:16PM   21      Q.   SO THAT WAS THE FIRST COMMERCIAL CONTRACT WITH THE NSA;

01:16PM   22      RIGHT?

01:16PM   23      A.   YES.

01:16PM   24      Q.   AND HOW LONG WAS THAT CONTRACT?

01:16PM   25      A.   IT ONLY WAS FOR A YEAR.       IT DIDN'T RENEW.



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01:16PM    1      Q.   IT DID NOT RENEW?

01:16PM    2      A.   NO.

01:16PM    3      Q.   DID YOU TRY AND SELL THEM A THREE YEAR LICENSE?

01:16PM    4      A.   I BELIEVE THAT WE TRIED TO SELL, AND I WORKED WITH NEO,

01:16PM    5      NEO4J SALES TEAM ON THIS, AND WE TRIED TO SELL THEM A LICENSE,

01:16PM    6      BUT IN THE DEBRIEF, THEY WERE -- EVERYTHING THEY NEEDED WAS IN

01:17PM    7      COMMUNITY EDITION.

01:17PM    8      Q.   OKAY.   SO WHAT DID YOU DO -- WHAT DID YOU SELL THEM BACK

01:17PM    9      IN 2015?

01:17PM   10      A.   IN 2015 THEY GOT A DISCOVERY BUNDLE OF NEO4J I BELIEVE IT

01:17PM   11      WAS, OR IT MIGHT HAVE BEEN A FULL, IT MIGHT HAVE BEEN A FULL

01:17PM   12      BUNDLE.    I DON'T KNOW WHAT THE NAMES ARE BECAUSE THEY'RE

01:17PM   13      CHANGING AROUND, BUT IT WAS A LICENSE.

01:17PM   14      Q.   OKAY.   AND THEN THEY STOPPED THAT LICENSE AT THE END OF

01:17PM   15      THE FIRST YEAR?

01:17PM   16      A.   YES.

01:17PM   17      Q.   AND THEN THEY WENT TO THE COMMUNITY NEO4J?

01:17PM   18      A.   YES, AND THEY HAD ALREADY BEEN USING COMMUNITY BEFOREHAND.

01:17PM   19      Q.   OKAY.   SO THE NSA HAD BEEN USING NEO4J COMMERCIAL

01:17PM   20      ENTERPRISE; RIGHT?

01:17PM   21      A.   YES.

01:17PM   22      Q.   AND THE COMMUNITY VERSION OF NEO4J; RIGHT?

01:17PM   23      A.   YES.

01:17PM   24      Q.   OKAY.   SO THAT'S THE EARLY PHASE OF THE NSA, THEY DID

01:18PM   25      RENEW, WENT ON AND YOU NEVER DID BUSINESS WITH THEM AGAIN;



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01:18PM    1      RIGHT?

01:18PM    2      A.   CORRECT.

01:18PM    3      Q.   AND STUFF WE'LL GET TO LATER, BUT THAT'S THE BEGINNING.

01:18PM    4           LET'S DO THE SAME WITH THE IRS.     HOW DID YOU FIRST GET

01:18PM    5      INVOLVED WITH THE IRS?

01:18PM    6      A.   NEO4J HAD A SALES TEAM THAT WAS TRYING TO SELL THEM A

01:18PM    7      LICENSE AND THEY NEEDED A WHOLE SOLUTION BUILT.     THEY DIDN'T

01:18PM    8      NEED JUST A LICENSE.

01:18PM    9           AND SO THE IRS DECIDED THEY DIDN'T HAVE THE BUDGET FOR

01:18PM   10      PURCHASING ENTERPRISE EDITION WHEN THEY DIDN'T HAVE A PRODUCT.

01:18PM   11      THINK OF IT AS A CAR, THEY WANTED THE CAR, NOT JUST THE

01:18PM   12      ALTERNATOR.

01:18PM   13           SO I WENT BACK AND GOT PERMISSION FROM LARS NORDWALL,

01:19PM   14      N-O-R-D-W-A-L-L, WHO WAS THE COO OF -- I GOT PERMISSION AND

01:19PM   15      TOLD HIM, LOOK, LET'S BUILD A SOLUTION, THAT'S WHAT I'M GOOD

01:19PM   16      AT, AND THEN YOU CAN GET REOCCURRING LICENSE FEES AFTER THAT IF

01:19PM   17      YOU WANT.

01:19PM   18           SO THAT'S -- HE AGREED WITH THAT AND WE WENT AND BUILT

01:19PM   19      THIS PLATFORM, WHICH --

01:19PM   20      Q.   HANG ON A SECOND BEFORE WE GO DOWN THE ROAD TOO FAR.

01:19PM   21           COULD YOU TURN IN THE WHITE BINDER TO EXHIBIT 1011?

01:19PM   22      A.   EXHIBIT 11?

01:19PM   23      Q.   IT'S 1011.

01:19PM   24      A.   OKAY.    I'M THERE.

01:19PM   25      Q.   OKAY.    NOW, IS THIS A 2016 STATEMENT OF WORK THAT THE IRS



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01:20PM    1      WAS TRYING TO GET SOMEONE TO DO FOR THE CKGE PROJECT?

01:20PM    2                 MR. RATINOFF:     OBJECTION, YOUR HONOR.   THAT'S

01:20PM    3      LEADING.

01:20PM    4                 MR. BEENE:      WELL, IT'S A FOUNDATION.

01:20PM    5                 THE COURT:      FOUNDATION.   OVERRULED.

01:20PM    6           YOU CAN ANSWER THE QUESTION, SIR.

01:20PM    7                 THE WITNESS:     YES, THIS WAS THE STATEMENT OF WORK

01:20PM    8      FOR THAT BEGINNING YEAR.

01:20PM    9      BY MR. BEENE:

01:20PM   10      Q.   AND WHAT IS THE CKGE?

01:20PM   11      A.   IT'S A PLATFORM OF TOOLS AROUND -- THERE'S A DATA

01:20PM   12      WAREHOUSE CALLED CDW THAT IS BASED ON SYBASE, AND THIS IS A

01:20PM   13      SUITE OF TOOLS THAT HELPS CREATE A GRAPH ENVIRONMENT TO BE ABLE

01:20PM   14      TO GO IN AND ANALYZE USING GRAPH TOOLING.

01:20PM   15           IT EXPANDED OUT TO BE MUCH MORE THAN THAT, BUT IT'S USING

01:20PM   16      OPEN SOURCE GRAPH TOOLS INCLUDING SPARK, APACHE SPARK.

01:21PM   17      Q.   WHAT IS APACHE SPARK?

01:21PM   18      A.   IT'S A FRAMEWORK FOR -- AND I MISSTATED THAT.      THE APACHE

01:21PM   19      SPARK HAS SOME LIBRARIES THAT DO THE GRAPH, THEY HAVE GRAPH

01:21PM   20      FRAMES AND WHATNOT.

01:21PM   21           BUT IT'S A LIBRARY FOR DOING DATA INGESTION, ETL ON HUGE

01:21PM   22      SETS OF DATA, BEING ABLE TO DO THEM PARALLEL, BREAKING THEM

01:21PM   23      APART, AND DOING THEM IN SMALL JOBS.

01:21PM   24      Q.   AND THE PHRASE APACHE, THAT REFERS TO THE OPEN SOURCE

01:21PM   25      LICENSE?



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01:21PM    1      A.   YES.    WELL, IT'S THE FOUNDATION THAT ALSO MANAGES.     IT WAS

01:21PM    2      UNDER THE FOUNDATION AS WELL.

01:21PM    3      Q.   RIGHT.   ON THE STATEMENT OF WORK, EXHIBIT 1011, THE THIRD

01:22PM    4      PARAGRAPH THERE'S A REFERENCE TO HADOOP SPARK/CLUSTER.        DO YOU

01:22PM    5      SEE THAT?    HADOOP, H-A-D-O-O-P.    IT'S ON PAGE 2 OF THIS

01:22PM    6      STATEMENT OF WORK.

01:22PM    7      A.   OKAY.    YES.

01:22PM    8      Q.   AND WHAT IS THAT REFERENCE TO?

01:22PM    9      A.   THAT'S REFERENCING THE TOOLS FOR DOING ETL, EDWARD, T --

01:22PM   10      ETL IS AN EXTRACT TRANSFORM LOAD.      SO GETTING DATA FROM

01:22PM   11      DIFFERENT SOURCES, CONVERTING IT INTO NEW SOURCES TO BE ABLE TO

01:22PM   12      ANALYZE IT AND WHATNOT.

01:22PM   13      Q.   AND THERE'S A REFERENCE HERE TO DESIGN SOMETHING UNDER

01:22PM   14      FISMA?

01:22PM   15      A.   YES.

01:22PM   16      Q.   AND WHAT IS FISMA?

01:23PM   17      A.   THE ACRONYM -- I KEEP FORGETTING THE ACRONYM, BUT IT'S A

01:23PM   18      SUITE OF CONTROLS THAT ARE AN ATTEMPT TO MAKE SOFTWARE

01:23PM   19      PLATFORMS MORE SECURE BY ENFORCING CONTROLS AND RULES SO YOU

01:23PM   20      DON'T LOSE TAXPAYER INFORMATION OR HAVE INFORMATION LEAK THAT

01:23PM   21      SHOULDN'T BE LEAKED.

01:23PM   22      Q.   SO ON PAGE 2 IT SAYS FEDERAL INFORMATION SECURITY

01:23PM   23      MODERNIZATION ACT?

01:23PM   24      A.   THAT'S CORRECT.

01:23PM   25      Q.   AND I SEE WHY YOU DON'T HAVE THAT ON THE TIP OF YOUR



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01:23PM    1      TONGUE.

01:23PM    2                  THE COURT:     ARE YOU INTRODUCING THIS?

01:23PM    3                  MR. BEENE:     I'M SORRY, YOUR HONOR?

01:23PM    4                  THE COURT:     SHOULD THIS BE INTRODUCED INTO EVIDENCE?

01:23PM    5                  MR. BEENE:     YES.    I'D LIKE TO ADMIT EXHIBIT 1011.

01:23PM    6                  THE COURT:     ANY OBJECTION?

01:23PM    7                  MR. RATINOFF:    YES, YOUR HONOR.    I'M A LITTLE

01:23PM    8      UNCLEAR WHERE THIS DOCUMENT CAME FROM.        THERE'S NO BATES

01:23PM    9      NUMBERS ON IT, AND I DON'T THINK A FOUNDATION HAS BEEN

01:23PM   10      ESTABLISHED WHO AUTHORED IT, AND I ALSO BELIEVE I HEARD THERE

01:23PM   11      WAS TESTIMONY ABOUT IT BEING FROM A 2016 CONTRACT, WHICH I

01:23PM   12      DON'T BELIEVE IS RELEVANT AT THIS POINT.

01:23PM   13           MR. SUHY IS NOT PURSUING HIS BREACH OF CONTRACT CLAIM FOR

01:24PM   14      THAT IRS.

01:24PM   15                  THE COURT:     CAN YOU LAY A FOUNDATION FOR THIS

01:24PM   16      DOCUMENT THROUGH THIS WITNESS?

01:24PM   17                  MR. BEENE:     YEAH.

01:24PM   18                  THE COURT:     OKAY.   WHY DON'T YOU.   SURE.

01:24PM   19      BY MR. BEENE:

01:24PM   20      Q.   MR. SUHY, DID YOU RECEIVE THIS DOCUMENT FROM THE IRS?

01:24PM   21      A.   YES.

01:24PM   22      Q.   AND WHAT IS THIS DOCUMENT?

01:24PM   23      A.   THIS IS THE STATEMENT OF WORK EXPLAINING WHAT NEEDS TO BE

01:24PM   24      DONE WITHIN THE CONTRACT, WHAT THEY WANT TO PAY FOR.

01:24PM   25      Q.   AND THE DAMAGE CLAIM THAT NEO4J HAS IS FOR CKGE?



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01:24PM    1      A.   YES.

01:24PM    2      Q.   AND THIS IS A STATEMENT OF WORK FOR THE CKGE PROJECT?

01:24PM    3      A.   YES.

01:24PM    4      Q.   AND DID YOU TAKE THIS STATEMENT OF WORK AND SHOW IT TO

01:24PM    5      NEO4J?

01:24PM    6      A.   YES, WE DID.

01:24PM    7      Q.   AND THEY REVIEWED IT TO MAKE A QUOTE TO THE IRS?

01:24PM    8      A.   NO.    THEY WERE NOT INTERESTED IN DOING SERVICES.    WE DO

01:24PM    9      THE SERVICE AND CONTRACTING.

01:24PM   10           THEIR ONLY INTEREST IS IN DOING LICENSE SALES.

01:24PM   11      Q.   BUT THIS STATEMENT OF WORK IS THE WORK THAT WAS DONE UNDER

01:25PM   12      THE CKGE IRS AGREEMENT; RIGHT?

01:25PM   13      A.   YES.

01:25PM   14                  MR. BEENE:     YOUR HONOR, THIS IS THE FUNDAMENTAL

01:25PM   15      TERMS OF SERVICES THAT THEY ARE SUING FOR DAMAGES UNDER, AND HE

01:25PM   16      RECEIVED IT FROM THE IRS, AND IT WAS USED AS PART OF A QUOTE TO

01:25PM   17      DO THE CKGE PROJECT.

01:25PM   18                  MR. RATINOFF:    WELL, I DISAGREE.

01:25PM   19                  THE COURT:     WHY DON'T YOU STAND UP.

01:25PM   20                  MR. RATINOFF:    I DISAGREE WITH HIS CHARACTERIZATION

01:25PM   21      OF THE DOCUMENT, BUT WE WON'T OBJECT TO ITS ADMISSIBILITY.

01:25PM   22                  THE COURT:     THANK YOU.   IT'S ADMITTED.

01:25PM   23           (DEFENDANTS' EXHIBIT 1011 WAS RECEIVED IN EVIDENCE.)

01:25PM   24                  MR. BEENE:     THANK YOU.

01:25PM   25      Q.   MR. SUHY, THE SAME EXHIBIT, 1011, PAGE 2, ABOVE THAT SCOPE



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01:25PM    1      OF WORK AND DESCRIPTION OF TASKS IT SAYS DMD ALSO MANUFACTURES

01:26PM    2      ANOTHER LEGACY GRAPH ENVIRONMENT, YK1, THAT IS SCHEDULED TO BE

01:26PM    3      INTEGRATED INTO THE CKGE.

01:26PM    4           DO YOU SEE THAT?

01:26PM    5      A.   YES.

01:26PM    6      Q.   AND THEN IT DISCUSSES AN ORACLE DATA STORAGE.

01:26PM    7           COULD YOU TELL US WHAT THAT IS?

01:26PM    8      A.   IT'S A DATABASE AND SO YOU PERFORM SEQUEL QUERIES ON IT TO

01:26PM    9      GET DATA, BUT IT'S AN RDBMS RELATIONAL DATABASE.

01:26PM   10      Q.   AND NOW, THE ORACLE DATABASE IS PROPRIETARY?

01:26PM   11      A.   YES, IT IS.

01:26PM   12      Q.   AND EVENTUALLY WAS THAT DATABASE CONNECTED INTO THE CKGE

01:26PM   13      PLATFORM?

01:26PM   14      A.   NO, THAT WAS NEVER CONNECTED IN.     THAT WAS ONLY USED WITH

01:26PM   15      NEO4J COMMUNITY TO PROVIDE FRONT END.     YK1 HAD A FRONT END

01:27PM   16      APPLICATION.   SO IT WAS ONLY USED WITHIN YK1.

01:27PM   17      Q.   OKAY.   SO WHAT IS THE YK1 PROJECT?

01:27PM   18      A.   SO THE YK1 PROJECT IS WHEN YOU HAVE BIG COMPANIES THAT

01:27PM   19      HAVE LOTS OF SUBSIDIARIES, AND I'M NOT A TAX EXPERT, I'M JUST

01:27PM   20      EXPLAINING FROM WHAT I KNOW OF IT, THEY HAVE LOTS OF SUB

01:27PM   21      COMPANIES, AND THOSE COMPANIES HAVE TAX AGREEMENTS AND THOSE

01:27PM   22      COMPANIES HAVE SUB COMPANIES.

01:27PM   23           SO THEY WANTED A TOOL TO BE ABLE TO GO IN AND FIND THE

01:27PM   24      CONNECTIONS BETWEEN THESE COMPANIES AND SEE IF THERE WERE

01:27PM   25      LOOPS, IF THERE ARE -- IF THEY NEEDED TO CREATE NEW TAX LAWS



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01:27PM    1      AND WHATNOT.

01:27PM    2           AND THE INTERFACE WAS A CUSTOM BUILT APP THAT THEY

01:27PM    3      INTERFACED WITH.   THE BACK END IS THAT THEY DIDN'T KNOW

01:27PM    4      WHAT WAS -- THE END USERS DON'T KNOW WHAT IS IN THE BACK, THEY

01:27PM    5      ONLY KNOW THE TOOL IN FRONT OF THEM.

01:27PM    6      Q.   DID YK1 PROJECT USE A NEO4J DATABASE?

01:28PM    7      A.   YES.

01:28PM    8      Q.   AND WHAT TIME?

01:28PM    9      A.   IT WAS A COMMUNITY EDITION.    I DON'T REMEMBER THE VERSION,

01:28PM   10      BUT IT WAS A COMMUNITY EDITION VERSION OF IT.

01:28PM   11      Q.   SO WHAT DID YOU DO ON THE CKGE PLATFORM?

01:28PM   12      A.   I BUILT OUT THE SERVICES, THE USER INTERFACES.     IT WAS --

01:28PM   13      IT CONSISTED OF DIFFERENT APPS.    SO THINK OF -- WITH GOOGLE,

01:29PM   14      WHEN YOU COME IN AND YOU SEE A MAIL APP, A CALENDAR APP.     I

01:29PM   15      CREATED APPS TO HELP THEM GO IN AND IDENTIFY FRAUD, TOOLING TO

01:29PM   16      HELP THEIR INVESTIGATORS.

01:29PM   17           WE HAVE SUSPECT EFIN FILERS.    E-F-I-N, EFIN, BUILT A TOOL

01:29PM   18      TO ALLOW THOSE EFIN FILERS TO LOOK INTO A POSTGRES DATABASE AND

01:29PM   19      FIND OUT IF THERE'S ANY ABNORMAL FILINGS BY THESE EFIN

01:29PM   20      PROVIDERS.

01:29PM   21           SO THESE ARE ALL A SUITE OF TOOLS THAT WERE AIMED AT

01:29PM   22      HELPING INVESTIGATORS.

01:29PM   23      Q.   THAT SUITE OF TOOLS, WERE THOSE OPEN SOURCE SOFTWARE

01:29PM   24      TOOLS?

01:29PM   25      A.   YES, EVERYTHING THAT WE WORKED ON WERE ALL OPEN SOURCE.



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01:29PM    1      Q.   AND WHAT OTHER SOFTWARE DID YOU -- TOOLS DID YOU WORK ON

01:29PM    2      UNDER THIS PROGRAM?

01:29PM    3      A.   ELASTIC SEARCH, SPARK, HADOOP, POSTGRES, MARIADB, NEO4J, A

01:30PM    4      HUGE AMOUNT OF LIBRARIES LIKE OPEN SOURCE LIBRARIES.     IN THE

01:30PM    5      UI'S, FOR EXAMPLE, WE MIGHT HAVE 15 OR 20 DIFFERENT OPEN SOURCE

01:30PM    6      LIBRARIES TO DO EVERYTHING FROM GRAPHS TO CHARTS TO SOMETHING

01:30PM    7      CALLED D3, WHICH ALLOWS YOU TO DO CHARTS AND LIKE PIE CHARTS

01:30PM    8      AND WHATNOT, VISUALIZATIONS.

01:30PM    9           KAFKA, K-A-F-K-A.     THERE'S A LOT MORE, IT'S JUST I'D HAVE

01:30PM   10      TO GO AND LOOK AT ALL OF OUR DEPENDENCY GRAPHS TO SEE WHICH

01:31PM   11      ONES, BUT WE USUALLY WILL KNOW WHAT LICENSE IS BEING USED AND

01:31PM   12      WHATNOT SO WE CAN REPORT THAT.

01:31PM   13      Q.   SO THE CKGE PLATFORM WAS AN AMALGAMATION OF A LOT OF

01:31PM   14      DIFFERENT SOFTWARE; RIGHT?

01:31PM   15      A.   YES, OH, YES.

01:31PM   16      Q.   AND WAS IT ALL NEO4J SOFTWARE?

01:31PM   17      A.   NO, NOT AT ALL.   NEO4J WAS ONLY USED IN CERTAIN PARTS OF

01:31PM   18      THE TOOL, WHICH IS WHERE WE WANTED TO DO QUERIES WHICH WERE

01:31PM   19      MORE EFFICIENT USING A GRAPH COMPARED TO USING SEQUEL, BUT IT

01:31PM   20      WAS A SMALL PART OF THE WHOLE ENTIRE PLATFORM.

01:31PM   21      Q.   AT THE TIME WHEN YOU WERE DEALING WITH THE CKGE PROPOSAL,

01:31PM   22      WERE YOU A PARTNER OF NEO4J'S?

01:32PM   23      A.   YES, WITH THE IRS, YES.

01:32PM   24      Q.   OKAY.   AND WERE YOU TRYING TO SELL THE IRS A COMMERCIAL

01:32PM   25      LICENSE?



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01:32PM    1      A.   YES, I WAS.

01:32PM    2      Q.   AND WERE YOU SUCCESSFUL IN SELLING THE IRS A COMMERCIAL

01:32PM    3      LICENSE?

01:32PM    4      A.   NO.    THEY WANTED -- THEY DIDN'T HAVE A BUDGET FOR

01:32PM    5      LICENSES.    THEY WANTED TO HAVE A SOLUTION BUILT.

01:32PM    6      Q.   WHEN YOU WERE WORKING ON SELLING THE COMMERCIAL LICENSE TO

01:32PM    7      THE IRS, COMMERCIAL LICENSE OF NEO4J, DID YOU KNOW WHAT NEO4J

01:32PM    8      VERSION THEY WERE USING AT THE TIME?

01:32PM    9      A.   THEY WERE USING NEO4J COMMUNITY EDITION VERSION.       IT MIGHT

01:32PM   10      HAVE BEEN 2, OR I'M NOT SURE OF THE ACTUAL VERSION NUMBER, BUT

01:32PM   11      IT WAS NEO4J COMMUNITY EDITION, WHATEVER THE MOST CURRENT

01:33PM   12      VERSION OF THAT WAS.

01:33PM   13      Q.   SO THAT WAS A GPL VERSION; RIGHT?

01:33PM   14      A.   GPLV3, YES.

01:33PM   15      Q.   NOW, WHO IS JOHN BROAD?

01:33PM   16      A.   JOHN BROAD WORKED WITH NEO4J.    HE WAS THE PARTNER.     HE WAS

01:33PM   17      WHO I WORKED WITH AS A PARTNER AND LIAISON.        I DON'T KNOW WHAT

01:33PM   18      HIS OFFICIAL TITLE WAS.

01:33PM   19      Q.   OKAY.   DID YOU WORK WITH HIM ON THE IRS CONTRACT?

01:33PM   20      A.   YES.

01:33PM   21      Q.   WHO IS MATTHEW FREDERICKSON?

01:33PM   22      A.   MATTHEW FREDERICKSON IS THE SALESPERSON FOR NEO4J.

01:33PM   23      Q.   DID YOU WORK WITH HIM ON THE IRS CONTRACT?

01:33PM   24      A.   YES.

01:33PM   25      Q.   LET ME SHOW YOU MARKED FOR IDENTIFICATION EXHIBIT 1044.



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01:34PM    1           EXHIBIT 1044 IS AN EMAIL THREAD AND THE LOWER ONE IS

01:34PM    2      APRIL 28TH, 2016, AND THE NEXT ONE IS A LITTLE LATER IN THE

01:34PM    3      MORNING.

01:34PM    4           HAVE YOU -- DID YOU SEND THE EMAIL ON THE BOTTOM OF THIS

01:34PM    5      THREAD?

01:34PM    6      A.   YES, I DID.

01:34PM    7      Q.   AND DID YOU RECEIVE THE RESPONSE ON TOP?

01:34PM    8      A.   YES.

01:34PM    9                   MR. BEENE:    YOUR HONOR, I WOULD LIKE EXHIBIT 1044

01:34PM   10      ADMITTED INTO EVIDENCE.

01:34PM   11                   THE COURT:    ANY OBJECTION?

01:35PM   12                   MR. RATINOFF:    NO OBJECTION, YOUR HONOR.

01:35PM   13                   THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

01:35PM   14           (DEFENDANTS' EXHIBIT 1044 WAS RECEIVED IN EVIDENCE.)

01:35PM   15      BY MR. BEENE:

01:35PM   16      Q.   MR. SUHY, ON APRIL 28TH, 2016, YOU SENT THIS EMAIL TO

01:35PM   17      MR. BROAD.    AND WHY WERE YOU SENDING THIS EMAIL TO HIM?

01:35PM   18      A.   THE IRS SAID THAT THEY WERE NOT INTERESTED IN PURCHASING

01:35PM   19      AN ENTERPRISE LICENSE.       THEY WERE ALREADY USING COMMUNITY

01:35PM   20      EDITION, AND SO THEY DIDN'T SEE THE POINT IN IT.      THEY DIDN'T

01:35PM   21      HAVE A SOLUTION THAT THEY WANTED.

01:35PM   22           SO THE IRS HAD SAID, HEY, WE'RE NOT GOING TO PROCURE THIS.

01:35PM   23      AND I TALKED TO JOHN BROAD AND LARS AS WELL SAYING LET'S RECOUP

01:35PM   24      THIS AND LET ME BUILD SOMETHING FOR THEM AND WE'LL USE THAT

01:35PM   25      FIRST YEAR'S REVENUE TO BUILD THE SOLUTION, AND THEN YOU'LL



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01:35PM    1      HAVE REOCCURRING REVENUE MOVING FORWARD.

01:36PM    2           AND THAT'S WHAT THIS WAS TALKING ABOUT WAS THAT APPROACH

01:36PM    3      TO TRY SALVAGING THE LOSS OF A CONTRACT JUST FOR A LICENSE.

01:36PM    4      THE ORIGINAL LICENSE CONTRACT WE WANTED THE IRS TO -- OR WE

01:36PM    5      PROPOSED THE IRS, WHICH MAKES SENSE BECAUSE IT'S ALL LOST.

01:36PM    6           IF WE HADN'T DONE THIS, YOU HAD TO HAVE WORK TO BE ON

01:36PM    7      CONTRACT WITH THE IRS AND GET YOUR CLEARANCE AND WHATNOT, AND

01:36PM    8      THEY THOUGHT IT WAS A GOOD IDEA BECAUSE THEY SAID NOW WE HAVE

01:36PM    9      SOMETHING THERE AND SOMEONE INSIDE TO HELP THEM BUILD WHAT THEY

01:36PM   10      NEED AND THEN IT'S SMOOTH SAILING AFTER THAT.      LICENSES CAN BE

01:36PM   11      PURCHASED, YOU KNOW, AFTER THE SOLUTION WAS THERE TO ACTUALLY

01:36PM   12      USE THEM.

01:37PM   13      Q.   SO YOUR PLAN WAS TO BUILD IN THE COMMERCIAL SOFTWARE IN

01:37PM   14      THE PLATFORM AND THEN LICENSE IT LATER?

01:37PM   15      A.   YES, BUT IT WASN'T BUILT IN.    THE GRAPHS THEMSELVES ARE

01:37PM   16      SITTING THERE AND THEY'RE JUST A RESOURCE YOU QUERY FOR DATA,

01:37PM   17      BUT THAT WAS THE GOAL WAS THAT WE WOULD BUILD EVERYTHING USING

01:37PM   18      THAT AND THEN THEY COULD KEEP SELLING THEIR LICENSES TO THEM,

01:37PM   19      BUT THEY WOULD HAVE A FULL SOLUTION, WHICH WAS THEIRS TO USE.

01:37PM   20      Q.   AND BACK IN 2016 YOU FELT YOU HAD AGREEMENT FROM MR. BROAD

01:37PM   21      AND HIS EMAIL SAYS, "THANK YOU JOHN MARK.     THIS IS IN LINE WITH

01:37PM   22      OUR THINKING."

01:37PM   23      A.   YES.

01:37PM   24      Q.   LET ME MOVE TO THE NEXT EXHIBIT, 1043.

01:38PM   25           I'D LIKE THIS MARKED FOR IDENTIFICATION PURPOSES.



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01:38PM    1           (DEFENDANTS' EXHIBIT 1043 WAS MARKED FOR IDENTIFICATION.)

01:38PM    2      BY MR. BEENE:

01:38PM    3      Q.   EXHIBIT 1043 IS AN EMAIL WITH A DATE SENT OF 8-15-2016.

01:38PM    4      IT STATES FROM LARS NORDWALL TO JOHN MARK SUHY.

01:38PM    5           MR. SUHY, WHO IS MR. NORDWALL?

01:38PM    6      A.   MR. NORDWALL WAS THE COO OF NEO4J AT THE TIME.

01:38PM    7      Q.   AND HERE DID YOU RECEIVE THIS EMAIL FROM MR. NORDWALL?

01:38PM    8      A.   YES.

01:38PM    9      Q.   AND YOU HAD PREVIOUSLY SENT HIM AN EMAIL IN THIS THREAD ON

01:38PM   10      AUGUST 12TH, 2016?

01:38PM   11      A.   YES, THAT'S CORRECT.

01:39PM   12                   MR. BEENE:    AND I WOULD LIKE TO MOVE EXHIBIT 1043

01:39PM   13      INTO EVIDENCE.

01:39PM   14                   THE COURT:    ANY OBJECTION?

01:39PM   15                   MR. RATINOFF:   NO OBJECTION, YOUR HONOR.

01:39PM   16                   THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

01:39PM   17           (DEFENDANTS' EXHIBIT 1043 WAS RECEIVED IN EVIDENCE.)

01:39PM   18      BY MR. BEENE:

01:39PM   19      Q.   BACK IN 2016 YOU WERE WORKING WITH THE IRS ON A CKGE

01:39PM   20      PLATFORM ISSUE; RIGHT?

01:39PM   21      A.   YES.

01:39PM   22      Q.   AND AS WE DISCUSSED WITH THE LAST EXHIBIT, YOU ARE

01:39PM   23      EXPLAINING TO LARS YOUR PLAN OF DOING THE -- WELL, WHAT WERE

01:39PM   24      YOU DOING?    WHAT WERE YOU WRITING LARS ABOUT?

01:39PM   25      A.   I WAS EXPLAINING THAT NEO4J IS LIKE AN ALTERNATOR AND THAT



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01:39PM    1      WE NEED TO GIVE THEM A WHOLE VEHICLE OR A SOLUTION THAT USES IT

01:39PM    2      TO JUSTIFY GETTING A SALE FOR IT.

01:39PM    3           AND SO I SAID THAT WHENEVER YOU HAVE A DEAL THAT FALLS

01:39PM    4      THROUGH LIKE THIS, WHY DON'T YOU HAVE US BUILD THEM A SOLUTION.

01:39PM    5      WE'LL USE ALL OPEN SOURCE SOFTWARE, AND THEN YOU CAN CONNECT IT

01:40PM    6      TO NEO4J, AND THEN YOU CAN TAKE IT AND START SELLING YOUR

01:40PM    7      COMMERCIAL LICENSES YEAR AFTER YEAR.

01:40PM    8      Q.   SO LET ME LOOK HERE.     YOU WROTE THAT THE IRS HAS BEEN

01:40PM    9      USING NEO4J COMMUNITY EDITION FOR QUITE SOME TIME NOW IN AN R&D

01:40PM   10      ENVIRONMENT; RIGHT?

01:40PM   11      A.   YES.

01:40PM   12      Q.   AND WHAT IS THE SIGNIFICANCE OF THAT?

01:40PM   13      A.   WELL, NEO4J -- THE COMMUNITY EDITION DID EVERYTHING THAT

01:40PM   14      THEY WANTED IT TO DO.      THE ENTERPRISE DIDN'T ADD ANY OF THESE

01:40PM   15      NEW TOOLS THAT THEY NEEDED FOR CKGE, AND SO THAT'S AN ISSUE

01:40PM   16      BECAUSE THEY ALREADY HAVE BEEN PROVING THIS IN COMMUNITY.        IT'S

01:40PM   17      GOING TO BE A HARD SALE FOR THE SALES TEAM TO COME IN AND SAY,

01:40PM   18      HEY, WE WANT YOU TO START PAYING FOR SOMETHING WHEN IT'S

01:40PM   19      ALREADY WORKING FOR YOU AND HOW YOU'RE USING IT NOW.

01:40PM   20      Q.   AND THE COMMUNITY IS THE GPL OPEN SOURCE VERSION?

01:40PM   21      A.   YES.

01:40PM   22      Q.   THE NEXT I GUESS THIRD PARAGRAPH DOWN THE SECOND SENTENCE

01:41PM   23      IT SAYS, "THAT DEAL WAS ABOUT TO FALL THROUGH SIMPLY BECAUSE

01:41PM   24      THE SUBSCRIPTION PRICE ATE UP THEIR ENTIRE R&D BUDGET AND LEFT

01:41PM   25      NO MONEY FOR THE DEVELOPMENT."



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01:41PM    1           RIGHT?

01:41PM    2      A.   YES.

01:41PM    3      Q.   AND WHAT WAS THAT PROBLEM?

01:41PM    4      A.   THE PROBLEM WAS THAT THEY ACTUALLY NEEDED A SOLUTION

01:41PM    5      BUILT.   AND SO THEY HAD THE BUDGET.    THEY NEEDED A FINAL

01:41PM    6      PRODUCT, AND THEY HAD THE MONEY FOR THAT.     THEY DID NOT HAVE

01:41PM    7      MONEY TO PURCHASE A LICENSE, ESPECIALLY WHEN YOU DIDN'T HAVE A

01:41PM    8      PRODUCT THAT COULD ACTUALLY MAKE USE OF THE SOFTWARE.

01:41PM    9      Q.   AND THE NEXT PARAGRAPH YOU WRITE, "THEY WERE PREPARED TO

01:41PM   10      STAY WITH NEO4J COMMUNITY AND USE THEIR BUDGET TO PAY AN

01:41PM   11      INTEGRATOR (NOT A NEO TECHNOLOGY PARTNER) TO BUILD OUT THE

01:41PM   12      PROTOTYPE"?

01:41PM   13      A.   YES.

01:41PM   14      Q.   AND WHY DID YOU TELL LARS THAT?

01:41PM   15      A.   BECAUSE IF YOU'RE INVOLVED IN THE PROJECT, THEN YOU HAVE A

01:42PM   16      VOICE IN FRONT OF THEM AND YOU CAN SHOW THEM ALL OF THE

01:42PM   17      FEATURES THAT YOU MIGHT HAVE.     WITHOUT BEING PART OF THAT

01:42PM   18      PROJECT, YOU HAVE NO VOICE INSIDE OF THE GOVERNMENT, SO MEANING

01:42PM   19      IT WOULD END AT THAT POINT BECAUSE YOU WOULD HAVE SOMEONE ELSE

01:42PM   20      THAT DOESN'T HAVE TO -- THEY'RE NOT SPEAKING FOR NEO4J, THEY'RE

01:42PM   21      NOT A PARTNER, AND SO THEY'RE LOOKING OUT USUALLY FOR -- NOT

01:42PM   22      FOR NEO4J'S INTEREST.      SO BEING INVOLVED WOULD BE IMPORTANT.

01:42PM   23      IT'S A TERM THAT THEY USE FOR LOBBYING, A KIND OF -- I THINK

01:42PM   24      IT'S LIKE LOBBYING, THAT'S THE REASON THAT YOU WOULD WANT TO BE

01:42PM   25      INVOLVED.



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01:42PM    1      Q.   AND YOU POINT OUT THAT THEY WERE GOING TO PAY AN

01:42PM    2      INTEGRATOR TO BUILD IT OUT AND NOT A NEO4J PARTNER?

01:42PM    3      A.   YES.

01:42PM    4      Q.   IS THAT WHAT YOU ANTICIPATED?

01:42PM    5      A.   YES, I KNEW WHO THE INTEGRATOR WOULD BE AS WELL.

01:43PM    6      Q.   NOW, YOU SAID NOT A NEO PARTNER.

01:43PM    7           WAS IT TYPICAL AT THIS POINT THAT NEO4J DIDN'T DO THE

01:43PM    8      PROFESSIONAL SERVICES?

01:43PM    9      A.   NO, THEY DON'T DO THE PROFESSIONAL SERVICES.     THEY JUST

01:43PM   10      SELL THE LICENSES.

01:43PM   11      Q.   AND THEN THIRD PARTY CONSULTANTS DO THE PROFESSIONAL

01:43PM   12      SERVICES?

01:43PM   13      A.   YES, THEIR PARTNERS WILL DO THE PROFESSIONAL SERVICES.

01:43PM   14      Q.   SO THE NEXT PARAGRAPH HERE YOU SAY, "AT THE LAST MOMENT

01:43PM   15      WHEN THE IRS SAID IT DOESN'T LOOK LIKE THEY COULD MOVE FORWARD,

01:43PM   16      WE ASKED FOR A DEBRIEF AND BASED ON THE INFORMATION WE TRIED A

01:43PM   17      NEW TACTIC (WITH YOUR TEAM'S PERMISSION)."

01:43PM   18           WHAT'S A DEBRIEF?

01:43PM   19      A.   A DEBRIEF IS YOU HAVE THE RIGHT, IF A GOVERNMENT AGENCY

01:43PM   20      TURNS DOWN EITHER A PROJECT, IT'S SPECIFIC TYPES OF RFP'S, YOU

01:44PM   21      CAN REQUEST A DEBRIEF, AND THEY TELL YOU THAT YOU CAN LEARN

01:44PM   22      FROM YOUR MISTAKES SAYING WHY DIDN'T THIS WORK, TELL US WHAT WE

01:44PM   23      CAN DO BETTER NEXT TIME.    SO THAT'S WHAT A DEBRIEF IS.

01:44PM   24      Q.   AND THEN YOU'RE GOING TO TRY A NEW TACTIC WITH YOUR TEAM'S

01:44PM   25      APPROVAL?



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01:44PM    1      A.   YES.

01:44PM    2      Q.   AND THAT IS, "WE OFFERED THE PROFESSIONAL SERVICES TO

01:44PM    3      BUILD OUT THEIR PROTOTYPE SYSTEM AS PART OF THE FIRST YEAR'S

01:44PM    4      SUBSCRIPTION BUNDLE PRICE"?

01:44PM    5      A.   YES.

01:44PM    6      Q.   AND WHO WAS GOING TO DO THE PROFESSIONAL SERVICES TO BUILD

01:44PM    7      OUT THE PLATFORM?

01:44PM    8      A.   THAT WOULD BE ME ON THIS CONTRACT.

01:45PM    9      Q.   AND YOU POINTED OUT -- I AM SORRY.      ON EXHIBIT 1043,

01:45PM   10      EXHIBIT 1043.   YOU SAID, "I JUST WANTED TO BRING THIS IDEA TO

01:45PM   11      YOUR ATTENTION IN CASE YOU ARE EXPERIENCING DEALS THAT ARE

01:45PM   12      FALLING THROUGH THAT HAVE THE FOLLOWING CHARACTERISTICS.

01:45PM   13           "LIMITED TOTAL BUDGET WHERE THE NEO4J SUBSCRIPTION COST

01:45PM   14      EATS INTO THEIR DEVELOPMENT BUDGET (BUT NOT

01:46PM   15      PRODUCTION/OPERATIONS BUDGET GOING FORWARD)."

01:46PM   16           WHAT DO YOU MEAN BY THAT?

01:46PM   17      A.   SO A LOT OF TIMES NEO4J WAS NEW TO THEM AND THEY NEEDED A

01:46PM   18      SOLUTION THAT WOULD BE LIKE AN END USER APP, IT WOULD BE A UI,

01:46PM   19      FOR EXAMPLE, OR AN APP.    AND THEY WOULD NEED TO HAVE THAT BUILT

01:46PM   20      UP FIRST TO EVEN BE ABLE TO GO TO THE NEXT STEP TO GET -- A

01:46PM   21      USER INTERFACE.

01:46PM   22           SO IT WOULD -- I USED THE ANALOGY THAT IF YOU WERE TRYING

01:46PM   23      TO SELL SOMEONE A MINIVAN, IT'S GOING TO BE HARD FOR YOU TO GO

01:46PM   24      AND SELL -- I AM SORRY, SELL THEM AN ALTERNATOR, IT'S GOING TO

01:46PM   25      BE HARD FOR YOU TO GO AND SAY HERE'S AN ALTERNATOR, YOU CAN



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01:46PM    1      TAKE YOUR KIDS TO SCHOOL.

01:46PM    2           BUT IF WE CAME AND SAID HERE'S A MINIVAN, WE BUILT IT ALL

01:47PM    3      OUT FOR YOU, IT'S USING THIS ALTERNATOR, YOU HAVE TO PAY FOR,

01:47PM    4      IT'S MORE LIKELY THAT THEY WILL GO AND CONTINUE THE RENEW.

01:47PM    5           SO IT WAS A WAY TO HELP THEM GET THE RENEWALS AND THEIR

01:47PM    6      LICENSE RENEWALS MOVING FORWARD AFTER INITIALLY BUILDING OUT A

01:47PM    7      SOLUTION.

01:47PM    8      Q.   OKAY.   AND LARS NORDWALL, THE COO, HE SAYS, "HI JOHN,

01:47PM    9      EXCELLENT OBSERVATION AND RECOMMENDATION.     I FULLY AGREE, WE

01:47PM   10      SHOULD APPLY THE SAME APPROACH ELSEWHERE.     THIS IS A

01:47PM   11      NO-BRAINER."

01:47PM   12           DO YOU SEE THAT?

01:47PM   13      A.   YES.

01:47PM   14      Q.   SO DID LARS TELL YOU TO GO AHEAD WITH THE IRS PROPOSAL

01:47PM   15      CONSISTENT WITH YOUR OUTLINE OF YOUR AUGUST 12TH, 2016?

01:47PM   16      A.   YES.

01:47PM   17      Q.   THEN WHAT HAPPENED TO THAT PROPOSAL?

01:48PM   18      A.   SO WE RESUBMITTED A PROPOSAL SAYING WE WOULD BUILD OUT A

01:48PM   19      SOLUTION, A PROTOTYPE FOR THEM.    IT WAS APPROVED.   WE DIDN'T

01:48PM   20      HAVE LICENSE REVENUE SO THEY WERE USING -- NEO4J WAS UNDER GPL,

01:48PM   21      THEY WERE USING THAT AND THEN WE BROUGHT IN NEO4J ENTERPRISE

01:48PM   22      UNDER AGPL, THIS IS BEFORE THE COMMONS CLAUSE, AND -- I'M

01:48PM   23      SORRY, I FORGOT.   I LOSE TRACK REAL QUICKLY.

01:48PM   24      Q.   I'VE BEEN NOT MODIFYING MY PRONOUNS NICELY HERE.

01:48PM   25           THIS WAS A PURETHINK; RIGHT?



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01:48PM    1      A.   YES, WITH PURETHINK.

01:48PM    2      Q.   SO PURETHINK MADE A QUOTE TO PROVIDE PROFESSIONAL SERVICES

01:49PM    3      TO THE IRS?

01:49PM    4      A.   YES.

01:49PM    5      Q.   AND THEN YOU WERE TERMINATED AS PARTNER AND LOST THE DEAL.

01:49PM    6      HOW DID ALL OF THAT HAPPEN?

01:49PM    7      A.   WELL, THE IRS HAD ASKED ME WHY THEY CAN'T JUST USE NEO4J

01:49PM    8      ENTERPRISE FOR FREE.    THEY WERE ALREADY USING COMMUNITY.   THEY

01:49PM    9      HAD LEARNED THAT IT WAS AGPL.     AND JASON ZAGALASKY AND

01:49PM   10      JOHN BROAD CAME AND SAID WE'LL LOSE THIS CONTRACT IF YOU DON'T

01:49PM   11      TELL THEM THAT THEY HAVE TO USE A COMMERCIAL LICENSE IN

01:49PM   12      PRODUCTION.   I WASN'T GOING TO SAY THAT AT ALL.

01:49PM   13           SO THINGS TURNED BAD AFTER THAT.     I WASN'T -- THEY DIDN'T

01:49PM   14      WANT TO WORK WITH ME.      I DON'T KNOW WHAT THE REASONINGS WERE ON

01:50PM   15      THEIR END, BUT I DIDN'T WANT TO SAY THAT TO THEM WHEN IT WAS

01:50PM   16      OBVIOUS THAT ANY OF THEIR LAWYERS COULD GO READ THE CONTRACT OR

01:50PM   17      THE LICENSE AND SEE IT.

01:50PM   18      Q.   WHY DIDN'T YOU WANT TO TELL THE IRS THAT THEY COULDN'T USE

01:50PM   19      THE OPEN SOURCE VERSION?

01:50PM   20      A.   BECAUSE IT WASN'T TRUE, THEY COULD USE IT IN PRODUCTION.

01:50PM   21      Q.   NOW, AFTER YOU'RE TERMINATED AS A PARTNER AT NEO4J, DID

01:50PM   22      YOU CHANGE OR DID YOU START A NEW COMPANY RATHER CALLED IGOV?

01:50PM   23      A.   YES.

01:50PM   24      Q.   AND WHY DID YOU SET UP IGOV?

01:51PM   25      A.   UNDER THE PARTNER AGREEMENT FOR -- BETWEEN PURETHINK AND



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01:51PM    1      NEO4J, THEY PROHIBITED WORKING WITH OPEN SOURCE LICENSES, AND

01:51PM    2      SO IGOV WAS SET UP SO IT COULD ACTUALLY PROVIDE THE GOVERNMENT

01:51PM    3      WITH SOFTWARE SOLUTIONS ONLY USING OPEN SOURCE LICENSES.

01:51PM    4      Q.   DID IGOV ULTIMATELY GET THE IRS CKGE CONTRACT?

01:51PM    5      A.   NO.

01:51PM    6      Q.   WHY NOT?

01:51PM    7      A.   I DON'T KNOW, I DON'T KNOW THE EXACT REASON.         I KNOW THERE

01:51PM    8      WAS A PROTEST AND THERE WAS A MISTAKE IN THEIR ANNOUNCEMENT,

01:51PM    9      BUT NEO4J WENT AND TOLD -- SOMEONE AT NEO4J, I THINK IT WAS

01:51PM   10      JASON ZAGALASKY, HAD TOLD THEM THAT THEY COULD NOT WORK WITH

01:52PM   11      IGOV AS WELL AS PURETHINK.

01:52PM   12                 MR. RATINOFF:     OBJECTION, YOUR HONOR.    THAT'S

01:52PM   13      HEARSAY.

01:52PM   14                 THE WITNESS:     IT WAS IN AN EMAIL.

01:52PM   15                 THE COURT:      ARE YOU OFFERING THIS FOR THE TRUTH OF

01:52PM   16      THE MATTER ASSERTED?

01:52PM   17                 MR. BEENE:      I DON'T KNOW, YOUR HONOR.   IT'S HEARSAY.

01:52PM   18                 THE COURT:      OKAY.

01:52PM   19                 MR. BEENE:      IT'S JUST HARD IN THIS WORLD WHY

01:52PM   20      SOMETHING HAPPENED TO HIM BUT --

01:52PM   21                 THE COURT:      ARE YOU OFFERING THIS NOT FOR THE TRUTH

01:52PM   22      OF THE MATTER?

01:52PM   23                 MR. BEENE:      NOT FOR THE TRUTH, BUT WHAT HE HEARD.

01:52PM   24      WHETHER IT'S TRUE OR NOT.

01:52PM   25                 THE COURT:      WELL, IS IT BEING OFFERED --



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01:52PM    1                   MR. BEENE:    I GUESS THAT'S SPECULATIVE THEN, RIGHT.

01:52PM    2                   THE COURT:    ARE YOU OFFERING IT NOT FOR ITS TRUTH

01:52PM    3      BUT TO DESCRIBE SUBSEQUENT CONDUCT OF HIM AFTER HE HEARD THIS?

01:52PM    4                   MR. BEENE:    YES.

01:52PM    5                   THE COURT:    ALL RIGHT.   I'LL ADMIT IT FOR THAT

01:52PM    6      LIMITED PURPOSE ONLY.

01:52PM    7                   MR. RATINOFF:   THANK YOU, YOUR HONOR.

01:52PM    8      BY MR. BEENE:

01:52PM    9      Q.   OKAY.    SO WHY DID YOU -- CORRECTION.     STRIKE THAT.

01:52PM   10           WHAT IS YOUR UNDERSTANDING OF WHY IGOV DID NOT GET THE IRS

01:53PM   11      CONTRACT?

01:53PM   12      A.   IT'S MY UNDERSTANDING THAT IT DIDN'T GET IT BECAUSE OF A

01:53PM   13      PROTEST, FROM NEO4J'S PROTEST ON THE CONTRACT AWARD ITSELF.

01:53PM   14      Q.   SO THEN DID YOU EVER WORK ON THIS IRS PROJECT?

01:53PM   15      A.   YES.

01:53PM   16      Q.   HOW?

01:53PM   17      A.   THE IRS REACHED OUT AND SAID, LOOK, WE WANT TO WORK WITH

01:53PM   18      YOU, BUT WE WOULD LIKE TO USE OUR SMALL BUSINESS INITIATIVES,

01:53PM   19      AND SO THEY FOUND EGOV -- WELL, I SAID EGOVERNMENT SOLUTIONS I

01:53PM   20      HELPED START.    I'M NO LONGER A MAJORITY OWNER OF IT.     THEY HAVE

01:53PM   21      HUB ZONE.    AND I SAID IF THAT'S ACCEPTABLE TO YOU AND LETS YOU

01:53PM   22      MEET YOUR REQUIREMENTS AND PLUS YOU CAN HAVE YOUR SOLUTION

01:53PM   23      BUILT.

01:53PM   24           SO THEY CREATED A NEW CONTRACT OR AN RFP FOR THAT AND PUT

01:54PM   25      IT OUT FOR EVERYONE TO GO AND DECIDE IF THEY WANTED TO PROTEST



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01:54PM    1      AND WHATNOT AND WHEN IT WASN'T PROTESTED, IT BECAME A CONTRACT

01:54PM    2      TO EGOVERNMENT SOLUTIONS.

01:54PM    3      Q.   OKAY.   ARE YOU STILL A SHAREHOLDER AT EGOV SOLUTIONS?

01:54PM    4      A.   NO.

01:54PM    5      Q.   ARE YOU A DIRECTOR OR OFFICER OF EGOV SOLUTIONS?

01:54PM    6      A.   NO.

01:54PM    7      Q.   HAVE YOU EVER BEEN A SHAREHOLDER AT EGOV SOLUTIONS?

01:54PM    8      A.   YES.

01:54PM    9      Q.   AND WHAT HAPPENED TO YOUR STOCK?

01:54PM   10      A.   I SOLD IT.

01:54PM   11      Q.   WERE YOU EVER AN OFFICER OR DIRECTOR OF EGOV SOLUTIONS?

01:54PM   12      A.   YES.

01:54PM   13      Q.   AND WHEN DID YOU STOP DOING THAT?

01:54PM   14      A.   I'M NOT SURE OF THE DATE.    IT WAS -- IT MIGHT HAVE BEEN

01:54PM   15      2018 TO 2019 TIMEFRAME, WHEN I SOLD, WHEN I SOLD MY STOCKS

01:55PM   16      BACK, AROUND THAT TIME I OFFICIALLY WAS REMOVED AS WELL AS AN

01:55PM   17      OFFICER.

01:55PM   18      Q.   OKAY.   SO THE WORK DONE ON THE IRS WAS THROUGH EGOV

01:55PM   19      SOLUTIONS AND THEY PAID EITHER IGOV OR YOU FOR THAT WORK;

01:55PM   20      RIGHT?

01:55PM   21      A.   YES, THEY PAID IGOV.

01:55PM   22      Q.   WHAT WAS THE HOURLY RATE THAT YOU RECEIVED FOR THE WORK

01:55PM   23      THAT YOU DID?

01:55PM   24      A.   IT WAS FIXED PRICE, BUT I BELIEVE IT CAME OUT TO $150 AN

01:55PM   25      HOUR.



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01:55PM    1      Q.   SO THE REVENUES THAT YOU GENERATED ON THE CKGE PROJECT WAS

01:55PM    2      YOUR HOURLY WORK AT $150 AN HOUR?

01:56PM    3      A.   YES, IT ENDED UP BEING THAT.       WE HAD -- WELL, REVENUES,

01:56PM    4      NOT PROFIT, YES, THAT'S CORRECT.

01:56PM    5      Q.   RIGHT.   IT'S JUST ON TOP AND REVENUES?

01:56PM    6      A.   YES.

01:56PM    7      Q.   OKAY.    AND THERE'S NO LICENSE REVENUES IN THAT?

01:56PM    8      A.   NO.

01:56PM    9      Q.   AND DOES IGOV, PURETHINK OR YOU SELL U.S. GOVERNMENT

01:56PM   10      SOFTWARE LICENSES?

01:56PM   11      A.   NO.

01:56PM   12      Q.   AND HOW MANY YEARS WERE YOU INVOLVED IN THE CKGE PROJECT?

01:56PM   13      A.   AT LEAST FIVE YEARS.

01:56PM   14      Q.   WHO IS MR. DUNN?

01:57PM   15      A.   MIKE DUNN IS THE TECHNOLOGY LIAISON FOR THE IRS HE IS WHO

01:57PM   16      I WORKED WITH FOR CKGE.      HE WAS THEIR -- MY CONTACT.

01:57PM   17      Q.   OKAY.    OKAY.

01:57PM   18           AND DID YOU HAVE AN OCCASION WHEN HE TALKED TO YOU ABOUT

01:57PM   19      USING COMMUNITY?

01:57PM   20      A.   MANY TIMES.      I'M TRYING TO THINK.    JUST RECENTLY THERE WAS

01:57PM   21      A SWITCH BACK TO COMMUNITY BECAUSE OF THE COURT ORDER, BUT

01:57PM   22      BEFORE THAT THEY WERE USING COMMUNITY, AND WE'VE TALKED ABOUT

01:57PM   23      IT BEFORE, AND HE'S ASKED ABOUT WHAT FEATURES ARE IN COMMUNITY

01:57PM   24      ARE ENTERPRISE.

01:57PM   25           I EXPLAINED TO HIM THAT WE'RE NOT ACTUALLY USING ANY OF



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01:57PM    1      THE ENTERPRISE FEATURES, IT'S JUST I'M FAMILIAR WITH IT BECAUSE

01:58PM    2      I HELP WITH THAT WORK, SO WITH THE ONGDB WORK.

01:58PM    3      Q.   JUST ON THAT NOTE, WE HAD A QUESTION EARLIER.     TELL ME,

01:58PM    4      DID YOU SEND THE IRS A COPY OF THIS COURT'S ORDER FOR

01:58PM    5      INJUNCTION AND REMOVING SOFTWARE OFF OF THEIR SERVERS?

01:58PM    6      A.   YES, YES.

01:58PM    7      Q.   WHO DID YOU SEND THAT TO?

01:58PM    8      A.   TO MIKE DUNN AND TO THEIR ATTORNEYS THAT I KNEW WERE

01:58PM    9      INVOLVED THAT I HAD EMAILS FROM.

01:58PM   10      Q.   OKAY.    AND HAVE THEY GOTTEN BACK TO YOU?

01:58PM   11      A.   NO.

01:58PM   12      Q.   DO YOU KNOW WHY?

01:58PM   13      A.   I DON'T KNOW WHY, BUT I DO KNOW THAT THEY, THEY DECIDED TO

01:58PM   14      SWITCH BACK TO COMMUNITY AFTER THAT.

01:59PM   15      Q.   AND WHILE YOU WERE IN THE MIDDLE OF THIS CKGE PROJECT, I

01:59PM   16      SUPPOSE DURING THE EGOV TIME, DID THE IRS TRY AND SELL ANOTHER

01:59PM   17      COMMERCIAL ENTERPRISE LICENSE TO THE IRS?

01:59PM   18      A.   WELL, IRS NEVER SELLS LICENSES.     YOU MEAN NEO4J?

01:59PM   19      Q.   I'M SORRY.   WHILE YOU WERE INVOLVED IN THE CKGE PROJECT,

01:59PM   20      DID NEO4J TRY AND SELL TO THE IRS A COMMERCIAL LICENSE TO

01:59PM   21      ENTERPRISE?

01:59PM   22      A.   YES.

01:59PM   23      Q.   OKAY.    AND DID YOU HAVE ANY DISCUSSION WITH THE IRS ABOUT

01:59PM   24      WHETHER OR NOT THEY SHOULD BUY THAT LICENSE?

01:59PM   25      A.   YES.    I SPOKE TO THEM ABOUT THE FEATURES AND WHAT -- I



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02:00PM    1      DIDN'T TELL, I DIDN'T SAY YES OR NO BECAUSE I KNOW THEY MAKE

02:00PM    2      THEIR OWN DECISIONS, BUT I GAVE THEM ALL OF THE FEATURES THAT

02:00PM    3      WERE BEING USED AND WHAT THEY DIDN'T NEED, AND I HELPED TO

02:00PM    4      EDUCATE THEM BECAUSE I FELT THE SALES TEAMS WERE FEEDING THEM

02:00PM    5      STUFF THAT THEY WERE CAUSING CONFUSION SAYING THAT YOU NEED

02:00PM    6      THIS AND THAT WHEN IN REALITY YOU DIDN'T, BUT THAT'S THE TYPE

02:00PM    7      OF CONVERSATIONS I'VE HAD WITH THEM.

02:00PM    8      Q.   SO THE IRS KNEW WHAT THE COMMERCIAL VERSION OF ENTERPRISE,

02:00PM    9      WHAT FUNCTIONALITY IT HAD?

02:00PM   10      A.   YEAH, THEY HAD -- THE NEO4J SALES TEAM WOULD COME IN AND

02:00PM   11      DO DEMOS, AND THEY WOULD SHOW NEW FEATURES THAT WERE COMING OUT

02:00PM   12      IN LIKE THE NEW VERSION AND WHATNOT.

02:00PM   13           BUT I WASN'T INVOLVED IN THOSE DEMONSTRATIONS.

02:00PM   14      Q.   AND THE IRS HAD A COPY OF THE AGPL VERSION OF ENTERPRISE;

02:00PM   15      RIGHT?

02:00PM   16      A.   YES.

02:01PM   17      Q.   AND SO THEY COULD COMPARE THE FEATURES BETWEEN THOSE TWO

02:01PM   18      ITEMS; RIGHT?

02:01PM   19      A.   OH, YES.

02:01PM   20      Q.   DID THE IRS CONSIDER ANY OTHER GRAPH DATABASES AT THAT

02:01PM   21      TIME?

02:01PM   22      A.   THEY WERE LOOKING AT TIGER GRAPH AND USING APACHE'S GRAPH

02:01PM   23      FRAMES, F-R-A-M-E-S.

02:01PM   24      Q.   SO THE TIGER GRAPH, WHAT IS THAT?

02:01PM   25      A.   A TIGER GRAPH IS A COMPETING GRAPH DATABASE.     IT'S KNOWN



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02:01PM    1      FOR BEING MORE SCALEABLE THAN -- NEO4J HAS CLUSTERING, BUT IT'S

02:01PM    2      HIGH AVAILABILITY, MEANING YOU TAKE A COPY OF EVERY INSTANCE

02:01PM    3      AND YOU PUT IT OUT AND THEN YOU CAN LOAD BALANCE ACROSS.

02:02PM    4           WHEREAS TIGER GRAPH TOOK THE APPROACH OF DOING SHARDING

02:02PM    5      LIKE ELASTIC SEARCH WHERE YOU CAN SHARD YOUR DATA OUT

02:02PM    6      AUTOMATICALLY ACROSS MULTIPLE SERVERS THAT ARE LESS EXPENSIVE.

02:02PM    7           NEO4J, IF YOU HAVE A ONE TERABYTE DATABASE, YOU NEED TO BE

02:02PM    8      ABLE TO HANDLE THAT, ALL OF THAT SIZE ON EVERY SERVER, AND IT'S

02:02PM    9      VERY EXPENSIVE TO PURCHASE EVERY SERVER YOU WOULD NEED IN A

02:02PM   10      CLUSTER.

02:02PM   11           WHEREAS TIGER GRAPH, FOR EXAMPLE, COULD USE SMALLER

02:02PM   12      INSTANCES THAT THEY HAVE.

02:02PM   13           THE IRS HAS LOTS OF SERVERS LAYING AROUND.

02:02PM   14      Q.   AND HAS -- TO YOUR KNOWLEDGE, HAS THE IRS EVER MADE A

02:02PM   15      DECISION IF THEY'RE GOING TO GO WITH THE APACHE FRAME?

02:02PM   16      A.   NOT YET.

02:02PM   17      Q.   AND TIGER GRAPH?

02:02PM   18      A.   NOT YET.

02:02PM   19      Q.   OR NEO4J COMMERCIAL ENTERPRISE?

02:02PM   20      A.   NO, THEY HAVEN'T.

02:02PM   21      Q.   BUT THEY'RE USING THE COMMUNITY NOW?

02:02PM   22      A.   YEAH, THEY'RE USING THE COMMUNITY NOW ACROSS THE BOARD.

02:03PM   23      THAT'S ALL THEY'RE USING.

02:03PM   24      Q.   OKAY.

02:03PM   25      A.   IN THE CKGE PROJECT AND THE GHOST PREPARER AND ALL OF



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02:03PM    1      THOSE PROJECTS THAT WERE MENTIONED.

02:03PM    2      Q.   ARE YOU STILL PRESENTLY DOING WORK ON THIS CKGE PRONG?

02:03PM    3      A.   NOT ON CKGE.    WE DON'T HAVE THE CONTRACT ANYMORE.

02:03PM    4      Q.   WHO DOES?

02:03PM    5      A.   ATOMRAIN HAD WON IT, AND THEN THEY HAD A PROTEST SO IT'S

02:03PM    6      STILL BEING OUT FOR AWARD.     SO IT'S -- IT HASN'T BEEN AWARDED

02:03PM    7      AGAIN, THAT CONTRACT.

02:03PM    8      Q.   NOW, ATOMRAIN IS A NEO4J CONSULTANT?

02:03PM    9      A.   THEY WERE.   THEY'RE, THEY'RE -- ATOMRAIN IS THE TWO

02:03PM   10      BROTHERS THAT ARE THE SAME BROTHERS BEHIND THE GRAPH

02:03PM   11      FOUNDATION.   SO THEY'RE -- THEY HAVE A COMPANY CALLED ATOMRAIN,

02:03PM   12      AND THEY HAVE A COMPANY CALLED GRAPH GRID.

02:04PM   13      Q.   SO ATOMRAIN WAS BEING SUED AND THEY SETTLED?

02:04PM   14      A.   I BELIEVE IT WAS ATOMRAIN, THE GRAPH FOUNDATION, AND MAYBE

02:04PM   15      GRAPH GRID IN THE GRAPH FOUNDATION CASE.

02:04PM   16      Q.   RIGHT.

02:04PM   17      A.   YEP.

02:04PM   18      Q.   AND THEY ARE NOW BACK IN PROVIDING PROFESSIONAL SERVICES

02:04PM   19      ON NEO4J PLATFORM?

02:04PM   20      A.   YES.

02:04PM   21      Q.   AND THEY'RE DOING THAT BECAUSE THE CKGE PLATFORM IS VERY

02:04PM   22      LARGE AND JUST IS A LIMITED TO NEO4J?

02:05PM   23      A.   AND TO CLARIFY, THEY WERE A CONTRACTOR.        THEY DIDN'T WIN

02:05PM   24      THE DIRECT AWARD FOR CKGE RECENTLY.     THEY WERE A TEAM WITH

02:05PM   25      ANOTHER COMPANY, BUT I DON'T KNOW THE NAME.         BUT IT WAS BECAUSE



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02:05PM    1      OF THEM THAT THEY GOT THE AWARD BECAUSE THEY HAD THE KNOWLEDGE.

02:05PM    2      Q.   NOW, THE IRS DOESN'T SELL SOFTWARE SERVICES USING NEO4J,

02:05PM    3      DOES IT?

02:05PM    4      A.   THEY DON'T SELL ANY SOFTWARE SERVICES.

02:05PM    5      Q.   AND THAT'S THE SAME AS THE NSA, TOO?

02:05PM    6      A.   YES.

02:05PM    7      Q.   AND DID THEY EVER TALK TO YOU ABOUT SELLING THEIR

02:05PM    8      DATABASES TO ANYBODY?

02:05PM    9      A.   NO.

02:05PM   10      Q.   I APOLOGIZE.    THESE NUMBERS ARE HARD TO READ IN THE ORDER

02:06PM   11      THAT THEY ARE IN.

02:06PM   12           LET'S MOVE TO NSA CURRENT.     SO WE SORT OF STARTED WITH

02:06PM   13      THEM OLD, RIGHT?    YOU HAD A CONTRACT WITH THE NSA BACK IN 2015?

02:06PM   14      A.   YES.

02:06PM   15      Q.   AND THEY DIDN'T RENEW IT; RIGHT?

02:06PM   16      A.   NO.

02:06PM   17      Q.   OKAY.   AND THAT WAS A COMMERCIAL ENTERPRISE LICENSE THAT

02:06PM   18      THE NSA WAS USING?

02:06PM   19      A.   YES.

02:06PM   20      Q.   AND THEN LET'S GO TO EXHIBIT 1101.

02:07PM   21           I'D LIKE TO HAVE EXHIBIT 1101 MARKED FOR IDENTIFICATION

02:07PM   22      PURPOSES.

02:07PM   23           (DEFENDANTS' EXHIBIT 1101 WAS MARKED FOR IDENTIFICATION.)

02:07PM   24      BY MR. BEENE:

02:07PM   25      Q.   MR. SUHY, THE FIRST PAGE OF EXHIBIT 1101 IS AN EMAIL FROM



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02:08PM    1      S-H-A-H-A-K, N-A-G-I-E-L AND IT'S DATED FEBRUARY 19TH, 2019.

02:08PM    2           DO YOU SEE THAT?

02:08PM    3      A.   YES.

02:08PM    4      Q.   OKAY.    AND THIS IS AN EMAIL THREAD, SOME OF WHICH IS

02:08PM    5      BETWEEN YOU AND MR. NAGIEL; CORRECT?

02:08PM    6      A.   YES.

02:08PM    7      Q.   AND DOES EXHIBIT 1101 INCLUDE EMAILS THAT YOU SENT TO HIM

02:08PM    8      OR RECEIVED FROM HIM?

02:08PM    9      A.   YES, IT DOES.

02:08PM   10      Q.   AND THERE'S ALSO SOME EMAILS FROM BRAD NUSSBAUM; CORRECT?

02:08PM   11      A.   CORRECT.

02:08PM   12      Q.   AND WHO WAS MR. NUSSBAUM?

02:08PM   13      A.   BRAD NUSSBAUM IS ONE OF THE FOUNDERS OF THE GRAPH

02:08PM   14      FOUNDATION AS WELL AS THE FOUNDER OF ATOMRAIN AND GRAPH GRID.

02:08PM   15      Q.   OKAY.

02:09PM   16           YOUR HONOR, I'D LIKE TO MOVE EXHIBIT 1101 INTO EVIDENCE.

02:09PM   17                   THE COURT:    ANY OBJECTION?

02:09PM   18                   MR. RATINOFF:    NO OBJECTION.   I WOULD ALSO LIKE TO

02:09PM   19      NOTE --

02:09PM   20                   THE COURT:    I'M SORRY, I CAN'T HEAR YOU.

02:09PM   21                   MR. RATINOFF:    I BELIEVE THIS WAS ALSO DESIGNATED AS

02:09PM   22      A PLAINTIFFS' EXHIBIT.       I'LL HAVE TO LOOK IT UP.   AND IT WAS A

02:09PM   23      DEPOSITION EXHIBIT.

02:09PM   24                   THE COURT:    WAS IT ADMITTED AS A PLAINTIFFS'

02:09PM   25      EXHIBIT?



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02:09PM    1                   MR. RATINOFF:    I BELIEVE IT IS.   SO NO OBJECTION.

02:09PM    2                   THE COURT:    WELL --

02:09PM    3                   MR. BEENE:    IT MAY NOT BE IN TRIAL BUT SOMEWHERE

02:09PM    4      ELSE.   SOMETIMES IT GETS DUPLICATED.

02:09PM    5                   THE COURT:    IT'S ADMITTED, AND IT MAY BE PUBLISHED.

02:09PM    6           (DEFENDANTS' EXHIBIT 1101 WAS RECEIVED IN EVIDENCE.)

02:09PM    7                   MR. BEENE:    THANK YOU.

02:09PM    8      BY MR. BEENE:

02:09PM    9      Q.   MR. SUHY, COULD YOU LOOK AT THE NEXT TO THE LAST PAGE OF

02:09PM   10      EXHIBIT 1101, THERE'S AN EMAIL OCTOBER 28TH -- OCTOBER 22ND,

02:10PM   11      2018?

02:10PM   12      A.   OKAY.    I'M LOOKING.    OKAY.

02:10PM   13      Q.   SO THIS IS AN EMAIL FROM SHAHAK NAGIEL, PRINCIPAL

02:10PM   14      ENGINEER, AT NEXT CENTURY.

02:10PM   15           BEFORE YOU RECEIVED THIS EMAIL, DID YOU KNOW MR. NAGIEL?

02:10PM   16      A.   I DON'T BELIEVE SO, NO.

02:10PM   17      Q.   OKAY.    SO HE WAS MAKING INQUIRIES ABOUT THE AGPL COMMUNITY

02:11PM   18      AND ENTERPRISE VERSIONS OF NEO4J?

02:11PM   19      A.   YES.

02:11PM   20      Q.   HE NOTES IN HIS EMAIL THAT NEO4J ENTERPRISE DOESN'T HAVE

02:11PM   21      EVERYTHING THAT THE COMMUNITY AND AGPL SOFTWARE DOES.

02:11PM   22           DO YOU SEE THAT?

02:11PM   23      A.   I SEE IT, BUT COULD YOU SAY IT AGAIN.

02:11PM   24      Q.   WELL, LET ME SEE.       HE WRITES HERE, "NEO4J ENTERPRISE

02:11PM   25      CONSISTS OF MODULES FROM NEO4J COMMUNITY EDITION AND MODULES



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02:11PM    1      LICENSED UNDER AGPLV3 WITH THE COMMONS CLAUSE IN THE

02:11PM    2      REPOSITORY, AND OTHER CLOSED SOURCE COMPONENTS NOT PRESENT IN

02:11PM    3      THIS REPOSITORY."

02:12PM    4      A.   OKAY.

02:12PM    5      Q.   SO HE'S SAYING HERE THAT NEO4J ENTERPRISE HAS CLOSED

02:12PM    6      SOURCE COMPONENTS NOT IN THE COMMUNITY OR THE AGPL VERSION?

02:12PM    7      A.   YES, HE'S SAYING THAT.

02:12PM    8      Q.   IS THAT TRUE?

02:12PM    9      A.   NO.    AT THAT TIME NEO4J ENTERPRISE WAS AGPL, THE AGPL

02:12PM   10      LICENSE AND THE COMMERCIAL VERSION, IT WAS JUST A DIFFERENCE IN

02:12PM   11      THAT LICENSE FILE ITSELF.     ALL OF THE SOURCE CODE WAS THE SAME.

02:12PM   12      STARTING WITH 5.3 I THINK THEY STOPPED REMOVING SOURCE CODE,

02:12PM   13      BUT THIS WAS BASED ON AN EARLIER VERSION.      ENTERPRISE

02:12PM   14      COMMERCIAL AND ENTERPRISE OPEN SOURCE, WELL, YOU CAN'T SAY OPEN

02:12PM   15      SOURCE, WELL, ENTERPRISE AGPL WITH COMMONS HAD THE SAME SOURCE

02:12PM   16      CODE.   WHEN IT COMPLIES, IT'S THE SAME BINARIES.

02:13PM   17      Q.   OKAY.   AT SOME POINT LATER NEO4J CHANGED THAT THOUGH?

02:13PM   18      A.   YES.

02:13PM   19      Q.   SO YOU RESPONDED TO MR. NAGIEL AND I GUESS THERE'S A CC TO

02:13PM   20      DIANE GRIFFITH.

02:13PM   21           DO YOU SEE THAT?

02:13PM   22      A.   I SEE THAT, YES.

02:13PM   23      Q.   DID YOU EVER SPEAK TO HER?

02:13PM   24      A.   NO, I DON'T THINK I EVER SPOKE TO HER.

02:13PM   25      Q.   DID YOU EVER SPEAK TO MR. NAGIEL?



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02:13PM    1      A.    ONLY IN EMAILS.

02:13PM    2      Q.    OKAY.   SO IN THIS THREAD HE'S GOING BACK AND FORTH ABOUT

02:13PM    3      THE DIFFERENT FUNCTIONS BETWEEN THE DIFFERENT VERSIONS AND THE

02:13PM    4      AGPL VERSIONS; RIGHT?

02:14PM    5      A.    YES.

02:14PM    6      Q.    AND IF WE GO TO I GUESS IT'S THE THIRD PAGE OF

02:14PM    7      EXHIBIT 10 -- CORRECTION, 1101 THERE'S AN EMAIL AT THE BOTTOM

02:14PM    8      FROM YOU DATED FEBRUARY 18TH, 2019.

02:14PM    9            DO YOU SEE THAT?

02:14PM   10      A.    IS THAT THE ONE THAT STARTS "I PRESUME"?      IT STARTS WITH

02:14PM   11      "I PRESUME"?

02:14PM   12      Q.    NO.    THE FIRST PART OF THIS SAYS, "YES, THE GRAPH

02:14PM   13      FOUNDATION WILL BE MANAGING THE ENTERPRISE'S FEATURES MOVING

02:14PM   14      FORWARD."

02:14PM   15            DO YOU SEE THAT?

02:14PM   16      A.    YES.

02:14PM   17      Q.    AND WHAT DOES THAT MEAN?

02:14PM   18      A.    THE GRAPH FOUNDATION IS THE OWNER OF THE FORK OF NEO4J

02:14PM   19      ENTERPRISE CALLED ONGDB.

02:14PM   20            AND SO SINCE NEO4J STOPPED ADDING THEIR SOURCE CODE

02:14PM   21      STARTING WITH 3.5.0 RELEASE, IT WAS UP TO THE GRAPH FOUNDATION

02:15PM   22      TO ADD CODE TO ENSURE THAT IT HAD THE FEATURES THAT THE

02:15PM   23      COMMUNITY WANTED TO KEEP IT UP TO DATE BECAUSE THERE WAS NO --

02:15PM   24      BEFORE THEN THE CODE WAS ALL PROVIDED BY NEO4J UNDER AGPL AND

02:15PM   25      SO YOU COULD JUST COPY IT OVER AND YOU HAD YOUR FORK.



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02:15PM    1            NOW, SINCE THAT CODE WASN'T THERE THEY HAD TO COME IN AND

02:15PM    2      START HAVING THEIR TEAMS BUILD OUT AND ADD NEW TOOLING AND

02:15PM    3      WHATNOT TO WORK WITH THAT VERSION.       SORRY.

02:15PM    4                   THE COURT:    THEY HAD TO COME FORWARD AND START OVER

02:15PM    5      TO CONTINUE WORK?

02:15PM    6                   THE WITNESS:   YEAH.   SO AS SOON AS -- CAN I RESTART

02:15PM    7      IT BECAUSE I'M SORRY.

02:15PM    8                   THE COURT:    SURE.   GO AHEAD.

02:15PM    9                   THE WITNESS:   THE -- BEFORE NEO4J ENTERPRISE HAD ALL

02:15PM   10      OF THE SOURCE CODE OF ALL OF THE FEATURES, AND SO IT WAS JUST A

02:15PM   11      COPY OVER OR YOU WOULD DO SOMETHING CALLED A GIT CLONE AND THEN

02:15PM   12      YOU WOULD HAVE ALL OF THE SOURCE CODE FILES.

02:16PM   13            AFTER 3.5, THERE WAS NO MORE ENTERPRISE EDITIONS IN THE

02:16PM   14      ENTERPRISE FOLDER.    AND SO WHENEVER SOMETHING WAS UPDATED, THE

02:16PM   15      GRAPH FOUNDATION HAD TO GO AND FIX OR BUILD OUT THEIR FEATURES

02:16PM   16      FOR ONGDB.    THERE WAS NO LONGER A DIRECT COPY OF THE SOURCE

02:16PM   17      CODE OVER INTO THE FORK.

02:16PM   18                   THE COURT:    TELL ME WHAT A FORK IS.

02:16PM   19                   THE WITNESS:   A FORK IS WHEN YOU HAVE AN OPEN SOURCE

02:16PM   20      SOFTWARE, ALL OF THE SOURCE CODE, YOU COULD BASICALLY MAKE A

02:16PM   21      COPY OF IT, AND THEN IT REMAINS LINKED TOGETHER SO YOU CAN PULL

02:16PM   22      IN CHANGES FROM THE ORIGINATING, THE ORIGINATING SOURCE CODE

02:16PM   23      ITSELF.

02:16PM   24            SO NEO4J HAS EVERYTHING IN GITHUB.       WHEN YOU CREATE A

02:16PM   25      FORK, THERE'S ACTUALLY A BUTTON ON GITHUB THAT SAYS CREATE A



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02:16PM    1      FORK AND THAT WILL MAKE A FULL COPY OF THE ENTIRE CODE BASE,

02:16PM    2      ALL OF THE COMMITS, EVERYTHING ABOUT THAT CODE BASE.

02:16PM    3                    THE COURT:   I SEE.   THANK YOU.

02:16PM    4                    THE WITNESS:   F-O-R-K.

02:17PM    5      BY MR. BEENE:

02:17PM    6      Q.    BACK TO 1101, THAT FEBRUARY 18TH, 2019 EMAIL, YOU SAY "IF

02:17PM    7      YOU ARE USING ONGDB AND HAVE ANY CONCERNS, OR DON'T SEE IT

02:17PM    8      KEEPING UP WITH ENTERPRISE FEATURES, YOU CAN ALWAYS SWITCH TO A

02:17PM    9      COMMERCIAL NEO4J ENTERPRISE PACKAGE THROUGH ANY PARTNER ON THE

02:17PM   10      NEO4J.COM, WEBSITE."

02:17PM   11      A.    YES.

02:17PM   12      Q.    WHY WERE YOU EXPLAINING THAT THEY COULD GO AND PURCHASE A

02:17PM   13      LICENSE FROM NEO4J?

02:17PM   14      A.    WELL, IF, IF THEY WERE WORRIED ABOUT SOME FEATURES THEY

02:17PM   15      MIGHT NEED IN THE FUTURE THAT ONGDB MIGHT NOT HAVE YET, THEY

02:17PM   16      CAN ALWAYS JUST GO AND PURCHASE A LICENSE FROM NEO4J IF THOSE

02:18PM   17      FEATURES ARE SOMETHING THAT THEY REALLY NEED.

02:18PM   18      Q.    OKAY.    SO YOU WEREN'T TELLING THE NEXT CENTURY, WHICH IS

02:18PM   19      MPO AND NSA, DON'T USE A COMMERCIAL LICENSE EVER?

02:18PM   20      A.    NO.    IF THEY HAVE A NEED OR IF IT MEETS ALL OF THEIR NEEDS

02:18PM   21      IN A FREE OR OPEN SOURCE VERSION, THEY SHOULD USE IT.     IF IT

02:18PM   22      DOESN'T, THEY SHOULD USE A COMMERCIAL LICENSE THAT MEETS THEIR

02:18PM   23      NEEDS IF IT HAS FEATURES THAT THEY NEED.

02:18PM   24      Q.    WHAT WAS YOUR INVOLVEMENT WITH THIS 2018, 2019 TRANSACTION

02:18PM   25      WITH NEXT CENTURY?



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02:19PM    1      A.    THEY HAD JUST SEEN SOMETHING THAT I HAD DISCUSSED I THINK

02:19PM    2      ON THE GITHUB ISSUE, AND THEY WANTED TO ASK ME MORE ABOUT WHAT

02:19PM    3      WE WERE TALKING ABOUT WHEN IT HAD TO DO WITH THE COMMONS

02:19PM    4      CLAUSE.

02:19PM    5            BUT I DID NOT WANT TO.    I WASN'T TRYING TO SELL THEM

02:19PM    6      ANYTHING.     I WANTED TO PASS THEM OFF TO THE FOUNDATION WHO

02:19PM    7      COULD TALK ABOUT THE PRINCIPLES AND EVERYTHING THAT THEY HAVE

02:19PM    8      ABOUT THE FOUNDATION AND ONGDB.

02:19PM    9            SO MY GOAL WAS TO GET THEM OVER SO THEY COULD AT LEAST

02:19PM   10      LEARN FROM THE GRAPH FOUNDATION ON WHAT THE PLANS WERE FOR THE

02:19PM   11      FUTURE AND WHATNOT.

02:19PM   12            BUT IT WAS NOT TO SELL THEM ANYTHING OR, YOU KNOW, TRY TO

02:19PM   13      GET A CONTRACT WITH THEM OR ANYTHING LIKE THAT.

02:19PM   14      Q.    DID YOU EVER, THIS IS 2018, 2019, DID YOU EVER GET A

02:19PM   15      CONTRACT WITH THE NSA?

02:19PM   16      A.    NO, WE NEVER GOT A CONTRACT WITH THEM.

02:19PM   17      Q.    AND THAT'S DIRECTLY OR INDIRECTLY?

02:19PM   18      A.    NO, I NEVER GOT A CONTRACT OR WAS INVOLVED WITH THE NSA

02:19PM   19      AGAIN.

02:19PM   20      Q.    DID -- DO YOU KNOW IF BRAD NUSSBAUM, GRAPH FOUNDATION, IF

02:20PM   21      THEY GOT A CONTRACT WITH THE NSA OUT OF THIS?

02:20PM   22      A.    I DON'T BELIEVE THEY DID, BUT I'M NOT POSITIVE, UNLESS IT

02:20PM   23      WAS AN UNPUBLISHED, YOU KNOW, BUT I'VE NEVER HEARD OF HIM

02:20PM   24      GETTING A CONTRACT.

02:20PM   25      Q.    OKAY.   SO WHY DID YOU HAND THIS OVER TO MR. NUSSBAUM?



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02:20PM    1      A.    I JUST WANTED TO GET THEM OVER TO SOMEONE WHO COULD SPEAK

02:20PM    2      MORE.   THEY TALKED TO LAWYERS ABOUT THIS SUBJECT, AND IT WAS

02:20PM    3      BETTER FOR THEM TO TALK TO THEM INSTEAD OF ME BEING THE MIDDLE

02:20PM    4      PERSON.

02:21PM    5      Q.    COULD YOU TURN TO EXHIBIT 1097, PLEASE.

02:21PM    6      A.    I'M THERE.

02:21PM    7      Q.    CAN YOU TELL ME WHAT EXHIBIT 1097 IS?

02:21PM    8      A.    IT LOOKS LIKE THE WEB PAGE ON IGOVSOL.COM, THE WEBSITE.

02:21PM    9      IT'S THE DOWNLOADS PAGE.

02:21PM   10      Q.    AND THIS IS A COPY OF THE WEBSITE THAT YOU CREATED?

02:21PM   11      A.    YES.

02:21PM   12      Q.    AND WHEN DID YOU FIRST CREATE THIS WEBSITE?

02:21PM   13      A.    PROBABLY RIGHT AFTER I CREATED IGOV, IGOV, INC.

02:22PM   14      Q.    AND WHICH WAS WHEN, 2018?

02:22PM   15      A.    2018, YES, I BELIEVE SO.

02:22PM   16                   MR. BEENE:    I'D LIKE TO MOVE INTO EVIDENCE

02:22PM   17      EXHIBIT 1097.

02:22PM   18                   THE COURT:    ANY OBJECTION?

02:22PM   19                   MR. RATINOFF:   NO OBJECTION, YOUR HONOR.

02:22PM   20                   THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:22PM   21            (DEFENDANTS' EXHIBIT 1097 WAS RECEIVED IN EVIDENCE.)

02:22PM   22      BY MR. BEENE:

02:22PM   23      Q.    IF WE CAN TURN TO THE NEXT IN ORDER, EXHIBIT 1098.

02:22PM   24            THIS APPEARS TO BE THE PURETHINK WEBSITE.

02:22PM   25      A.    YES.



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02:22PM    1      Q.    CAN YOU TELL ME WHAT EXHIBIT 1098 IS?

02:22PM    2      A.    THIS IS THE PURETHINK LANDING PAGE WEBSITE.

02:22PM    3      Q.    AND WHEN DID YOU CREATE THE PURETHINK WEBSITE?

02:23PM    4      A.    I CREATED THE PURETHINK WEBSITE YEARS AGO, BUT THIS

02:23PM    5      CONTENT HERE, I ALWAYS AM UPDATING THE WEBSITE WITH NEWS AND

02:23PM    6      WHATNOT.

02:23PM    7            THIS WOULD HAVE BEEN CREATED AFTER THE GOVERNMENT EDITION

02:23PM    8      WAS DISCONTINUED.    SO IT WOULD HAVE BEEN 2018, EARLY 2019.

02:23PM    9      Q.    WELL, LET ME ASK YOU TO LOOK AT THE FOOTER ON THE BOTTOM.

02:23PM   10      A.    11-8-2018?

02:23PM   11      Q.    NO, THAT'S -- IT SAYS WEB.ARCHIVE.ORG/WEB.

02:23PM   12            DO YOU SEE THAT?

02:23PM   13      A.    YES.

02:23PM   14      Q.    AND IT WAS 2017?

02:23PM   15      A.    OH, SO IT WAS THE END OF 2017.

02:23PM   16      Q.    SOMEWHERE AROUND 2017, 2018; RIGHT?

02:23PM   17      A.    YES.

02:23PM   18                   MR. BEENE:    I'D LIKE TO MOVE EXHIBIT 1098 INTO

02:24PM   19      EVIDENCE.

02:24PM   20                   THE COURT:    ANY OBJECTION?

02:24PM   21                   MR. RATINOFF:   NO OBJECTION, YOUR HONOR.

02:24PM   22                   THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:24PM   23            (DEFENDANTS' EXHIBIT 1098 WAS RECEIVED IN EVIDENCE.)

02:24PM   24      BY MR. BEENE:

02:24PM   25      Q.    I'D JUST LIKE TO ASK YOU ABOUT THE GRAPH FOUNDATION FOR A



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02:24PM    1      MOMENT.     HAVE YOU EVER BEEN A SHAREHOLDER OF THE GRAPH

02:24PM    2      FOUNDATION?

02:24PM    3      A.    NO.

02:24PM    4      Q.    HAVE YOU EVER BEEN AN OFFICER OF THE GRAPH FOUNDATION?

02:24PM    5      A.    NO.

02:24PM    6      Q.    HAVE YOU EVER BEEN A DIRECTOR OF THE GRAPH FOUNDATION?

02:24PM    7      A.    NO.

02:24PM    8      Q.    WERE THERE DISCUSSIONS AT ONE TIME OF MAKING YOU A

02:24PM    9      DIRECTOR?

02:24PM   10      A.    THERE WERE, BUT WE NEVER -- IT NEVER WENT THROUGH.

02:24PM   11      Q.    DO YOU KNOW WHY THE GRAPH FOUNDATION WAS SET UP?

02:24PM   12      A.    IT WAS SET UP TO BRING OR TO KEEP NEO4J OPEN SOURCE, I

02:25PM   13      BELIEVE.    I'M SORRY.

02:25PM   14            IT WAS SET UP TO BE THE -- WHAT WOULD YOU CALL IT? -- THE

02:25PM   15      HOLDER OF ONGDB TO ENSURE IT WOULD STAY OPEN SOURCE.      I KNOW

02:25PM   16      THERE WERE SOME WORRIES THAT AFTER THE COMMONS CLAUSE THAT

02:25PM   17      MAYBE NEO4J COMMUNITY MIGHT GO CLOSED SOURCE AS WELL AND THERE

02:25PM   18      NEEDED TO BE A PLACE TO LAND FOR THE COMMUNITY IF THAT

02:25PM   19      HAPPENED.

02:25PM   20      Q.    SO THERE WAS CONCERN THAT ONE DAY YOU WAKE UP AND THEN

02:25PM   21      NEO4J COMMUNITY OR ENTERPRISE GITHUB WOULD BE CLOSED?

02:25PM   22      A.    YES, OR HAVE RESTRICTIONS TO IT THAT EFFECTIVELY CLOSED

02:25PM   23      IT.

02:26PM   24            (PAUSE IN PROCEEDINGS.)

02:26PM   25                   MR. BEENE:    YOUR HONOR, IF IT PLEASE, COULD WE TAKE



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02:26PM    1      ABOUT A TEN MINUTE BREAK?

02:26PM    2                    THE COURT:   SURE.   SURE.   WE'LL TAKE A RECESS NOW, A

02:26PM    3      BRIEF RECESS OF ABOUT TEN MINUTES.         THANK YOU.

02:26PM    4            (RECESS FROM 2:26 P.M. UNTIL 2:40 P.M.)

02:40PM    5                    THE COURT:   PLEASE BE SEATED.    THANK YOU.

02:40PM    6            MR. SUHY, IF YOU COULD TAKE THE STAND AGAIN, PLEASE.        ALL

02:40PM    7      PARTIES PREVIOUSLY PRESENT ARE PRESENT AGAIN.

02:40PM    8            COUNSEL.

02:40PM    9                    MR. BEENE:   THANK YOU, YOUR HONOR.

02:41PM   10      Q.    MR. SUHY, COULD YOU TURN TO EXHIBIT 1002 IN THE WHITE

02:41PM   11      BINDER?

02:41PM   12      A.    YES, I'M HERE.

02:41PM   13      Q.    EXCUSE ME?

02:41PM   14      A.    I'M HERE.

02:41PM   15      Q.    AND WHAT IS EXHIBIT 1002?

02:41PM   16      A.    THIS IS THE LICENSE FILE THAT WAS IN NEO4J ENTERPRISE WITH

02:41PM   17      THE COMMONS CLAUSE.

02:41PM   18      Q.    AND THIS IS THE LICENSE FILES PART OF THE OPEN SOURCE

02:41PM   19      LICENSE?

02:41PM   20      A.    YES.

02:41PM   21      Q.    OKAY.

02:41PM   22            YOUR HONOR, I WOULD LIKE TO HAVE EXHIBIT 1002 ADMITTED

02:41PM   23      INTO EVIDENCE.

02:41PM   24                    THE COURT:   ANY OBJECTION?

02:41PM   25                    MR. RATINOFF:   NO OBJECTION, YOUR HONOR.



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02:41PM    1                    THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:41PM    2            (DEFENDANTS' EXHIBIT 1002 WAS RECEIVED IN EVIDENCE.)

02:42PM    3      BY MR. BEENE:

02:42PM    4      Q.    SIR, COULD YOU TURN TO EXHIBIT 1010.

02:42PM    5            I'D LIKE IT MARKED FOR IDENTIFICATION PURPOSES.

02:42PM    6            (DEFENDANTS' EXHIBIT 1010 WAS MARKED FOR IDENTIFICATION.)

02:42PM    7      BY MR. BEENE:

02:42PM    8      Q.    EXHIBIT 110 --

02:42PM    9                    THE COURT:   1010?

02:42PM   10      BY MR. BEENE:

02:42PM   11      Q.    1010.

02:42PM   12            COULD YOU TELL US WHAT EXHIBIT 1010 IS?

02:42PM   13      A.    YES.    THIS IS A COMMIT THAT I MADE FOR -- IT'S A COMMIT

02:43PM   14      THAT CHANGES THE AGPL LICENSE TO BE VERBATIM, AND THIS WAS DONE

02:43PM   15      ON THE ONGDB REPOSITORY.

02:43PM   16      Q.    ALL RIGHT.

02:43PM   17            I WOULD LIKE TO HAVE EXHIBIT 1010 ADMITTED.

02:43PM   18                    THE COURT:   ANY OBJECTION?

02:43PM   19                    MR. RATINOFF:   NO OBJECTION, YOUR HONOR.

02:43PM   20                    THE COURT:   IT'S ADMITTED; AND IT MAY BE PUBLISHED.

02:43PM   21            (DEFENDANTS' EXHIBIT 1010 WAS RECEIVED IN EVIDENCE.)

02:43PM   22      BY MR. BEENE:

02:43PM   23      Q.    ON PAGE 1 OF EXHIBIT 1010 IT SHOWS HERE JOHN MARK SUHY

02:43PM   24      COMMITTED ON MARCH 1ST.

02:43PM   25            DO YOU SEE THAT?



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02:43PM    1      A.    YES.

02:43PM    2      Q.    AND DO YOU KNOW WHAT YEAR THAT WAS?

02:43PM    3      A.    2019.

02:43PM    4      Q.    OKAY.    AND THEN WHAT IS THE TOP LINE HERE?     IT SAYS,

02:44PM    5      "UPDATED THE LICENSE.TXT FILE TO BE PURE AGPL AS TO NOT VIOLATE

02:44PM    6      THE FSF COPYRIGHT AND TO BE IN LINE WITH THE AGPL LICENSE."

02:44PM    7      A.    SO WHENEVER YOU MAKE A COMMIT, YOU HAVE TO DESCRIBE THE

02:44PM    8      PURPOSE, WHAT THE COMMIT IS ABOUT AND WHY YOU'RE DOING IT SO

02:44PM    9      OTHER TEAMS CAN GET CONTEXT OF WHAT THIS IS ABOUT, THE COMMIT,

02:44PM   10      AND THEN THEY CAN APPROVE IT OR NOT APPROVE IT.

02:44PM   11                    THE COURT:    CAN I INTERRUPT COUNSEL FOR JUST A

02:44PM   12      MINUTE?

02:44PM   13            CAN YOU JUST TELL ME WHAT IS A COMMIT AND HOW DOES THAT

02:44PM   14      WORK IN THIS ENVIRONMENT?

02:44PM   15                    THE WITNESS:    SURE.   SO WHENEVER YOU HAVE SOFTWARE

02:44PM   16      IN A REPO --

02:44PM   17                    THE COURT:    AND TELL ME WHAT A REPO IS.

02:44PM   18                    THE WITNESS:    I'M SORRY.   GIT IS A, G-I-T, IS A REPO

02:44PM   19      FOR SOFTWARE VERSION CONTROL.

02:44PM   20                    THE COURT:    AND WHAT IS REPO?

02:44PM   21                    THE WITNESS:    A REPOSITORY.   SORRY.

02:44PM   22            SO WHAT HAPPENS IS WHENEVER YOU MAKE CHANGES TO THE

02:45PM   23      SOFTWARE, THEN YOU NEED TO COMMIT THOSE, AND IT PROVIDES A LOG

02:45PM   24      OF ALL OF THE CHANGES SO YOU COULD GO BACKWARDS IN TIME AND SEE

02:45PM   25      WHAT HAS BEEN DONE.        IT LET'S YOU SEE FULL SITUATIONAL



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02:45PM    1      AWARENESS ABOUT EVERY CHANGE THAT HAS MADE THE SOFTWARE WHAT IT

02:45PM    2      IS AT THE CURRENT TIME.

02:45PM    3                   THE COURT:    SO THIS IS ON AN OPEN SOURCE PLATFORM OF

02:45PM    4      SOME SORT.

02:45PM    5                   THE WITNESS:   IT'S ON GITHUB WHICH MICROSOFT OWNS

02:45PM    6      NOW, BUT I THINK THEY PURCHASED IT.

02:45PM    7                   THE COURT:    AND GITHUB WAS?

02:45PM    8                   THE WITNESS:   GITHUB IS A HOSTED SOLUTION FOR YOUR

02:45PM    9      GIT RECIPIENTS.    SO PRETTY MUCH EVERYONE USES THEM FOR LIKE ALL

02:45PM   10      OF THE BIG OPEN SOURCE PROJECTS.

02:45PM   11                   THE COURT:    OKAY.   SO GITHUB IS A REPOSITORY, IS IT,

02:45PM   12      IS THAT FAIR TO SAY?      NO.

02:45PM   13                   THE WITNESS:   IT'S LIKE A -- IT'S TENS OF THOUSANDS

02:45PM   14      OF REPOSITORIES THAT ARE PUBLIC HOSTED FOR TEAMS TO GO AND

02:45PM   15      PUSH, TO PUSH THEIR PROJECTS UP, THEIR REPOSITORIES UP.

02:45PM   16                   THE COURT:    SO IT'S A -- IS IT A SITE?

02:46PM   17                   THE WITNESS:   IT'S A WEBSITE.    IT'S GITHUB.COM.

02:46PM   18                   THE COURT:    AND IT'S SOMETHING THAT DEVELOPERS OR

02:46PM   19      OTHERS, MEMBERS, A PRIVATE CITIZEN USES THAT TO DO RESEARCH OR

02:46PM   20      CREATE SOFTWARE, IS THAT WHAT THAT DOES?

02:46PM   21                   THE WITNESS:   WELL, IT CAN BE -- SO IT CAN BE USED

02:46PM   22      FOR STORING OR TRACKING YOUR SOFTWARE.        IF YOU ONLY KEEP YOUR

02:46PM   23      SOFTWARE LOCAL, YOU COULD LOSE IT IN A FIRE OR SOMETHING, AND

02:46PM   24      SO IT'S A FREE SERVICE FOR THE COMMUNITY TO PUSH THEIR PROJECTS

02:46PM   25      UP AND HAVE THEIR GIT REPOSITORIES UP THERE.



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02:46PM    1                 THE COURT:      AND DOES EVERYBODY HAVE ACCESS THEN TO

02:46PM    2      EVERYTHING THAT IS POSTED ON THAT?

02:46PM    3                 THE WITNESS:     THERE ARE PRIVATE.     YOU CAN SET IT UP

02:46PM    4      SO YOU HAVE PRIVATE REPOSITORIES WHERE ONLY YOUR TEAM MEMBERS

02:46PM    5      ARE ALLOWED TO HAVE ACCESS.        BUT, YES, YOU CAN GO ON WITHOUT

02:46PM    6      SIGNING UP AND SEARCH THROUGH ALL OF THE GIT REPOSITORIES

02:46PM    7      WITHIN GITHUB.

02:46PM    8                 THE COURT:      OKAY.   AND THEN YOU SAID A COMMIT.    HOW

02:46PM    9      DOES A COMMIT FIT INTO ALL OF THAT?

02:46PM   10                 THE WITNESS:     SO IN GIT, LET'S SAY I MAKE A CHANGE

02:46PM   11      TO CHANGE A LETTER FROM A TO B.       THAT NOW HAS MADE A

02:47PM   12      MODIFICATION.

02:47PM   13                 THE COURT:      IN A SOFTWARE.

02:47PM   14                 THE WITNESS:     IN THE SOURCE CODE.    IN THE SOURCE

02:47PM   15      CODE.   SO IT'S FOR THE SOURCE CODE.

02:47PM   16                 THE COURT:      OKAY.

02:47PM   17                 THE WITNESS:     SO SINCE I MADE A CHANGE TO THAT, YOU

02:47PM   18      WRITE A MESSAGE SAYING I CHANGED THIS FROM A TO B BECAUSE OF

02:47PM   19      THIS, AND IT LET'S ALL OF THE OTHER TEAM MEMBERS COLLABORATE

02:47PM   20      AND SAY DO WE AGREE WITH THIS?       DOES THIS DO WHAT WE WANT?

02:47PM   21      DOES IT BREAK TESTS?    AND IF SO, IT -- AND IT ALLOWS YOU TO

02:47PM   22      COLLABORATE AND DETERMINE IF THOSE CHANGES ARE GOING TO BE

02:47PM   23      BROUGHT IN.

02:47PM   24            AND THEN YOU HAVE A WHOLE HISTORY OF THE CHANGES FROM THE

02:47PM   25      BEGINNING, THE INCEPTION OF THE PROJECT DOWN TO WHERE IT IS



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02:47PM    1      RIGHT NOW, EVERY SINGLE SMALL CHANGE IS REPRESENTED IN A --

02:47PM    2      WELL, YOU COMMIT A BATCH OF CHANGES.

02:47PM    3            SO YOU WOULDN'T DO IT FOR EVERY LETTER CHANGE, BUT YOU

02:47PM    4      WOULD SAY I MADE -- YOU'D HAVE A TICKET THAT SAYS, FOR EXAMPLE,

02:47PM    5      MAKE THIS COLOR GREEN.      SO YOU WOULD GO AND YOU WOULD CHANGE

02:47PM    6      THE SOURCE FILES THAT WOULD AFFECT THE COLOR, AND THEN YOU

02:47PM    7      WOULD DO THE COMMIT AND YOU WOULD SAY THIS IS CHANGING THE

02:48PM    8      COLOR TO GREEN, AND THEN THE OTHER TEAM MEMBERS CAN COME IN AND

02:48PM    9      THEY CAN COMPARE BECAUSE YOU'RE GOING TO HAVE LOTS OF TEAM

02:48PM   10      MEMBERS THAT ARE WORKING ON DIFFERENT VERSIONS OF THE PROJECT

02:48PM   11      AND SO THEY CAN ALL COME IN AND COMPARE AND SAY IS THIS GOING

02:48PM   12      TO CONFLICT WITH WHAT I'M DOING, AND IT LET'S YOU MERGE

02:48PM   13      EVERYTHING IN.

02:48PM   14            BUT IT'S PART OF THE SOFTWARE PROCESS.

02:48PM   15                 THE COURT:      SO IF SOMEONE HAS SOFTWARE ON THIS

02:48PM   16      WEBSITE AND THEY'RE USING IT FOR THIS OTHER PURPOSE -- IT

02:48PM   17      SOUNDS LIKE MANY PEOPLE CAN YOU USE IT FOR THEIR OWN

02:48PM   18      INDEPENDENT PURPOSES.

02:48PM   19                 THE WITNESS:     OH, YES.

02:48PM   20                 THE COURT:      IT'S NOT JUST FOR DEVELOPERS TO CREATE

02:48PM   21      AND DEVELOP IT.

02:48PM   22            PARDON ME, BUT IT SOUNDS LIKE CHAOS IF YOU HAVE ONE PIECE

02:48PM   23      OF SOFTWARE AND PEOPLE CAN COME IN AND CHANGE IT.

02:48PM   24                 THE WITNESS:     WELL, SO YOU HAVE TO FORK IT.   SO THEY

02:48PM   25      WON'T LET YOU COME IN -- YOU CAN'T COME IN AND I CAN'T GO, FOR



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02:48PM    1      EXAMPLE, TO NEO4J'S REPOSITORY AND MAKE CHANGES THERE, BUT I

02:48PM    2      CAN FORK IT.

02:48PM    3                    THE COURT:    I SEE.

02:48PM    4                    THE WITNESS:   AND THERE'S A BUTTON THAT SAYS FORK,

02:49PM    5      AND I CAN MAKE CHANGES THERE.         SO THAT'S WHAT A FORK IS.

02:49PM    6                    THE COURT:    AND THIS IS WHY FORKS ARE IMPORTANT IN

02:49PM    7      THIS CONVERSATION.     I UNDERSTAND THAT.         I SEE.

02:49PM    8            OKAY.    THANK YOU.    I'M SORRY FOR THE --

02:49PM    9                    MR. BEENE:    NO.

02:49PM   10                    THE WITNESS:   I BELIEVE GIT CAME AROUND, I'M SORRY,

02:49PM   11      IT CAME AROUND BECAUSE OF LENUX, I BELIEVE, I THOUGHT IT WAS

02:49PM   12      BECAUSE OF THE COMPLEXITIES WITH LINUX.

02:49PM   13            LINUX DEVELOPED THIS REPOSITORY, I THINK THAT'S THE CASE,

02:49PM   14      BUT IT'S VERY COMPLICATED.          YOU HAVE TO USE IT.    LET'S JUST SAY

02:49PM   15      EVERY MODERN SOFTWARE DEVELOPER USES GIT OR SOME VERSION OF --

02:49PM   16      IT USED TO BE SUBVERSION, BUT IT'S AN IMPORTANT TOOL.

02:49PM   17                    THE COURT:    OKAY.    THANK YOU.

02:49PM   18      BY MR. BEENE:

02:49PM   19      Q.    MR. SUHY, THE GOVERNMENT, THE PEOPLE THAT YOU'VE WORKED

02:50PM   20      WITH DO NOT SELL NEO4J SOFTWARE OR SERVICES BASED ON NEO4J

02:50PM   21      SOFTWARE, DO THEY?

02:50PM   22      A.    NO.

02:50PM   23      Q.    THEN WHY DID YOU GO THROUGH THE TROUBLE TO REMOVE THE

02:50PM   24      AG -- THE COMMONS CLAUSE FROM EXHIBIT 1010?

02:50PM   25      A.    WELL, THIS IS IN THE -- THE FREE SOFTWARE FOUNDATION HAS



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02:50PM    1      THESE TENANTS ON WHAT MAKES SOMETHING FREE AND EVERYTHING I'VE

02:50PM    2      LEARNED FROM THE FORUMS, FROM READING THEIR WEBSITE, THEIR BLOG

02:50PM    3      POST IS ABOUT KEEPING SOFTWARE AND THE FREEDOMS AROUND THE

02:50PM    4      SOFTWARE.

02:50PM    5            AND SO WHEN I SAW THIS, I KNEW RIGHT AWAY THAT THIS IS

02:50PM    6      SOMETHING THAT WASN'T ALLOWED.    THE WHOLE PURPOSE OF THE AGPLV3

02:50PM    7      WAS TO PREVENT THIS FROM HAPPENING.

02:51PM    8            SO I FELT -- IN MY COMMIT MESSAGE, I ACTUALLY SAID THAT I

02:51PM    9      DIDN'T WANT TO VIOLATE THE FSF COPYRIGHT WHEN WE DID THIS.        SO

02:51PM   10      THAT WAS MY -- WHEN I MADE THIS COMMIT, THAT WENT INTO THE

02:51PM   11      GRAPH FOUNDATION, AND THEY HAD TO DO THEIR OWN DUE DILIGENCE AS

02:51PM   12      WELL.

02:51PM   13            BUT THIS DEFINITELY SEEMS THAT IT'S GOING AGAINST -- IT'S

02:51PM   14      TAKING AWAY FREEDOMS AND THAT'S THE WHOLE -- THAT'S WHAT THE

02:51PM   15      FREE SOFTWARE FOUNDATION IS ABOUT IN THESE LICENSES.     THEY ARE

02:51PM   16      ABOUT YOUR FREEDOM.   IT'S NOT ABOUT BEING FREE.    IT'S FREEDOMS

02:51PM   17      LIKE LIBERTY TYPE OF FREEDOMS.

02:51PM   18      Q.    BEFORE YOU TOOK THIS ON, HAD YOU DONE ANY RESEARCH ON

02:51PM   19      WHETHER IT'S APPROPRIATE TO REMOVE DOCUMENTS FROM AN AGPL

02:51PM   20      LICENSE?

02:51PM   21      A.    JUST FROM MY READING, TALKING WITH PEOPLE, AND I WANTED

02:51PM   22      DUE DILIGENCE I WANTED TO LEARN ABOUT.     SO I WENT AND LEARNED

02:52PM   23      ABOUT COPYRIGHT AND, YOU KNOW, HOW THAT WOULD AFFECT IT, AND

02:52PM   24      THAT'S ACTUALLY WHAT I WAS MOST WORRIED ABOUT WAS THE

02:52PM   25      FREE SOFTWARE FOUNDATION COMING AFTER US BECAUSE WE WEREN'T



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02:52PM    1      FOLLOWING THE RULES IN THE LICENSE ITSELF.

02:52PM    2            BUT I DID DO RESEARCH.

02:52PM    3      Q.    OKAY.    DID YOU TALK TO THE FSF?

02:52PM    4      A.    I WROTE THEM AN EMAIL.

02:52PM    5      Q.    OKAY.    OKAY.

02:52PM    6                    THE COURT:    WAS THAT AT THE TIME YOU POSTED THIS?

02:52PM    7      BEFORE?    AFTER?

02:52PM    8                    THE WITNESS:    I BELIEVE IT WAS BEFORE THIS BECAUSE I

02:52PM    9      WOULD HAVE DONE -- I DON'T KNOW THE EXACT TIME, BUT I KNOW IT

02:52PM   10      WAS IN THE DOCUMENTS, IN THE DISCOVERY, BUT I DON'T KNOW WHAT

02:52PM   11      THAT WAS, BUT, YEAH, IT WOULD HAVE BEEN, IT WOULD HAVE BEEN, IT

02:52PM   12      WOULD HAVE BEEN BEFORE, BUT IT COULD HAVE BEEN AFTER, TOO.          I

02:52PM   13      DON'T KNOW.     I'M SORRY.

02:53PM   14      BY MR. BEENE:

02:53PM   15      Q.    DID YOU REVIEW THE FREQUENTLY ASKED QUESTIONS ON THE NEW

02:53PM   16      WEBSITE?

02:53PM   17      A.    ON THE FREE SOFTWARE FOUNDATION'S?        YES.

02:53PM   18      Q.    RIGHT.    AND WAS THERE DISCUSSIONS ABOUT THE COMMONS

02:53PM   19      CLAUSE?

02:53PM   20      A.    RECENTLY OR?

02:53PM   21      Q.    BACK THEN?

02:53PM   22      A.    THERE WAS, THERE WAS -- IT WAS CLEAR THAT THEY HAD -- THAT

02:53PM   23      RESTRICTIONS WEREN'T SUPPOSED TO BE ADDED BUT I DON'T

02:53PM   24      BELIEVE -- I DON'T KNOW IF THEY MENTIONED THE COMMONS CLAUSE

02:53PM   25      DIRECTLY, BUT ANY TYPE OF RESTRICTIONS WERE NOT SUPPOSED TO BE



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02:53PM    1      ADDED TO THE AGPL, THAT'S WHAT I HAD READ.

02:53PM    2      Q.    LET ME SORT OF TURN THE TIDE.

02:53PM    3            OBVIOUSLY HIS HONOR HAS DECIDED DIFFERENTLY IN RULINGS.

02:53PM    4            BUT BEFORE HE ISSUED HIS RULING, DID YOU SEE ANYTHING AND

02:53PM    5      ANY THREATS ANYWHERE THAT WAS INAPPROPRIATE TO REMOVE

02:54PM    6      ADDITIONAL TERMS ON A GPL OR AGPL LICENSE?

02:54PM    7      A.    NO.

02:54PM    8      Q.    WAS THERE ANYBODY OUT THERE ARGUING THAT ONLY ADDITIONS

02:54PM    9      THAT A SECONDARY PERSON PUT ON COULD BE REMOVED?

02:54PM   10      A.    ONLY, ONLY IN A TICKET AND IN GITHUB THERE WAS AN ISSUE

02:54PM   11      WHERE THE NEO4J ATTORNEY WAS MAKING SOME STATEMENTS, BUT I

02:54PM   12      DON'T REMEMBER THE DATE ON THAT.

02:54PM   13      Q.    OKAY.   BUT OUTSIDE OF NEO4J'S ATTORNEY, WAS THERE ANY

02:54PM   14      GENERAL DISCUSSION IN THE OPEN SOURCE COMMUNITY THAT YOU CAN'T

02:54PM   15      REMOVE FURTHER RESTRICTIONS?

02:54PM   16      A.    THAT YOU CANNOT REMOVE THEM?    NO.

02:54PM   17            THE DISCUSSIONS ARE THAT YOU CAN REMOVE THEM.

02:55PM   18      Q.    CAN YOU PLEASE TURN TO EXHIBIT 1012.

02:55PM   19            I WOULD LIKE TO MARK FOR IDENTIFICATION PURPOSES

02:55PM   20      EXHIBIT 1012.

02:55PM   21            (DEFENDANTS' EXHIBIT 1012 WAS MARKED FOR IDENTIFICATION.)

02:55PM   22      BY MR. BEENE:

02:55PM   23      Q.    MR. SUHY, DO YOU RECOGNIZE THIS EXHIBIT?

02:55PM   24      A.    YES, I DO.

02:55PM   25      Q.    AND WHAT IS THIS EXHIBIT?



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02:55PM    1      A.    THIS IS AN EMAIL THREAD FROM NEXT CENTURY AND THE GRAPH

02:55PM    2      FOUNDATION, WHICH I WAS PART OF.      I WAS CC'D ON IT.

02:56PM    3                   MR. BEENE:    I WOULD LIKE TO MOVE EXHIBIT 1012 INTO

02:56PM    4      EVIDENCE.

02:56PM    5                   THE COURT:    ANY OBJECTION?

02:56PM    6                   MR. RATINOFF:   NO OBJECTION, YOUR HONOR.

02:56PM    7                   THE COURT:    IT'S ADMITTED.   IT MAY BE PUBLISHED.

02:56PM    8            (DEFENDANTS' EXHIBIT 1012 WAS RECEIVED IN EVIDENCE.)

02:56PM    9      BY MR. BEENE:

02:56PM   10      Q.    MR. SUHY, THIS EMAIL THREAD IS AN EXCHANGE BETWEEN

02:56PM   11      BRAD NUSSBAUM, AND SHAHAK NAGIEL, AND DIANE GRIFFITH; RIGHT?

02:56PM   12      A.    CORRECT.

02:56PM   13      Q.    AND WHY IS IT THAT YOU WEREN'T TALKING TO PEOPLE IN THIS

02:56PM   14      THREAD?

02:56PM   15      A.    I BELIEVE AT THIS POINT I PASSED IT OFF AND THEY JUST KEPT

02:56PM   16      ME ON THE CC LIST, BUT I WASN'T PART OF THE CONVERSATION

02:56PM   17      ANYMORE.

02:56PM   18      Q.    NOW, BRAD NUSSBAUM OF THE GRAPH FOUNDATION ON

02:57PM   19      FEBRUARY 22ND, 2019, HIS EMAIL, HE SAYS, "WE HAVE BEEN ADVISED

02:57PM   20      BY THE FREE SOFTWARE FOUNDATION IN A NON-LEGAL CAPACITY AND

02:57PM   21      HAVE VERIFIED WITH OUR LEGAL COUNSEL INDEPENDENTLY THAT THE

02:57PM   22      COMMONS CLAUSE IS A 'FURTHER RESTRICTION' TO AGPLV3 AND MAY BE

02:57PM   23      REMOVED ACCORDING TO THIS CLAUSE OF AGPLV3."

02:57PM   24            DO YOU SEE THAT?

02:57PM   25      A.    YES.



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02:57PM    1      Q.    AND YOU RECEIVED THIS EMAIL BEFORE YOU REMOVED THE COMMONS

02:57PM    2      CLAUSE AND MADE THE COMMIT --

02:57PM    3      A.    YES.

02:57PM    4      Q.    -- AS SHOWN IN THIS THICK EXHIBIT 1010?

02:58PM    5      A.    YES.

02:58PM    6      Q.    AND DID YOU NOTE THAT MR. NAGIEL OF NEXT CENTURY FOLLOWS

02:58PM    7      AND SAYS, "THANKS AGAIN, MUCH APPRECIATED.      WE HAVE A

02:58PM    8      CONFERENCE CALL SCHEDULED MONDAY WITH OUR COUNSEL."

02:58PM    9            DO YOU SEE THAT?

02:58PM   10      A.    YES.

02:58PM   11      Q.    AND THAT EMAIL -- WELL, BRAD'S IS DATED FEBRUARY 22ND,

02:58PM   12      2019; RIGHT?

02:58PM   13      A.    CORRECT.

02:58PM   14      Q.    AND YOUR COMMIT WHERE YOU TOOK THE COMMONS CLAUSE WAS

02:58PM   15      MARCH 1ST, 2019?

02:58PM   16      A.    CORRECT.

02:58PM   17      Q.    RIGHT AFTER THAT?

02:58PM   18      A.    YES.

02:58PM   19      Q.    NOW, FOR THE 1010 COMMIT, WERE YOU AUTHORIZED TO MAKE A

02:59PM   20      CHANGE AND PUT IT INTO THE REPOSITORY AND RELEASE IT TO THE

02:59PM   21      PUBLIC?

02:59PM   22      A.    NO.    THE GRAPH FOUNDATION HAD TO APPROVE EVERYTHING THAT

02:59PM   23      GOES INTO THE REPOSITORY.

02:59PM   24            ARE YOU TALKING ABOUT THE GRAPH FOUNDATION'S.

02:59PM   25      Q.    UH-HUH.



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02:59PM    1      A.    YES.

02:59PM    2      Q.    HOW A REPOSITORY WORKS, I MEAN, ANYONE CAN MAKE REQUEST

02:59PM    3      CHANGES, BUT THERE'S A GATEKEEPER THERE?

02:59PM    4      A.    YES, AND THAT'S WHAT PULL REQUESTS ARE FOR, P-U-L-L.

02:59PM    5                   THE COURT:    WHAT IS A PULL REQUEST?

02:59PM    6                   THE WITNESS:   SO IF YOU MAKE A CHANGE TO SOMETHING,

02:59PM    7      YOU WANT IT TO BE BROUGHT INTO THE MAIN WORKING VERSION OF THE

02:59PM    8      SOFTWARE, YOU CAN LOOK IT OVER, DO A CODE REVIEW AND THEN SAY,

02:59PM    9      ALL RIGHT, GO AHEAD AND PULL IT INTO THE MAIN REPOSITORY, WHICH

02:59PM   10      IS THE MAIN BRANCH, AND THEN THAT BECOMES PART OF THE HISTORY

02:59PM   11      OF THE SOFTWARE ONCE IT'S BEEN MERGED INTO THAT BRANCH.

02:59PM   12            SO IT'S A WAY OF ORGANIZATION AND COLLABORATION I GUESS.

03:00PM   13      YOU DON'T WANT TO JUST ALLOW FOR ANYTHING TO COME INTO THE

03:00PM   14      SOFTWARE BECAUSE YOU CAN HAVE VULNERABILITIES AND WHATNOT.

03:00PM   15                   THE COURT:    THAT WAS THE CHAOS I WAS REFERRING TO

03:00PM   16      EARLIER.

03:00PM   17                   MR. BEENE:    WHAT'S THAT?

03:00PM   18                   THE COURT:    THAT WAS THE CHAOS I WAS REFERRING TO

03:00PM   19      EARLIER.

03:00PM   20                   MR. BEENE:    IT IS CHAOS.

03:00PM   21      Q.    MR. SUHY, UNDER 1010 YOU REMOVED THE COMMONS CLAUSE AND

03:00PM   22      INFORMATION ON ONE SET OF THE SOFTWARE; RIGHT?

03:00PM   23      A.    IT WAS FROM ONE FILE THAT WAS APPLIED.        IT WAS THE SAME

03:00PM   24      FILE BUT FROM DIFFERENT DIRECTORIES, BUT IT WAS THAT SAME FILE.

03:00PM   25      IS THAT WHAT YOU ARE --



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03:00PM    1      Q.    AND NEO4J'S COPYRIGHT AND NAME AND THINGS ARE SOMEWHERE IN

03:01PM    2      THE ELECTRONIC FILE OF THE SOFTWARE?

03:01PM    3      A.    CAN YOU ASK THAT AGAIN?   I DIDN'T UNDERSTAND.   I'M SORRY.

03:01PM    4      Q.    ON THE EXHIBIT 110 OR 1010, THIS REAL THICK THING

03:01PM    5      (INDICATING).

03:01PM    6      A.    YEAH, I'M LOOKING AT IT NOW.

03:01PM    7      Q.    IN THE ELECTRONIC FILE, IS THERE A REFERENCE TO NEO4J'S

03:01PM    8      LICENSE OR THEIR NAME?

03:01PM    9      A.    IT WOULD BE NEO4J SWEDEN.

03:01PM   10            YES, IN THIS FILE IT WOULD BE VERBATIM, BUT IT WAS

03:01PM   11      NEO4J SWEDEN BEFORE THIS.     IT MENTIONED -- ACTUALLY I'M NOT

03:01PM   12      SURE.    IN THIS FILE THERE'S NO REFERENCE TO THEIR NAME THOUGH.

03:01PM   13      Q.    I THINK WE HEARD A BUNCH OF OTHER FILES WERE MOVED

03:02PM   14      SOMEWHERE ELSE IN THE SOFTWARE.    HAVE YOU HEARD THAT?

03:02PM   15      A.    YES.

03:02PM   16      Q.    AND DID YOU -- LIKE 128 OTHER FILES?

03:02PM   17      A.    HOW MANY?

03:02PM   18      Q.    LIKE 128 OTHER FILES?

03:02PM   19      A.    YES, I DIDN'T, I DIDN'T MAKE ANY.    I ONLY MADE CHANGES TO

03:02PM   20      THE AGPL LICENSE TO MAKE IT VERBATIM.     I DIDN'T TOUCH ANY OTHER

03:02PM   21      FILES.   I DIDN'T REMOVE ANYTHING FROM OTHER FILES.

03:02PM   22      Q.    DO YOU KNOW WHO DID?

03:02PM   23      A.    IT WOULD HAVE BEEN THE GRAPH FOUNDATION, AND THEY WOULD BE

03:02PM   24      IN THE COMMITS BECAUSE THAT'S THE WHOLE PURPOSE OF THE COMMIT

03:02PM   25      HISTORY IS SO YOU KNOW EXACTLY WHAT HAPPENED, BUT IT WAS NOT ME



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03:02PM    1      THAT DID THAT.

03:02PM    2      Q.    IN YOUR TRANSACTIONS WITH THE UNITED STATES GOVERNMENT AND

03:02PM    3      NEO4J, DID NEO4J SWEDEN EVER MAKE AN OFFER TO LICENSE SOFTWARE

03:02PM    4      TO THE GOVERNMENT?

03:02PM    5      A.    NEO4J SWEDEN DOESN'T LICENSE SOFTWARE SO IT'S -- WELL, I

03:03PM    6      DON'T KNOW IF LICENSE IS THE -- BECAUSE THEY HAVE THE AGPL

03:03PM    7      LICENSE, BUT THEY DON'T SELL SOFTWARE.     IT'S NEO4J U.S.A., THAT

03:03PM    8      IS WHO SELLS IT, SELLS OR LICENSES.    I DON'T KNOW WHAT THE TERM

03:03PM    9      IS.

03:03PM   10      Q.    WELL, YOU'RE SORT OF CORRECT WITH THAT NOMENCLATURE.        LET

03:03PM   11      ME BREAK IT DOWN THIS WAY.    THERE'S NEO4J COMMUNITY THAT

03:03PM   12      DOESN'T COST ANY MONEY; RIGHT?

03:03PM   13      A.    CORRECT.

03:03PM   14      Q.    AND THAT'S UNDER A GPL LICENSE; RIGHT?

03:03PM   15      A.    CORRECT.

03:03PM   16      Q.    AND THERE'S NEO4J ENTERPRISE THAT IS LICENSED UNDER THE

03:03PM   17      AGPL WITH COMMONS CLAUSE; RIGHT?

03:03PM   18      A.    CORRECT.

03:03PM   19      Q.    AND THAT'S NO COST, EITHER?

03:03PM   20      A.    NO COST.

03:03PM   21      Q.    SO NEO4J SWEDEN LICENSES A GPL, AGPL VERSION BUT IT

03:04PM   22      DOESN'T CHARGE ANYONE MONEY FOR IT?

03:04PM   23      A.    YES, THEY DO NOT.

03:04PM   24      Q.    THE NEO4J ENTERPRISE SOFTWARE THAT WE OFTEN REFER TO AS

03:04PM   25      COMMERCIAL, THAT NEO4J U.S.A. SELLS LICENSES; RIGHT?



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03:04PM    1      A.    CORRECT.

03:04PM    2      Q.    AND NEO4J SWEDEN DOESN'T SELL LICENSES OR SERVICES FOR THE

03:04PM    3      COMMERCIAL VERSION OF NEO4J?

03:04PM    4      A.    NO, THEY DON'T.

03:04PM    5                 MR. BEENE:      NO FURTHER QUESTIONS, YOUR HONOR.

03:04PM    6                 THE COURT:      ALL RIGHT.   CROSS-EXAMINATION?

03:05PM    7                 MR. RATINOFF:     THANK YOU, YOUR HONOR.

03:05PM    8                 THE COURT:      BEFORE THAT, I BEG YOUR PARDON, I DID

03:05PM    9      HAVE A COUPLE OF QUESTIONS.        PARDON ME.   I WANTED TO ASK YOU,

03:05PM   10      SIR, YOU TESTIFIED EARLIER ABOUT BEING TERMINATED AS A PARTNER.

03:05PM   11                 THE WITNESS:     YES.

03:05PM   12                 THE COURT:      COULD YOU TELL US HOW THAT OCCURRED.

03:05PM   13                 THE WITNESS:     YES.

03:05PM   14                 THE COURT:      SPEAK INTO THE MICROPHONE.

03:05PM   15                 THE WITNESS:     SO WHEN WE FIRST HAD THIS AGREEMENT

03:05PM   16      WITH THE IRS WHERE WE WOULD DO A SOLUTION, IT MEANT THAT THERE

03:05PM   17      WAS NO LICENSE -- NO MONEY FOR BUYING A COMMERCIAL LICENSE.

03:05PM   18      THEY DIDN'T NEED ANY OF THE COMMERCIAL FEATURES AND SO INSTEAD

03:05PM   19      OF LOSING THE CONTRACTING NOT BEING IN FRONT OF THE IRS, THEY

03:05PM   20      DECIDED, HEY, WE'LL GO AHEAD, AND WE'LL JUST CONTINUE ON AND

03:06PM   21      THEY'LL USE THE OPEN SOURCE LICENSE.       NEO4J SAID THAT.

03:06PM   22            WELL, IN THE PARTNER AGREEMENT IT SAYS THAT YOU'RE NOT

03:06PM   23      ALLOWED TO USE OPEN SOURCE LICENSES.

03:06PM   24            SO WHEN JASON ZAGALASKY, WHO TESTIFIED BEFORE, CAME ON

03:06PM   25      BOARD, HE BASICALLY CHANGED AND SAID, NO, WE BASICALLY HAVE TO



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03:06PM    1      HAVE THE ENTERPRISE LICENSE COST FOR THIS.

03:06PM    2             AND I SAID, NO, THIS IS ALREADY A DONE DEAL, WE CAN'T DO

03:06PM    3      THIS WITH THE GOVERNMENT.

03:06PM    4             SO HE WANTED US TO -- THE GOVERNMENT THEN CAME AFTER THAT

03:06PM    5      AND THEN SAID, WELL, WAIT A SECOND, THE AGPL IS FREE, WHY DON'T

03:06PM    6      WE JUST USE THAT.

03:06PM    7             AND HE WANTED ME TO SAY THAT AGPL COULD NOT -- OR NEO4J

03:06PM    8      OPEN SOURCE COULD NOT BE USED IN PRODUCTION ENVIRONMENTS, WHICH

03:06PM    9      IS NOT TRUE, SO I WOULDN'T DO THAT.

03:06PM   10             AND THEN WHEN I WOULDN'T DO THAT, EVERYTHING WENT BAD AND

03:06PM   11      THE BREACH WAS BECAUSE I WAS WORKING WITH THE OPEN SOURCE

03:06PM   12      SOFTWARE, WHICH THEY TOLD ME TO DO IN OUR AGREEMENT.

03:06PM   13             AND SO --

03:06PM   14                  THE COURT:     SO DID THEY FORMALLY TELL YOU WE'RE NO

03:07PM   15      LONGER IN BUSINESS WITH YOU?

03:07PM   16                  THE WITNESS:    OH, YES, THEY SENT A BREACH LETTER,

03:07PM   17      YES.    AND THEY SENT IT -- YES.

03:07PM   18                  THE COURT:     AND I ALSO WANTED TO ASK YOU ABOUT

03:07PM   19      THE -- YOU TALKED ABOUT WORKING ON THE IRS PROJECT IN AN RFP

03:07PM   20      THROUGH EGOV SOLUTIONS.      TELL ME A LITTLE BIT ABOUT THAT AND

03:07PM   21      HOW DID THAT WORK.

03:07PM   22                  THE WITNESS:    SO EGOVERNMENT SOLUTIONS WAS ANOTHER--

03:07PM   23      I'M AN ENTREPRENEUR AND SO I STARTED EGOVERNMENT SOLUTIONS,

03:07PM   24      I --

03:07PM   25                  THE COURT:     YOU DID?



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03:07PM    1                   THE WITNESS:    -- I DID ORIGINALLY WITH ANOTHER

03:07PM    2      PARTNER, AND THEN WE BROUGHT IN TWO OTHER PARTNERS.       AT THAT

03:07PM    3      POINT THEY WANTED TO TAKE IT A DIFFERENT DIRECTION, AND I JUST

03:07PM    4      WAS NOT MOTIVATED.    SO I WANTED TO SELL IT, SELL MY PORTION,

03:07PM    5      WHICH IS FOR A SMALL AMOUNT.        IT'S NOT LIKE IN SILICON VALLEY

03:07PM    6      STANDARDS.

03:07PM    7            SO WHAT HAPPENED WAS THE IRS SAID THAT THEY COULD USE HUB

03:07PM    8      ZONE IF THEY WANTED, THEY WANTED TO HAVE THEIR PROCUREMENTS

03:07PM    9      DONE SO THEY COULD MEET CERTAIN REQUIREMENTS LIKE 8A AND HUB

03:07PM   10      ZONE.

03:08PM   11            AND SO I SAID, OH, WELL, EGOVERNMENT SOLUTIONS IS A HUB

03:08PM   12      ZONE.

03:08PM   13            THEY SAID, WELL, CAN WE MAKE THAT AGREEMENT GO THROUGH

03:08PM   14      THEM?

03:08PM   15            AND SO I SAID, WELL, I STILL HAVE SOME SAY IN THIS, AND SO

03:08PM   16      I CAN GO AND TALK TO THE PARTNERS.

03:08PM   17                   THE COURT:    I SEE.   OKAY.   THANK YOU.

03:08PM   18            THOSE WERE THE ONLY QUESTIONS I HAD.       ANY OTHER QUESTIONS

03:08PM   19      BASED ON MY QUESTIONS?

03:08PM   20                   MR. BEENE:    NO.   THANK YOU, YOUR HONOR.

03:08PM   21                   THE COURT:    OKAY.    THANK YOU.

03:08PM   22            CROSS-EXAMINATION?

03:08PM   23                   MR. RATINOFF:   YOUR HONOR, I MIGHT JUST NEED A

03:08PM   24      SECOND TO GET BINDERS DISTRIBUTED.

03:08PM   25            DO YOU HAVE THE MASTER THREE VOLUME OF BINDERS OF



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03:08PM    1      PLAINTIFFS' EXHIBITS?

03:08PM    2                  THE COURT:   I SHOULD HAVE IT.

03:08PM    3                  THE CLERK:   I THINK SO.

03:08PM    4                  THE COURT:   THAT'S WHAT THOSE THREE BINDERS WERE,

03:08PM    5      YES.

03:09PM    6                  MR. RATINOFF:    I DID PREPARE A FEW BINDERS FOR

03:09PM    7      CROSS, AND I'LL HAND TO YOUR HONOR AND THE WITNESS AND FOR EASE

03:09PM    8      OF REFERENCE.

03:09PM    9                  THE COURT:   YES.

03:09PM   10                  MR. RATINOFF:    I APOLOGIZE, I MAY BE JUMPING AROUND

03:09PM   11      A LITTLE BIT BINDER WISE.

03:09PM   12                  THE WITNESS:     SO CAN I MOVE THIS OR DO I NEED THIS

03:09PM   13      (INDICATING)?

03:09PM   14                  MR. RATINOFF:    NO, YOU'LL NEED THAT AS WELL.

03:09PM   15                               CROSS-EXAMINATION

03:09PM   16      BY MR. RATINOFF:

03:09PM   17      Q.     GOOD AFTERNOON, MR. SUHY.

03:09PM   18      A.     GOOD AFTERNOON.

03:09PM   19      Q.     AND THANK YOU FOR FLYING OUT HERE.    I APPRECIATE THAT.     I

03:09PM   20      KNOW IT WAS A LONG TRIP.

03:09PM   21             YOU WERE TESTIFYING REGARDING THE QUOTES CKGE CONTRACT;

03:09PM   22      CORRECT?

03:09PM   23      A.     CORRECT.

03:09PM   24      Q.     AND, IN FACT, THERE'S ACTUALLY MULTIPLE CONTRACTS THAT

03:09PM   25      RELATED TO THIS CKGE; ISN'T THAT TRUE?



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03:09PM    1      A.    ARE YOU TALKING ABOUT THE ASR PROJECTS?

03:10PM    2      Q.    NO, I'M TALKING ABOUT THE CONTRACTS THAT YOU JUST

03:10PM    3      TESTIFIED ABOUT.    YOU TESTIFIED ABOUT A CONTRACT WITH THE IRS

03:10PM    4      FOR CKGE, THERE WAS A STATEMENT OF WORK FOR THAT?

03:10PM    5      A.    YES.

03:10PM    6      Q.    AND DO YOU RECALL WHEN THAT CONTRACT WAS AWARDED?

03:10PM    7      A.    I'M NOT SURE OF THE EXACT DATE.    BUT ARE YOU TALKING ABOUT

03:10PM    8      THE ORIGINAL PURETHINK.

03:10PM    9      Q.    WELL, I DON'T KNOW.    IS THAT WHAT YOU WERE TALKING ABOUT

03:10PM   10      WHEN YOU TESTIFIED ABOUT THE STATEMENT OF WORK?

03:10PM   11      A.    THE ONE THAT WE SAW RIGHT HERE?    I'D HAVE TO GO BACK AND

03:10PM   12      SEE IT, WHAT YEAR IT WAS.

03:10PM   13            PURETHINK WOULD HAVE BEEN THE FIRST.

03:10PM   14      Q.    LET'S GO AHEAD AND LOOK AT THE EXHIBIT.      THIS IS TRIAL

03:10PM   15      EXHIBIT 1011.    IT'S IN THE WHITE BINDER.

03:11PM   16      A.    OKAY.

03:11PM   17      Q.    SO LOOKING AT EXHIBIT 1011, IS THIS STATEMENT OF WORK FOR

03:11PM   18      THE PURETHINK CKGE CONTRACT?

03:11PM   19      A.    I BELIEVE THIS WOULD BE THE EGOV STATEMENT OF WORK.

03:11PM   20      Q.    OKAY.   AND THEN PRIOR TO THIS CONTRACT THERE WAS A

03:11PM   21      CONTRACT WITH THE IRS THAT YOU CALLED THE CKGE CONTRACT FOR

03:11PM   22      PURETHINK; CORRECT?

03:11PM   23      A.    I DON'T KNOW IF IT WAS CALLED CKGE, BUT IT WAS FOR CKGE.

03:11PM   24      Q.    ALL RIGHT.   LET'S GO AHEAD AND TURN TO TRIAL EXHIBIT 34.

03:11PM   25      I BELIEVE THAT WOULD BE IN ONE OF THE BIG BINDERS.      I DON'T



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03:11PM    1      KNOW IF YOU HAVE ONE OF THOSE HANDY?

03:11PM    2      A.    I DON'T HAVE A 34.

03:12PM    3                    THE COURT:   HE'S GOING TO GIVE YOU MORE BINDERS.

03:12PM    4                    THE WITNESS:    OH, OKAY.

03:12PM    5                    MR. RATINOFF:   SORRY.   MORE PAPER.

03:12PM    6            MAY I APPROACH, YOUR HONOR?

03:12PM    7                    THE COURT:   YES.

03:12PM    8                    MR. RATINOFF:   WE MAY HAVE MORE (HANDING).

03:12PM    9      Q.    ALL RIGHT.    MR. SUHY, IF YOU COULD PLEASE TURN TO TAB 34.

03:12PM   10      A.    YES, I'M THERE.

03:12PM   11      Q.    AND DO YOU RECOGNIZE WHAT HAS BEEN MARKED AS EXHIBIT 34?

03:12PM   12      A.    YES.

03:12PM   13      Q.    OKAY.    AND WHAT IS IT?

03:12PM   14      A.    THIS IS THE CONTRACT TO PURETHINK.

03:12PM   15      Q.    OKAY.    IS THIS THE CONTRACT THAT YOU WERE TALKING ABOUT IN

03:12PM   16      THESE 2016 AND 2017 EMAILS WITH NEO4J THAT YOU JUST TALKED

03:12PM   17      ABOUT?

03:12PM   18      A.    YES.

03:13PM   19      Q.    SO ALL OF THE CONVERSATIONS THAT YOU WERE DISCUSSING WITH

03:13PM   20      LARS AND JASON AND THE REST OF THE NEO4J TEAM WHERE YOU'RE

03:13PM   21      HAVING A DISPUTE OVER THE TYPE OF LICENSE THE IRS WAS

03:13PM   22      PURCHASING, THAT ALL RELATED TO THE PURETHINK CONTRACT;

03:13PM   23      CORRECT?

03:13PM   24      A.    I BELIEVE SO.

03:13PM   25      Q.    OKAY.    AND THEN YOU MENTIONED THERE WAS A SECOND CONTRACT;



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03:13PM    1      CORRECT?

03:13PM    2      A.    YES.

03:13PM    3      Q.    AND THAT'S WHAT YOU CALL THE EGOV SOLUTIONS CONTRACT?

03:13PM    4      A.    YES.

03:13PM    5      Q.    AND THEN IF YOU WOULD GO AHEAD AND TURN TO -- WE'RE GOING

03:13PM    6      TO NEED ANOTHER BINDER.        IT'S GOING TO BE EXHIBIT 182.

03:13PM    7            BEFORE I DO THAT, I WOULD MOVE EXHIBIT 34 INTO EVIDENCE.

03:13PM    8                    MR. BEENE:   NO OBJECTION.

03:13PM    9                    THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:13PM   10            (PLAINTIFFS' EXHIBIT 34 WAS RECEIVED IN EVIDENCE.)

03:14PM   11                    THE WITNESS:    I DON'T HAVE 182.   I HAVE 162 AS THE

03:14PM   12      ENDING PAGE.

03:14PM   13                    THE COURT:   THE NUMBERS SHOULD BE ON THE SPINE OF

03:14PM   14      THE BINDERS.

03:14PM   15                    THE CLERK:   SORRY.   IT'S NOT ON THEIRS

03:14PM   16      UNFORTUNATELY, YOUR HONOR.

03:14PM   17                    MR. RATINOFF:    I'VE GOT IT RIGHT HERE.

03:14PM   18                    THE COURT:   COULD YOU CHECK TO SEE IF IT'S IN THERE.

03:14PM   19                    MR. RATINOFF:    IT IS, YOUR HONOR.

03:14PM   20                    THE COURT:   OKAY.

03:14PM   21      BY MR. RATINOFF:

03:14PM   22      Q.    OKAY.    DO YOU RECOGNIZE EXHIBIT 182?

03:14PM   23      A.    I DIDN'T FIND IT.       I HAVE VOLUME 1 OF 3, VOLUME 2 OF 3,

03:15PM   24      BUT I DON'T HAVE VOLUME 3 OF 3.

03:15PM   25                    THE CLERK:   HOW ABOUT THIS ONE (HANDING)?



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03:15PM    1                    THE WITNESS:    OKAY.   I'M HERE.

03:16PM    2      BY MR. RATINOFF:

03:16PM    3      Q.    OKAY.    DO YOU RECOGNIZE WHAT HAS BEEN MARKED AS

03:16PM    4      EXHIBIT 182?

03:16PM    5      A.    YES.

03:16PM    6                    MR. RATINOFF:   I BELIEVE THIS ACTUALLY HAS BEEN

03:16PM    7      STIPULATED TO BE ADMITTED, BUT I WOULD JUST CONFIRM THAT IT BE

03:16PM    8      ADMITTED INTO EVIDENCE.

03:16PM    9                    THE COURT:   ANY OBJECTION?

03:16PM   10                    MR. BEENE:   I HAVE NO OBJECTION, YOUR HONOR.

03:16PM   11                    THE COURT:   IT'S ADMITTED, AND IT MAY BE PUBLISHED.

03:16PM   12            (PLAINTIFFS' EXHIBIT 182 WAS RECEIVED IN EVIDENCE.)

03:16PM   13      BY MR. RATINOFF:

03:16PM   14      Q.    SO LOOKING AT EXHIBIT 182, THIS IS THE EGOV SOLUTIONS

03:16PM   15      CONTRACT THAT YOU HAVE TESTIFIED ABOUT?

03:16PM   16      A.    YES.

03:16PM   17      Q.    AND THEN THE DATE OF THIS CONTRACT, ACCORDING TO BOX 1, IS

03:16PM   18      MAY 24TH, 2018; CORRECT?

03:16PM   19      A.    CORRECT.

03:16PM   20      Q.    SO BY THIS TIME PURETHINK HAD BEEN TERMINATED AS A NEO4J

03:16PM   21      PARTNER; CORRECT?

03:16PM   22      A.    CORRECT.

03:16PM   23      Q.    AND YOU HAD ALREADY FORMED IGOV; CORRECT?

03:16PM   24      A.    YES.

03:16PM   25      Q.    IT IS YOUR TESTIMONY THAT THIS CONTRACT DIDN'T REQUIRE



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03:17PM    1      PROVIDING SUPPORT FOR NEO4J ENTERPRISE SOFTWARE?

03:17PM    2      A.    YES, IT DID NOT.

03:17PM    3      Q.    AND IS IT YOUR TESTIMONY THAT THIS CONTRACT DIDN'T REQUIRE

03:17PM    4      YOU TO PROVIDE SUPPORT FOR ONGDB AT THE IRS WITH RESPECT TO THE

03:17PM    5      CKGE?

03:17PM    6      A.    NO, IT DID NOT.

03:17PM    7      Q.    THAT'S NOT YOUR TESTIMONY?

03:17PM    8      A.    NO, THAT'S CORRECT, IT DID NOT REQUIRE ME TO DO SUPPORT.

03:17PM    9      Q.    BUT YOU ACTUALLY DID SUPPORT ONGDB AT THE IRS UNDER THIS

03:17PM   10      CKGE CONTRACT; ISN'T THAT CORRECT?

03:17PM   11      A.    YES.   WELL, IT WASN'T UNDER THE CONTRACT, IT WAS FREE

03:17PM   12      ASSISTANCE?

03:17PM   13      Q.    BUT THAT WAS YOUR VIEW OF THE CONTRACT; CORRECT?

03:17PM   14      A.    YES.

03:17PM   15      Q.    NOT THE IRS'S VIEW THOUGH; RIGHT?

03:17PM   16      A.    THE IRS, I DON'T BELIEVE, EXPECTED ME TO PERFORM OR TO

03:18PM   17      SUPPORT ONGDB.    THEY ACTUALLY HAD A TEAM DEDICATED TO THAT.

03:18PM   18      Q.    YOU WERE AT MR. DUNN'S DEPOSITION, WEREN'T YOU?

03:18PM   19      A.    YES.

03:18PM   20      Q.    AND DID YOU RECALL HEARING MR. DUNN TESTIFY THAT, IN FACT,

03:18PM   21      HE CONSIDERED YOUR WORK WITH ONGDB AT THE IRS TO BE PART OF

03:18PM   22      THAT CKGE CONTRACT?

03:18PM   23      A.    I REMEMBER HEARING THAT, BUT IT WASN'T CORRECT.

03:18PM   24      Q.    SO YOU DISAGREE WITH THAT?

03:18PM   25      A.    YES.   HE'S NOT A CONTRACT PERSON.   I HELPED OUT WITH SO



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03:18PM    1      MUCH STUFF, THEY ESSENTIALLY JUST ASSUMED THAT EVERYTHING I

03:18PM    2      HELPED OUT WITH WAS PART OF THE CONTRACT, WHICH YOU'RE NOT

03:18PM    3      SUPPOSED TO DO FREE STUFF FOR THE GOVERNMENT.

03:18PM    4      Q.    LET'S GO AHEAD AND --

03:19PM    5            I'M JUST WAITING FOR ONE DOCUMENT, YOUR HONOR.

03:19PM    6            (PAUSE IN PROCEEDINGS.)

03:19PM    7      BY MR. RATINOFF:

03:19PM    8      Q.    I'D LIKE TO GO AHEAD AND TURN YOUR ATTENTION TO A PLEADING

03:20PM    9      ENTITLED STIPULATION OF UNDISPUTED FACTS FOR TRIAL.

03:20PM   10      A.    WHERE, WHERE --

03:20PM   11                   THE COURT:   WHERE WOULD THAT BE FOR HIM?

03:20PM   12                   MR. RATINOFF:   SORRY.    I MISUNDERSTOOD.   I THOUGHT

03:20PM   13      HE HAD IT.

03:20PM   14            MAY I APPROACH?

03:20PM   15                   THE COURT:   YES.

03:20PM   16                   MR. RATINOFF:   (HANDING.)

03:20PM   17      Q.    MR. SUHY, I'LL REPRESENT TO YOU THAT THIS WAS A PLEADING

03:20PM   18      FILED IN THIS CASE SIGNED BY YOUR COUNSEL ON YOUR BEHALF.         IT'S

03:20PM   19      A SERIES OF FACTS THAT WE HAVE STIPULATED TO IN THIS TRIAL.

03:20PM   20            I'D LIKE TO SPECIFICALLY TURN YOUR ATTENTION TO FACT

03:20PM   21      NUMBER 68.

03:20PM   22                   THE COURT:   IS THIS DOCUMENT 227?

03:20PM   23                   MR. RATINOFF:   IT IS, YOUR HONOR.     THIS IS ECF

03:20PM   24      NUMBER 227.

03:20PM   25                   THE COURT:   ALL RIGHT.   THANK YOU.



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03:20PM    1                   MR. RATINOFF:   I DON'T KNOW IF I ASKED THAT IT BE

03:20PM    2      ADMITTED AS PART OF THE RECORD.

03:21PM    3                   THE COURT:   IT'S ON FILE.

03:21PM    4                   MR. RATINOFF:   SO WE CAN GO AHEAD AND DISPLAY IT.

03:21PM    5      Q.    ALL RIGHT.   PLEASE LOOK AT FACT NUMBER 68.     IT SAYS,

03:21PM    6      "UNDER THE CKGE CONTRACT, SUHY PROVIDED ARCHITECTURE DESIGN AND

03:21PM    7      HARDWARE REQUIREMENTS NEEDED TO RUN ONGDB INSTALLATIONS ON

03:21PM    8      MULTIPLE SERVERS WITHIN THE CKGE."

03:21PM    9            DO YOU SEE THAT?

03:21PM   10      A.    YES.

03:21PM   11      Q.    AND SO IS THAT NOT TRUE?

03:21PM   12      A.    THAT'S TRUE.

03:21PM   13      Q.    AND THEN LOOKING AT FACT NUMBER 73, "UNDER THE CKGE

03:21PM   14      CONTRACT, SUHY AND IGOV WERE RESPONSIBLE FOR SUPPORTING AND

03:21PM   15      MAINTAINING AND UPDATE ONGDB IN AN INTERNAL GITLAB REPOSITORY

03:21PM   16      FOR THE RAAS AT THE IRS."

03:21PM   17            DO YOU SEE THAT?

03:21PM   18      A.    YES.

03:21PM   19      Q.    IS THAT ALSO TRUE?

03:21PM   20      A.    NO.

03:21PM   21                   MR. BEENE:   OBJECT, YOUR HONOR.    I OBJECT TO HIM

03:21PM   22      ASKING QUESTIONS ABOUT STIPULATED FACTS.        THE PURPOSE OF THE

03:22PM   23      STIPULATED FACTS IS TO AVOID WASTING TIME AT TRIAL.

03:22PM   24                   THE COURT:   WELL, THE FACTS ARE STIPULATED AS I SEE

03:22PM   25      THEM HERE BUT HE CAN EXAMINE THE WITNESS AS TO THE WITNESS'S



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03:22PM    1      OPINION ABOUT THEM.

03:22PM    2            SO I'LL ALLOW THE QUESTION AND THE ANSWER.

03:22PM    3                 MR. RATINOFF:     THANK YOU, YOUR HONOR.

03:22PM    4      Q.    SO TURNING BACK TO WHAT I JUST READ, FACT NUMBER 73, YOUR

03:22PM    5      ANSWER IS THAT'S NOT TRUE?

03:22PM    6      A.    WHAT I WAS TOLD IS THAT THESE STIPULATIONS IN HERE,

03:22PM    7      BECAUSE THE RULINGS HAD MADE THEM TRUE SO EVERYTHING IN HERE --

03:22PM    8      EVERYTHING THAT WAS IN HERE SUCH AS I REMEMBER THERE WAS

03:22PM    9      SOME -- I TALKED TO MY COUNSEL SAYING, HEY, THIS DOESN'T SOUND

03:22PM   10      RIGHT, BUT SINCE --

03:22PM   11                 THE COURT:   SIR, YOU DON'T HAVE TO TELL US.

03:22PM   12                 THE WITNESS:      OH, SORRY.

03:22PM   13                 THE COURT:   YOU DON'T HAVE TO TELL US WHAT YOUR

03:22PM   14      LAWYER TOLD YOU AND WHAT YOU DISCUSSED.        THAT'S PRIVATE.

03:22PM   15                 THE WITNESS:      OKAY.

03:22PM   16                 THE COURT:   AND YOU CAN TALK TO YOUR LAWYER IF YOU

03:22PM   17      WANT BEFORE YOU ANSWER A QUESTION ABOUT YOUR COMMUNICATIONS --

03:22PM   18                 THE WITNESS:      OKAY.

03:22PM   19                 THE COURT:   -- WITH YOUR COUNSEL.

03:23PM   20            BUT HE'S NOT ASKING YOU TO REVEAL ANY CONFIDENTIAL

03:23PM   21      COMMUNICATION WITH YOUR ATTORNEY.         YOU DON'T HAVE TO REVEAL

03:23PM   22      THAT IN YOUR ANSWER IF THAT MAKES SENSE, IF YOU UNDERSTAND

03:23PM   23      THAT.

03:23PM   24                 THE WITNESS:      I UNDERSTAND NOW.

03:23PM   25                 MR. RATINOFF:     I WOULD ACTUALLY STRIKE THAT ANSWER



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03:23PM    1      AS NONRESPONSIVE.

03:23PM    2                   THE WITNESS:    BUT I CAN TELL YOU THAT WE WEREN'T

03:23PM    3      RESPONSIVE --

03:23PM    4                   THE COURT:   EXCUSE ME, SIR.   HIS ANSWER THAT?

03:23PM    5                   MR. RATINOFF:   I MEAN, HIS EXPLANATION, YOUR HONOR,

03:23PM    6      IT'S IRRELEVANT.    I MEAN, THIS IS A STIPULATION OF FACT.     HE'S

03:23PM    7      PROVIDED INCONSISTENT TESTIMONY.

03:23PM    8                   THE COURT:   WELL, LET'S -- WHY DON'T YOU ASK THE

03:23PM    9      QUESTION AGAIN AND WE'LL START OVER.

03:23PM   10                   MR. RATINOFF:   OKAY.   THANK YOU.

03:23PM   11      Q.    SO YOUR TESTIMONY TODAY WAS THAT CKGE, THE CONTRACT DIDN'T

03:23PM   12      REQUIRE YOU TO PROVIDE SUPPORT FOR ONGDB; CORRECT?

03:23PM   13      A.    YES.

03:23PM   14      Q.    YET FACT NUMBER 73 SAYS OTHERWISE; ISN'T THAT RIGHT?

03:23PM   15      A.    THIS IS INCORRECT, IT WASN'T PART OF THE CONTRACT.       I

03:23PM   16      MEAN, I DID IT UNDER THE CONTRACT, BUT IT WASN'T A REQUIREMENT.

03:23PM   17      I DID IT FOR FREE TO HELP THEM BECAUSE I'M ONE OF THE ONLY

03:24PM   18      PEOPLE THAT KNOWS HOW TO DO -- USE GITLAB, AND THAT'S WHY THEY

03:24PM   19      COME TO ME FOR HELP ON A VARIETY OF DIFFERENT THINGS.

03:24PM   20      Q.    BUT YOU COULD HAVE SAID NO; RIGHT?

03:24PM   21      A.    I COULD HAVE, BUT I NEVER SAY NO.

03:24PM   22      Q.    AND DIDN'T YOU JUST TESTIFY THAT PROVIDING ASSISTANCE

03:24PM   23      OUTSIDE OF THE CONTRACT IS A VIOLATION OF GOVERNMENT

03:24PM   24      REGULATIONS?

03:24PM   25      A.    YES.



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03:24PM    1      Q.    AND SO YOU VIOLATED GOVERNMENT REGULATIONS THEN BY DOING

03:24PM    2      THIS?

03:24PM    3      A.    I MIGHT HAVE.

03:24PM    4      Q.    SO TURNING TO FACT 74, "UNDER THE CKGE CONTRACT SUHY AND

03:24PM    5      IGOV HELPED THE IRS UPGRADE THE CKGE PLATFORM TO ONGDB VERSION

03:24PM    6      3.5 IN APRIL OF 2019 AND INTEGRATED SUBSEQUENT SUBVERSIONS

03:24PM    7      THROUGH AT LEAST APRIL OF 2022."

03:24PM    8            IS THAT CORRECT?

03:24PM    9      A.    CORRECT.

03:24PM   10      Q.    SO AGAIN, IS IT YOUR TESTIMONY THAT THIS WAS NOT REQUIRED

03:24PM   11      UNDER THE CONTRACT?

03:24PM   12      A.    YES, IT WAS NOT REQUIRED UNDER THE CONTRACT.

03:24PM   13      Q.    AND YOU DID THIS OUT OF THE GOODNESS OF YOUR HEART?

03:25PM   14      A.    YES.

03:25PM   15      Q.    AND YOU DID IT IN VIOLATION OF GOVERNMENT REGULATIONS?

03:25PM   16      A.    I DON'T KNOW IF IT HURTS ME OR THE GOVERNMENT IS NOT

03:25PM   17      ALLOWED TO ACCEPT FREE WORK, BUT THAT'S WHY, THAT'S WHY I WOULD

03:25PM   18      ALWAYS HELP.     I WAS PART OF THE CKGE PROJECT.    NO ONE ASKED

03:25PM   19      QUESTIONS.   I DO STUFF LIKE THAT ALL OF THE TIME.     I HELP THEM

03:25PM   20      WITH SECURITY VULNERABILITIES, EVERYTHING.      IT'S NOT PART OF

03:25PM   21      THE CONTRACT.

03:25PM   22      Q.    YOU COULD HAVE JUST SAID NO?

03:25PM   23      A.    I COULD HAVE.

03:25PM   24      Q.    BUT YOU DIDN'T?

03:25PM   25      A.    NO.



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03:25PM    1      Q.    AND I BELIEVE YOU PREVIOUSLY TESTIFIED THAT THE IRS DIDN'T

03:25PM    2      REQUIRE ANY ENTERPRISE FEATURES UNDER THE CKGE; IS THAT

03:25PM    3      CORRECT?

03:25PM    4      A.    CORRECT.

03:25PM    5      Q.    GO AHEAD AND PLEASE TURN TO FACT NUMBER 77.    IT SAYS, "THE

03:25PM    6      IRS USED AT LEAST ONE NEO4J ENTERPRISE-ONLY FEATURE, NODE I.D.,

03:25PM    7      VIA ONGDB IN CKGE."

03:25PM    8            DO YOU SEE THAT?

03:25PM    9      A.    UH-HUH.

03:25PM   10      Q.    DO YOU DISAGREE WITH THAT?

03:26PM   11      A.    THERE'S NO SUCH THING AS AN ENTERPRISE FEATURE CALLED NODE

03:26PM   12      I.D., SO I DISAGREE WITH THAT.

03:26PM   13      Q.    WOULD YOU BE SURPRISED IF MR. DUNN TESTIFIED TO THE

03:26PM   14      CONTRARY?

03:26PM   15      A.    I WOULD BE VERY SURPRISED CONSIDERING THAT WE HAVE

03:26PM   16      DOWNGRADED EVERYTHING TO COMMUNITY AND IT WORKS FINE.

03:26PM   17      Q.    BUT I'M NOT TALKING ABOUT NOW, I'M TALKING ABOUT BACK IN

03:26PM   18      2018, 2019 WITH ONGDB?

03:26PM   19      A.    YES, I WOULD SAY THAT THAT'S INCORRECT.

03:26PM   20      Q.    BUT YET YOU STIPULATED TO IT?

03:26PM   21      A.    YES.

03:26PM   22            WELL, DIDN'T THE COURT MAKE THIS STIPULATION?

03:26PM   23      Q.    SO, MR. SUHY, YOUR COUNSEL WAS VERY ADAMANT ABOUT NOT

03:26PM   24      STIPULATING TO FACTS THAT WERE SUBJECT TO THE COURT'S ORDERS?

03:26PM   25      A.    WELL, THAT'S INCORRECT.   THERE'S NO SUCH THING AS NODE



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03:26PM    1      I.D. THAT I'M AWARE OF.

03:27PM    2      Q.    AND THEN LOOKING AT --

03:27PM    3      A.    SORRY.   THERE'S NO SUCH THING AS AN ENTERPRISE FEATURE

03:27PM    4      CALLED NODE I.D.    ALL NODES HAVE NODE I.D.'S.     THAT'S PART OF

03:27PM    5      COMMUNITY.

03:27PM    6      Q.    AND IT'S YOUR UNDERSTANDING THAT THERE'S PERFORMANCE

03:27PM    7      DIFFERENCES BETWEEN NEO4J COMMUNITY EDITION AND NEO4J COMMUNITY

03:27PM    8      EDITION; CORRECT?

03:27PM    9      A.    THERE CAN BE.

03:27PM   10      Q.    AND ONE OF THOSE IS, ACCORDING TO FACT NUMBER 78 THAT,

03:27PM   11      "THE IRS UNDERSTOOD THAT NEO4J EE CAN RUN CYPHER QUERIES

03:27PM   12      SIGNIFICANTLY FASTER THAN NEO4J COMMUNITY EDITION WHICH IS

03:27PM   13      ADVANTAGEOUS IN TERMS OF PRODUCTIVITY"?

03:27PM   14      A.    YES, I SEE IT.

03:27PM   15      Q.    IS THAT TRUE?

03:27PM   16      A.    I DON'T BELIEVE THAT IT'S ADVANTAGEOUS TO THE

03:27PM   17      PRODUCTIVITY.    IT MIGHT BE A FEW MILLISECONDS.    BUT, YES, IT IS

03:27PM   18      TRUE THAT THE ENTERPRISE CYPHER, IT CAN HANDLE CERTAIN QUERIES

03:28PM   19      FASTER THAN COMMUNITY.

03:28PM   20      Q.    AND DO YOU RECALL MR. ZAGALASKY'S TESTIMONY BACK BEFORE

03:28PM   21      THANKSGIVING?

03:28PM   22      A.    YES.

03:28PM   23      Q.    AND YOU RECALL THAT THERE WAS A NEWS RELEASE OR A BLOG

03:28PM   24      ENTRY FOR NEO4J 3.4?

03:28PM   25      A.    I BELIEVE -- YES, I THINK I REMEMBER THAT.



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03:28PM    1      Q.    GO AHEAD AND TURN TO EXHIBIT 4, PLEASE.       IT WILL BE IN

03:29PM    2      VOLUME NUMBER 3 OF YOUR BIG BINDERS.

03:29PM    3      A.    I'M THERE.   I'M THERE.

03:29PM    4      Q.    AND IF YOU WANT TO GO AHEAD AND I THINK IT'S ON THE SECOND

03:29PM    5      OR THIRD PAGE -- IT ACTUALLY MIGHT BE FURTHER DOWN THERE'S A

03:29PM    6      LARGE PARAGRAPH THAT SHOWS THE PERFORMANCE DIFFERENCES BETWEEN

03:29PM    7      ENTERPRISE AND COMMUNITY?

03:29PM    8      A.    ON WHICH PAGE, I'M SORRY?

03:29PM    9                 MR. RATINOFF:     AND THIS HAS ALREADY BEEN ADMITTED.

03:29PM   10                 THE CLERK:    I WAS GOING TO SAY EXHIBIT 4, RIGHT?

03:29PM   11                 MR. RATINOFF:     YES.

03:29PM   12                 THE WITNESS:      AND WHAT WAS THE PAGE?   I'M SORRY.

03:29PM   13                 THE CLERK:    IT'S UP ON YOUR SCREEN.

03:29PM   14                 THE WITNESS:      OH, THERE WE GO.   YES, I SEE THAT.

03:30PM   15      BY MR. RATINOFF:

03:30PM   16      Q.    DO YOU SEE 70 PERCENT PERFORMANCE ENHANCEMENT?      DO YOU SEE

03:30PM   17      THAT?

03:30PM   18      A.    YES, I SEE THAT.

03:30PM   19      Q.    THAT'S NOT A SIGNIFICANT ENHANCEMENT?

03:30PM   20      A.    WHEN YOU'RE TALKING ABOUT HOW SMALL THE LATENCY IS, THE

03:30PM   21      MILLISECONDS ARE FOR THESE TYPES OF QUERIES.        IT WOULDN'T BE

03:30PM   22      KNOWN BY A HUMAN.

03:30PM   23      Q.    AND DO YOU ALSO UNDERSTAND THAT THERE ARE LIMITATIONS TO

03:30PM   24      THE NUMBER OF CORES YOU CAN USE WITH THE COMMUNITY EDITION;

03:30PM   25      ISN'T THAT CORRECT?



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03:30PM    1      A.    THAT'S INCORRECT.

03:30PM    2      Q.    SO YOU DISAGREE WITH MR. ZAGALASKY'S TESTIMONY?

03:30PM    3      A.    YES.

03:30PM    4      Q.    AND WHY IS THAT?

03:30PM    5      A.    BECAUSE I KNOW THE SOFTWARE IN AND OUT AND THERE'S NO

03:30PM    6      LIMITATIONS TO THE THREADING AND WHATNOT THAT WOULD BE APPLIED

03:30PM    7      TO CORES.     IT'S A LEGAL MECHANISM.

03:30PM    8            FROM WHAT I UNDERSTOOD, IT'S -- THE CORES ARE LIMITED

03:30PM    9      THROUGH YOUR COMMERCIAL LICENSE.

03:31PM   10      Q.    OH.    SO THERE'S LEGAL LIMITATIONS TO GOING BEYOND THE FOUR

03:31PM   11      CORES?

03:31PM   12      A.    IF YOU SIGNED AN AGREEMENT THAT WAS, THAT WAS A COMMERCIAL

03:31PM   13      AND IT SAID YOU CAN ONLY USE FOUR CORES.

03:31PM   14      Q.    BUT I'M NOT ASKING ABOUT COMMUNITY ENTERPRISE, I'M TALKING

03:31PM   15      ABOUT COMMUNITY.    YOU DON'T NEED A PAID LICENSE TO USE

03:31PM   16      COMMUNITY?

03:31PM   17      A.    NO.

03:31PM   18      Q.    SO WHAT YOU'RE TALKING ABOUT, LIMITATION ON CORES WITH

03:31PM   19      ENTERPRISE, ISN'T RELEVANT TO THE COMMUNITY EDITION?

03:31PM   20      A.    THERE IS NO LIMITATION OF CORES ON THE COMMUNITY EDITION.

03:31PM   21      Q.    NOW, YOU MENTIONED TIGER GRAPH IN YOUR TESTIMONY?

03:31PM   22      A.    YES.

03:31PM   23      Q.    AND TIGER GRAPH, THAT'S A CHINESE OWNED COMPANY OR AT

03:31PM   24      LEAST IN PART?

03:31PM   25      A.    I DON'T KNOW WHO OWNS THEM.



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03:31PM    1      Q.    AND IF A COMPANY, A SOFTWARE COMPANY HAD CCP INVESTORS OR

03:32PM    2      OWNERSHIP IN PART, WOULD THAT BE A PROBLEM FOR U.S. GOVERNMENT

03:32PM    3      WORK?

03:32PM    4      A.    HAVE -- I DON'T UNDERSTAND THE QUESTION CCP.

03:32PM    5      Q.    SO NOT TAIWAN BUT PEOPLE'S REPUBLIC OF CHINA?

03:32PM    6      A.    OKAY.   I BELIEVE THAT WOULD BE AN ISSUE, YEAH.

03:32PM    7      Q.    AND SO THERE WOULD BE A PROBLEM WITH USING SOFTWARE THAT

03:32PM    8      IS CREATED BY A PRC OWNED COMPANY FOR THE GOVERNMENT?

03:32PM    9      A.    NOT NECESSARILY.   I THINK IT WOULD -- THE GOVERNMENT WOULD

03:32PM   10      HAVE TO KNOW WHO CONTROLS IT.

03:32PM   11      Q.    BUT IF IT'S CONTROLLED BY THE CHINESE, IT WOULD BE AN

03:32PM   12      ISSUE FOR SECURITY REASONS?

03:32PM   13      A.    I BELIEVE SO.   I'M NOT POSITIVE, BUT I WOULD THINK THAT

03:32PM   14      WOULD BE THE CASE.

03:32PM   15            FOR DOD, MOST DEFINITELY.

03:32PM   16      Q.    AND WHEN YOU TESTIFIED ABOUT THE IRS SWITCHING TO THE

03:32PM   17      COMMUNITY EDITION, YOU WERE REFERRING TO AFTER THE COURT'S

03:32PM   18      OCTOBER 25TH, 2023 ORDER; CORRECT?

03:33PM   19      A.    CORRECT.

03:33PM   20      Q.    SO THAT SWITCH HAPPENED ONLY AFTER THE COURT'S ORDER?

03:33PM   21      A.    YES.

03:33PM   22      Q.    BUT THAT WASN'T THE FIRST TIME THAT THE COURT ACTUALLY

03:33PM   23      RULED THAT YOU COULDN'T REMOVE THE COMMONS CLAUSE; ISN'T THAT

03:33PM   24      RIGHT?

03:33PM   25      A.    I BELIEVE SO.   YEAH.



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03:33PM    1      Q.     AND THEN YOU ALSO TESTIFIED THAT YOU NO LONGER ARE

03:33PM    2      PERFORMING SUPPORT SERVICES FOR THE IRS; IS THAT RIGHT?

03:33PM    3      A.     I'M NOT -- I NEVER TESTIFIED TO THAT.

03:33PM    4      Q.     SO THE CKGE CONTRACT THAT -- THE GOVERNMENT SOLUTIONS

03:33PM    5      CONTRACT, THAT HAS RUN ITS COURSE; CORRECT?

03:33PM    6      A.     THAT'S RUN ITS COURSE.

03:33PM    7      Q.     SO YOU'RE NO LONGER PROVIDING SERVICES UNDER IT?

03:33PM    8      A.     NO.

03:33PM    9      Q.     AND ARE YOU PROVIDING ANY SERVICES FOR THE IRS RIGHT NOW?

03:33PM   10      A.     I ASSIST THEM -- WELL, I'M EMPLOYED NOW AND THEY HAVE A

03:33PM   11      CONTRACT WITH ASR THAT DOES SOME SECURITY WORK.

03:33PM   12      Q.     AND HOW DO YOU KNOW THAT THEY SWITCHED TO THE COMMUNITY

03:33PM   13      EDITION?

03:33PM   14      A.     BECAUSE I WAS TOLD.   I WAS ON THE EMAIL THREADS THAT

03:34PM   15      EVERYONE NEEDED TO MOVE.     AND THE WHOLE PLATFORM WAS SOMETHING

03:34PM   16      THAT I BUILT, SO THEY HAVE TO CHECK WITH ME TO MAKE SURE THAT

03:34PM   17      IT WOULD -- IT COULD JUST BE DOWNGRADED WITHOUT ANY ISSUES.

03:34PM   18      Q.     AND WHAT VERSION OF COMMUNITY EDITION IS THE IRS USING

03:34PM   19      NOW?

03:34PM   20      A.     4.4.

03:34PM   21      Q.     AND IS 4.4 COMMUNITY EDITION SIGNIFICANTLY MORE ROBUST

03:34PM   22      THAN, SAY, COMMUNITY EDITION VERSION 3.4?

03:34PM   23      A.     IT'S MORE ROBUST THAN THE ENTERPRISE VERSION 3.4.    SO

03:34PM   24      BOTH.

03:34PM   25      Q.     SO IT MADE IT EASIER TO MOVE TO COMMUNITY EDITION NOW



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03:34PM    1      BECAUSE OF THOSE PERFORMANCE ENHANCEMENTS.

03:34PM    2      A.    NO.    IT WAS THE FEATURES THAT WERE BEING USED FOR A

03:34PM    3      STRAIGHT SEQUEL, SO IT DIDN'T HAVE ANYTHING TO DO.        IT WAS MORE

03:34PM    4      PERFORMANT THOUGH, BUT IT WASN'T -- IT DIDN'T MAKE IT EASIER.

03:34PM    5      IT WAS MORE PERFORMANT.

03:34PM    6      Q.    MEANING HIGHER PERFORMANCE?

03:34PM    7      A.    YEAH, IT WAS HIGHER PERFORMANCE.

03:34PM    8      Q.    THANK YOU.

03:34PM    9            I BELIEVE YOU ALSO TESTIFIED THAT THE IRS LAWYERS AGREED

03:35PM   10      THAT THE COMMONS CLAUSE COULD HAVE BEEN REMOVED FROM THE AGPL;

03:35PM   11      CORRECT?

03:35PM   12      A.    CORRECT.

03:35PM   13      Q.    ARE YOU SURE ABOUT THAT?

03:35PM   14      A.    WELL, WE HAD A DISCUSSION WITH THEM.        THEY DIDN'T COME AND

03:35PM   15      SAY WE AGREE.

03:35PM   16      Q.    IT'S A YES OR NO QUESTION.     ARE YOU SURE?

03:35PM   17      A.    I'M SURE.

03:35PM   18      Q.    OKAY.    AND WERE YOU AT MR. DUNN'S DEPOSITION?

03:35PM   19      A.    YES.

03:35PM   20      Q.    AT THIS TIME I WOULD LIKE TO ASK MR. PICONE IF HE JUST

03:35PM   21      WOULDN'T MIND READING IN SOME DEPOSITION TESTIMONY FOR

03:35PM   22      MR. DUNN.     I BELIEVE IT IMPEACHES THE WITNESS.

03:35PM   23                    THE COURT:   IMPEACH THE WITNESS?

03:35PM   24                    MR. RATINOFF:   IT WILL IMPEACH THE WITNESS, YES.

03:35PM   25                    THE COURT:   AS TO A PRIOR INCONSISTENT STATEMENT OF



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03:35PM    1      THIS WITNESS?

03:35PM    2                   MR. RATINOFF:   YES.

03:35PM    3                   THE COURT:   HOW DOES MR. DUNN'S TESTIMONY IMPEACH

03:35PM    4      THIS WITNESS FOR A PRIOR INCONSISTENT STATEMENT?

03:35PM    5                   MR. RATINOFF:   WELL, YOUR HONOR, HE'S ASSERTING THAT

03:35PM    6      THE IRS CONSULTED THEIR COUNSEL AND AGREED THAT THE COMMONS

03:35PM    7      CLAUSE BE REMOVED.

03:35PM    8            SO I DON'T KNOW HOW YOU WOULD GET THAT KNOWLEDGE.     THE

03:35PM    9      KNOWLEDGE CAN ONLY COME FROM THE IRS.

03:36PM   10                   THE WITNESS:    I CAN EXPLAIN IF YOU WOULD LIKE.

03:36PM   11                   THE COURT:   I DON'T UNDERSTAND THE USE OF THIS -- OF

03:36PM   12      A DIFFERENT WITNESS'S TESTIMONY TO IMPEACH SOMETHING THAT HE

03:36PM   13      SAID.

03:36PM   14            BUT IT SOUNDS LIKE IT'S USED TO ACTUALLY COUNTER HIS

03:36PM   15      TESTIMONY.

03:36PM   16                   MR. RATINOFF:   I GUESS, YOUR HONOR, IT'S NOT A

03:36PM   17      SITUATION BECAUSE WE AGREED TO SUBMIT DEPOSITION TESTIMONY, AND

03:36PM   18      I KNOW I COULD JUST PLAY THE TESTIMONY AFTER HE TESTIFIES.        SO,

03:36PM   19      I MEAN, I'M HAPPY TO DO THAT IF WE WERE ACTUALLY HAVING THE

03:36PM   20      WITNESS, BUT I KNOW MR. BEENE WOULD LIKE TO GET OUT OF HERE

03:36PM   21      TODAY.

03:36PM   22                   THE COURT:   SO THIS WITNESS JUST TESTIFIED ABOUT A

03:36PM   23      FACT AND YOU HAVE TESTIMONY FROM ANOTHER WITNESS THAT SAYS

03:36PM   24      SOMETHING CONTRARY TO WHAT HE JUST SAID.      IS THAT WHAT THE

03:36PM   25      PURPOSE IS?



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03:36PM    1                   MR. RATINOFF:   YES, YOUR HONOR.

03:36PM    2                   THE COURT:   OKAY.    WHY DON'T YOU JUST IDENTIFY IT BY

03:36PM    3      PAGE.

03:36PM    4                   MR. RATINOFF:   YEAH, I BELIEVE THIS HAS BEEN

03:36PM    5      DESIGNATED.    IF THAT'S HOW YOU WOULD LIKE TO PROCEED,

03:37PM    6      YOUR HONOR.    I JUST WANT TO MAKE SURE THAT WE DO IT IN THE MOST

03:37PM    7      EFFICIENT WAY.

03:37PM    8                   THE COURT:   NO.   THAT'S FINE.   SO WHERE ARE WE HERE?

03:37PM    9                   MR. RATINOFF:   THIS WOULD BE THE IRS'S 30(B)(6)

03:37PM   10      WITNESS, MR. DUNN, AND STARTING AT PAGE 97 -- LET ME START OVER

03:37PM   11      AGAIN.

03:37PM   12            IT WOULD BE STARTING AT PAGE 97, LINE 17 ENDING AT

03:37PM   13      PAGE 98, LINE 21.

03:37PM   14                   THE COURT:   OKAY.    AND WHAT IS THE EXHIBIT NUMBER?

03:37PM   15                   MR. RATINOFF:   THAT IS REFERENCED THERE?

03:37PM   16                   THE COURT:   RIGHT.   WHAT IS THIS TESTIMONY?   DO YOU

03:37PM   17      HAVE THAT?

03:37PM   18                   MR. RATINOFF:   DO YOU MEAN THE EXHIBIT NUMBER AS FAR

03:37PM   19      AS THE DEPOSITION DESIGNATION?

03:37PM   20                   THE COURT:   RIGHT.

03:37PM   21            (DISCUSSION AMONGST PLAINTIFFS' COUNSEL OFF THE RECORD.)

03:37PM   22                   THE COURT:   IS THERE JUST ONE DEPOSITION OF

03:38PM   23      MR. DUNN?

03:38PM   24                   MR. RATINOFF:   YES, YES, YOUR HONOR.

03:38PM   25                   THE COURT:   OKAY.



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03:38PM    1                 MR. RATINOFF:     AND THEN WE HAVE SOME ADDITIONAL

03:38PM    2      TESTIMONY FOR MR. DUNN WHICH I BELIEVE CONTRADICTS MR. SUHY.

03:38PM    3      SO I CAN PROVIDE THAT AT THE END TO MAKE IT A LITTLE --

03:38PM    4                 THE COURT:   SO THIS IS THE PORTION THAT YOU WOULD

03:38PM    5      LIKE THE COURT TO RECEIVE AND BE NOTED, PAGE 97, LINE 17

03:38PM    6      THROUGH PAGE 98, LINE 21?

03:38PM    7                 MR. RATINOFF:     CORRECT.

03:38PM    8                 THE COURT:   OKAY.

03:38PM    9                 MR. RATINOFF:     ACTUALLY FOR FUTURE REFERENCES,

03:38PM   10      SHOULD I DO IT IN LINE OR SHOULD I DO IT AT THE END OF

03:38PM   11      MR. SUHY'S TESTIMONY?

03:38PM   12                 THE COURT:   YOU CAN DO IT CONCURRENT WITH IF YOU

03:38PM   13      WOULD LIKE.

03:38PM   14                 MR. RATINOFF:     OKAY.   I WILL DO IT LIKE THAT TO MAKE

03:38PM   15      IT EASIER FOR YOU LATER ON.

03:38PM   16                 THE COURT:   SURE.   RIGHT.

03:38PM   17      BY MR. RATINOFF:

03:38PM   18      Q.    NOW, TURNING TO THE MARYLAND PROCUREMENT OFFICE, THE MPO,

03:39PM   19      AND NEXT CENTURY, YOU PROVIDED SOME TESTIMONY ON THAT; CORRECT?

03:39PM   20      A.    THAT'S CORRECT.

03:39PM   21      Q.    AND LET'S MOVE ON TO THE WHITE BINDER, WHICH WAS -- AND IF

03:39PM   22      YOU WANT TO GO AHEAD AND TURN TO EXHIBIT 1101.

03:39PM   23      A.    I'M THERE.

03:39PM   24      Q.    AND THEN I BELIEVE YOU TESTIFIED THAT IN FEBRUARY OF 2019

03:39PM   25      YOU HAD COMMUNICATED WITH MR. SHAHAK NAGIEL?



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03:39PM    1      A.    CORRECT.

03:39PM    2      Q.    I'M SORRY?

03:39PM    3      A.    CORRECT.

03:39PM    4      Q.    BUT THIS CONVERSATION THAT YOU HAD IN FEBRUARY WASN'T THE

03:40PM    5      FIRST TIME THAT YOU TALKED ABOUT ONGDB WITH NEXT CENTURY;

03:40PM    6      CORRECT?

03:40PM    7      A.    I DON'T REMEMBER.    I THOUGHT THIS WAS THE FIRST TIME.

03:40PM    8      Q.    LET'S GO AHEAD AND TURN TO TRIAL EXHIBIT 113.     ALSO, JUST

03:40PM    9      KEEP THIS ONE OPEN, TOO.     IT'S IN YOUR CROSS BINDER AND IN THE

03:40PM   10      MAIN BINDER, TOO.

03:40PM   11      A.    I HAVE IT.

03:40PM   12      Q.    I'M JUST GOING TO HAVE YOU REFER TO THIS ONE.     CAN YOU

03:41PM   13      JUST TAKE A LOOK AT 1101 AND 1113 AND LET ME KNOW IF YOU

03:41PM   14      BELIEVE THAT THEY ARE THE SAME EMAILS?

03:41PM   15      A.    IT LOOKS LIKE THE SAME EMAIL.

03:41PM   16      Q.    THE ONLY REASON WHY I'M DOING THIS IS IT SEEMS LIKE THE

03:41PM   17      FONT ON THE EXHIBIT THAT YOU WERE USING DURING YOUR DIRECT IS A

03:41PM   18      LITTLE OFF, AND THIS IS ALSO A DEPOSITION EXHIBIT AND IT HAS

03:41PM   19      ALSO BEEN ADMITTED.

03:41PM   20                 THE CLERK:     IT WASN'T ADMITTED.

03:41PM   21                 MR. RATINOFF:     IT WAS BY STIPULATION.

03:41PM   22                 THE CLERK:     IT HASN'T BEEN ORDERED.

03:41PM   23                 MR. RATINOFF:     GOOD POINT.   I WOULD MOVE EXHIBIT 113

03:41PM   24      INTO EVIDENCE.

03:41PM   25                 MR. BEENE:     NO OBJECTION.



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03:41PM    1                 THE COURT:    ALL RIGHT.   THANK YOU.   DID YOU SAY 113

03:41PM    2      IS THE SAME AS 1101?

03:41PM    3                 MR. RATINOFF:     THE WITNESS SAID THIS.

03:41PM    4                 THE COURT:    OKAY.   ARE YOU CONFIRMING THAT?

03:41PM    5                 MR. RATINOFF:     I BELIEVE IT IS.

03:41PM    6                 THE COURT:    ALL RIGHT.   THIS WILL BE RECEIVED

03:41PM    7      WITHOUT OBJECTION.

03:41PM    8                 MR. BEENE:    YOUR HONOR, JUST FOR THE RECORD, THERE

03:41PM    9      WERE A BUNCH OF COPIES OF THIS, AND I PROBABLY -- AND HE WAS

03:42PM   10      TRYING TO GET THE MOST COMPLETE ONE, AND SO THAT'S WHAT OUR

03:42PM   11      ATTEMPTS ARE.   SO IF THEY'RE MISSING AN INTERNAL THREAD, IT

03:42PM   12      MIGHT BE, BUT I DON'T KNOW WHY.

03:42PM   13                 THE COURT:    OKAY.   THAT'S FINE.   THEY'RE BOTH IN.

03:42PM   14            (PLAINTIFFS' EXHIBIT 113 WAS RECEIVED IN EVIDENCE.)

03:42PM   15                 MR. RATINOFF:     I AM JUST TRYING TO DO THIS SO IT'S

03:42PM   16      EASIER TO READ.

03:42PM   17                 THE COURT:    SURE.

03:42PM   18      BY MR. RATINOFF:

03:42PM   19      Q.    SO IF YOU WOULD GO AHEAD AND TURN TO THE BATES NUMBERED

03:42PM   20      PAGE AT THE BOTTOM YOU WILL SEE A LARGE NUMBER, 3514?

03:42PM   21      A.    I'M THERE.

03:42PM   22      Q.    AND THEN YOU'LL SEE THAT THERE'S AN OCTOBER 22ND, 2018

03:42PM   23      EMAIL FROM MR. NAGIEL?

03:42PM   24      A.    YES, I SEE THAT.

03:42PM   25      Q.    AND IT APPEARS TO BE ADDRESSING YOU; IS THAT CORRECT?



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03:42PM    1      A.    YES.

03:42PM    2      Q.    IT SAYS, "HI JOHN, I'M TRYING TO BETTER UNDERSTAND THE

03:42PM    3      LICENSING NUANCES OF NEO4J ENTERPRISE EDITION, AND CAME ACROSS

03:42PM    4      SOME POSTS YOU MADE ON STACK OVERFLOW."

03:42PM    5            DO YOU SEE THAT?

03:42PM    6      A.    YES, I DO.

03:42PM    7      Q.    AND THEN THE NEXT PARAGRAPH, "NEO4J GITHUB REPO INCLUDES

03:43PM    8      THIS AT THE BOTTOM IN THE LICENSE SECTION, EMPHASIS MINE.

03:43PM    9      NEO4J ENTERPRISE CONSISTS OF MODULES FROM NEO4J COMMUNITY

03:43PM   10      EDITION AND MODULES LICENSED UNDER THE AGPLV3 WITH THE COMMONS

03:43PM   11      CLAUSE IN THIS REPOSITORY AND OTHER YOU ARE CLOSED SOURCE

03:43PM   12      COMPONENTS NOT PRESENT IN THIS REPOSITORY."

03:43PM   13            DO YOU SEE THAT?

03:43PM   14      A.    YES.

03:43PM   15      Q.    AND THEN YOUR RESPONSE IS DIRECTLY ABOVE THAT DATED

03:43PM   16      OCTOBER 22ND, 2018; CORRECT?

03:43PM   17      A.    CORRECT.

03:43PM   18      Q.    OKAY.   AND THEN HERE YOU SAY, "THE CLOSED SOURCE

03:43PM   19      COMPONENTS REFERENCED ACTUALLY DO HAVE RELATED SOURCE CODE IN

03:43PM   20      THE GIT REPOSITORIES.    NEO4J INC. REMOVED THE CODE FROM THE

03:43PM   21      CURRENT BRANCHES BUT THEY WERE STILL IN THE HISTORY."

03:43PM   22            DO YOU SEE THAT?

03:43PM   23      A.    YES.

03:43PM   24      Q.    OKAY.   AND THEN SEVERAL PARAGRAPHS DOWN YOU SAY, "WE

03:44PM   25      ACTUALLY PACKAGED THESE FEATURES, SOURCE CODE, BACK INTO THE



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03:44PM    1      OPEN SOURCE CODE DISTRIBUTIONS."

03:44PM    2            AND THEN THERE'S A REFERENCE TO THE GRAPH FOUNDATION'S

03:44PM    3      GITHUB; IS THAT CORRECT?

03:44PM    4      A.    YES.

03:44PM    5      Q.    AND THEN BELOW THAT THERE'S A REFERENCE TO A LINK TO A

03:44PM    6      BLOG ENTRY ON YOUR WEBSITE; ISN'T THAT RIGHT?

03:44PM    7      A.    YES.

03:44PM    8      Q.    AND THEN FOLLOWING THAT PARAGRAPH YOU TELL NEXT CENTURY,

03:44PM    9      "THESE ARE JUST SOME OF THE REASONS BRAND NAME JUSTIFICATION

03:44PM   10      FOR NEO4J ENTERPRISE COMMERCIAL PACKAGES IS HARD TO SUPPORT.

03:44PM   11      NOT TO MENTION THE U.S. TREASURY HAS NOW ADOPTED ONGDB

03:44PM   12      ENTERPRISE -- WHICH IS THE SAME CODE BASE WITH JUST A DIFFERENT

03:44PM   13      NAME AND THE REMOVAL OF THE COMMONS CLAUSE."

03:44PM   14            DO YOU SEE THAT?

03:44PM   15      A.    YES.

03:44PM   16      Q.    SO, IN FACT, BY OCTOBER OF 2018 YOU ALREADY MOVED THE

03:44PM   17      COMMONS CLAUSE; ISN'T THAT RIGHT?

03:44PM   18      A.    NO.    IT WAS ONLY DONE ON THAT COMMIT.   SO THIS IS -- THIS

03:44PM   19      MIGHT HAVE BEEN PLANNING ON IT, BUT IT WASN'T REMOVED UNTIL

03:45PM   20      THAT COMMIT.     I THINK WE WERE TALKING ABOUT REMOVING IT, BUT WE

03:45PM   21      TOOK OUR TIME OR I TOOK MY TIME TO GO AND RESEARCH.

03:45PM   22            BUT THAT'S INCORRECT, IT WASN'T REMOVED BY THIS TIME.

03:45PM   23      Q.    BUT YOU ACTUALLY DISTRIBUTED ONGDB 3.4 BEFORE 3.5 --

03:45PM   24      STRIKE THAT.     THE COMMIT THAT YOU'RE REFERRING TO, THAT WAS FOR

03:45PM   25      ONGDB VERSION 3.5; CORRECT?



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03:45PM    1      A.    NO.    THAT WOULD HAVE BEEN -- IT COULD HAVE BEEN 3.5.      I

03:45PM    2      DON'T KNOW.     I'D HAVE TO GO LOOK AT THE REPO.

03:45PM    3      Q.    LET'S JUST LOOK AT THE COMMIT.    LET'S TURN TO

03:45PM    4      EXHIBIT 1010.

03:45PM    5            AND THIS HAS BEEN ADMITTED SO WE CAN PUBLISH IT.

03:46PM    6            NOW, LOOKING AT THE --

03:46PM    7                   THE COURT:   THIS CAN BE PUBLISHED IF YOU WANT TO PUT

03:46PM    8      IT UP.

03:46PM    9                   THE CLERK:   APPARENTLY THE DEFENSE ONLY HAS THEIRS

03:46PM   10      ELECTRONICALLY.    CAN YOU PUBLISH 1010?

03:46PM   11                   MR. BEENE JR.:   YES.

03:46PM   12      BY MR. RATINOFF:

03:46PM   13      Q.    WHILE THEY'RE WORKING OUT THE TECHNICAL ISSUES, YOU'LL SEE

03:46PM   14      THERE'S A LITTLE 3.5 WITH A LITTLE, IT LOOKS LIKE A -- I DON'T

03:46PM   15      KNOW HOW TO BEST DESCRIBE IT -- A BRANCH ICON.

03:46PM   16            DO YOU SEE THAT?

03:46PM   17      A.    YES, I SEE THAT.

03:46PM   18      Q.    AND IT LOOKS LIKE A PRICE TAG 3.5.9.

03:46PM   19            DO YOU SEE THAT?

03:46PM   20      A.    YES.

03:46PM   21      Q.    AND THIS COMMITS FOR A FORK OFF OF NEO4J 3.5; CORRECT?

03:46PM   22      A.    IT'S A BRANCH.

03:46PM   23      Q.    BUT THE VERSION IS BASED OFF OF NEO4J ENTERPRISE 3.5;

03:46PM   24      CORRECT?

03:46PM   25      A.    THAT'S WHAT IT SAYS, CORRECT.



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03:46PM    1      Q.    AND THAT'S NOT 3.4?

03:47PM    2      A.    YEP.

03:47PM    3      Q.    AND THERE WAS NO NEO4J 3.4, WAS THERE?

03:47PM    4      A.    I DON'T REMEMBER.      I THINK WE WERE JUST CALLING IT NEO4J

03:47PM    5      ENTERPRISE.    I DON'T KNOW IF THERE HAD -- NO, THERE HAD TO HAVE

03:47PM    6      BEEN BECAUSE I KNOW THERE WAS ONE INSIDE IRS 3.4.

03:47PM    7      Q.    AND THAT VERSION DIDN'T HAVE THE COMMONS CLAUSE, DID IT?

03:47PM    8      A.    INSIDE IRS IT ALWAYS HAD THE COMMONS CLAUSE.        I DON'T

03:47PM    9      THINK IT WAS REMOVED LIKE YOU SAID AND THAT EMAIL WAS

03:47PM   10      INCORRECT.

03:48PM   11                   MR. RATINOFF:    BEAR WITH ME, YOUR HONOR.    I'M JUST

03:48PM   12      TRYING TO FIND A COUPLE OF EXHIBITS HERE.

03:48PM   13      Q.    GO AHEAD AND TURN TO EXHIBIT 130.

03:48PM   14      A.    I'M THERE.

03:48PM   15      Q.    AND DO YOU RECOGNIZE WHAT HAS BEEN MARKED AS EXHIBIT 130?

03:48PM   16      A.    YES, I DO.

03:48PM   17      Q.    AND THIS IS AN EMAIL THAT YOU SENT TO MR. DUNN ON

03:48PM   18      APPROXIMATELY JUNE 9TH, 2018?

03:48PM   19      A.    CORRECT.

03:49PM   20                   MR. RATINOFF:    I'D LIKE TO MOVE EXHIBIT 130 INTO

03:49PM   21      EVIDENCE.

03:49PM   22                   THE COURT:   ANY OBJECTION?

03:49PM   23                   MR. BEENE:   NO OBJECTION.

03:49PM   24                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:49PM   25            (PLAINTIFFS' EXHIBIT 130 WAS RECEIVED IN EVIDENCE.)



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03:49PM    1      BY MR. RATINOFF:

03:49PM    2      Q.    AND THE SUBJECT IS FINAL PROJECT NAME OPEN NATIVE GRAPH

03:49PM    3      DB.

03:49PM    4            IS THAT ONGDB?

03:49PM    5      A.    YES.

03:49PM    6      Q.    AND IT LOOKS LIKE YOU'RE TELLING MR. DUNN THAT YOU'LL BE

03:49PM    7      REPLACING THE NAME NEO4J WITH ONGDB?

03:49PM    8      A.    YES.

03:49PM    9      Q.    LET'S GO AND TURN TO EXHIBIT 132.

03:49PM   10            DO YOU RECOGNIZE EXHIBIT 132?

03:49PM   11      A.    YES.

03:49PM   12      Q.    AND THIS IS AN EMAIL CHAIN OR EXCHANGE THAT YOU HAD WITH

03:50PM   13      MR. DUNN IN AUGUST OF 2018; CORRECT?

03:50PM   14      A.    THAT'S CORRECT.

03:50PM   15                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 132 INTO

03:50PM   16      EVIDENCE.

03:50PM   17                   THE COURT:   ANY OBJECTION?

03:50PM   18                   MR. BEENE:   NO OBJECTION.

03:50PM   19                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:50PM   20            (PLAINTIFFS' EXHIBIT 132 WAS RECEIVED IN EVIDENCE.)

03:50PM   21      BY MR. RATINOFF:

03:50PM   22      Q.    AND THEN LOOK AT THE AUGUST 13TH EMAIL WHICH IS ON THE

03:50PM   23      SECOND PAGE AND MR. DUNN SAYS, "HI JOHN MARK, WOULD IT BE

03:50PM   24      EASIER TO GO AHEAD AND USE ONGDB NOW IN CKGE OR WAIT AND DEPLOY

03:50PM   25      CKGE WITH NEO4J 3.3.2 WE HAVE, AND THEN LATER TRANSITION TO



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03:50PM    1      ONGDB?"

03:50PM    2            DO YOU SEE THAT?

03:50PM    3      A.    CORRECT, YES.

03:50PM    4      Q.    AND THEN HE SAYS, "WE DO NOT WANT TO MOVE TO NEO4J 3.4.X

03:50PM    5      AGPL."

03:50PM    6            DO YOU SEE THAT?

03:50PM    7      A.    YES.

03:50PM    8      Q.    AND YOU RECOMMEND IN THE NEXT EMAIL TO MR. DUNN, "I THINK

03:50PM    9      WE SHOULD USE ONGDB 3.4.X FOR THE LAUNCH.     IT HAS A LOT OF

03:50PM   10      PERFORMANCE ENHANCEMENTS OVER 3.3.X."

03:51PM   11            DO YOU SEE THAT?

03:51PM   12      A.    YES, I DO.

03:51PM   13      Q.    AND THEN YOU'LL SEE MR. DUNN RESPONDS ON THE FIRST PAGE ON

03:51PM   14      AUGUST 13TH, 2018, WANTS TO LOOP LISA IN THERE.

03:51PM   15            DO YOU SEE THAT?

03:51PM   16      A.    YES.

03:51PM   17      Q.    AND THEN "ASK HER IF WE'RE OK AND GO AHEAD AND JUST USE

03:51PM   18      ONGDB."

03:51PM   19            DO YOU SEE THAT?

03:51PM   20      A.    YES.

03:51PM   21      Q.    AND YOU RESPOND?

03:51PM   22      A.    YES.

03:51PM   23      Q.    AND THAT'S THE LAST ONE, THE TOP OF THE CHAIN?

03:51PM   24      A.    YES.

03:51PM   25      Q.    AND YOU SAY YOU'RE CONFIDENT THAT UPGRADING ONGDB 3.4 FOR



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03:51PM    1      THE LAUNCH IS A SMART MOVE.

03:51PM    2            DO YOU SEE THAT?

03:51PM    3      A.    YES.

03:51PM    4      Q.    AND THEN YOU'LL SEE DOWN BELOW, I THINK IT'S THE FIFTH

03:51PM    5      PARAGRAPH?

03:51PM    6      A.    YES.

03:51PM    7      Q.    YOU STATE, "ONGDB OPEN SOURCE LICENSES COME DIRECTLY FROM

03:51PM    8      THE GRAPH FOUNDATION AS WELL, NOT FROM NEO4J INC. WHICH IS A

03:51PM    9      HUGE BENEFIT BASED ON THEIR PAST BEHAVIOR."

03:51PM   10            DO YOU SEE THAT?

03:51PM   11      A.    YES.

03:51PM   12      Q.    AND SO WHEN YOU SAY ONGDB OPEN SOURCE LICENSES, THAT MEANS

03:51PM   13      THERE'S NO COMMONS CLAUSE; RIGHT?

03:52PM   14      A.    I DON'T KNOW WHAT I MEANT WHEN I SAID THIS, BUT I WAS

03:52PM   15      TALKING ABOUT THE LICENSE, THE FORK IS COMING FROM ONGDB, THE

03:52PM   16      GRAPH FOUNDATION, AND IT'S NOT COMING FROM NEO.

03:52PM   17      Q.    RIGHT.   BUT THE FORK DIDN'T HAVE THE COMMONS CLAUSE IN THE

03:52PM   18      LICENSE; ISN'T THAT RIGHT?

03:52PM   19      A.    I DON'T, I DON'T KNOW.

03:52PM   20            I KNOW THAT THE SOURCE CODE WE COMPILED FROM AND THE IRS

03:52PM   21      KEPT IT IN THERE, KEPT THE COMMONS CLAUSE IN THERE.

03:52PM   22      Q.    AND HOW DO YOU KNOW THAT?

03:52PM   23      A.    BECAUSE I WENT AND WHEN THE IRS CAME AND SAID DO WE HAVE

03:52PM   24      ANYTHING, YOU HAD CALLED IT A MISLICENSED -- MONTHS AGO YOU

03:52PM   25      TOLD IRS THAT THEY WERE USING MISLICENSED SOFTWARE AND SO THEY



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03:52PM    1      ASKED ME TO POINT THEM TO THE SOURCE CODE, AND I SHOWED THEM

03:52PM    2      THE LICENSES THAT SHOWED THE COMMONS CLAUSE WAS STILL THERE.

03:52PM    3      Q.    SO YOU'RE CERTAIN YOU DIDN'T REMOVE THE COMMONS CLAUSE

03:52PM    4      FROM THE ONGDB 3.4 LICENSE?

03:52PM    5      A.    NOT THAT THE IRS HAD.

03:52PM    6            IF I HAD EVER DONE IT, I DON'T REMEMBER IT.     I DON'T THINK

03:53PM    7      I DID.

03:53PM    8      Q.    ALL RIGHT.    LET'S GO AHEAD.    I WANT TO FINISH MR. SUHY'S

03:53PM    9      DEPOSITION TESTIMONY.      ACTUALLY, BEFORE I GET THERE, LET'S GO

03:53PM   10      AHEAD AND TURN TO EXHIBIT 125.

03:53PM   11      A.    WHAT NUMBER?    I'M SORRY.

03:53PM   12      Q.    EXHIBIT 125.    ARE YOU THERE?

03:53PM   13      A.    YES.

03:53PM   14      Q.    OKAY.    DO YOU RECOGNIZE EXHIBIT 125?

03:53PM   15      A.    YES, I DO.

03:53PM   16      Q.    AND THIS IS AN EMAIL THAT YOU SENT TO MR. DUNN ON MAY 5TH,

03:54PM   17      2022?

03:54PM   18      A.    YES.

03:54PM   19      Q.    AND I'M SORRY, IN 2018.

03:54PM   20      A.    YES, 2018.

03:54PM   21      Q.    HERE YOU'RE TELLING HIM THAT THE FREE SOFTWARE FOUNDATION

03:54PM   22      SAID THAT YOU COULD REMOVE THE COMMONS CLAUSE; IS THAT RIGHT?

03:54PM   23      A.    I SAID THAT I ATTACHED THE GUIDANCE THAT THEY GAVE VIA

03:54PM   24      EMAIL.

03:54PM   25                    THE COURT:   ARE YOU SEEKING ADMISSION OF THIS?



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03:54PM    1                   MR. RATINOFF:   YES.   THANK YOU, YOUR HONOR.   SORRY

03:54PM    2      ABOUT THAT.

03:54PM    3                   THE COURT:   ANY OBJECTION?

03:54PM    4                   MR. BEENE:   NO OBJECTION.

03:54PM    5                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

03:54PM    6            (PLAINTIFFS' EXHIBIT 125 WAS RECEIVED IN EVIDENCE.)

03:54PM    7      BY MR. RATINOFF:

03:54PM    8      Q.    AND THE ATTACHMENTS, THE MAY 22ND, 2018 EMAIL THAT YOU

03:54PM    9      RECEIVED FROM THE FREE SOFTWARE FOUNDATION?

03:54PM   10      A.    YES, IT WAS -- WELL, IT'S NOT IN THIS -- IT SAYS I HAVE

03:55PM   11      ATTACHED THE FREE SOFTWARE FOUNDATION GUIDANCE TO US, BUT I

03:55PM   12      DON'T SEE THE ATTACHMENT.

03:55PM   13            OH, THERE IT IS.    THERE IT IS.

03:55PM   14      Q.    YOU'VE GOT THAT?

03:55PM   15      A.    YES, I SEE IT.

03:55PM   16      Q.    SO LOOKING DOWN AT -- LET'S GO AHEAD AND MOVE ON.

03:55PM   17            NOW, YOU SAID YOU DID RESEARCH AND LOOKED UP THINGS BEFORE

03:55PM   18      YOU REMOVED THE COMMONS CLAUSE; IS THAT RIGHT?

03:55PM   19      A.    YES.

03:55PM   20      Q.    AND THAT WAS IN 2018?

03:55PM   21      A.    I BELIEVE SO.    THE DATES ARE ALL -- I BELIEVE THAT WAS

03:55PM   22      2018.

03:55PM   23      Q.    AND THE AGPL, THAT'S A LICENSE; RIGHT?

03:55PM   24      A.    YES.

03:55PM   25      Q.    AND DO YOU CONSIDER THAT A LEGAL DOCUMENT?



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03:55PM    1      A.    I DON'T -- I THOUGHT IT IS A -- I DON'T KNOW IF IT WOULD

03:56PM    2      BE A LEGAL DOCUMENT OR NOT.      I THOUGHT LICENSES WERE LEGAL

03:56PM    3      DOCUMENTS.

03:56PM    4      Q.    OKAY.    SO YOU THINK LICENSES ARE LEGAL DOCUMENTS.    OKAY.

03:56PM    5            AND THEN YOU DIDN'T CONSULT A LAWYER BEFORE YOU REMOVED

03:56PM    6      THE COMMONS CLAUSE, DID YOU?

03:56PM    7      A.    NO.

03:56PM    8      Q.    AND NOW, I KNOW YOU TESTIFIED ABOUT THE COMMIT THAT YOU

03:56PM    9      MADE AND YOU WERE WORRIED ABOUT THE FREE SOFTWARE FOUNDATION'S

03:56PM   10      COPYRIGHT; ISN'T THAT RIGHT?

03:56PM   11      A.    CORRECT.

03:56PM   12      Q.    AND YOU UNDERSTOOD THAT NEO4J SWEDEN WAS THE COPYRIGHT

03:56PM   13      HOLDER FOR THE SOFTWARE; ISN'T THAT RIGHT?

03:56PM   14      A.    YES.

03:56PM   15      Q.    SO YOU JUST DIDN'T CARE ABOUT NEO4J SWEDEN'S COPYRIGHT

03:56PM   16      WHEN YOU ALTERED THE LICENSE?

03:56PM   17                    MR. BEENE:   OBJECTION.   ARGUMENTATIVE.

03:56PM   18                    THE COURT:   WHY DON'T YOU REPHRASE.   SUSTAINED.

03:56PM   19      BY MR. RATINOFF:

03:56PM   20      Q.    THANK YOU.

03:56PM   21            SO YOU GAVE NO CONSIDERATION TO THE EFFECT, THAT IS, THE

03:56PM   22      CHANGING OF THE LICENSE, WOULD HAVE ON NEO4J'S RIGHT TO LICENSE

03:56PM   23      ITS COPYRIGHT; ISN'T THAT RIGHT?

03:56PM   24      A.    WELL, THAT'S WHY I ONLY MADE THE CHANGE TO THE LICENSE

03:56PM   25      FILE AND NOT THEIR OTHER SOURCE CODE THAT SAID COPYRIGHT AGPL



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03:56PM    1      COMMONS CLAUSE, COPYRIGHT NEO4J.    I ONLY DID IT ON THE AGPL

03:57PM    2      LICENSE FILE.

03:57PM    3      Q.    BUT YOU DIDN'T REMOVE JUST THE COMMONS CLAUSE; RIGHT?

03:57PM    4      A.    NO.

03:57PM    5      Q.    YOU COULD HAVE JUST REMOVED THE COMMONS CLAUSE THOUGH;

03:57PM    6      RIGHT?

03:57PM    7      A.    BUT THE INSTRUCTIONS SAY TO MAKE IT VERBATIM.

03:57PM    8      Q.    OKAY.   BUT I'M ASKING YOU, YOU COULD HAVE, IN COMMITTING,

03:57PM    9      IN CHANGING THE LICENSE, YOU COULD HAVE JUST REMOVED THE

03:57PM   10      COMMONS CLAUSE; ISN'T THAT RIGHT?

03:57PM   11      A.    YES.

03:57PM   12      Q.    AND THEN GOING BACK TO EXHIBIT 1010 IN THE WHITE BINDER.

03:57PM   13      A.    I'M THERE.

03:57PM   14      Q.    SO WHEN YOU PLACED VERBATIM -- STRIKE THAT.

03:57PM   15            WHEN YOU REPLACED THE NEO4J SWEDEN'S LICENSE AS IT EXISTS

03:58PM   16      IN 3.5, YOU SAID YOU REPLACED IT VERBATIM; CORRECT?

03:58PM   17      A.    CORRECT.

03:58PM   18      Q.    SO YOU ESSENTIALLY REMOVED ALL OF THE REFERENCES TO

03:58PM   19      NEO4J SWEDEN IN THAT LICENSE, DIDN'T YOU?

03:58PM   20      A.    YES.

03:58PM   21      Q.    IS POINTING TO NEO4J'S WEBSITE, IS THAT A FURTHER

03:58PM   22      RESTRICTION IN THE LICENSE?

03:58PM   23      A.    I DON'T BELIEVE SO, NO.

03:58PM   24      Q.    AND INDICATING THAT A COMMERCIAL LICENSE IS AVAILABLE AND

03:58PM   25      THE LICENSE, IS THAT A FURTHER RESTRICTION?



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03:58PM    1      A.    ARE YOU TALKING ABOUT THE ONES IN THE NOTICE.TXT FILES?

03:58PM    2      Q.    I'M TALKING ABOUT THE LICENSE.TXT FILES, THIS EXHIBIT

03:58PM    3      RIGHT HERE (INDICATING).

03:58PM    4      A.    OKAY.

03:58PM    5      Q.    I'M REFERRING TO 1010.

03:58PM    6      A.    OKAY.    CAN YOU ASK THAT AGAIN?   I'M SORRY.

03:58PM    7      Q.    DO YOU MIND READING BACK THE QUESTION?

03:58PM    8                    THE COURT:   MADAM REPORTER, WOULD YOU READ BACK THE

03:59PM    9      LAST QUESTION, PLEASE.

03:59PM   10            (RECORD READ BY COURT REPORTER.)

03:59PM   11      BY MR. RATINOFF:

03:59PM   12      Q.    I'LL JUST START AGAIN.     THANK YOU.

03:59PM   13            ALL RIGHT.    LET'S GO AHEAD AND TURN IN EXHIBIT 1010 TO

03:59PM   14      PAGE -- IT WOULD BE BATES NUMBER 013075.       IT'S ALSO IN

03:59PM   15      DOCUMENT 25 OUT OF 377.

03:59PM   16      A.    I'M THERE.

03:59PM   17      Q.    OKAY.    AND SO THEN LOOKING AT IN THE MIDDLE OF THE PAGE

03:59PM   18      YOU'LL SEE THAT THERE'S AN ENTERPRISE BACKUP LICENSE.TXT.

03:59PM   19            DO YOU SEE THAT?

03:59PM   20      A.    YES, I DO.

03:59PM   21      Q.    AND THAT'S ONE OF THE LICENSE.TXT FILES THAT YOU CHANGED?

03:59PM   22      A.    YES.

03:59PM   23      Q.    AND THIS REPRESENTS WHAT THE LICENSE LOOKED LIKE BEFORE

03:59PM   24      YOU CHANGED IT; CORRECT?

03:59PM   25      A.    YES.



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03:59PM    1      Q.    AND SO IT'S LIKE A RED LINE AND IT SHOWS THAT YOU ERASED

04:00PM    2      IT?

04:00PM    3      A.    YES.

04:00PM    4      Q.    AND IN HERE YOU'LL SAY -- I'M SORRY, YOU'LL SEE NEO4J

04:00PM    5      ENTERPRISE OBJECT CODE CAN BE LICENSED INDEPENDENTLY FROM THE

04:00PM    6      SOURCE UNDER SEPARATE COMMERCIAL TERMS.

04:00PM    7            DO YOU SEE THAT?

04:00PM    8      A.    YES.

04:00PM    9      Q.    EMAIL INQUIRIES CAN BE DIRECTED TO LICENSING AT

04:00PM   10      NEO4J.COME.

04:00PM   11            DO YOU SEE THAT?

04:00PM   12      A.    YES.

04:00PM   13      Q.    AND MORE INFORMATION IS ALSO AVAILABLE AT, AND I'LL

04:00PM   14      PARAPHRASE, NEO4J.COM/LICENSING/.

04:00PM   15            DO YOU SEE THAT?

04:00PM   16      A.    YES.

04:00PM   17      Q.    AND THOSE ARE NOT FURTHER RESTRICTIONS; RIGHTS?

04:00PM   18      A.    YES.

04:00PM   19      Q.    BUT YOU REMOVED THEM?

04:00PM   20      A.    YES.

04:00PM   21      Q.    NOW, GOING BACK TO YOUR TESTIMONY, YOU SAID THAT YOU

04:00PM   22      DIDN'T REMOVE -- WELL, YOUR TESTIMONY NOW IS THAT YOU REMOVED

04:00PM   23      THE COMMONS CLAUSE --

04:01PM   24      A.    3.5.

04:01PM   25      Q.    SO YOUR TESTIMONY NOW IS THAT YOU REMOVED THE COMMONS



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04:01PM    1      CLAUSE FROM ONGDB 3.4; CORRECT?

04:01PM    2      A.    NO, I DON'T THINK I DID.

04:01PM    3      Q.    AND THAT'S NOT YOUR TESTIMONY?

04:01PM    4      A.    NO.

04:01PM    5      Q.    AND SO YOUR TESTIMONY IS THAT YOU NEVER REMOVED THE

04:01PM    6      COMMONS CLAUSE FROM ONGDB 3.4?

04:01PM    7      A.    I DON'T BELIEVE SO.     I WENT THROUGH ALL OF THE GIT REPOS

04:01PM    8      TO SEE WHERE I HAD DONE IT, THE GIT COMMITS TO FIND OUT EXACTLY

04:01PM    9      WHERE I DID IT, AND THAT WAS ON THE ONE THAT WE WERE JUST

04:01PM   10      LOOKING AT WHICH IS 3.5.

04:01PM   11      Q.    RIGHT.   BUT IT'S POSSIBLE THAT YOU COULD HAVE DONE IT

04:01PM   12      WITHOUT DOING IT ON GITHUB; ISN'T THAT TRUE?

04:01PM   13      A.    IT'S POSSIBLE, BUT I DIDN'T DO THAT.

04:02PM   14                  THE COURT:   EXCUSE ME.     ARE YOU SAYING YOU DID NOT

04:02PM   15      DO IT ON 3.4 BUT YOU DID IT ON 3.5?

04:02PM   16                  THE WITNESS:     YES.

04:02PM   17                  THE COURT:   OKAY.      THANK YOU.

04:02PM   18                  MR. RATINOFF:    YOUR HONOR, EXCUSE ME ONE SECOND.

04:02PM   19                  THE COURT:   SURE.

04:02PM   20            (DISCUSSION AMONGST PLAINTIFFS' COUNSEL OFF THE RECORD.)

04:02PM   21                  MR. RATINOFF:    YOUR HONOR, AT THIS TIME I'M GOING TO

04:02PM   22      PLAY MR. SUHY'S DEPOSITION TESTIMONY.        SINCE IT'S MR. SUHY, I

04:02PM   23      ASSUME THAT WOULD BE PERMISSIBLE.

04:02PM   24                  THE COURT:   SURE.      COULD YOU IDENTIFY WHERE THAT IS.

04:02PM   25                  MR. RATINOFF:    YES.    I'M WORKING ON THAT RIGHT NOW.



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04:02PM    1                  THE COURT:    OKAY.

04:02PM    2                  MR. RATINOFF:    APOLOGIES.

04:02PM    3            (PAUSE IN PROCEEDINGS.)

04:03PM    4                  MR. RATINOFF:    IT MAY BE FASTER IF I DO IT.

04:03PM    5                  THE COURT:    AND THIS TESTIMONY IS NOT TO BE

04:03PM    6      REPORTED.   YOU'LL IDENTIFY WHERE IT IS.

04:03PM    7            (PAUSE IN PROCEEDINGS.)

04:03PM    8                  MR. RATINOFF:    SO I CAN TELL YOU WHAT WE'RE GOING TO

04:03PM    9      PLAY.   I'M SORRY, WE WERE NOT EXPECTING TO DO THIS TODAY.

04:03PM   10            SO IT'S GOING TO BE CLIPS IN THE FOLLOWING, MR. SUHY'S

04:03PM   11      VOLUME 1:

04:03PM   12            PAGE 171, LINE 23 THROUGH PAGE 173, LINE 21;

04:04PM   13            PAGE 178, LINE 1 THROUGH PAGE 179, LINE 8;

04:04PM   14            PAGE 181, LINE 24, THROUGH 188, LINE 15, AND THE

04:04PM   15      REFERENCED TRIAL EXHIBIT IN THAT TESTIMONY WILL BE TRIAL

04:04PM   16      EXHIBIT 61, WHICH WAS STIPULATED OR WAS SUBJECT TO OUR

04:04PM   17      STIPULATION THAT HAS NOT BEEN FILED BUT I WILL ASK THAT IT BE

04:04PM   18      ADMITTED ONCE THE TESTIMONY IS READ.

04:04PM   19            PAGE 189, LINE 4, THROUGH 192, LINE 17.      THAT'S IN

04:04PM   20      REFERENCE TO TRIAL EXHIBIT 62, WHICH WILL BE REFERENCED IN THE

04:05PM   21      DEPO AS EXHIBIT 23.      TRIAL EXHIBIT 61 WILL BE REFERENCED IN THE

04:05PM   22      DEPO, HIS DEPO EXHIBIT 22.

04:05PM   23                  THE COURT:    22?

04:05PM   24                  MR. RATINOFF:    YEAH.   IT'S TRIAL EXHIBIT 61 STAMPED

04:05PM   25      AND MARKED AS DEPOSITION EXHIBIT 22; TRIAL EXHIBIT 62, WHICH



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04:05PM    1      HAS ALSO BEEN MARKED AS DEPOSITION EXHIBIT 23.

04:05PM    2             AND THEN WE'LL HAVE LINE -- I'M SORRY, PAGE 192, LINE 18

04:05PM    3      THROUGH 193, LINE 24.

04:05PM    4             I'M SORRY, PAGE 195, LINE 6 THROUGH PAGE 196, LINE 1;

04:05PM    5             PAGE 196, LINE 22 THROUGH PAGE 201, LINE 16 WITH REFERENCE

04:05PM    6      TO TRIAL EXHIBIT 65, WHICH IN THE DEPOSITION WILL BE DEPOSITION

04:05PM    7      EXHIBIT 24.

04:05PM    8             DO YOU HAVE THOSE READY TO GO?

04:06PM    9                  MR. ZEPEDA:   YES.

04:06PM   10                  MR. RATINOFF:    OKAY.

04:06PM   11                  THE COURT:    ALL RIGHT.   ANY OBJECTION?

04:06PM   12                  MR. BEENE:    NO OBJECTION, YOUR HONOR.

04:06PM   13                  THE COURT:    ALL RIGHT.   THANK YOU.   WE'LL PLAY THOSE

04:06PM   14      NOW.

04:06PM   15             (VIDEOTAPED DEPOSITION OF JOHN SUHY PLAYED IN OPEN COURT

04:06PM   16      OFF THE RECORD.)

04:33PM   17                  THE COURT:    DOES THAT CONCLUDE?

04:33PM   18                  MR. RATINOFF:    YES, YOUR HONOR.   I APOLOGIZE FOR THE

04:33PM   19      LENGTH.

04:33PM   20                  THE COURT:    SO BACK TO LIVE.

04:33PM   21                  MR. RATINOFF:    BACK TO LIVE EXAMINATION, YES.   WAKE

04:33PM   22      UP TIME.

04:33PM   23      Q.     SO IN YOUR DEPOSITION TESTIMONY, YOU DIDN'T MENTION GRAPH

04:33PM   24      FOUNDATION GETTING ADVICE OF COUNSEL; CORRECT?

04:33PM   25      A.     NO, I DIDN'T MENTION IT, BUT THAT WAS PART OF IT.



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04:33PM    1      Q.    BUT NOT IN YOUR DEPOSITION TESTIMONY?

04:33PM    2      A.    WELL, I DIDN'T INCLUDE EVERYTHING.

04:33PM    3      Q.    WELL --

04:33PM    4      A.    I DIDN'T INCLUDE EVERYTHING.   YOU SAW HOW LONG IT WAS.     I

04:33PM    5      WAS GETTING CONFUSED, BUT, YES, I DID NOT INCLUDE THAT

04:34PM    6      DESCRIPTION FROM THE GRAPH FOUNDATION IN THE DEPOSITION.

04:34PM    7      Q.    AND THERE WAS NO REFERENCE TO THE IRS'S COUNSEL IN THAT

04:34PM    8      EITHER; RIGHT?

04:34PM    9      A.    NO.

04:34PM   10      Q.    OKAY.   LET'S GO AHEAD AND TURN TO EXHIBIT 89 THAT WAS

04:34PM   11      PREVIOUSLY ADMITTED.

04:34PM   12            YOU CAN FIND IT IN YOUR CROSS BINDER EASILY IF THAT'S

04:34PM   13      HANDY OR IT MAY BE IN THE VOLUME 1 IN THE BIG BINDER.

04:34PM   14      A.    89?

04:34PM   15      Q.    YES.

04:34PM   16      A.    I'M THERE.

04:34PM   17      Q.    I'M GOING TO HAVE DANNY PUT THIS UP BECAUSE I WANT HIM TO

04:34PM   18      HOOVER OVER SOME HTML.    HOLD OFF ON THAT.

04:34PM   19            DO YOU RECOGNIZE WHAT HAS BEEN ADMITTED AS EXHIBIT 89?

04:34PM   20      A.    YES, I DO.

04:34PM   21      Q.    AND DOES THE -- THIS IS THE IGOV WEBSITE?

04:34PM   22      A.    YES, IT'S THE PAGE.

04:34PM   23      Q.    AND YOU'LL SEE DOWN AT THE BOTTOM THERE'S AN ADDRESS.

04:34PM   24            DO YOU SEE WEB.ARCHIVE.ORG?

04:34PM   25      A.    YES.



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04:34PM    1      Q.    DO YOU SEE THAT?

04:34PM    2      A.    YES.

04:34PM    3      Q.    THAT'S THE INTERNET ARCHIVE?

04:34PM    4      A.    YES.

04:34PM    5      Q.    AND ALSO KNOWN AS THE WAYBACK MACHINE; CORRECT?

04:35PM    6      A.    CORRECT.

04:35PM    7      Q.    AND THERE'S A DATE HERE AND IT LOOKS LIKE DECEMBER 4TH,

04:35PM    8      2018, IT'S THE FIRST DIGITS THERE.

04:35PM    9            DO YOU SEE THAT?

04:35PM   10      A.    YES, I DO.

04:35PM   11      Q.    AND THAT'S BEFORE YOUR MARCH COMMIT; RIGHT?

04:35PM   12      A.    YES.

04:35PM   13      Q.    AND MARCH 2019, TO BE CLEAR ON THE RECORD.

04:35PM   14            NOW, GO TO THE SECOND PAGE.

04:35PM   15            ACTUALLY, LET'S GO TO THE FIRST PAGE THERE'S AN ONGDB

04:35PM   16      ENTERPRISE THERE.

04:35PM   17            DO YOU SEE THAT?

04:35PM   18      A.    YES.

04:35PM   19      Q.    AND, DANNY, DO YOU WANT TO HOOVER OVER THAT, PLEASE.

04:35PM   20            DO YOU SEE THAT REFERENCES GRAPH FOUNDATION'S ONGDB

04:35PM   21      PRODUCT.

04:35PM   22            DO YOU SEE THAT?

04:35PM   23      A.    YES.

04:35PM   24      Q.    AND SO OBVIOUSLY THE SOFTWARE EXISTED AT THAT TIME; RIGHT?

04:35PM   25      A.    THE WHAT?



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04:35PM    1      Q.    THE SOFTWARE, ONGDB SOFTWARE EXISTED AT THAT TIME; RIGHT?

04:35PM    2      A.    I DON'T KNOW IF WE WERE COMING UP WITH A NAME FOR IT AND

04:35PM    3      IT ACTUALLY EXISTED.     WE WERE PLANNING ON IT AT THAT TIME, BUT

04:35PM    4      I DON'T KNOW IF IT ACTUALLY EXISTED AT THAT TIME.

04:35PM    5      Q.    LET'S GO AHEAD AND GO TO THE NEXT PAGE AND YOU'LL SEE

04:36PM    6      THERE'S -- AT THE TOP IT SAYS, "IF YOU DO NOT NEED SUPPORT FOR

04:36PM    7      YOUR ONGDB ENTERPRISE OR NEO4J ENTERPRISE OPEN SOURCE LICENSED

04:36PM    8      DISTRIBUTION, THEN SIMPLY DOWNLOAD ONGDB ENTERPRISE AS A DROP

04:36PM    9      IN REPLACEMENT FOR AN EXISTING COMMERCIAL LICENSED DISTRIBUTION

04:36PM   10      OF THE SAME VERSION NUMBER."

04:36PM   11            DO YOU SEE THAT?

04:36PM   12      A.    YES.

04:36PM   13      Q.    AND, DANNY, CAN YOU HOOVER OVER THAT ONGDB ENTERPRISE.

04:36PM   14            ONCE AGAIN, IT'S REFERRING TO THE GRAPH FOUNDATION'S

04:36PM   15      WEBSITE.

04:36PM   16            DO YOU SEE THAT?

04:36PM   17      A.    YES.

04:36PM   18      Q.    AND SO YOU'RE SAYING DOWNLOAD, YOU'RE SAYING DOWNLOAD

04:36PM   19      ONGDB ON YOUR WEBSITE; RIGHT?

04:36PM   20      A.    YES.

04:36PM   21      Q.    AND POINTING TO THE GRAPH FOUNDATION'S WEBSITE; ISN'T THAT

04:36PM   22      CORRECT?

04:36PM   23      A.    CORRECT.

04:36PM   24      Q.    AND YOU SAID THAT THEY'RE THE PUBLISHER OF THE SOFTWARE;

04:36PM   25      IS THAT RIGHT?



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04:36PM    1      A.    CORRECT.

04:36PM    2      Q.    NOW, YOU HAD MENTIONED I BELIEVE THAT -- WE'VE BEEN

04:37PM    3      TALKING A LOT ABOUT THE DMCA BUT THERE'S A TRADEMARK IN THIS

04:37PM    4      CASE; RIGHT?     YES?

04:37PM    5      A.    CORRECT.

04:37PM    6      Q.    AND YOU'VE BEEN AWARE OF NEO4J'S TRADEMARKS FOR QUITE SOME

04:37PM    7      TIME, IN FACT, DATING BACK UNTIL AT LEAST 2018; CORRECT?

04:37PM    8      A.    CORRECT, YES.

04:37PM    9      Q.    AND YOU WERE AWARE AT THE TIME THAT WHEN YOU CREATED ONGDB

04:37PM   10      THAT YOU COULDN'T USE NEO4J'S TRADEMARK ONCE YOU MODIFIED THE

04:37PM   11      SOFTWARE; ISN'T THAT RIGHT?

04:37PM   12      A.    I WASN'T SURE ABOUT THAT BECAUSE I DON'T REMEMBER IF THE

04:37PM   13      TRADEMARK GUIDANCE OR IF YOU EVEN HAD GUIDANCE ON WHAT TO DO IF

04:37PM   14      YOU FORK IT BECAUSE GITHUB KEEPS THE SAME NAME.     IT CALLS IT

04:37PM   15      NEO4J.   WHEN YOU DO A FORK, IT'S CALLED NEO4J.     SO I WASN'T

04:37PM   16      SURE WHAT THE GUIDANCE WAS ON THE TRADEMARK.

04:37PM   17            BUT NORMALLY COMPANIES WOULD SAY YOU HAVE TO CHANGE THE

04:37PM   18      NAME.

04:37PM   19      Q.    AND THEN PRIOR TO ONGDB YOU WERE PROMOTING NEO4J

04:38PM   20      ENTERPRISE 3.4 WITHOUT THE COMMONS CLAUSE; ISN'T THAT CORRECT?

04:38PM   21      A.    I WAS PROMOTING 3.4 AGPL, BUT I DON'T REMEMBER IF I WAS

04:38PM   22      PROMOTING IT WITH OR WITHOUT THE COMMONS CLAUSE.

04:38PM   23            I WOULD ASSUME THAT I WOULD, BECAUSE I THOUGHT THE COMMONS

04:38PM   24      CLAUSE WAS INCORRECT, I WOULD ASSUME -- WELL, I DON'T WANT TO

04:38PM   25      MAKE ASSUMPTIONS, BUT I DON'T KNOW.



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04:38PM    1      Q.    SO IN ORDER TO DO THAT YOU WOULD HAVE CHANGED THE LICENSE

04:38PM    2      FOR NEO4J ENTERPRISE 3.4 TO MAKE IT AGPL ONLY; RIGHT?

04:38PM    3      A.    NOT NECESSARILY.    JUST SAYING THAT IT COULD BE REMOVED WAS

04:38PM    4      WHAT I THINK WAS WHAT WAS HAPPENING.

04:38PM    5      Q.    AND THEN LET'S GO AHEAD AND TURN TO TRIAL EXHIBIT 58.

04:38PM    6      A.    I'M THERE.

04:39PM    7      Q.    IT'S ALSO IN THE CROSS BINDER?

04:39PM    8      A.    I'M THERE.

04:39PM    9      Q.    DO YOU RECOGNIZE THIS EMAIL?

04:39PM   10      A.    YES.

04:39PM   11      Q.    AND YOU SENT IT TO BEN AND BRAD NUSSBAUM IN APPROXIMATELY

04:39PM   12      MARCH 26TH, 2018; CORRECT?

04:39PM   13      A.    YES.

04:39PM   14                   MR. RATINOFF:   I'D MOVE EXHIBIT 58 INTO EVIDENCE.

04:39PM   15                   THE COURT:   ANY OBJECTION?

04:39PM   16                   MR. BEENE:   NO OBJECTION.

04:39PM   17                   THE COURT:   THANK YOU.   IT'S ADMITTED.   IT CAN BE

04:39PM   18      PUBLISHED.

04:39PM   19            (PLAINTIFFS' EXHIBIT 58 WAS RECEIVED IN EVIDENCE.)

04:39PM   20      BY MR. RATINOFF:

04:39PM   21      Q.    AND YOU STATE SUBJECT -- THE SUBJECT STATES

04:39PM   22      GRAPHSTACK.IO -- AVOID TRADEMARK ISSUES.

04:39PM   23            DO YOU SEE THAT?

04:39PM   24      A.    YES.

04:39PM   25      Q.    SO YOU'RE AWARE OF NEO4J'S TRADEMARK AT LEAST AS OF MARCH



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04:39PM    1      OF 2018; CORRECT?

04:39PM    2      A.    CORRECT.

04:39PM    3      Q.    AND THEN IF YOU LOOK AT THE SECOND TO THE LAST PARAGRAPH,

04:39PM    4      "I CAN GET AWAY WITH ALLOWING DOWNLOADS ON NEO4J ON THE SITE

04:39PM    5      THAT HAVE NO CODE MODIFICATIONS OR PLUG INS BUT AS SOON AS WE

04:40PM    6      ADD APOC OR SOMETHING ELSE, THE NOMINATIVE TRADEMARK PROTECTION

04:40PM    7      DOES NOT APPLIES EASILY."

04:40PM    8            CORRECT?

04:40PM    9      A.    CORRECT.

04:40PM   10      Q.    SO AT THAT TIME YOU KNEW THAT IF YOU MADE CHANGES TO NEO4J

04:40PM   11      SOFTWARE, YOU WOULD HAVE TO AVOID INFRINGING ITS TRADEMARK;

04:40PM   12      ISN'T THAT RIGHT?

04:40PM   13      A.    CORRECT.

04:40PM   14      Q.    YOU ALSO SAID THAT YOU WERE NOT ON THE BOARD AT GRAPH

04:40PM   15      FOUNDATION; RIGHT?

04:40PM   16      A.    NO, I WAS NOT.

04:40PM   17      Q.    BUT GRAPH FOUNDATION WAS YOUR IDEA, WASN'T IT?

04:40PM   18      A.    NO, IT WASN'T.

04:40PM   19      Q.    LET'S TURN TO PAGE -- I'M SORRY, EXHIBIT 60.

04:40PM   20            ARE YOU THERE?

04:40PM   21      A.    YES, I'M THERE.

04:40PM   22      Q.    AND YOU'LL SEE THAT IT'S AN EMAIL, AT LEAST THE TOP

04:41PM   23      EMAIL -- IT LOOKS LIKE ONE EMAIL.     I APOLOGIZE.   SO THE EMAIL

04:41PM   24      IS FROM YOUR PURETHINK ACCOUNT; IS THAT RIGHT?

04:41PM   25      A.    YES.



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04:41PM    1      Q.    AND YOU SENT THIS TO BEN AND BRAD NUSSBAUM; CORRECT?

04:41PM    2      A.    YES.

04:41PM    3      Q.    AND THE SUBJECT IS QUICK NOTE ON FORK?

04:41PM    4      A.    YES.

04:41PM    5                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 60 INTO

04:41PM    6      EVIDENCE.

04:41PM    7                   MR. BEENE:   NO OBJECTION, YOUR HONOR.

04:41PM    8                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

04:41PM    9            (PLAINTIFFS' EXHIBIT 60 WAS RECEIVED IN EVIDENCE.)

04:41PM   10      BY MR. RATINOFF:

04:41PM   11      Q.    AND THEN YOU'LL SEE IN THE SECOND PARAGRAPH IT SAYS, "WHEN

04:41PM   12      I SPOKE ABOUT SETTING UP A NONPROFIT FOR A FORK -- IT MAKES

04:41PM   13      OTHER KERNEL DEVS MORE INCLINED TO BE PART OF IT."

04:41PM   14            DO YOU SEE THAT?

04:41PM   15      A.    YES.

04:41PM   16                   THE COURT:   MAYBE YOU SHOULD SLOW DOWN WITH YOUR

04:41PM   17      CADENCE, THAT WOULD BE HELPFUL.

04:41PM   18                   MR. RATINOFF:   I APOLOGIZE, YOUR HONOR.   I'LL REREAD

04:41PM   19      THE QUOTE.

04:41PM   20      Q.    WHEN I SPOKE ABOUT SETTING UP A NONPROFIT FOR A FORK -- IT

04:41PM   21      MAKES OTHER KERNEL, K-E-R-N-E-L, DEVS, D-E-V-S, MORE INCLINED

04:42PM   22      TO BE PART OF IT."

04:42PM   23            DO YOU SEE THAT?

04:42PM   24      A.    YES.

04:42PM   25      Q.    SO AT THAT TIME YOU WERE TALKING TO THE NUSSBAUMS ABOUT



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04:42PM    1      FORMING THE GRAPH FOUNDATION; IS THAT RIGHT?

04:42PM    2      A.    I WAS GIVING THEM GUIDANCE ON WHAT SHOULD BE DONE TO

04:42PM    3      TRUST, IF AN ORGANIZATION IS GOING TO TRUST A NONPROFIT -- I'M

04:42PM    4      SORRY, THE COMMITERS IN THE COMMUNITY WILL TRUST A NONPROFIT

04:42PM    5      MORE THAN A COMPANY.

04:42PM    6      Q.    BUT YOU WERE DISCUSSING FORMING GRAPH FOUNDATION WITH THE

04:42PM    7      NUSSBAUMS AT THAT TIME; ISN'T THAT RIGHT?

04:42PM    8      A.    THE GRAPH FOUNDATION, THEY -- IT'S THEIR -- WHAT THEY CAME

04:42PM    9      UP WITH.     I WAS TELLING THEM THAT THEY NEEDED TO SET UP

04:42PM   10      SOMETHING LIKE A FOUNDATION, BUT IT WASN'T -- THEY CAME UP WITH

04:42PM   11      THE NAME GRAPH FOUNDATION AND THEY CREATED EVERYTHING, AND I

04:42PM   12      HELPED.

04:42PM   13      Q.    THAT'S NOT MY -- YEAH, SO YOU HELPED?

04:42PM   14      A.    YEAH, I ASSISTED, YEAH.    I GAVE THEM GUIDANCE.

04:42PM   15      Q.    SO YOU WORKED WITH THEM AND HELPED THEM FORM GRAPH

04:42PM   16      FOUNDATION; ISN'T THAT RIGHT?

04:42PM   17      A.    I GAVE THEM GUIDANCE.    I DON'T KNOW -- I DIDN'T DO ANY

04:42PM   18      PHYSICAL WORK, PAPERWORK OR ANYTHING LIKE THAT.

04:42PM   19      Q.    AND THEN LET'S GO AHEAD AND TURN TO -- I HAVE TOO MANY

04:43PM   20      PAPERS HERE.

04:43PM   21            LET'S GO AHEAD AND TURN TO TRIAL EXHIBIT 59.    YOU'LL SEE

04:43PM   22      THIS IS AN EMAIL FROM YOUR PURETHINK ACCOUNT TO PHILIP RATHLE.

04:43PM   23            DO YOU SEE THAT?

04:43PM   24      A.    YES.

04:43PM   25      Q.    AND YOU SENT THIS EMAIL APPROXIMATELY MAY 21ST, 2018?



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04:43PM    1      A.    YES.

04:43PM    2                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 59 INTO

04:43PM    3      EVIDENCE.

04:43PM    4                   THE COURT:   ANY OBJECTION?

04:43PM    5                   MR. BEENE:   NO OBJECTION.

04:43PM    6                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

04:43PM    7            (PLAINTIFFS' EXHIBIT 59 WAS RECEIVED IN EVIDENCE.)

04:44PM    8      BY MR. RATINOFF:

04:44PM    9      Q.    LET'S GO AHEAD AND LOOK AT THE BOTTOM OF THE FIRST PAGE.

04:44PM   10      AND YOU'LL SEE IT SAYS, "I'VE ALREADY DONE THE PREPARATION TO

04:44PM   11      CREATE A NONPROFIT ORGANIZATION WITH THE NECESSARY BY LAWS AND

04:44PM   12      GOVERNANCE MODEL FOR A COMMUNITY FORK OF NEO4J TO GET THINGS

04:44PM   13      STARTED AND TO ENSURE ITS LONG TERM SUCCESS (IF ADOPTED)."

04:44PM   14            DO YOU SEE THAT?

04:44PM   15      A.    YES.

04:44PM   16      Q.    AND SO THE DATE OF THIS EMAIL IS 5-21; RIGHT?

04:44PM   17      A.    CORRECT.

04:44PM   18      Q.    AND THEN THE DATE OF EXHIBIT 60 IS THE SAME DATE; ISN'T

04:44PM   19      THAT RIGHT?

04:44PM   20      A.    CORRECT.

04:44PM   21      Q.    SO, IN FACT, YOU WERE DOING MORE THAN JUST GIVING

04:44PM   22      GUIDANCE; ISN'T THAT RIGHT?

04:44PM   23      A.    NO.    I WANTED TO TRY TO FORCE THEM TO WORK OUT THE

04:44PM   24      AGREEMENT WITH THE BREACH AND EVERYTHING THAT HAD HAPPENED, AND

04:44PM   25      SO I USED THAT INFORMATION ABOUT THE GRAPH FOUNDATION AS IF IT



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04:44PM    1      WAS COMING FROM ME.

04:44PM    2      Q.    SO YOU WERE MISREPRESENTING WHAT YOU WERE DOING WITH THE

04:44PM    3      GRAPH FOUNDATION?

04:44PM    4      A.    YES.

04:44PM    5      Q.    LET'S GO AHEAD AND TURN TO TRIAL EXHIBIT 66.

04:45PM    6            DO YOU RECOGNIZE TRIAL EXHIBIT 66?

04:45PM    7      A.    YES.

04:45PM    8      Q.    AND THIS IS AN EMAIL THAT YOU SENT TO A BRIAN RODRIGUE,

04:45PM    9      R-O-D-R-I-G-U-E.    I DON'T KNOW IF I PRONOUNCED THAT CORRECTLY.

04:45PM   10      SO DO YOU KNOW WHO THAT IS?

04:45PM   11      A.    YES.

04:45PM   12      Q.    AND WHO IS THAT, BRIAN RODRIGUE?

04:45PM   13      A.    HE IS A PERSON THAT WORKS IN TECHNOLOGY AT EXCELLA.

04:46PM   14      Q.    AND YOU SENT THIS EMAIL ON AUGUST 10TH, 2018?

04:46PM   15      A.    CORRECT.

04:46PM   16                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 66 INTO

04:46PM   17      EVIDENCE, PLEASE.

04:46PM   18                   THE COURT:   ANY OBJECTION?

04:46PM   19                   MR. BEENE:   NO OBJECTION.

04:46PM   20                   THE COURT:   IT'S ADMITTED AND IT MAY BE PUBLISHED.

04:46PM   21            (PLAINTIFFS' EXHIBIT 66 WAS RECEIVED IN EVIDENCE.)

04:46PM   22      BY MR. RATINOFF:

04:46PM   23      Q.    AND THEN IN THE FOURTH PARAGRAPH YOU SAY, "WE CREATED A

04:46PM   24      NONPROFIT WITH AN APACHE LIKE GOVERNANCE MODEL TO ENSURE NEO4J

04:46PM   25      STAYS OPEN SOURCE IN CASE NEO DECIDES TO TAKE IT CLOSED SOURCE



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04:46PM    1      ANY TIME IN THE FUTURE."

04:46PM    2            DO YOU SEE THAT?

04:46PM    3      A.    YES.

04:46PM    4      Q.    AND SO WERE YOU MISREPRESENTING YOUR INVOLVEMENT WITH THE

04:46PM    5      GRAPH FOUNDATION AT THIS TIME TO MR. RODRIGUE?

04:46PM    6      A.    NO. NO.

04:46PM    7      Q.    AND SO YOU WERE INVOLVED IN FORMING GRAPH FOUNDATION?

04:46PM    8      A.    I WAS GIVING GUIDANCE AS PART OF THIS.       I CONSIDERED

04:46PM    9      MYSELF PART OF THE TEAM JUST LIKE I CONSIDERED MYSELF PART OF

04:46PM   10      THE NEO4J TEAM FOR THE OPEN SOURCE FORK.

04:46PM   11      Q.    WELL IN THE EMAIL YOU SAID WE CREATED.

04:46PM   12      A.    WELL, I DIDN'T CREATE IT.

04:46PM   13      Q.    BUT YOU TOLD MR. RODRIGUE YOU DID, DIDN'T YOU?

04:47PM   14      A.    WELL, I DID SAY THAT, BUT THAT WASN'T MEANT TO BE A

04:47PM   15      MISREPRESENTATION.   I WAS TALKING AS GRAPH FOUNDATION PART OF

04:47PM   16      THE TEAM.

04:47PM   17      Q.    SO YOU ONLY MADE MISREPRESENTATIONS TO NEO4J; IS THAT

04:47PM   18      RIGHT?

04:47PM   19      A.    YES.

04:47PM   20      Q.    OKAY.   AND THEN DOWN BELOW HERE --

04:47PM   21      A.    I'D LIKE TO CLARIFY MISREPRESENTATION.

04:47PM   22            ARE YOU SAYING THAT I WAS PART OF THE GRAPH FOUNDATION AND

04:47PM   23      THAT I -- I WANTED TO SCARE -- IT WAS A SCARE TACTIC TO GET

04:47PM   24      NEO4J TO COME BACK TO US OR TO WORK OUT THE PROJECT.

04:47PM   25            SO WHEN YOU SAY "MISREPRESENTATION," I LIED TO PHILIP, BUT



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04:47PM    1      IN THIS INSTANCE RIGHT HERE, I WAS PART OF THE TEAM.     BUT I

04:47PM    2      MADE IT LOOK LIKE I WAS THE ONE DOING EVERYTHING SO THAT THEY

04:47PM    3      COULD COME AND THEY COULD FIX THAT BREACH DEAL WITH ME.

04:47PM    4      Q.    WELL, THE PURETHINK CONTRACT WAS LONG OVER BY THEN, WASN'T

04:48PM    5      IT?

04:48PM    6      A.    BUT THERE WAS STILL MONEY THAT WAS OWED AND THERE WAS

04:48PM    7      STILL MONEY THAT WAS PUT OUT WHICH WAS THE EXCLUSIVITY

04:48PM    8      AGREEMENT.

04:48PM    9      Q.    OKAY.   AND THEN GOING DOWN THE PARAGRAPH.   I THINK IT'S

04:48PM   10      ABOUT HALF WAY DOWN THE PAGE.

04:48PM   11            IT SAYS, "MOTION RECENTLY THEY TRIED ADDING A COMMONS

04:48PM   12      CLAUSE TO THE AGPL LICENSE, TRYING TO PRECENT" -- I ASSUME YOU

04:48PM   13      MEANT PREVENT?

04:48PM   14      A.    YES.

04:48PM   15      Q.    "COMPANIES FROM SELLING (AND COMPETING AGAINST THEM ON

04:48PM   16      PROCUREMENTS)."

04:48PM   17            DO YOU SEE THAT?

04:48PM   18      A.    YES, I DO.

04:48PM   19      Q.    AND SO YOU UNDERSTOOD THE COMMONS CLAUSE WOULD BE A

04:48PM   20      COMMERCIAL RESTRICTION ON COMPANIES COMPETING WITH NEO4J; IS

04:48PM   21      THAT WHAT YOU MEANT?

04:48PM   22      A.    YES, THAT WOULD BE A RESTRICTION FROM ANYBODY SELLING

04:48PM   23      NEO4J AND COMPETING.

04:48PM   24      Q.    AND THEN, IN FACT, YOU TOLD MR. RODRIGUE, "ALL OF THE

04:49PM   25      NEO4J ENTERPRISE DISTRIBUTIONS WE PACKAGE FROM NOW ON WILL COME



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04:49PM    1      FROM THE FOUNDATION AND THAT HAVE THE STANDARD VANILLA AGPLV3

04:49PM    2      OPEN SOURCE LICENSE."

04:49PM    3            DO YOU SEE THAT?

04:49PM    4      A.    YES, I DO.

04:49PM    5      Q.    AND THAT DATE AGAIN IS AUGUST 2018?

04:49PM    6      A.    CORRECT.

04:49PM    7      Q.    AND THAT'S OVER SIX MONTHS BEFORE YOU CHANGED THE LICENSE

04:49PM    8      IN VERSION 3.5; IS THAT RIGHT?

04:49PM    9      A.    CORRECT.

04:49PM   10      Q.    NOW, YOU SEEM TO NOT REALLY LIKE NEO4J; ISN'T THAT RIGHT?

04:49PM   11      A.    I LIKE NEO4J SWEDEN.    I THINK IT'S -- I THINK WHAT NEO4J

04:49PM   12      DID WAS GREAT FOR RELEASING NEO4J INTO THE PUBLIC AND MAKING IT

04:49PM   13      FREE.

04:49PM   14            I DON'T LIKE WHAT HAPPENED BY THEM TRYING TO ADD THE

04:49PM   15      COMMONS CLAUSE AND MAKING IT COMMERCIAL ONCE THEY ALREADY USED

04:49PM   16      THE COMMUNITY TO BUILD THEM UP TO WHERE THEY ARE.

04:49PM   17            I HAVE NO PERSONAL ISSUES.    I'M UPSET ABOUT THE LAWSUIT,

04:49PM   18      OF COURSE, BUT --

04:50PM   19      Q.    WELL, YOU PREVIOUSLY TESTIFIED THAT, YOU KNOW, PURETHINK

04:50PM   20      HAD AN ISSUE WITH THE IRS WHERE THEY DIDN'T WANT TO PAY FOR A

04:50PM   21      COMMERCIAL LICENSE AND THEY WANTED TO PAY FOR SUPPORT; RIGHT?

04:50PM   22      A.    THEY WANTED TO PAY FOR SUPPORT OF THE WHOLE PLATFORM WHICH

04:50PM   23      IS 20, 30 DIFFERENT SERVICES.

04:50PM   24      Q.    RIGHT.   BUT THEY DIDN'T WANT TO -- IN THE APPROXIMATE

04:50PM   25      $229,000 THAT THEY PAID PURETHINK, $229,000 THAT THEY PAID



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04:50PM    1      PURETHINK, THEY DIDN'T WANT TO PAY FOR A COMMERCIAL LICENSE FOR

04:50PM    2      NEO4J ENTERPRISE; CORRECT?

04:50PM    3      A.    I DON'T KNOW IF "WANT" WAS THE WORD.      THEY DIDN'T HAVE THE

04:50PM    4      BUDGET FOR IT.

04:50PM    5      Q.    SO AT THAT POINT YOU REALIZED THAT IT WOULD BE EASIER FOR

04:50PM    6      YOU TO MAKE MONEY BY GIVING GOVERNMENT ENTITIES OPEN SOURCE

04:50PM    7      NEO4J AND CHARGING THEM FOR SUPPORT; RIGHT?

04:50PM    8      A.    NO.   THAT, THAT -- THE CONCEPT OF USING ONLY THE COMMUNITY

04:50PM    9      WAS AFTER THE BREACH, AFTER WE WERE MADE NOT A PARTNER.

04:50PM   10      Q.    AND YOU TAKE NO RESPONSIBILITY FOR THAT BREACH, YOU DID

04:51PM   11      NOTHING?

04:51PM   12      A.    THAT WAS ALL NEO4J'S.

04:51PM   13      Q.    ALL RIGHT.    THIS HAS NOT BEEN -- THIS IS A REBUTTAL

04:51PM   14      EXHIBIT AND IT WILL BE TAB H IN YOUR BINDER.

04:51PM   15            DANNY, DO YOU HAVE COPIES WE CAN PROVIDE TO OPPOSING

04:51PM   16      COUNSEL?

04:51PM   17                    MR. ZEPEDA:   YOU TOOK THE BINDER.

04:51PM   18                    MR. RATINOFF:   I TOOK THE BINDER?     ALL RIGHT.   I

04:51PM   19      FEEL LIKE I HAVE TOO MUCH PAPER.

04:51PM   20      Q.    BEFORE I HAVE YOU LOOK AT THAT, I'LL WAIT UNTIL YOUR

04:52PM   21      COUNSEL GETS IT ACTUALLY.

04:52PM   22            ARE YOU READY?

04:52PM   23      A.    I AM.

04:52PM   24                    MR. RATINOFF:   COUNSEL, DO YOU HAVE THE EMAIL?

04:52PM   25                    MR. BEENE:    YES.



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04:52PM    1                    MR. RATINOFF:   SORRY.    YOUR HONOR, I WANTED TO MAKE

04:52PM    2      SURE EVERYONE HAS A COPY.      IT SOUNDS LIKE THEY DO.    THIS WAS A

04:52PM    3      DOCUMENT THAT WAS PRODUCED BY DEFENDANTS -- I WILL HAVE THIS

04:52PM    4      MARKED AS TRIAL EXHIBIT 210 I THINK IS THE NEXT SEQUENCE IN

04:52PM    5      PLAINTIFFS' EXHIBITS.

04:52PM    6                    THE COURT:   ALL RIGHT.

04:52PM    7            (PLAINTIFFS' EXHIBIT 210 WAS MARKED FOR IDENTIFICATION.)

04:52PM    8      BY MR. RATINOFF:

04:52PM    9      Q.    AND DO YOU RECOGNIZE THIS EMAIL?

04:53PM   10      A.    I CAN'T FIND 210.

04:53PM   11      Q.    NO, IT WOULD BE TAB H.     WE'RE JUST MARKING --

04:53PM   12      A.    TAB H?

04:53PM   13      Q.    YEAH.

04:53PM   14      A.    YES.

04:53PM   15      Q.    AND DO YOU RECOGNIZE THIS EMAIL?

04:53PM   16      A.    YES, I DO.

04:53PM   17      Q.    AND YOU HAD AN EMAIL EXCHANGE HERE WITH A

04:53PM   18      TIMBROWN@GMAIL.COM?

04:53PM   19      A.    YES.

04:53PM   20      Q.    AND WHO IS TIM BROWN?

04:53PM   21      A.    TIM BROWN IS A FRIEND THAT I'VE KNOWN SINCE COLLEGE.

04:53PM   22      Q.    AND HE'S NOT AN EMPLOYEE OF PURETHINK OR IGOV?

04:53PM   23      A.    NO.

04:53PM   24                    MR. RATINOFF:   I'D LIKE TO MOVE WHAT HAS NOW MARKED

04:53PM   25      AS EXHIBIT 210 IN EVIDENCE.



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04:53PM    1                   THE COURT:   ANY OBJECTION?

04:53PM    2                   MR. BEENE:   NO OBJECTION.

04:53PM    3                   THE COURT:   IT'S ADMITTED, AND IT MAY BE PUBLISHED.

04:53PM    4            (PLAINTIFFS' EXHIBIT 210 WAS RECEIVED IN EVIDENCE.)

04:53PM    5      BY MR. RATINOFF:

04:53PM    6      Q.    SO DO YOU SEE MR. BROWN TELLS YOU ON MAY 24TH, 2017,AT

04:53PM    7      22:28, MILITARY TIME --

04:53PM    8      A.    YES.

04:53PM    9      Q.    -- AND THAT WOULD BE 10:00 P.M. OR 10:28 P.M.

04:54PM   10            AND YOU SEE MR. BROWN SAYS, "I'M JUST SAYING IF YOU START

04:54PM   11      TELLING CUSTOMERS THAT THEY SHOULD STOP PAYING FOR LICENSES AND

04:54PM   12      IT GETS BACK TO THEM, THEY WILL TAKE IT PERSONALLY.     THAT IS A

04:54PM   13      REVENUE STREAM THAT YOU ARE THREATENING.      WHEN COMPANIES TAKE

04:54PM   14      THINGS PERSONALLY, THEY GENERALLY USE THE COURT SYSTEM AS A

04:54PM   15      RESOURCE."

04:54PM   16            DO YOU SEE THAT?

04:54PM   17      A.    YES.

04:54PM   18      Q.    AND SO MR. BROWN WAS WARNING YOU NOT TO BREACH YOUR

04:54PM   19      CONTRACT WITH NEO4J AND TELL CUSTOMERS THAT THEY SHOULD BE

04:54PM   20      USING NEO4J UNDER THE AGPL; RIGHT?

04:54PM   21      A.    NO.

04:54PM   22      Q.    THAT'S NOT WHAT HE'S SAYING?

04:54PM   23      A.    NO, I DON'T SEE HIM SAYING THAT.

04:54PM   24      Q.    LET'S GO BACK AND LOOK AT YOUR MAY 24TH EMAIL OF 2017,

04:54PM   25      TIME STAMPED 21:59.



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04:55PM    1            YOU SAY, "WE AREN'T DOING ANYTHING WRONG -- WE ARE GIVING

04:55PM    2      THEM OUR SUPPORT AND THAT THEY WOULD USE THE NEO4J ENTERPRISE

04:55PM    3      UNDER OPEN SOURCE LICENSE THAT THEY DIDN'T KNOW EVEN EXISTED.

04:55PM    4      NEO4J," AND PARDON ME MY FRENCH, "FUCKED US WHEN I WOULDN'T

04:55PM    5      COME TO WORK FOR THEM BUT THERE IS ACTUALLY NO ILLEGAL OR

04:55PM    6      CONTRACTUAL ISSUES BETWEEN NEO AND US ON THIS DEAL.     THIS WAS

04:55PM    7      MY BACK-UP BUSINESS MODEL.    BASICALLY WE ARE THE ONLY COMPANY

04:55PM    8      IN THE FEDERAL SPACE WITH NEO4J SUPPORT PAST PERFORMANCE SO

04:55PM    9      THIS WAS THE PLAN IF THEY EVER STEPPED ON YOUR TOES."

04:55PM   10            DO YOU SEE THAT?

04:55PM   11      A.    YES.

04:55PM   12      Q.    AND SO YOU INTENDED TO BREACH THE AGREEMENT WITH NEO4J,

04:55PM   13      DIDN'T YOU?

04:55PM   14      A.    NO.

04:55PM   15      Q.    AND SO THERE WAS NO REASON TO HAVE A BACK-UP PLAN, THEN?

04:55PM   16      A.    THERE IS ALWAYS A REASON TO HAVE A BACK-UP PLAN.

04:56PM   17      Q.    AND SO AT THIS POINT YOU TOLD THE IRS THAT THEY COULD USE

04:56PM   18      NEO4J ENTERPRISE UNDER AN AGPL; RIGHT?

04:56PM   19      A.    I BELIEVE IT CAME OUT WHEN JASON HAD TOLD THEM THAT THEY

04:56PM   20      COULDN'T USE IT IN PRODUCTION, SO, YES, I BELIEVE THAT WAS THE

04:56PM   21      CASE.

04:56PM   22            I DON'T REMEMBER THE DATES THOUGH.

04:56PM   23      Q.    GOING BACK UP TO YOUR LAST EMAIL AFTER MR. BROWN SAID,

04:56PM   24      "I'M JUST SAYING YOU START TELLING CUSTOMERS THAT THEY SHOULD

04:56PM   25      STOP PAYING FOR LICENSES"; DO YOU SEE THAT?



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04:56PM    1      A.    YES.

04:56PM    2      Q.    AND YOUR EMAIL IT LOOKS LIKE IT'S 7:36 P.M. ON MAY 24TH?

04:56PM    3      A.    YES, I SEE THAT.

04:56PM    4      Q.    AND THEN YOU ARE REFERRING TO MR. BROWN'S EMAIL SAYS,

04:56PM    5      "THEY COULD DO THAT -- BUT THAT WOULD BE RETARDED ON THEIR PART

04:56PM    6      AS I CAN JUST SHUT DOWN THE COMPANY AND START ANOTHER ONE THE

04:56PM    7      NEXT DAY -- THEY WOULD LOSE A HUGE -- IT WAS HUGE IN THE

04:56PM    8      GOVERNMENT SPACE IF AGENCIES KNEW THAT ENTERPRISE IS AVAILABLE

04:56PM    9      FREE ESPECIALLY DURING DEVELOPMENT PERIODS."

04:56PM   10            DO YOU SEE THAT?

04:57PM   11      A.    YES.

04:57PM   12      Q.    AND THEN MR. BROWN, AS I SAID, SAID YOU'RE THREATENING THE

04:57PM   13      REVENUE STREAM BY TELLING COMPANIES OR ENTITIES THAT THEY CAN

04:57PM   14      USE NEO4J ENTERPRISE FOR FREE; RIGHT?

04:57PM   15      A.    YES, WHICH IS THE TRUTH.

04:57PM   16      Q.    DO YOU UNDERSTAND NEO4J GENERATES REVENUE FROM SELLING

04:57PM   17      COMMERCIAL LICENSES?

04:57PM   18      A.    YES, I DO.

04:57PM   19      Q.    DO YOU KNOW HOW MUCH MONEY NEO4J SPENDS EVERY YEAR

04:57PM   20      DEVELOPING ITS SOFTWARE?

04:57PM   21      A.    I DO NOT KNOW.

04:57PM   22      Q.    DO YOU THINK IT'S IN THE MAGNITUDE OF MILLIONS?

04:57PM   23      A.    I'M NOT SURE.    STARTING AT WHAT TIME PERIOD?   NOW?

04:57PM   24      Q.    IN GENERAL, YOUR EXPERIENCE WITH SOFTWARE COMPANIES, IT

04:57PM   25      TAKES MILLIONS OF DOLLARS TO DEVELOP SOFTWARE; ISN'T THAT



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04:57PM    1      RIGHT?

04:57PM    2      A.    WELL, WHEN IT'S OPEN SOURCE, THERE'S A DIFFERENCE.

04:57PM    3            BUT, YES, IF IT WAS CLOSED SOURCE, THEN, YES, YOU WOULD BE

04:57PM    4      PAYING EMPLOYEES.

04:57PM    5      Q.    BUT NEO4J, EVEN IN ITS OPEN SOURCE SOFTWARE, USED

04:58PM    6      EMPLOYEES TO GENERATE MOST OF THE SOURCE CODE; CORRECT?

04:58PM    7      A.    I DON'T KNOW THAT.

04:58PM    8      Q.    DO YOU KNOW HOW MANY EMPLOYEES HAD WORKED ON, EMPLOYEES OF

04:58PM    9      NEO4J HAD WORKED ON DEVELOPING NEO4J SOFTWARE?

04:58PM   10      A.    I'M NOT POSITIVE.    WE DID A REPORT, AND THERE WERE NOT A

04:58PM   11      LOT OF NEO4J EMAIL ADDRESSES IN THE GIT COMMITS.

04:58PM   12            SO I HAVE A FEELING IT WOULD BE MOSTLY THE COMMUNITY AND

04:58PM   13      THEN NEO4J DOING PART OF IT AS WELL, BUT I DON'T KNOW THE

04:58PM   14      PERCENTAGES.

04:58PM   15      Q.    AND TO YOUR KNOWLEDGE THE ENTERPRISE FEATURES IN NEO4J

04:58PM   16      ENTERPRISE WERE DEVELOPED BY NEO4J; CORRECT?

04:58PM   17      A.    THAT WAS PART OF THE OPEN SOURCE, SO I DON'T KNOW.

04:58PM   18      Q.    YOU DON'T KNOW IF ANY OF THE ENTERPRISE FEATURES WERE

04:59PM   19      DEVELOPED?

04:59PM   20      A.    WELL, I KNOW ALL THE NEW ONES WERE BECAUSE IT'S CLOSED

04:59PM   21      SOURCE NOW.

04:59PM   22      Q.    AND YOU BASICALLY BUILT A BUSINESS, AS YOU SAID IN YOUR

04:59PM   23      EMAIL, YOU WENT AHEAD AND FORMED IGOV; RIGHT?

04:59PM   24      A.    CORRECT.

04:59PM   25      Q.    AND THE BUSINESS MODEL FOR IGOV WAS TO OFFER INITIALLY



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04:59PM    1      NEO4J ENTERPRISE SOFTWARE UNDER THE AGPL; CORRECT?

04:59PM    2      A.    NO.    THE BUSINESS MODEL WAS TO OFFER SOLUTIONS DEVELOPMENT

04:59PM    3      FOR OPEN SOURCE SOFTWARE ONLY AND NOT GO INTO PROPRIETARY

04:59PM    4      ANYMORE.

04:59PM    5      Q.    BUT IT WAS PRIMARILY FOCUSSED ON DEVELOPING PLATFORM

04:59PM    6      AROUND NEO4J SOFTWARE; ISN'T THAT RIGHT?

04:59PM    7      A.    NO.    THAT WAS JUST WHAT THE MARKETING WAS BECAUSE IT WAS

04:59PM    8      THE MOST EXPERIENCE THAT WE HAD.

04:59PM    9      Q.    BUT YOU WEREN'T GENERATING ANY REVENUE BETWEEN 2018 AND

04:59PM   10      SAY 2022 SUPPORTING ANYTHING BUT NEO4J RELATED SOFTWARE; ISN'T

04:59PM   11      THAT RIGHT?

04:59PM   12      A.    NO.    ALL OF THE REVENUE WAS FOR CONSULTING AND BUILDING

04:59PM   13      OUT THIS PLATFORM.     NEO4J WAS ONE PIECE OF THAT PLATFORM.

05:00PM   14      Q.    AND THAT PLATFORM BEING THIS CKGE?

05:00PM   15      A.    CKGE AND ALL OF THE SERVICES, YES.

05:00PM   16      Q.    SO YOU WEREN'T LIKE SUPPORTING TIGER GRAPH?

05:00PM   17      A.    NO.

05:00PM   18      Q.    AND YOU WEREN'T SUPPORTING ANY OTHER GRAPH DATABASE

05:00PM   19      SOFTWARE?

05:00PM   20      A.    YES, IT WAS.

05:00PM   21      Q.    IN THE CKGE?

05:00PM   22      A.    YES.

05:00PM   23      Q.    AND THERE WAS OTHER GRAPH --

05:00PM   24      A.    APACHE SPARK USING GRAPH FRAMES LIBRARY, AND WE ALSO USED

05:00PM   25      SOME FEATURES FROM ELASTIC THAT WERE IN THE GRAPH AREA, BUT IT



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05:00PM    1      HAD TO SUPPORT ALL OF THE TOOLS.     AND THINK OF IT AS PROVIDING

05:00PM    2      AN END-TO-END WARRANTY FOR A WHOLE CAR AND IT'S NOT JUST ONE

05:00PM    3      SUPPORT FOR THE ALTERNATOR AND ONE FOR THE WATER PUMP.

05:01PM    4      Q.    AND THEN YOU DIDN'T VIEW YOURSELF AS COMPETING WITH NEO4J

05:01PM    5      AT ALL?

05:01PM    6      A.    NO, BECAUSE WE DIDN'T SELL LICENSES.     I WAS COMPETING WITH

05:01PM    7      THE PARTNERS WHO WANTED TO BUILD SOLUTIONS, BUT NOT WITH NEO4J.

05:01PM    8      Q.    OH.    BECAUSE YOU OFFERED THE SOFTWARE FOR FREE; RIGHT?

05:01PM    9      A.    WELL, WE MADE SURE THAT THE GOVERNMENT AGENCIES HAD THEIR

05:01PM   10      OWN VERSION AND THEY USUALLY WOULD BRING IT TO THE TABLE AND WE

05:01PM   11      WOULD GIVE IT TO THEM, BUT TO DOWNLOAD IT, THEY DIDN'T.     BUT IT

05:01PM   12      WAS FREE.

05:01PM   13      Q.    SO LET'S GO AHEAD AND TURN TO TRIAL EXHIBIT 83.    AND THIS

05:01PM   14      WAS PREVIOUSLY ADMITTED.

05:02PM   15                   THE CLERK:   I DON'T HAVE IT.

05:02PM   16                   MR. RATINOFF:   LET'S GO AHEAD AND DO THAT THEN.

05:02PM   17      Q.    DO YOU RECOGNIZE EXHIBIT 83?

05:02PM   18      A.    YES, I DO.

05:02PM   19      Q.    AND WHAT IS EXHIBIT 83?

05:02PM   20      A.    IT'S A PROTEST FOR A, FOR -- NEO4J WAS EITHER AWARDED OR

05:02PM   21      IT WAS ABOUT TO BE AWARDED A SOLICITATION OF A COMMERCIAL

05:02PM   22      LICENSE FOR NEO4J.

05:02PM   23      Q.    AND YOU'RE REFERRING TO THE PROTEST AND THE ATTACHMENT TO

05:02PM   24      THE EMAIL; IS THAT RIGHT?

05:02PM   25      A.    YES.



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05:02PM    1                   MR. RATINOFF:   I'D LIKE TO MOVE EXHIBIT 83 INTO

05:02PM    2      EVIDENCE.

05:02PM    3                   THE COURT:   ANY OBJECTION?

05:02PM    4                   MR. BEENE:   NO OBJECTION.

05:02PM    5                   THE COURT:   IT'S ADMITTED, AND IT MAY BE PUBLISHED.

05:02PM    6            (PLAINTIFFS' EXHIBIT 83 WAS RECEIVED IN EVIDENCE.)

05:02PM    7      BY MR. RATINOFF:

05:02PM    8      Q.    I'M LOOKING AT THE FIRST PARAGRAPH.     AND YOU'LL SEE IT

05:03PM    9      SAYS IN PART IGOV HEREBY FILES THIS DELIVERY ORDER PROTEST

05:03PM   10      CHALLENGING A DELIVERY ORDER OR AWARD BY THE INTERNAL REVENUE

05:03PM   11      SERVICE, PARAPHRASE, OF A CONTRACT AND OR PURCHASE DELIVERY

05:03PM   12      ORDER TO ALPHASIX CORPORATION.

05:03PM   13            DO YOU SEE THAT?

05:03PM   14      A.    YES, I DO.

05:03PM   15      Q.    AND YOU WERE HERE FOR MR. ZAGALASKY'S TESTIMONY ABOUT

05:03PM   16      ALPHASIX?

05:03PM   17      A.    YES.

05:03PM   18      Q.    AND YOU UNDERSTAND THAT ALPHASIX IS A PARTNER OF NEO4J?

05:03PM   19      A.    YES, I DO.

05:03PM   20      Q.    TURNING TO -- YOU'LL SEE THERE'S A DOT 00 NUMBER, IT'S DOT

05:03PM   21      003 OF THE PROTEST?

05:03PM   22      A.    I'M THERE.

05:03PM   23      Q.    AND IN THIS PROTEST YOU'LL SEE IN THE THIRD PARAGRAPH YOU

05:03PM   24      STATE, "THE OPEN NATIVE GRAPH DATABASE (ONGDB) IS A FREE AND

05:04PM   25      OPEN, COMPETING ENTERPRISE GRAPH PLATFORM TO NEO4J ENTERPRISE."



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05:04PM    1            DO YOU SEE THAT?

05:04PM    2      A.    YES, I DO.

05:04PM    3      Q.    SO ONGDB, EVEN THOUGH IT'S OFFERED FOR FREE, YOU

05:04PM    4      REPRESENTED IT'S A COMPETING SOFTWARE PLATFORM; RIGHT?

05:04PM    5      A.    I GUESS SO, YES.

05:04PM    6      Q.    YOU WROTE THIS; RIGHT?

05:04PM    7      A.    I DON'T KNOW IF I WOULD SAY -- YEAH, IT'S COMPETING

05:04PM    8      BECAUSE IT'S -- IT WOULD TAKE -- IF SOMEBODY CHOSE THAT, IT

05:04PM    9      WOULD TAKE AWAY BUSINESS.    I GUESS THAT'S -- IF THAT'S THE

05:04PM   10      DEFINITION OF COMPETING.

05:04PM   11      Q.    AND WHEN YOU MEAN TAKE AWAY BUSINESS, YOU MEAN TAKE AWAY

05:04PM   12      BUSINESS FROM NEO4J?

05:04PM   13      A.    WHY WOULD YOU PAY FOR A LICENSE WHEN YOU CAN GET THE EXACT

05:04PM   14      SAME THING FOR FREE?

05:04PM   15      Q.    EXACTLY.   AND THEN TURNING TO PAGE 4, DOT DOT 4, YOU'LL

05:04PM   16      SEE THERE'S A HEADING THERE INTERESTED PARTY.

05:04PM   17            DO YOU SEE THAT?

05:04PM   18      A.    UH-HUH.

05:04PM   19      Q.    AND YOU STATE, "IGOV IS AN INTERESTED PARTY WHOSE ECONOMIC

05:05PM   20      INTERESTS ARE DIRECTLY AFFECTED BY THE IRS'S INTENT TO MAKE

05:05PM   21      THIS AWARD TO ALPHASIX CORPORATION.    IGOV IS A PROSPECTIVE

05:05PM   22      OFFEROR FOR THE SERVICES THAT THE IRS IS ACQUIRING FROM

05:05PM   23      ALPHASIX CORPORATION."

05:05PM   24            DO YOU SEE THAT?

05:05PM   25      A.    YES.



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05:05PM    1      Q.    AND YOU UNDERSTAND FROM MR. ZAGALASKY'S TESTIMONY THAT

05:05PM    2      ALPHASIX WAS SELLING A COMMERCIAL SUBSCRIPTION WITH NEO4J AS A

05:05PM    3      PARTNER; RIGHT?

05:05PM    4      A.    BUT THIS TIME THEY WERE TALKING ABOUT SUPPORT FOR CYBER

05:05PM    5      SECURITY DATA WAREHOUSE.     IT WASN'T -- IT WAS OUR STUDIO,

05:05PM    6      NEO4J, THAT WAS THE PROTEST.    I DON'T KNOW HOW THAT'S RELEVANT

05:05PM    7      FOR THIS.

05:05PM    8      Q.    I THINK THE RELEVANCE IS FOR THE COURT TO DECIDE BUT --

05:05PM    9      A.    NO.   I MEAN, I DIDN'T KNOW, I DIDN'T KNOW THAT THAT'S WHAT

05:05PM   10      ALPHASIX WAS.

05:05PM   11            ALL I KNEW IS THAT IN THE RFP IT SAID THAT THEY WERE

05:05PM   12      SELLING NEO4J AND OUR STUDIO SOFTWARE SUPPORT FOR THE CYBER

05:05PM   13      SECURITY DATA WAREHOUSE.

05:05PM   14      Q.    BUT THE SOFTWARE IS PART OF THIS PROTEST, THE SOFTWARE

05:05PM   15      YOU'RE PROTESTING WAS NEO4J ENTERPRISE WITH A COMMERCIAL

05:06PM   16      LICENSE; RIGHT?

05:06PM   17      A.    I BELIEVE SO, YES.

05:06PM   18            THE PROTEST WAS SAYING YOU SHOULD LOOK AT OPEN SOURCE AND

05:06PM   19      THERE ARE OTHER PEOPLE WHO COULD OFFER THIS.       IT SAVES TAXPAYER

05:06PM   20      MONEY.   IT'S A WASTE OF MONEY TO PAY FOR SOMETHING WHEN YOU

05:06PM   21      DON'T -- WHEN YOU CAN HAVE THE EXACT SAME FUNCTIONALITY.       AT

05:06PM   22      LEAST IT'S WORTH THEM TO MAKE THAT DECISION.

05:06PM   23      Q.    IT WOULD BE MORE EXPENSIVE TO PAY FOR COPYRIGHT

05:06PM   24      INFRINGEMENT THOUGH, WOULDN'T IT?

05:06PM   25      A.    I DON'T KNOW.



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05:06PM    1      Q.    LET'S GO AHEAD AND LOOK AT TAB E.     THIS IS SOMETHING ELSE

05:06PM    2      THAT WAS PRODUCED?

05:06PM    3                  THE COURT:    IS THIS A NEW EXHIBIT?

05:06PM    4                  MR. RATINOFF:    IT IS.

05:06PM    5                  THE COURT:    ALL RIGHT.   HOW MUCH LONGER DO YOU THINK

05:06PM    6      YOU HAVE?

05:06PM    7                  MR. RATINOFF:    I'D SAY HALF AN HOUR.

05:06PM    8                  THE COURT:    OKAY.   WE'LL TAKE OUR RECESS TODAY.

05:06PM    9      IT'S ABOUT FIVE AFTER, SIX AFTER 5:00.      WE'LL COME BACK -- I

05:06PM   10      THINK FRIDAY IS OUR NEXT DAY.

05:06PM   11                  MR. BEENE:    YES.

05:07PM   12                  THE COURT:    AND SO WE'LL START AT 9:00 A.M. AND

05:07PM   13      WE'LL SEE YOU THEN.

05:07PM   14            THANK YOU.

05:07PM   15                  MR. BEENE:    YOUR HONOR, COULD I REQUEST, SINCE THIS

05:07PM   16      IS TAKING THIS LONG, IF MR. SUHY COULD APPEAR HYBRID BY ONE OF

05:07PM   17      THE MONITORS.   HE LIVES BACK EAST IN VIRGINIA, AND THIS IS

05:07PM   18      REALLY HARD FOR HIM TO FLY BACK AND FORTH.      HE MAKES 150 BUCKS

05:07PM   19      AN HOUR AND I WOULD HAVE -- I DON'T KNOW HOW MUCH LONGER HE HAS

05:07PM   20      TO BE ON THE STAND.      I WOULDN'T IMAGINE IT TO BE TOO LONG.

05:08PM   21            (PAUSE IN PROCEEDINGS.)

05:08PM   22                  MR. RATINOFF:    YOUR HONOR, I CAN PROBABLY FINISH IN

05:08PM   23      15 MINUTES.   I DON'T WANT TO INCONVENIENCE MR. SUHY.

05:08PM   24                  THE COURT:    YOU KNOW, I APPRECIATE YOU BEING

05:08PM   25      CONCERNED ABOUT OUR STAFF AS WELL.



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05:08PM    1                   MR. RATINOFF:   OKAY.

05:08PM    2                   THE COURT:   THAT'S THE INCONVENIENCE.

05:08PM    3                   MR. RATINOFF:   UNDERSTOOD.

05:08PM    4                   THE COURT:   WELL, LET'S DO THIS.      LET ME TAKE A

05:08PM    5      BREAK FOR FIVE MINUTES.      WHY DON'T YOU MEET AND CONFER ABOUT

05:08PM    6      THE LOGISTICS OF HAVING HIM APPEAR REMOTELY, AND THEN I'LL COME

05:08PM    7      BACK.

05:08PM    8                   MR. BEENE:   THANK YOU, YOUR HONOR.

05:08PM    9            (RECESS FROM 5:08 P.M. UNTIL 5:18 P.M.)

05:18PM   10                   THE COURT:   BACK ON THE RECORD.    ALL PARTIES

05:18PM   11      PREVIOUSLY PRESENT ARE PRESENT AGAIN.

05:18PM   12            MR. SUHY IS BACK ON THE STAND.

05:18PM   13            WE'LL HAVE UNTIL THE BOTTOM OF THE HOUR TO FINISH

05:18PM   14      TESTIMONY.

05:18PM   15                   MR. RATINOFF:   THANK YOU, YOUR HONOR, FOR YOUR

05:18PM   16      INDULGENCE, I APPRECIATE THAT, AND TO YOUR STAFF.

05:18PM   17      Q.    MR. SUHY, YOU MENTIONED ESSENTIALLY THE IRS STOPPED USING

05:18PM   18      ONGDB AFTER THE COURT'S RULING ON SUMMARY JUDGMENT; CORRECT?

05:18PM   19      A.    YES.

05:18PM   20      Q.    BUT THAT WASN'T THE FIRST TIME THAT THE COURT DETERMINED

05:18PM   21      THAT SECTION 7 AND 10 DIDN'T ALLOW YOU TO USE THE COMMONS

05:18PM   22      CLAUSE; ISN'T THAT RIGHT?

05:18PM   23      A.    THE COURT, I'M SORRY?    THE COURT SAID?      YES, THE COURT

05:19PM   24      SAID THAT BEFORE.

05:19PM   25      Q.    AND THEN GOING BACK TO -- AS FAR BACK AS IT WAS MENTIONED



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05:19PM    1      IN 2020; ISN'T THAT RIGHT?

05:19PM    2            WELL, LET ME HELP YOU THERE AND STRIKE THAT QUESTION.

05:19PM    3      A.    I DIDN'T KNOW IT WAS A QUESTION.

05:19PM    4      Q.    THAT'S FINE.    LET'S JUST GO TO EXHIBIT 147.

05:19PM    5      A.    OKAY.

05:19PM    6                    THE COURT:   147?

05:19PM    7                    MR. RATINOFF:   YES, YOUR HONOR.

05:19PM    8      Q.    DO YOU RECOGNIZE EXHIBIT 147?

05:19PM    9      A.    YES.

05:19PM   10      Q.    AND THIS IS AN EMAIL THAT YOU SENT ON NOVEMBER 13TH -- I'M

05:19PM   11      SORRY, ON NOVEMBER 17TH, 2020 TO DONALD@FSF.ORG; IS THAT RIGHT?

05:19PM   12      A.    YES.

05:19PM   13      Q.    AND THEN ATTACHED TO THAT, THIS EMAIL IS AN ORDER FROM THE

05:20PM   14      COURT DATED NOVEMBER 13TH, 2020; IS THAT RIGHT?

05:20PM   15      A.    YES.

05:20PM   16      Q.    AND I BELIEVE YOUR COUNSEL PREVIOUSLY RAISED THIS ORDER;

05:20PM   17      IS THAT RIGHT?

05:20PM   18      A.    CORRECT.

05:20PM   19      Q.    OKAY.    AND THEN YOU'RE SENDING THIS ORDER TO MR. -- I

05:20PM   20      DON'T REMEMBER HIS LAST NAME -- BUT DONALD AT FREE SOFTWARE

05:20PM   21      FOUNDATION, YOU'RE SAYING, ATTACHING AN ORDER -- I ATTACHED THE

05:20PM   22      ORDER I'M REFERENCING TO THIS EMAIL.       IN A NUTSHELL NEO4J

05:20PM   23      ENTERPRISE LICENSED --

05:20PM   24                    THE COURT:   YOU'RE ASKING THIS TO BE RECEIVED IN

05:20PM   25      EVIDENCE?



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05:20PM    1                   MR. RATINOFF:   YES.

05:20PM    2                   THE COURT:   ANY OBJECTION?

05:20PM    3                   MR. BEENE:   NO OBJECTION.

05:20PM    4                   THE COURT:   IT'S ADMITTED, AND IT MAY BE PUBLISHED.

05:20PM    5            (PLAINTIFFS' EXHIBIT 147 WAS RECEIVED IN EVIDENCE.)

05:20PM    6      BY MR. RATINOFF:

05:20PM    7      Q.    LET ME JUST SKIP THAT AND GO DOWN TO THE COURT AGREES WITH

05:20PM    8      NEO4J IN THAT THEY CAN ADD FURTHER RESTRICTIONS TO THE AGPL AND

05:20PM    9      THAT LICENSES DOWN THE LINE CANNOT -- LICENSEES DOWN THE LINE

05:21PM   10      CANNOT REMOVE THE ADDITIONAL RESTRICTION AS THE AGPL CLEARLY

05:21PM   11      STATES.

05:21PM   12            DO YOU SEE THAT?

05:21PM   13      A.    YES.

05:21PM   14      Q.    AND SO BY THIS TIME YOU ALREADY KNEW THE COURT HAD MADE

05:21PM   15      THAT DETERMINATION; IS THAT CORRECT?

05:21PM   16      A.    YES.

05:21PM   17      Q.    BUT YET YOU CONTINUED TO PROMOTE ONGDB; ISN'T THAT RIGHT?

05:21PM   18      A.    WELL, ONGDB -- THE -- WHEN THE GRAPH FOUNDATION HAD THE --

05:21PM   19      WHAT'S THE NAME OF IT? -- THE INJUNCTION, THEY WENT TO 3.4 AND

05:21PM   20      WITHOUT THE COMMONS CLAUSE THEY WEREN'T ALLOWED TO USE

05:21PM   21      ANYTHING, THEY HAD TO GO BACK TO AN OLDER VERSION.

05:21PM   22      Q.    AND I'M NOT TALKING ABOUT THE INJUNCTION WHICH WAS IN

05:21PM   23      FEBRUARY OF THE FOLLOWING YEAR.     I'M TALKING ABOUT AT THAT TIME

05:21PM   24      IN NOVEMBER OF 2020, YOU CONTINUED TO PROMOTE ONGDB UNDER THE

05:21PM   25      AGPL; ISN'T THAT RIGHT?



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05:21PM    1      A.    I BELIEVE SO.

05:21PM    2      Q.    SO, IN FACT, SINCE YOU MENTIONED THE INJUNCTION, AFTER THE

05:21PM    3      INJUNCTION, YOU CONTINUED TO PROMOTE ONGDB UNDER THE AGPL

05:22PM    4      THROUGH YOUR GRAPH STACK WEBSITE; ISN'T THAT RIGHT?

05:22PM    5      A.    I BELIEVE SO, YES.

05:22PM    6      Q.    I THINK BEFORE THE BREAK WE WERE LOOKING AT -- LET ME FIND

05:22PM    7      IT.   TAB E IN YOUR BINDER, CROSS BINDER.

05:22PM    8      A.    I'M THERE.

05:22PM    9      Q.    AND YOU UNDERSTAND THIS IS A LETTER THAT YOU SENT ON

05:23PM   10      APPROXIMATELY JULY 24TH, 2020 TO THE -- IT LOOKS LIKE SOMEONE

05:23PM   11      AT THE AGO.GOV; IS THAT RIGHT?

05:23PM   12      A.    CORRECT.

05:23PM   13                   MR. RATINOFF:   AND I THINK THIS WOULD BE MARKED AS

05:23PM   14      EXHIBIT 211.     I WOULD MOVE IT INTO EVIDENCE.

05:23PM   15                   THE COURT:   ANY OBJECTION?

05:23PM   16                   MR. BEENE:   NO OBJECTION.

05:23PM   17                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

05:23PM   18            (PLAINTIFFS' EXHIBIT 211 WAS MARKED AND RECEIVED IN

05:23PM   19     EVIDENCE.)

05:23PM   20      BY MR. RATINOFF:

05:23PM   21      Q.    AND YOU SEE HERE IN THIS DOCUMENT IT SAYS AFFIGENT, YOU'RE

05:23PM   22      PROTESTING ON THE WORD "AFFIGENT"; IS THAT RIGHT?

05:23PM   23      A.    YES.

05:23PM   24      Q.    AND YOU HEARD FROM MR. ZAGALASKY THAT AFFIGENT WAS

05:23PM   25      ACTUALLY A RESELLER OF NEO4J SOFTWARE; ISN'T THAT RIGHT?



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05:23PM    1      A.    YES, LAST WEEK.

05:23PM    2      Q.    ARE YOU TALKING ABOUT HIS TESTIMONY LAST WEEK?

05:23PM    3      A.    YES.

05:23PM    4      Q.    YES.   AND THEN YOU FILED THIS PROTEST TO PROTEST AN AWARD

05:23PM    5      THAT PAID FOR A COMMERCIAL LICENSE TO NEO4J ENTERPRISE?

05:24PM    6      A.    YES.

05:24PM    7      Q.    AND THEN TURNING TO PAGE 3 UNDER INTERESTED PARTY?

05:24PM    8      A.    I'M THERE.

05:24PM    9      Q.    IT SAYS, "IGOV IS AN INTERESTED PARTY WHOSE ECONOMIC

05:24PM   10      INTERESTS ARE DIRECTLY AFFECTED BY THE GAO'S INTENT TO MAKE

05:24PM   11      THIS AWARD TO AFFIGENT LLC.    IGOV IS A PROSPECTIVE OFFEROR FOR

05:24PM   12      THE SERVICES THAT GAO IS ACQUIRING FROM AFFIGENT LLC."

05:24PM   13            DO YOU SEE THAT?

05:24PM   14      A.    YES.

05:24PM   15      Q.    AND YOU WERE FILING THIS SUGGESTING THAT THEY WOULD

05:24PM   16      CONSIDER ONGDB TO BE IN YOUR SERVICES; IS THAT RIGHT?

05:24PM   17      A.    YEAH, I THINK OUR SERVICES.   OUR SERVICES.

05:24PM   18      Q.    I'M SORRY?

05:24PM   19      A.    OUR SERVICES.   WE'RE SAYING WE CAN BUILD SOFTWARE AS WELL.

05:24PM   20            YES, I WAS SAYING IN THIS THAT WE ARE SOMEBODY WHO HAS

05:24PM   21      EXPERIENCE AND CAN PROVIDE AND BUILD YOU SOLUTIONS.

05:24PM   22      Q.    AND IN THIS CASE IT WAS, IT WAS SOLUTIONS BASED ON NEO4J

05:24PM   23      ENTERPRISE; CORRECT?

05:25PM   24      A.    IT WOULD HAVE BEEN ONLY BECAUSE IGOV ONLY FOCUSSED ON FREE

05:25PM   25      SOFTWARE, SO IT WOULD HAVE BEEN NEO4J ENTERPRISE UNDER AGPL OR



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05:25PM    1      ONGDB.

05:25PM    2      Q.    RIGHT.   SO YOU'RE TELLING THE GAO THAT THEY COULD USE

05:25PM    3      ONGDB FOR FREE INSTEAD OF USING NEO4J ENTERPRISE UNDER A

05:25PM    4      COMMERCIAL LICENSE; CORRECT?

05:25PM    5      A.    YES, AND THEN THEY'LL HAVE MORE MONEY TO PAY FOR A

05:25PM    6      SOLUTION TO BE BUILT.

05:25PM    7      Q.    AND LET'S GO TO THE NEXT TAB F.

05:25PM    8      A.    I'M THERE.

05:25PM    9      Q.    AND THEN I'M JUST GOING TO PREMARK THIS AS PLAINTIFFS'

05:25PM   10      EXHIBIT 212.

05:25PM   11            (PLAINTIFFS' EXHIBIT 212 WAS MARKED FOR IDENTIFICATION.)

05:25PM   12      BY MR. RATINOFF:

05:25PM   13      Q.    DO YOU RECOGNIZE THIS DOCUMENT?

05:25PM   14      A.    YES, I DO.

05:25PM   15      Q.    AND WHAT IS IT?

05:25PM   16      A.    IT'S AN ANOTHER PROTEST LETTER FOR NIH.

05:25PM   17      Q.    AND LOOKING ON THE THIRD PAGE AGAIN UNDER INTERESTED

05:25PM   18      PARTY, IT SAYS, "IGOV, INC., IS AN INTERESTED PARTY WHOSE

05:26PM   19      DIRECT ECONOMIC INTERESTS ARE AFFECTED BY NIH'S INTENT TO MAKE

05:26PM   20      A SOLE SOURCE AWARD TO NEO4J INC.     IGOV IS A PROSPECTIVE

05:26PM   21      OFFEROR OF THE SERVICES THAT NIH SEEKS TO ACQUIRE FROM NEO4J."

05:26PM   22            DO YOU SEE THAT?

05:26PM   23      A.    YES.

05:26PM   24                   THE COURT:   YOU'RE ASKING THIS TO BE ADMITTED INTO

05:26PM   25      EVIDENCE?



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05:26PM    1                   MR. RATINOFF:   YES.

05:26PM    2                   THE COURT:   ANY OBJECTION?

05:26PM    3                   MR. BEENE:   NO.

05:26PM    4                   THE COURT:   IT'S ADMITTED.   IT MAY BE PUBLISHED.

05:26PM    5            (PLAINTIFFS' EXHIBIT 212 WAS RECEIVED IN EVIDENCE.)

05:26PM    6                   MR. RATINOFF:   SORRY, YOUR HONOR.     I'M JUST TRYING

05:26PM    7      TO --

05:26PM    8      Q.    AND YOU HEARD MR. ZAGALASKY TESTIFY THAT NEO4J ALSO

05:26PM    9      PROVIDES DEVELOPMENT SERVICES FOR PEOPLE BUILDING PLATFORMS ON

05:26PM   10      NEO4J; ISN'T THAT RIGHT?

05:26PM   11      A.    I HEARD HIM SAY THAT.

05:26PM   12      Q.    AND IT SEEMS TO BE CONSISTENT WITH WHAT YOU'RE SUGGESTING

05:26PM   13      IN THIS PROTEST; ISN'T THAT RIGHT?

05:26PM   14      A.    NO, NEO4J DIDN'T DO THAT WHEN THIS HAPPENED.

05:26PM   15            IF THEY STARTED OFFERING THE SERVICES, IT WAS RECENTLY.

05:27PM   16      Q.    THIS WILL BE MY LAST EXHIBIT.

05:27PM   17            LET'S GO AHEAD AND GO TO EXHIBIT D OR TAB D.

05:27PM   18      A.    I'M THERE.

05:27PM   19      Q.    DO YOU RECOGNIZE TAB D?

05:27PM   20      A.    YES.

05:27PM   21      Q.    AND WHAT IS IT?

05:27PM   22      A.    IT LOOKS LIKE A WEBSITE FROM THE WAYBACK MACHINE FOR FSF.

05:27PM   23      Q.    I'M SORRY, TAB B?

05:27PM   24                   THE COURT:   B AS IN BOY.

05:27PM   25                   THE WITNESS:    OH, I'M THERE.



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05:27PM    1      BY MR. RATINOFF:

05:27PM    2      Q.    SO 2015 NEO4J PRICE LIST?

05:28PM    3      A.    I'M THERE.

05:28PM    4      Q.    AND DO YOU RECOGNIZE THE DOCUMENT?

05:28PM    5            SIR, DO YOU RECOGNIZE THE DOCUMENT?

05:28PM    6      A.    OH, YES, YES.

05:28PM    7      Q.    AND DO YOU SEE IT WAS USED IN YOUR DEPOSITION?    DO YOU SEE

05:28PM    8      THAT?

05:28PM    9      A.    YES.

05:28PM   10                   MR. RATINOFF:   AND I WOULD MOVE THIS INTO EVIDENCE.

05:28PM   11                   MR. BEENE:   NO OBJECTION.

05:28PM   12                   MR. RATINOFF:   IT SHOULD BE 213.

05:28PM   13                   THE COURT:   IT'S ADMITTED, AND IT MAY BE PUBLISHED.

05:28PM   14            (PLAINTIFFS' EXHIBIT 213 WAS RECEIVED IN EVIDENCE.)

05:28PM   15      BY MR. RATINOFF:

05:28PM   16      Q.    IF YOU WANT TO GO AHEAD AND TURN TO PAGE 10 OF 13?

05:28PM   17      A.    I'M THERE.

05:28PM   18      Q.    AND YOU SEE TRAINING AND PROFESSIONAL SERVICES.    DO YOU

05:28PM   19      SEE THAT HEADING?

05:28PM   20      A.    YES.

05:28PM   21      Q.    AND IT SAYS, "SUBJECT MATTER EXPERTS ARE AVAILABLE ON AN

05:28PM   22      HOURLY AND DAILY RATES TO AID IN MODELING, DEVELOPMENT SUPPORT,

05:28PM   23      AND PRODUCT DELIVERY."

05:28PM   24            DO YOU SEE THAT?

05:28PM   25      A.    YES, I DO.



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05:28PM    1      Q.    AND THE DATE THERE IS OCTOBER 1ST, 2015.

05:29PM    2            DO YOU SEE THAT?

05:29PM    3      A.    YES.

05:29PM    4      Q.    AND SO IT'S FAIR TO SAY THAT NEO4J WAS OFFERING

05:29PM    5      DEVELOPMENT SERVICES AT LEAST AS EARLY AS OCTOBER 2015;

05:29PM    6      CORRECT?

05:29PM    7      A.    THESE WERE SERVICES ONLY FOR NEO4J.     THESE WEREN'T

05:29PM    8      DEVELOPMENT SERVICES ACROSS PLATFORMS.      THESE WERE SERVICES

05:29PM    9      ONLY FOR NEO4J CREATING MODELS, QUERIES, VERY SPECIFIC TO ONLY

05:29PM   10      DOING IT FOR NEO4J.

05:29PM   11      Q.    PROJECTS USING NEO4J SOFTWARE?

05:29PM   12      A.    IT WAS FOR NEO4J SOFTWARE ITSELF, NOT FOR THE PROJECTS

05:29PM   13      THAT USED IT.

05:29PM   14            LARS TOLD ME --

05:29PM   15                   MR. RATINOFF:   I HAVE NO FURTHER QUESTIONS.

05:29PM   16            THANK YOU, YOUR HONOR.

05:29PM   17                   THE COURT:   ALL RIGHT.   REDIRECT?

05:29PM   18                   MR. BEENE:   I HAVE NO REDIRECT, YOUR HONOR.

05:29PM   19                   THE COURT:   ALL RIGHT.   THANK YOU.   MAY THIS WITNESS

05:29PM   20      BE EXCUSED?

05:29PM   21                   MR. BEENE:   YES, SIR.

05:29PM   22                   THE COURT:   SIR, YOU CAN STAND DOWN.   THANK YOU.

05:29PM   23                   MR. RATINOFF:   SO, YOUR HONOR, THERE WAS ONE

05:29PM   24      HOUSEKEEPING MATTER.      I BELIEVE THERE WERE SEVERAL EXHIBITS.    I

05:29PM   25      BELIEVE THERE'S A MISCOMMUNICATION ON --



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05:29PM    1                   THE COURT:   WELL, WE'RE GOING TO TALK ABOUT THAT IN

05:29PM    2      JUST A MOMENT.

05:29PM    3            ANY ADDITIONAL EVIDENCE FROM THE DEFENSE?

05:30PM    4                   MR. BEENE:   NO, YOUR HONOR.

05:30PM    5                   THE COURT:   DOES THE DEFENSE REST THEN?

05:30PM    6                   MR. BEENE:   YEAH.

05:30PM    7                   THE COURT:   THANK YOU.   THERE'S NO REBUTTAL EVIDENCE

05:30PM    8      THEN.

05:30PM    9            IS THERE ANY REBUTTAL EVIDENCE?       ANYTHING ELSE?   THEY PUT

05:30PM   10      NOTHING ON OTHER THAN THE WITNESS.      ALL RIGHT.   THANK YOU.

05:30PM   11            SO WHAT WE'RE GOING TO DO NOW, I'M GOING TO TASK YOU,

05:30PM   12      COUNSEL, WITH GOING OVER THE EXHIBIT LIST AND MAKING IT

05:30PM   13      ACCURATE AND MAKING SURE THAT ALL OF THE EXHIBITS THAT YOU

05:30PM   14      BELIEVE WERE ADMITTED ACTUALLY APPEAR ON A LIST, SO I'LL ASK

05:30PM   15      YOU TO MEET AND CONFER AND TALK TO OUR DEPUTY TO GET THAT

05:30PM   16      COMPLETED.

05:30PM   17            AS TO CLOSING ARGUMENTS, MY SENSE IS TO HAVE YOU DRAFT

05:30PM   18      CLOSING ARGUMENTS FOR ME TO ASSIST BASED ON THE EVIDENCE AND

05:30PM   19      THEN YOU CAN APPLY THAT TO THE STIPULATED FACTS AND EXHIBITS,

05:30PM   20      INCLUDING NEW EXHIBITS.

05:30PM   21            I DON'T KNOW WHAT YOUR THOUGHTS ARE ON AUGMENTING YOUR

05:31PM   22      FINDINGS AND -- FINDINGS OF FACT AND CONCLUSIONS OF LAW, IF YOU

05:31PM   23      WANT TO GO THROUGH THAT AGAIN, OR -- AND I'M HAPPY TO RECEIVE

05:31PM   24      THAT IF YOU WANT TO ADD ANYTHING, AUGMENT THEM WITH THE

05:31PM   25      EVIDENCE THAT HAS COME IN, MAYBE THAT'S THE BEST THING TO DO,



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05:31PM    1      BUT I'M HAPPY TO HEAR FROM YOU.

05:31PM    2                   MR. RATINOFF:   IT'S FUNNY YOU MENTIONED THAT.     WE

05:31PM    3      DID HAVE A CONVERSATION EARLIER, AND I THINK WE AGREE WE WOULD

05:31PM    4      WAIVE CLOSING.    AND YOUR HONOR PREVIOUSLY, I THINK AT ONE POINT

05:31PM    5      YOU SUGGESTED AFTER THE ORDER CAME OUT WE WOULD WANT TO AMEND

05:31PM    6      OUR CONCLUSIONS OF FACT AND LAW, AND I THINK WE CAN JUST EACH

05:31PM    7      DO THAT AND SUBMIT THAT FOR YOUR HONOR'S CONSIDERATION.

05:31PM    8                   THE COURT:   THAT'S FINE.   THAT'S FINE.

05:31PM    9            THAT'S FINE.    I'M HAPPY TO DO IT.    THAT'S PROBABLY THE

05:31PM   10      NEATER WAY RATHER THAN HAVE ME INCORPORATE TWO DIFFERENT

05:31PM   11      DOCUMENTS.

05:31PM   12                   MR. BEENE:   YES.   IT WAS ALSO, IF YOU RECALL, WHAT

05:31PM   13      WE HAD FILED BEFORE WE HAD STUFF FROM BEFORE, AND WE HAD BEEN

05:31PM   14      TAKING STUFF OUT.

05:31PM   15                   THE COURT:   NO, YOU'VE BEEN VERY EFFICIENT.

05:32PM   16                   MR. BEENE:   SO I HOPE YOU'RE NOT READING THAT

05:32PM   17      BECAUSE THERE'S A LOT OF STUFF THAT IS GONE.         SO WE THOUGHT WE

05:32PM   18      WOULD STRIP THAT OUT AND THEN JUST FOCUS ON THIS.

05:32PM   19            AND IT'S PROBABLY BETTER FOR YOU TO HAVE A NEUTRAL

05:32PM   20      STATEMENT LIKE DON'T ARGUE AND THEN THAT WAY YOU DON'T HAVE TO

05:32PM   21      READ A BUNCH OF NOISE.

05:32PM   22                   THE COURT:   SO I'LL RECEIVE EACH OF YOUR RESPECTIVE

05:32PM   23      DOCUMENTS.

05:32PM   24            LET ME ASK YOU, FIRST OF ALL, ABOUT PAGE LIMITATIONS.          ARE

05:32PM   25      THERE ANY PAGE LIMITATIONS THAT I NEED TO IMPOSE ON THAT?



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05:32PM    1                 MR. RATINOFF:   I THINK THE PAGES WILL SHRINK BECAUSE

05:32PM    2      I DON'T BELIEVE YOUR HONOR HAD A PAGE LIMIT ON THAT ORIGINALLY.

05:32PM    3                 THE COURT:   NO, I DIDN'T.

05:32PM    4                 MR. RATINOFF:   AND THEY WILL BE SHORTER BECAUSE SOME

05:32PM    5      OF THE CLAIMS WERE ADDRESSED IN SUMMARY JUDGMENT.     SO I CAN'T

05:32PM    6      SAY WHAT THAT NUMBER WILL BE, BUT I THINK IT WILL BE LESS THAN

05:32PM    7      WHAT IT WAS BEFORE.

05:32PM    8                 MR. BEENE:   IT WILL ALMOST HAVE TO BE.

05:32PM    9                 MR. RATINOFF:   IT WOULD HAVE TO BE.

05:32PM   10                 MR. BEENE:   YOUR HONOR, WHAT WOULD YOU EXPECT?    WHAT

05:33PM   11      WOULD BE A REASONABLE EXPECTATION?

05:33PM   12                 THE COURT:   WELL, I DON'T WANT TO PRECLUDE YOU FROM

05:33PM   13      INCLUDING ANYTHING THAT YOU THINK IS IMPORTANT IN EACH OF YOUR

05:33PM   14      CASES.

05:33PM   15            NOW, AS YOU KNOW, THERE'S A 25 PAGE CAP ON MOTIONS, AND I

05:33PM   16      DON'T KNOW IF YOU NEED THAT, IF YOU WANT THAT, I COULD IMPOSE

05:33PM   17      THAT SAME CAP ON YOU.

05:33PM   18            IF YOU WOULD LIKE TO EXCEED THAT, JUST LET ME KNOW, AND

05:33PM   19      I'M HAPPY TO DO THAT AS WELL.

05:33PM   20            IF YOU TELL ME YOU NEED 150 PAGES, WE'LL PROBABLY HAVE A

05:33PM   21      CONVERSATION.

05:33PM   22            BUT, YOU KNOW, IF YOU CAN.

05:33PM   23                 MR. BEENE:   I THINK WE ALREADY HAD 150 PAGES OF

05:33PM   24      BRIEFING IN THIS CASE, YOUR HONOR.

05:33PM   25                 THE COURT:   RIGHT.   AND THEN I WANT TO ASK YOU WHAT



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05:33PM    1      THE TIMING OF THAT IS AND WHEN YOU WOULD LIKE TO GET THAT TO

05:33PM    2      ME.   WE'RE IN THE HOLIDAY SEASON, AND I RECOGNIZE THAT THAT

05:33PM    3      PRESENTS ISSUES, TRAVEL AND EVERYTHING ELSE.

05:33PM    4            SO I --

05:33PM    5                  MR. BEENE:   I PERSONALLY, BECAUSE OF THE

05:33PM    6      HOLIDAYS AND WHAT I -- YESTERDAY WAS MY BIRTHDAY, AND I WAS

05:33PM    7      DRAFTING AN EXAMINATION OF AN EXPERT.

05:34PM    8            NOW, WHAT DID YOU DO ON YOUR BIRTHDAY?

05:34PM    9                  MR. RATINOFF:   TODAY IS MY DAD'S 80TH BIRTHDAY

05:34PM   10      ACTUALLY.

05:34PM   11                  MR. BEENE:   SO IS IT OKAY LIKE SOME TIME,

05:34PM   12      JANUARY 10TH, OR SOMETHING LIKE THAT?

05:34PM   13                  THE COURT:   ABSOLUTELY.

05:34PM   14            LET ME SAY I'M HAPPY TO HAVE YOU MEET AND CONFER AND

05:34PM   15      SELECT A SCHEDULE THAT IS APPROPRIATE FOR YOUR CLIENTS TO

05:34PM   16      SUPPORT YOUR CLIENT'S POSITION BUT CONCURRENT WITH THAT TO

05:34PM   17      SUPPORT YOUR PERSONAL LIVES OVER THE HOLIDAY SEASON.

05:34PM   18                  MR. RATINOFF:   I APPRECIATE THAT.

05:34PM   19                  THE COURT:   AND WE CAN RECEIVE THAT IN THE MIDDLE OF

05:34PM   20      JANUARY.    AND I'M HAPPY TO HAVE YOU MEET AND CONFER ON THAT,

05:34PM   21      AND YOU CAN GIVE ME A DATE.

05:34PM   22            AND PROBABLY THE BEST THING TO DO WOULD BE TO, I DON'T

05:34PM   23      KNOW, PICK A FRIDAY.     THE 19TH OR THE 26TH OF JANUARY ARE GOOD

05:34PM   24      DAYS.   IF YOU WANT TO -- THOSE ARE FRIDAYS.

05:34PM   25                  MR. RATINOFF:   HOW ABOUT THE 19TH?



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05:34PM    1                    MR. BEENE:   YES.

05:35PM    2                    MR. RATINOFF:   I'VE GOT TRAVEL WITH CHEER

05:35PM    3      COMPETITION WITH MY DAUGHTER.

05:35PM    4                    THE COURT:   AND I'M NOT WEDDED TO THOSE DAYS.      I'M

05:35PM    5      OFFERING YOU IN JANUARY ANYTHING THAT LOOKS LIKE IT WILL WORK

05:35PM    6      FOR YOU.   EVEN THE END OF THE MONTH IS FINE WITH ME.          MEET AND

05:35PM    7      CONFER AND MAKE SURE I HAVE AN EXHIBIT, AN APPROPRIATE EXHIBIT

05:35PM    8      LIST, AND EVERYTHING THAT YOU THOUGHT WAS IN WAS IN.           TALK WITH

05:35PM    9      MS. ROBINSON.     I HAVE MY NOTES ABOUT WHAT WAS ADMITTED AND WHAT

05:35PM   10      WAS NOT, AND WE'LL LOOK AND COMPARE THOSE.        AND THEN YOU CAN

05:35PM   11      GET YOUR DOCUMENTS TO ME SOME TIME.

05:35PM   12                    MR. RATINOFF:   WILL YOUR HONOR BE SIGNING THE

05:35PM   13      STIPULATION THAT WE FILED BACK ON -- I BELIEVE IT WAS

05:35PM   14      NOVEMBER 21, 2023?

05:35PM   15                    THE COURT:   YES.

05:35PM   16                    MR. RATINOFF:   SO RIGHT BEFORE THANKSGIVING.

05:35PM   17                    THE COURT:   YES.

05:35PM   18                    MR. RATINOFF:   I THINK THAT WOULD HELP US FIGURE OUT

05:35PM   19      WHAT IS LEFT.

05:35PM   20                    THE COURT:   SURE.   OKAY.   I WILL SIGN THAT.

05:35PM   21            ANYTHING ELSE?

05:35PM   22                    MR. BEENE:   THANK YOU AND YOUR STAFF FOR STAYING

05:35PM   23      OVER TIME SO MY CLIENT CAN GET HOME.

05:36PM   24                    THE COURT:   SURE.   HE HAS FAMILY, TOO, WE LEARNED.

05:36PM   25            OKAY.



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05:36PM    1                 MR. RATINOFF:   THANK YOU, YOUR HONOR.

05:36PM    2                 MR. PICONE:   THANK YOU, YOUR HONOR.

05:36PM    3                 MR. BEENE:    THANK YOU, YOUR HONOR.

05:36PM    4            (COURT CONCLUDED AT 5:36 P.M.)

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 1

 2

 3                           CERTIFICATE OF REPORTER

 4

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 6

 7            I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE

 8      UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF

 9      CALIFORNIA, 280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO

10      HEREBY CERTIFY:

11            THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12      A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13      ABOVE-ENTITLED MATTER.

14

15
                                 ______________________________
16                               IRENE RODRIGUEZ, CSR, RMR, CRR
                                 CERTIFICATE NUMBER 8074
17

18
                                 DATED:   NOVEMBER 29, 2023
19

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